                                       Schedule 2

                 Proposed Professionals’ Connections to Interested Parties




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#   Interested Party Name                  Proposed Professionals Connection Name          Connection Type
1   21 st Century Casualty Company         AIG                                             Clients in matters
                                           Baloise-Holding AG                              unrelated to the debtors
                                           Basler Versicherung AG
                                           Gilde Buy Out Partners
                                           ING
                                           ING Bank Nederland
                                           QBE
                                           Santander Brasil
                                           Santander Mexico
                                           Unum
                                           Zurich Deutscher Herold Lebensversicherung AG
                                           Zurich Financial Services
                                           Zurich Insurance
                                           Zurich Insurance Company Ltd
                                           Zurich Insurance Group AG
                                           Zurich North America
                                           Zurich-Santander
2   21st Century Insurance Company         AIG                                             Clients in matters
                                           Baloise-Holding AG                              unrelated to the debtors
                                           Basler Versicherung AG
                                           Gilde Buy Out Partners
                                           ING
                                           ING Bank Nederland
                                           QBE
                                           Santander Brasil
                                           Santander Mexico
                                           Unum
                                           Zurich Deutscher Herold Lebensversicherung AG
                                           Zurich Financial Services
                                           Zurich Insurance
                                           Zurich Insurance Company Ltd
                                           Zurich Insurance Group AG
                                           Zurich North America
                                           Zurich-Santander
3   683 Capital Partners LP on behalf of   Amgen                                           Clients in matters
    certain funds and accounts             ArcelorMittal - Acindar                         unrelated to the debtors
                                           BT plc
                                           Peabody
                                           Peabody Energy
                                           Peabody Energy Australia Pty Ltd
                                           Peabody Energy Corporation
                                           Sun Edison
                                           SunEdison
4   7-Eleven Inc                           7-Eleven, Inc.                                  Clients in matters
                                           BP                                              unrelated to the debtors
                                           BP p.l.c.
                                           GE
                                           Shell
5   AAA Northern California Nevada &       AAA                                             Clients in matters
    Utah Insurance Exchange as Subrogee    AAA (American Automobile Association)           unrelated to the debtors
    of its Policyholders Affected by the   AAA NCNU
    Butte Fire                             Bankunited
                                           BankUnited, Inc.


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#    Interested Party Name                  Proposed Professionals Connection Name           Connection Type
1    21 st Century Casualty Company         California State Automobile Association (CSAA)   Clients in matters
                                            Mr. Cooper
                                            Mr. Cooper Group Inc.
                                            Nationstar Mortgage
                                            Nationstar Mortgage Llc
                                            PNC
6    ABB Inc                                ABB                                              Clients in matters
                                            ABB Ltd                                          unrelated to the debtors
                                            ABB Optical
                                            GE
7    Accenture                              KSA - Strategic Management Office                Clients in matters
                                            Meredith Corporation                             unrelated to the debtors
                                            Perspecta
                                            Perspecta, Inc.
                                            Schlumberger NV
                                            Whirlpool / Embraco
                                            Whirlpool Brazil
8    Acciona Energy NA Pacific Renewables   Acciona                                          Clients in matters
                                            Acciona SA                                       unrelated to the debtors
                                            Endesa
                                            Hewlett Packard Enterprises (HPE)
                                            ThyssenKrupp CSA
9    ACE American Insurance Company         Chubb                                            Clients in matters
                                            Chubb Corporation                                unrelated to the debtors
                                            CIGNA
                                            INA
                                            INA-Holding Schaeffler KG
10   Aclara Technologies LLC                GE                                               Clients in matters
                                            Hubbell                                          unrelated to the debtors
                                            Hubbell, Inc.
                                            LM Ericsson Telefon AB
11   Acme Security Systems                  ADT Security Services                            Clients in matters
                                                                                             unrelated to the debtors
12   ADP Inc                                ADP                                              Clients in matters
                                            Automatic Data Processing Inc.                   unrelated to the debtors
                                            Automatic Data Processing Inc. (ADP)
                                            Automatic Data Processing, Inc.
                                            Automatic Data Processing, Inc. (ADP)
13   Advent Underwriting Ltd                Abitibi-Consolidated                             Clients in matters
                                            Advent - Estacio                                 unrelated to the debtors
                                            Advent - Grupo Fleury
                                            Advent / CCC Information Services
                                            Advent International France
                                            AXA UK plc
                                            GE
                                            Markel Insurance
                                            Mosaic
                                            Mytilineos Holdings S.A.
                                            QBE
                                            Resolute Forest Products
                                            Resolute Forest Products Inc.
                                            Resolute Forest Products, Inc.
                                            Riverstone


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#    Interested Party Name            Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company   Riverstone Holdings Llc                             Clients in matters
                                      The Mosaic Co.
                                      The Mosaic Company
                                      Transamerica Reinsurance
14   AECOM Technical Services Inc     L&T                                                 Clients in matters
                                      L&T digital                                         unrelated to the debtors
                                      L&T Infotech
                                      Meridiam
15   Aegon Asset Management           AEGON                                               Clients in matters
                                      Aegon N.V.                                          unrelated to the debtors
                                      Aegon USA (Transamerica)
                                      AXA
                                      Banco Santander Totta, S.A.
                                      BT
                                      J. C. Penney Company, Inc.
                                      J. C. Penney Corporation
                                      Transamerica
16   Aera Energy LLC                  Abu Dhabi Chamber of Commerce                       Clients in matters
                                      Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                      Abu Dhabi Financial Group
                                      Abu Dhabi Investment Council
                                      Abu Dhabi National Oil Company (ADNOC)
                                      Abu Dhabi Power Corporation (ADPC)
                                      Abu Dhabi Water and Electricity Authority (ADWEA)
                                      Avista Capital Partners Ii Gp Llc.
                                      BeLux GEM Cluster
                                      BG Group
                                      BG Group plc
                                      BP
                                      BP p.l.c.
                                      Brunei Shell PetroleumSdn. Bhd.
                                      Chevron
                                      COSAN S/A Industria e Comercio
                                      Infineum
                                      Infineum International LTD
                                      Marathon Oil Corporation
                                      Raizen
                                      Repsol
                                      Repsol Bolivia
                                      Rosneft
                                      Royal Dutch Shell
                                      Royal Dutch Shell plc
                                      Royal Dutch Shell Retail
                                      Royal Dutch/Shell Group
                                      Shell
                                      Shell Australia Limited
                                      Shell Chemical LP
                                      Shell Chemicals
                                      Shell Chemicals Ltd.
                                      Shell Deutschland Oil GmbH
                                      Shell Egypt
                                      Shell Energy North America (US), L.P.
                                      Shell International B.V.


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#    Interested Party Name              Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company     Shell International Exploration & Production B.V.   Clients in matters
                                        Shell Nederland B.V.
                                        Shell New energies
                                        Shell Oil
                                        Shell Oil Co.
                                        Shell Oil Company
                                        Shell Oil Products Company LLC
                                        Shell UK
                                        Sirius XM
                                        TEPCO
                                        TEPCO FP
                                        TEPCO Power Grid
                                        Vopak
                                        Walloon Regional Government
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
17   AES Distributed Energy             AES Corporation                                     Clients in matters
                                        BHP                                                 unrelated to the debtors
                                        BHP Billiton
                                        BHP Billiton Group
                                        GE
                                        GE Energy
18   Aetna                              Aetna                                               Clients in matters
                                        Aetna Inc.                                          unrelated to the debtors
                                        BP
                                        BP p.l.c.
                                        CVS
                                        CVS Caremark Corp
                                        CVS Caremark Corp.
                                        CVS Health
                                        CVSHealth
                                        J. C. Penney Corporation
                                        Red Oak Sourcing
                                        Wellpartner, Inc.
19   Aetna International                Baring PE Asia                                      Clients in matters
                                        Baring Private Equity Asia Pte Ltd                  unrelated to the debtors
                                        Citi
                                        Deutsche Bank
                                        ING
                                        ING Bank
                                        ING Bank N.V.
                                        ING Bank Nederland
                                        ING Groep N.V.
                                        ING US/Voya
                                        Piraeus Bank Group
20   AGCS Marine Insurance Company      ADAC e.V.                                           Clients in matters
                                        Aegon USA (Transamerica)                            unrelated to the debtors
                                        AGCO
                                        Airbus
                                        Airbus Defence and Space GmbH
                                        Airbus Group NV
                                        Airbus Helicopters
                                        Airbus Safran Launchers


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Allianz                                           Clients in matters
                                     Allianz AG
                                     Allianz Asia Pacific (AZAP)
                                     Allianz Asset Management AG
                                     Allianz Bank
                                     Allianz CIA de Seguros y Reaseguros SA
                                     Allianz Deutschland AG
                                     Allianz France
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Eczacibasi Holding                                Clients in matters
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan
                                     Nestlé
                                     Nestle Foods
                                     Nestle Purina
                                     Nestlé Regional Spring Water
                                     Nestlé S.A.
                                     Nestle Waters
                                     Nestle Waters North America
                                     Nokia Oy
                                     Nokia Oyj
                                     Pfizer Global Pharmaceuticals
                                     PIMCO
                                     PIMCO Europe Ltd.
                                     Rolls Royce
                                     Rolls Royce Defense
                                     Societe Generale IBFS
                                     Starbucks
                                     UniCredit Banca
                                     Unicredit Bank AG
                                     UniCredit Bank Austria AG
                                     UniCredit CIB
                                     UniCredit SpA
                                     Wintershall Holding GmbH
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye



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#     Interested Party Name               Proposed Professionals Connection Name    Connection Type
121   21 st Century Casualty Company
      Aggreko                             GE                                        Clients in matters
                                          GE Energy                                 unrelated to the debtors
22    Aggreko North America               GE                                        Clients in matters
                                          GE Energy                                 unrelated to the debtors
23    Agua Caliente Solar LLC             NRG Energy Inc.                           Clients in matters
                                                                                    unrelated to the debtors
24    AIG Europe Limited                  AIG                                       Clients in matters
                                          HSBC                                      unrelated to the debtors
25    AIG Property Casualty Company       AIG                                       Clients in matters
                                          AIG Capital Corporation                   unrelated to the debtors
                                          AIG Property Casualty
                                          American International Group (AIG)
                                          Avon
                                          Avon Global
                                          Blackboard
                                          BridgeBio Pharma LLC
                                          BRISA
                                          BT
                                          Citi
                                          GE
                                          General Atlantic
                                          General Atlantic (UK) LLP
                                          General Atlantic Partners
                                          Hamilton Insurance
                                          ING
                                          ING Bank Nederland
                                          PineBridge Investments
                                          QED Therapeutics
                                          Vodafone
                                          Vodafone (VOD)
                                          Vodafone Group PLC
26    AIG Specialty Insurance Company     AIG                                       Clients in matters
                                          AIG Capital Corporation                   unrelated to the debtors
                                          AIG Property Casualty
                                          American International Group (AIG)
                                          Avon
                                          Avon Global
                                          Blackboard
                                          BridgeBio Pharma LLC
                                          BRISA
                                          BT
                                          Citi
                                          GE
                                          General Atlantic
                                          General Atlantic (UK) LLP
                                          General Atlantic Partners
                                          Hamilton Insurance
                                          ING
                                          ING Bank Nederland
                                          PineBridge Investments
                                          QED Therapeutics
                                          Vodafone
                                          Vodafone (VOD)


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#    Interested Party Name                  Proposed Professionals Connection Name            Connection Type
1    21 st Century Casualty Company         Vodafone Group PLC                                Clients in matters
27   Air Products Manuf Corp                Sasol                                             Clients in matters
                                                                                              unrelated to the debtors
28   Airgas Specialty Products           Air Liquide                                          Clients in matters
                                         Air Liquide Asia Pacific                             unrelated to the debtors
                                         Johnson & Johnson Global Public Health
                                         Johnson & Johnson Medical Device
                                         JOHNSON & JOHNSON PHARMA - JANS
29   Airgas USA LLC                      Air Liquide                                          Clients in matters
                                         Air Liquide Asia Pacific                             unrelated to the debtors
                                         Johnson & Johnson Global Public Health
                                         Johnson & Johnson Medical Device
                                         JOHNSON & JOHNSON PHARMA - JANS
30   AIX - Nova Casualty Company Program The Hanover Insurance Group Inc.                     Clients in matters
                                                                                              unrelated to the debtors
31   Alamo Solar LLC                        ABB Ltd                                           Clients in matters
                                            Avon                                              unrelated to the debtors
                                            Avon Global
                                            BHP
                                            BHP Billiton
                                            BHP Billiton Group
                                            Citi
                                            Deutsche Bank
                                            E.ON Climate & Renewables GmbH
                                            E.ON SE
                                            E.ON UK plc
                                            EFG Bank European Financial Group SA
                                            Endesa
                                            Enexis
                                            Essent Nederland B.V.
                                            innogy SE
                                            RWE Supply & Trading GmbH
                                            State of North Carolina - Division Budget - GSA
                                            Viesgo
32   Algonquin Power Sanger LLC             Algonquin Power & Utilities Corp.                 Clients in matters
                                                                                              unrelated to the debtors
33   Algonquin SKIC Solar 20 Solar LLC      Algonquin Power & Utilities Corp.                 Clients in matters
                                                                                              unrelated to the debtors
34   Allianz Global Corporate & Specialty   ADAC e.V.                                         Clients in matters
                                            Aegon USA (Transamerica)                          unrelated to the debtors
                                            AGCO
                                            Airbus
                                            Airbus Defence and Space GmbH
                                            Airbus Group NV
                                            Airbus Helicopters
                                            Airbus Safran Launchers
                                            Allianz
                                            Allianz AG
                                            Allianz Asia Pacific (AZAP)
                                            Allianz Asset Management AG
                                            Allianz Bank
                                            Allianz CIA de Seguros y Reaseguros SA
                                            Allianz Deutschland AG



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Allianz France                                    Clients in matters
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU



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#    Interested Party Name               Proposed Professionals Connection Name            Connection Type
1    21 st Century Casualty Company      HX Holding GmbH                                   Clients in matters
                                         ICBC Bank Argentina
                                         ICG - Intermediated Capital Group
                                         Industrial & Commercial Bank of China
                                         Industrial and Commercial Bank of China Limited
                                         ING
                                         ING Bank Nederland
                                         inSphere GmbH
                                         Kraft Foods Inc.
                                         Kraft Heinz
                                         Liverpool Victoria
                                         Liverpool Victoria General Insurance Group LTD
                                         Lone Star/Hanson Building Products
                                         Lotte Chilsung
                                         Maersk Group
                                         Merck
                                         Merck KGAA
                                         Merck Millipore Sigma
                                         Monsanto
                                         Monsanto Co.
                                         Monsanto Company
                                         MSD Japan
                                         Nestlé
                                         Nestle Foods
                                         Nestle Purina
                                         Nestlé Regional Spring Water
                                         Nestlé S.A.
                                         Nestle Waters
                                         Nestle Waters North America
                                         Nokia Oy
                                         Nokia Oyj
                                         Pfizer Global Pharmaceuticals
                                         PIMCO
                                         PIMCO Europe Ltd.
                                         Rolls Royce
                                         Rolls Royce Defense
                                         Societe Generale IBFS
                                         Starbucks
                                         UniCredit Banca
                                         Unicredit Bank AG
                                         UniCredit Bank Austria AG
                                         UniCredit CIB
                                         UniCredit SpA
                                         Wintershall Holding GmbH
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
35   Allianz Global Risks                Allianz                                           Clients in matters
                                                                                           unrelated to the debtors
36   Allianz Global Risks US Insurance   ADAC e.V.                                         Clients in matters
     Company                             Aegon USA (Transamerica)                          unrelated to the debtors
                                         AGCO
                                         Airbus
                                         Airbus Defence and Space GmbH



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Airbus Group NV                                   Clients in matters
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Allianz
                                     Allianz AG
                                     Allianz Asia Pacific (AZAP)
                                     Allianz Asset Management AG
                                     Allianz Bank
                                     Allianz CIA de Seguros y Reaseguros SA
                                     Allianz Deutschland AG
                                     Allianz France
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG



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1   21 st Century Casualty Company   CPIC                                              Clients in matters
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan
                                     Nestlé
                                     Nestle Foods
                                     Nestle Purina
                                     Nestlé Regional Spring Water
                                     Nestlé S.A.
                                     Nestle Waters
                                     Nestle Waters North America
                                     Nokia Oy
                                     Nokia Oyj
                                     Pfizer Global Pharmaceuticals
                                     PIMCO
                                     PIMCO Europe Ltd.
                                     Rolls Royce
                                     Rolls Royce Defense
                                     Societe Generale IBFS
                                     Starbucks
                                     UniCredit Banca
                                     Unicredit Bank AG
                                     UniCredit Bank Austria AG
                                     UniCredit CIB
                                     UniCredit SpA



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#    Interested Party Name               Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company      Wintershall Holding GmbH                            Clients in matters
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
37   Allied Concrete Pumping             Intermountain                                       Clients in matters
                                         Masco                                               unrelated to the debtors
38   Allied Reliability Inc              ABB Ltd                                             Clients in matters
                                                                                             unrelated to the debtors
39   Allied Universal                    Apollo                                              Clients in matters
                                                                                             unrelated to the debtors
40   Allied World Assurance Company      Abitibi-Consolidated                                Clients in matters
                                         Advent - Estacio                                    unrelated to the debtors
                                         Advent - Grupo Fleury
                                         Advent / CCC Information Services
                                         Advent International France
                                         AXA UK plc
                                         GE
                                         Markel Insurance
                                         Mosaic
                                         Mytilineos Holdings S.A.
                                         QBE
                                         Resolute Forest Products
                                         Resolute Forest Products Inc.
                                         Resolute Forest Products, Inc.
                                         Riverstone
                                         Riverstone Holdings Llc
                                         The Mosaic Co.
                                         The Mosaic Company
                                         Transamerica Reinsurance
41   Allstate Insurance Company          Ad hoc lenders to Arch Coal on behalf of Allstate   Clients in matters
                                         Investment Management Company                       unrelated to the debtors
                                         Ad hoc lenders to Arch Coal on behalf of Allstate
                                         Investments, LLC
                                         Allstate Insurance
                                         Fidelity International
                                         Fidelity International Limited
                                         GE
42   Alpaugh North LLC                   Zhejiang Hengyi Group Co. Ltd.                      Clients in matters
                                         Zhejiang Huaye                                      unrelated to the debtors
43   Amec Foster Wheeler Environment &   Ares                                                Clients in matters
     Infrastructure Inc                  GE                                                  unrelated to the debtors
                                         GE Oil & Gas
                                         GE Oil & Gas (GE Baker)
                                         General Electric Oil & Gas
                                         Philips Lighting B.V.
                                         Rolls Royce Defense
                                         TransCanada
                                         TransCanada Corporation
44   Ameresco Inc - Federal              Duke Energy                                         Clients in matters
                                                                                             unrelated to the debtors
45   Amerex Brokers LLC                  Tullett Prebon ICAP                                 Clients in matters
                                                                                             unrelated to the debtors
46   American Air Filter Company Inc -   Daikin                                              Clients in matters
     Power & Industrial Division         Daikin Industries                                   unrelated to the debtors



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#     Interested Party Name             Proposed Professionals Connection Name       Connection Type
147   21 st Century
      American      CasualtyInsurance
                Alternative  Company    Allianz                                      Clients in matters
      Company                           Apollo                                       unrelated to the debtors
                                        Apollo Hospitals Enterprise Ltd
                                        Banistmo
                                        BP
                                        BP p.l.c.
                                        CBRE
                                        CNA Financial Corp.
                                        ERGO
                                        ERGO Group AG
                                        Ergo International AG
                                        ERGO Versicherungsgruppe AG
                                        Fair
                                        Hetero
                                        Munich Health North America
                                        Munich Healthcare
                                        Munich Re
                                        Paramount Health Care
                                        State Street
48    American Automobile Insurance     ADAC e.V.                                    Clients in matters
      Company                           Aegon USA (Transamerica)                     unrelated to the debtors
                                        AGCO
                                        Airbus
                                        Airbus Defence and Space GmbH
                                        Airbus Group NV
                                        Airbus Helicopters
                                        Airbus Safran Launchers
                                        Allianz
                                        Allianz AG
                                        Allianz Asia Pacific (AZAP)
                                        Allianz Asset Management AG
                                        Allianz Bank
                                        Allianz CIA de Seguros y Reaseguros SA
                                        Allianz Deutschland AG
                                        Allianz France
                                        Allianz Global Investors
                                        Allianz Global Investors GmbH
                                        Allianz Hungaria Zrt.
                                        Allianz Lebensversicherungs-AG
                                        Allianz Life Insurance Company of New York
                                        Allianz Partners SAS
                                        Allianz S.P.A.
                                        Allianz SE
                                        Allianz Sigorta A.S.
                                        Allianz Versicherungs-AG
                                        Alphabet Inc
                                        AXA
                                        BASF
                                        BASF Corp.
                                        BASF Corporation
                                        BASF New Business GmbH
                                        BASF SE
                                        Bayer



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Bayer AG                                          Clients in matters
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto



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#    Interested Party Name                Proposed Professionals Connection Name    Connection Type
1    21 st Century Casualty Company       Monsanto Co.                              Clients in matters
                                          Monsanto Company
                                          MSD Japan
                                          Nestlé
                                          Nestle Foods
                                          Nestle Purina
                                          Nestlé Regional Spring Water
                                          Nestlé S.A.
                                          Nestle Waters
                                          Nestle Waters North America
                                          Nokia Oy
                                          Nokia Oyj
                                          Pfizer Global Pharmaceuticals
                                          PIMCO
                                          PIMCO Europe Ltd.
                                          Rolls Royce
                                          Rolls Royce Defense
                                          Societe Generale IBFS
                                          Starbucks
                                          UniCredit Banca
                                          Unicredit Bank AG
                                          UniCredit Bank Austria AG
                                          UniCredit CIB
                                          UniCredit SpA
                                          Wintershall Holding GmbH
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
49   American Bankers Insurance Company   American Securities                       Clients in matters
     of Florida                           GE                                        unrelated to the debtors
                                          Insurance Australia Group Limited (IAG)
50   American Casualty Company            Axiom                                     Clients in matters
                                                                                    unrelated to the debtors
51   American Family Home Insurance       Allianz                                   Clients in matters
     Company                              Apollo                                    unrelated to the debtors
                                          Apollo Hospitals Enterprise Ltd
                                          Banistmo
                                          BP
                                          BP p.l.c.
                                          CBRE
                                          CNA Financial Corp.
                                          ERGO
                                          ERGO Group AG
                                          Ergo International AG
                                          ERGO Versicherungsgruppe AG
                                          Fair
                                          Hetero
                                          Munich Health North America
                                          Munich Healthcare
                                          Munich Re
                                          Paramount Health Care
                                          State Street
52   American Fire & Casualty Company     ING                                       Clients in matters
                                          ING Bank Nederland                        unrelated to the debtors



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#    Interested Party Name               Proposed Professionals Connection Name          Connection Type
1    21 st Century Casualty Company      Liberty Insurance                               Clients in matters
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
53   American General Insurance Company AIG                                              Clients in matters
     dba ANPAC General Insurance Company AIG Capital Corporation                         unrelated to the debtors
                                         AIG Property Casualty
                                         American International Group (AIG)
                                         Avon
                                         Avon Global
                                         Blackboard
                                         BridgeBio Pharma LLC
                                         BRISA
                                         BT
                                         Citi
                                         GE
                                         General Atlantic
                                         General Atlantic (UK) LLP
                                         General Atlantic Partners
                                         Hamilton Insurance
                                         ING
                                         ING Bank Nederland
                                         PineBridge Investments
                                         QED Therapeutics
                                         Vodafone
                                         Vodafone (VOD)
                                         Vodafone Group PLC
54   American Guarantee & Liability      AIG                                             Clients in matters
     Insurance Company                   Baloise-Holding AG                              unrelated to the debtors
                                         Basler Versicherung AG
                                         Gilde Buy Out Partners
                                         ING
                                         ING Bank Nederland
                                         QBE
                                         Santander Brasil
                                         Santander Mexico
                                         Unum
                                         Zurich Deutscher Herold Lebensversicherung AG
                                         Zurich Financial Services
                                         Zurich Insurance
                                         Zurich Insurance Company Ltd
                                         Zurich Insurance Group AG
                                         Zurich North America
                                         Zurich-Santander
55   American Home Assurance Company     AIG                                             Clients in matters
                                         AIG Capital Corporation                         unrelated to the debtors
                                         AIG Property Casualty
                                         American International Group (AIG)
                                         Avon
                                         Avon Global
                                         Blackboard


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#    Interested Party Name            Proposed Professionals Connection Name       Connection Type
1    21 st Century Casualty Company   BridgeBio Pharma LLC                         Clients in matters
                                      BRISA
                                      BT
                                      Citi
                                      GE
                                      General Atlantic
                                      General Atlantic (UK) LLP
                                      General Atlantic Partners
                                      Hamilton Insurance
                                      ING
                                      ING Bank Nederland
                                      PineBridge Investments
                                      QED Therapeutics
                                      Vodafone
                                      Vodafone (VOD)
                                      Vodafone Group PLC
56   American Hydro Corporation       ABP                                          Clients in matters
                                      Wärtsilä                                     unrelated to the debtors
                                      Wärtsilä Corporation
57   American Insurance Company       ADAC e.V.                                    Clients in matters
                                      Aegon USA (Transamerica)                     unrelated to the debtors
                                      AGCO
                                      Airbus
                                      Airbus Defence and Space GmbH
                                      Airbus Group NV
                                      Airbus Helicopters
                                      Airbus Safran Launchers
                                      Allianz
                                      Allianz AG
                                      Allianz Asia Pacific (AZAP)
                                      Allianz Asset Management AG
                                      Allianz Bank
                                      Allianz CIA de Seguros y Reaseguros SA
                                      Allianz Deutschland AG
                                      Allianz France
                                      Allianz Global Investors
                                      Allianz Global Investors GmbH
                                      Allianz Hungaria Zrt.
                                      Allianz Lebensversicherungs-AG
                                      Allianz Life Insurance Company of New York
                                      Allianz Partners SAS
                                      Allianz S.P.A.
                                      Allianz SE
                                      Allianz Sigorta A.S.
                                      Allianz Versicherungs-AG
                                      Alphabet Inc
                                      AXA
                                      BASF
                                      BASF Corp.
                                      BASF Corporation
                                      BASF New Business GmbH
                                      BASF SE
                                      Bayer


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Bayer AG                                          Clients in matters
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto



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#    Interested Party Name                Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company       Monsanto Co.                               Clients in matters
                                          Monsanto Company
                                          MSD Japan
                                          Nestlé
                                          Nestle Foods
                                          Nestle Purina
                                          Nestlé Regional Spring Water
                                          Nestlé S.A.
                                          Nestle Waters
                                          Nestle Waters North America
                                          Nokia Oy
                                          Nokia Oyj
                                          Pfizer Global Pharmaceuticals
                                          PIMCO
                                          PIMCO Europe Ltd.
                                          Rolls Royce
                                          Rolls Royce Defense
                                          Societe Generale IBFS
                                          Starbucks
                                          UniCredit Banca
                                          Unicredit Bank AG
                                          UniCredit Bank Austria AG
                                          UniCredit CIB
                                          UniCredit SpA
                                          Wintershall Holding GmbH
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
58   American International Reinsurance   AIG                                        Clients in matters
     Company Ltd                          AIG Capital Corporation                    unrelated to the debtors
                                          AIG Property Casualty
                                          American International Group (AIG)
                                          Avon
                                          Avon Global
                                          Blackboard
                                          BridgeBio Pharma LLC
                                          BRISA
                                          BT
                                          Citi
                                          GE
                                          General Atlantic
                                          General Atlantic (UK) LLP
                                          General Atlantic Partners
                                          Hamilton Insurance
                                          ING
                                          ING Bank Nederland
                                          PineBridge Investments
                                          QED Therapeutics
                                          Vodafone
                                          Vodafone (VOD)
                                          Vodafone Group PLC
59   American Messaging Services LLC      Verizon                                    Clients in matters
                                                                                     unrelated to the debtors
60   American Modern Home Insurance       Allianz                                    Clients in matters
                                                                                     unrelated to the debtors

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#    Interested Party Name                Proposed Professionals Connection Name          Connection Type
1    21 st Century Casualty Company
     Company                              Apollo                                          Clients in matters
                                                                                          unrelated  to the debtors
                                          Apollo Hospitals Enterprise Ltd
                                          Banistmo
                                          BP
                                          BP p.l.c.
                                          CBRE
                                          CNA Financial Corp.
                                          ERGO
                                          ERGO Group AG
                                          Ergo International AG
                                          ERGO Versicherungsgruppe AG
                                          Fair
                                          Hetero
                                          Munich Health North America
                                          Munich Healthcare
                                          Munich Re
                                          Paramount Health Care
                                          State Street
61   American Modern Insurance Group      Allianz                                         Clients in matters
                                          Apollo                                          unrelated to the debtors
                                          Apollo Hospitals Enterprise Ltd
                                          Banistmo
                                          BP
                                          BP p.l.c.
                                          CBRE
                                          CNA Financial Corp.
                                          ERGO
                                          ERGO Group AG
                                          Ergo International AG
                                          ERGO Versicherungsgruppe AG
                                          Fair
                                          Hetero
                                          Munich Health North America
                                          Munich Healthcare
                                          Munich Re
                                          Paramount Health Care
                                          State Street
62   American Security Insurance Company American Securities                              Clients in matters
                                          GE                                              unrelated to the debtors
                                          Insurance Australia Group Limited (IAG)
63   American Strategic Insurance Company Progressive Corporation                         Clients in matters
                                          Progressive Insurance                           unrelated to the debtors
64   American Zurich Insurance Company    AIG                                             Clients in matters
                                          Baloise-Holding AG                              unrelated to the debtors
                                          Basler Versicherung AG
                                          Gilde Buy Out Partners
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          Santander Brasil
                                          Santander Mexico
                                          Unum
                                          Zurich Deutscher Herold Lebensversicherung AG


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#    Interested Party Name                 Proposed Professionals Connection Name   Connection Type
1    21 st Century Casualty Company        Zurich Financial Services                Clients in matters
                                           Zurich Insurance
                                           Zurich Insurance Company Ltd
                                           Zurich Insurance Group AG
                                           Zurich North America
                                           Zurich-Santander
65   Amerigas Propane                      Royal Dutch Shell Retail                 Clients in matters
                                           Royal Dutch/Shell Group                  unrelated to the debtors
                                           Shell
66   Ametek Solidstate Controls            ASML                                     Clients in matters
                                           Pulsar Software                          unrelated to the debtors
                                           SunPower
                                           SunPower Corp.
67   Amlin Underwriting Limited            Amlin plc                                Clients in matters
                                           Goldman Sachs - FWS                      unrelated to the debtors
                                           Mitsui & Co., Ltd.
                                           Mitsui & Company Limited
                                           MS Amlin UK
                                           Sinar Mas Group
                                           Toyota
68   Amtrust at Lloyd's                    American Capital Ltd.                    Clients in matters
                                           Genworth Financial                       unrelated to the debtors
                                           Genworth Financial Inc.
69   AmTrust North America                 American Capital Ltd.                    Clients in matters
                                           Genworth Financial                       unrelated to the debtors
                                           Genworth Financial Inc.
70   Anchorage Capital Group LLC on behalf McCarthy & Stone                         Clients in matters
     of certain funds and accounts         McCarthy & Stone plc                     unrelated to the debtors
                                           SCOR
71   Angelo Gordon & Co LP                 AMR Interagency Coordination Mechanism   Clients in matters
                                           GE                                       unrelated to the debtors
                                           Prudential Financial
                                           Prudential Financial Inc.
                                           Prudential Financial, Inc.
                                           Siris Capital Group Llc
                                           Verizon
                                           Verizon Communications
72   Apache Corp                           BP                                       Clients in matters
                                           BP p.l.c.                                unrelated to the debtors
                                           Repsol
                                           Repsol Bolivia
                                           Royal Dutch Shell Retail
                                           Royal Dutch/Shell Group
                                           Shell
                                           YPF
73   Apollo                                Apollo                                   Clients in matters
                                                                                    unrelated to the debtors
74   Apollo Global Management LLC         AAA                                       Clients in matters
                                          Apollo                                    unrelated to the debtors
                                          Apollo Capital
                                          Apollo EPF Management II
                                          Apollo Global Management
                                          Apollo Global Management LLC


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#    Interested Party Name                  Proposed Professionals Connection Name    Connection Type
1    21 st Century Casualty Company         Apollo Management                         Clients in matters
                                            Apollo Management VIII, L.P.
                                            Citi
                                            PNC
75   APTIM                                  APTIM                                     Clients in matters
                                            APTIM Corp.                               unrelated to the debtors
76   APTIM Environmental & Sustainability   APTIM                                     Clients in matters
                                            AREVA Group                               unrelated to the debtors
77   ArborMetrics Solutions LLC             American Electric Power (AEP)             Clients in matters
                                                                                      unrelated to the debtors
78   Arch Insurance Company                 Axiom                                     Clients in matters
                                            CMG healthcare                            unrelated to the debtors
79   Arch Reinsurance Ltd                   Axiom                                     Clients in matters
                                            CMG healthcare                            unrelated to the debtors
80   Arch Specialty Insurance Company       Axiom                                     Clients in matters
                                            CMG healthcare                            unrelated to the debtors
81   Archrock                               Exterran                                  Clients in matters
                                            Ingersoll Rand - IRS                      unrelated to the debtors
82   Arizona Public Service                 Arizona Public Service                    Clients in matters
                                            Axiom                                     unrelated to the debtors
                                            Pinnacle West Capital Corp.
                                            Suncor
83   Arlington Wind Power Project LLC       Corporacion Empresarial Pascual Sl.       Clients in matters
                                            EDP - Distribuição                        unrelated to the debtors
                                            EDP - Electricidade de Portugal S.A.
                                            EDP - Electricidade de Portugal, S.A.
                                            EDP - Energias de Portugal
                                            EDP - Energias de Portugal S.A.
                                            EDP- Electricidade de Portugal, SA
                                            Energias de Portugal
                                            Galp Energia, SGPS, S.A.
                                            Galpenergia
                                            mabe, s. a. de c.v.
                                            NATURGAS
                                            Nuon
                                            Repsol
                                            Repsol Bolivia
                                            Royal Dutch Shell Retail
                                            Royal Dutch/Shell Group
                                            Shell
84   ASI Select Insurance Corp              Progressive Corporation                   Clients in matters
                                            Progressive Insurance                     unrelated to the debtors
85   Aspen Insurance Company                Aspen Insurance                           Clients in matters
                                                                                      unrelated to the debtors
86   Aspen Specialty Insurance Company      Aspen                                     Clients in matters
                                            Aspen Insurance                           unrelated to the debtors
                                            Aspen Insurance UK
87   Asplundh Construction LLC region 208   American Electric Power (AEP)             Clients in matters
                                                                                      unrelated to the debtors
88   Associated Indemnity Corporation       ADAC e.V.                                 Clients in matters
                                            Aegon USA (Transamerica)                  unrelated to the debtors
                                            AGCO
                                            Airbus


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Airbus Defence and Space GmbH                     Clients in matters
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Allianz
                                     Allianz AG
                                     Allianz Asia Pacific (AZAP)
                                     Allianz Asset Management AG
                                     Allianz Bank
                                     Allianz CIA de Seguros y Reaseguros SA
                                     Allianz Deutschland AG
                                     Allianz France
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Commerzbank AG                                    Clients in matters
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan
                                     Nestlé
                                     Nestle Foods
                                     Nestle Purina
                                     Nestlé Regional Spring Water
                                     Nestlé S.A.
                                     Nestle Waters
                                     Nestle Waters North America
                                     Nokia Oy
                                     Nokia Oyj
                                     Pfizer Global Pharmaceuticals
                                     PIMCO
                                     PIMCO Europe Ltd.
                                     Rolls Royce
                                     Rolls Royce Defense
                                     Societe Generale IBFS
                                     Starbucks
                                     UniCredit Banca
                                     Unicredit Bank AG
                                     UniCredit Bank Austria AG
                                     UniCredit CIB



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#    Interested Party Name            Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company   UniCredit SpA                              Clients in matters
                                      Wintershall Holding GmbH
                                      Zhejiang Hengyi Group Co. Ltd.
                                      Zhejiang Huaye
89   Assurant Group of Carriers       American Securities                        Clients in matters
                                      GE                                         unrelated to the debtors
                                      Insurance Australia Group Limited (IAG)
90   AT&T Corp                        AT&T                                       Clients in matters
                                      CME Media Services Limited                 unrelated to the debtors
                                      CME Media Services Ltd
                                      Comcast
                                      Comcast NBCU
                                      Comcast/NBCU
                                      DIRECTV
                                      Ingenio La Union
                                      Sky
                                      Sky Brasil Serviços Ltda.
                                      Sprint
                                      Time Inc.
                                      Time Warner Inc.
                                      Time, Inc.
                                      T-Mobile
                                      Verizon
                                      Windstream
91   AT&T Mobility II LLC             AT&T                                       Clients in matters
                                      CME Media Services Limited                 unrelated to the debtors
                                      CME Media Services Ltd
                                      Comcast
                                      Comcast NBCU
                                      Comcast/NBCU
                                      DIRECTV
                                      Ingenio La Union
                                      Sky
                                      Sky Brasil Serviços Ltda.
                                      Sprint
                                      Time Inc.
                                      Time Warner Inc.
                                      Time, Inc.
                                      T-Mobile
                                      Verizon
                                      Windstream
92   AT&T Network                     AT&T                                       Clients in matters
                                      CME Media Services Limited                 unrelated to the debtors
                                      CME Media Services Ltd
                                      Comcast
                                      Comcast NBCU
                                      Comcast/NBCU
                                      DIRECTV
                                      Ingenio La Union
                                      Sky
                                      Sky Brasil Serviços Ltda.
                                      Sprint
                                      Time Inc.


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#    Interested Party Name                  Proposed Professionals Connection Name                 Connection Type
1    21 st Century Casualty Company         Time Warner Inc.                                       Clients in matters
                                            Time, Inc.
                                            T-Mobile
                                            Verizon
                                            Windstream
93   Atlantic Specialty Insurance Company   Allianz                                                Clients in matters
                                            AXA                                                    unrelated to the debtors
                                            HSBC
                                            ING
                                            ING Bank Nederland
                                            Intact Financial Corp.
                                            Intact Financial Corporation
94   Atlantica Yield                        Enel                                                   Clients in matters
                                                                                                   unrelated to the debtors
95   Atlas Copco                            Atlas Copco                                            Clients in matters
                                            Atlas Copco AB                                         unrelated to the debtors
                                            Baker Hugues
                                            Ingersoll Rand - IRS
96   Attestor Capital LLP                   Oi                                                     Clients in matters
                                                                                                   unrelated to the debtors
97   Aurelius Capital Management LP         Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj     Clients in matters
                                            Finance on behalf of Aurelius Capital Management, LP   unrelated to the debtors
                                            Aker Group
                                            ArcelorMittal - Acindar
                                            BT plc
                                            CGG
                                            Nextel
                                            Nextel Brasil
                                            NII Holdings, Inc.
                                            Peabody
                                            Peabody Energy
                                            Peabody Energy Australia Pty Ltd
                                            Peabody Energy Corporation
98   Ausra Ca II LLC                        Alstom S.A.                                            Clients in matters
                                            AREVA                                                  unrelated to the debtors
                                            AREVA Group
                                            Enrichment Technology Company Limited
                                            Enrichment Technology Company Ltd
                                            GE
                                            GE Power, SPS
                                            JSW Ltd.
                                            Schneider Electric Operations and Consulting GmbH
99   AV Solar Ranch 1 LLC                   Bluestem Brands                                        Clients in matters
                                            ComEd                                                  unrelated to the debtors
                                            Consolidated Edison Company of New York, Inc.,
                                            (CECONY)
                                            Entergy
                                            Exelon
                                            Exelon Corporation
                                            Shell
100 Avangrid Renewables LLC                 Corporacion Empresarial Pascual Sl.                    Clients in matters
                                            EDP - Electricidade de Portugal, S.A.                  unrelated to the debtors
                                            EDP- Electricidade de Portugal, SA



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#    Interested Party Name             Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company    Endesa                                     Clients in matters
                                       Iberdrola
                                       Iberdrola S.A.
                                       Red Electrica Sa
                                       REE
                                       Viesgo
101 Avista Energy Inc                  Avista Capital Partners Ii Gp Llc.         Clients in matters
                                                                                  unrelated to the debtors
102 Avista Utilities                   Avista Capital Partners Ii Gp Llc.         Clients in matters
                                                                                  unrelated to the debtors
103 Axiom Advisors                     Axiom                                      Clients in matters
                                                                                  unrelated to the debtors
104 AXIS Insurance Company             Sirius XM                                  Clients in matters
                                                                                  unrelated to the debtors
105 AXIS Specialty Limited             Sirius XM                                  Clients in matters
                                                                                  unrelated to the debtors
106 AXIS Surplus Insurance Company     Sirius XM                                  Clients in matters
                                                                                  unrelated to the debtors
107 Baker Hughes Process & Pipeline    Baker Hugues                               Clients in matters
    Services                                                                      unrelated to the debtors
108 Baker Hughes US Land               Baker Hughes Corporation                   Clients in matters
                                       Baker Hughes, a GE company                 unrelated to the debtors
                                       Baker Hugues
                                       C3
                                       C3 IoT
                                       GE
                                       GE Oil & Gas
                                       GE Oil & Gas (GE Baker)
                                       General Electric Oil & Gas
109 BakerCorp                          United Rentals Inc.                        Clients in matters
                                       United Rentals, Inc.                       unrelated to the debtors
110 Bakersfield Memorial Hospital      Catholic Health Initiatives                Clients in matters
                                       CommonSpirit Health                        unrelated to the debtors
                                       Dignity Health
                                       St Luke's Health System
                                       St. Luke's Health System
                                       Trinity Health
                                       Welltok
                                       WellTok Inc.
111 Bank of America                    Aegon USA (Transamerica)                   Clients in matters
                                       Apollo                                     unrelated to the debtors
                                       Bank Of America
                                       Bank of America Corp.
                                       Bank of America Corporation
                                       Bankia
                                       Barnes Group
                                       Barnes Group, Inc.
                                       Daimler PGMex
                                       Deutsche Bank
                                       Entergy
                                       First Republic Bank
                                       First Republic Bank Inc.
                                       GE
                                       KeyCorp


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#   Interested Party Name                Proposed Professionals Connection Name                 Connection Type
1   21 st Century Casualty Company       Mastercard                                             Clients in matters
                                         MasterCard Inc.
                                         Mastercard Incorporated
                                         Merrill Lynch, Pierce, Fenner & Smith Incorporated
                                         National Westminster Bank
                                         National Westminster Bank Plc
                                         Nets A/S
                                         Overseas Private Investment Corporation - (Solar
                                         Mosaic)
                                         Overseas Private Investment Corporation - Solar Mosaic
                                         PNC
                                         Riverstone
                                         Sempra Energy
                                         Shell
                                         State Street
                                         Urban Edge
112 Bank of Montreal                     Bank of Montreal                                       Clients in matters
                                         BMO Bank of Montreal                                   unrelated to the debtors
                                         BMO Harris Bank
                                         Computershare
                                         Computershare Limited
                                         Guardian Group (investment of National Commercial
                                         Bank of Jamaica)
                                         Hoffman-La Roche Pharma
113 Bank of New York Mellon              Banco de Galicia S.A.                                  Clients in matters
                                         Banco de Galicia y Buenos Aires S.A.                   unrelated to the debtors
                                         Banco Galicia
                                         Bank of New York Mellon
                                         Blom Bank
                                         BLOM Bank SAL
                                         BNY Mellon
                                         CIBC
                                         Citi
                                         Grünenthal Pharma GmbH & Co. Kommanditgesellschaft
                                         Hamilton Insurance
                                         HSBC
                                         ING
                                         ING Bank Nederland
                                         JP Morgan
                                         JPMorgan Chase & Co. - Confidential
                                         National Westminster Bank
                                         RBS
                                         The Bank of New York Mellon
                                         The Bank of New York Mellon Corp
                                         UniCredit CIB
114 Bankers Standard Insurance Company   Chubb                                                  Clients in matters
                                         Chubb Corporation                                      unrelated to the debtors
                                         CIGNA
                                         INA
                                         INA-Holding Schaeffler KG
115 Barclays Bank PLC                    Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj     Clients in matters
                                         Finance on behalf of Barclays Bank PLC                 unrelated to the debtors
                                         Barclays


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#    Interested Party Name            Proposed Professionals Connection Name               Connection Type
1    21 st Century Casualty Company   Barclays Africa                                      Clients in matters
                                      Barclays Bank plc
                                      Barclays Plc
                                      BP p.l.c.
                                      Cairn
                                      Cap Gemini SA
                                      Capgemini
                                      CapGemini Outsourcing Services
                                      Capgemini SE
                                      Citi
                                      Clydesdale
                                      Deutsche Bank
                                      First Midwest Bancorp Inc
                                      First Midwest Bank
                                      ING
                                      ING Bank Nederland
                                      Leidos
                                      Lloyds Banking Group
                                      Lloyds Banking Group plc
                                      RBS
                                      Rio Tinto
                                      Rio Tinto Alcan
                                      Rio Tinto Alcan Inc.
                                      Rio Tinto Aluminium
                                      Rio Tinto B&A
                                      Rio Tinto Bauxite & Alumina
                                      Rio Tinto Bauxite and Alumina
                                      Rio Tinto Coal Australia
                                      Rio Tinto Copper Group
                                      Rio Tinto Fer & Titane
                                      Rio Tinto Iron and Titanium
                                      Rio Tinto Iron and Titanium Limited
                                      Rio Tinto Iron Ore
                                      Rio Tinto Limited
                                      Rio Tinto PLC
116 Barclays Capital Inc              Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj   Clients in matters
                                      Finance on behalf of Barclays Bank PLC               unrelated to the debtors
                                      Barclays
                                      Barclays Africa
                                      Barclays Bank plc
                                      Barclays Plc
                                      BP p.l.c.
                                      Cairn
                                      Cap Gemini SA
                                      Capgemini
                                      CapGemini Outsourcing Services
                                      Capgemini SE
                                      Citi
                                      Clydesdale
                                      Deutsche Bank
                                      First Midwest Bancorp Inc
                                      First Midwest Bank
                                      ING



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#   Interested Party Name              Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company     ING Bank Nederland                                Clients in matters
                                       Leidos
                                       Lloyds Banking Group
                                       Lloyds Banking Group plc
                                       RBS
                                       Rio Tinto
                                       Rio Tinto Alcan
                                       Rio Tinto Alcan Inc.
                                       Rio Tinto Aluminium
                                       Rio Tinto B&A
                                       Rio Tinto Bauxite & Alumina
                                       Rio Tinto Bauxite and Alumina
                                       Rio Tinto Coal Australia
                                       Rio Tinto Copper Group
                                       Rio Tinto Fer & Titane
                                       Rio Tinto Iron and Titanium
                                       Rio Tinto Iron and Titanium Limited
                                       Rio Tinto Iron Ore
                                       Rio Tinto Limited
                                       Rio Tinto PLC
117 Barry-Wehmiller Design Group Inc   Apollo                                            Clients in matters
                                                                                         unrelated to the debtors
118 Berkshire Hathaway Energy          American Electric Power (AEP)                     Clients in matters
    Renewables                         Bankia                                            unrelated to the debtors
                                       BNSF Railway Company
                                       BP
                                       BP p.l.c.
                                       Burlington Northern Santa Fe
                                       Burlington Northern Santa Fe Corporation
                                       Burlington Northern Santa Fe Corporation (BNSF)
                                       Chemours
                                       Chevron
                                       Citi
                                       Corning CDT
                                       CSRA
                                       CSRA Inc.
                                       Daimler PGMex
                                       DaVita Inc.
                                       Dow Chemical Company
                                       Dow DuPont
                                       Dow DuPont Ag Co
                                       Dow DuPont AgCo
                                       DowDuPont
                                       DowDuPont Ag Division
                                       DowDupont AgCo
                                       DowDuPont Inc.
                                       DowDupont SpecCo
                                       DQ DC Multi-client code
                                       Duke Energy
                                       DuPont
                                       DuPont Nutrition & Health
                                       DuPont Pioneer
                                       DuPont/Pioneer



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Firmenich International Sa                        Clients in matters
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa
                                     Visa Canada Corporation
                                     Visa Inc
                                     Visa Inc.
                                     Visa Worldwide Pte. Limited
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
119 Berkshire Hathaway Guard Ins     American Electric Power (AEP)                     Clients in matters
                                     Bankia                                            unrelated to the debtors
                                     BNSF Railway Company
                                     BP
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)



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#   Interested Party Name            Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company   Chemours                                  Clients in matters
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd



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#   Interested Party Name              Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company     Sun Life                                          Clients in matters
                                       Tesco PLC
                                       The Kraft Heinz Company
                                       The Kraft Heinz Company - via Genpact
                                       The Kraft Heinz Foods Company
                                       Timet
                                       Trident Group
                                       Viacom 18
                                       Visa
                                       Visa Canada Corporation
                                       Visa Inc
                                       Visa Inc.
                                       Visa Worldwide Pte. Limited
                                       Zhejiang Hengyi Group Co. Ltd.
                                       Zhejiang Huaye
120 Berkshire Hathaway International   American Electric Power (AEP)                     Clients in matters
    Insurance Limited                  Bankia                                            unrelated to the debtors
                                       BNSF Railway Company
                                       BP
                                       BP p.l.c.
                                       Burlington Northern Santa Fe
                                       Burlington Northern Santa Fe Corporation
                                       Burlington Northern Santa Fe Corporation (BNSF)
                                       Chemours
                                       Chevron
                                       Citi
                                       Corning CDT
                                       CSRA
                                       CSRA Inc.
                                       Daimler PGMex
                                       DaVita Inc.
                                       Dow Chemical Company
                                       Dow DuPont
                                       Dow DuPont Ag Co
                                       Dow DuPont AgCo
                                       DowDuPont
                                       DowDuPont Ag Division
                                       DowDupont AgCo
                                       DowDuPont Inc.
                                       DowDupont SpecCo
                                       DQ DC Multi-client code
                                       Duke Energy
                                       DuPont
                                       DuPont Nutrition & Health
                                       DuPont Pioneer
                                       DuPont/Pioneer
                                       Firmenich International Sa
                                       Fresenius RTG
                                       Fresenius SE & Co. KGaA
                                       GE
                                       GE Power, SPS
                                       GEHC
                                       General Dynamic UK



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#    Interested Party Name                 Proposed Professionals Connection Name            Connection Type
1    21 st Century Casualty Company        General Dynamics Corporation                      Clients in matters
                                           General Motors Corp. - Confidential
                                           Hyatt
                                           Hyatt Corporation
                                           Hyatt Hotels Corporation
                                           Intermountain
                                           Kraft Foods Inc.
                                           Kraft Heinz
                                           KraftHeinz Canada
                                           Kraft-Heinz Canada
                                           L&T
                                           L&T digital
                                           L&T Infotech
                                           Lubrizol Corp
                                           Lubrizol Corporation
                                           Micron
                                           Mondelez International
                                           Mondelez International Inc.
                                           Nissan
                                           OTC
                                           PKP Energetyka
                                           Providence
                                           ROHM Co. Ltd
                                           Sun Life
                                           Tesco PLC
                                           The Kraft Heinz Company
                                           The Kraft Heinz Company - via Genpact
                                           The Kraft Heinz Foods Company
                                           Timet
                                           Trident Group
                                           Viacom 18
                                           Visa
                                           Visa Canada Corporation
                                           Visa Inc
                                           Visa Inc.
                                           Visa Worldwide Pte. Limited
                                           Zhejiang Hengyi Group Co. Ltd.
                                           Zhejiang Huaye
121 Berkshire Hathaway Specialty Insurance American Electric Power (AEP)                     Clients in matters
    Company                                Bankia                                            unrelated to the debtors
                                           BNSF Railway Company
                                           BP
                                           BP p.l.c.
                                           Burlington Northern Santa Fe
                                           Burlington Northern Santa Fe Corporation
                                           Burlington Northern Santa Fe Corporation (BNSF)
                                           Chemours
                                           Chevron
                                           Citi
                                           Corning CDT
                                           CSRA
                                           CSRA Inc.
                                           Daimler PGMex



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#   Interested Party Name            Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company   DaVita Inc.                               Clients in matters
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group



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#   Interested Party Name                Proposed Professionals Connection Name                Connection Type
1   21 st Century Casualty Company       Viacom 18                                             Clients in matters
                                         Visa
                                         Visa Canada Corporation
                                         Visa Inc
                                         Visa Inc.
                                         Visa Worldwide Pte. Limited
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
122 BGC Environmental Brokerage Services Tullett Prebon ICAP                                   Clients in matters
    LP                                                                                         unrelated to the debtors
123 BlackRock Fund Advisors              Abu Dhabi Chamber Of Commerce & Industry              Clients in matters
                                         Ad hoc lenders to Arch Coal on behalf of Tennenbaum   unrelated to the debtors
                                         Capital Partners, LLC
                                         Air Liquide Asia Pacific
                                         Aker Group
                                         Aldi Einkauf GmbH & Co. oHG
                                         Alpha Natural Resources
                                         Alpha Natural Resources Inc.
                                         American Express
                                         American Express Company
                                         Archer Daniels Midland
                                         Archer Daniels Midland Company
                                         AXA
                                         Banco Popolare
                                         Banque Pictet & Cie SA
                                         BeLux GEM Cluster
                                         BHP Billiton Mitsubishi Alliance Pty Limited
                                         Blackrock Inc
                                         BlackRock Inc.
                                         BP
                                         BP p.l.c.
                                         Chevron
                                         Citibanamex
                                         Contura Energy Inc.
                                         Daimler PGMex
                                         Deutsche Bank
                                         eFront S.A.
                                         Espírito Santo Financial Group
                                         Gazprom PJSC
                                         GE Energy
                                         Geometric
                                         Geometric Ltd.
                                         Gruppo Banco Popolare
                                         Hanwha Total Petrochemicals Co., Ltd.
                                         HSBC
                                         IBM Watson Health
                                         Infineum
                                         Kelso
                                         Klarna Ab
                                         Kraft Foods Inc.
                                         Kraft Heinz
                                         Lloyds Banking Group
                                         Lloyds Banking Group plc


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1    21 st Century Casualty Company         Ma'aden Aluminium                                  Clients in matters
                                            mabe, s. a. de c.v.
                                            Maersk
                                            Marathon Oil Corporation
                                            Metso
                                            Metso Oyj
                                            Nomura
                                            Nomura ICG
                                            Ontex
                                            Ontex Group NV
                                            Peloton
                                            Peloton Interactive Inc.
                                            Red de Carreteras de Occidente, S.A.B. de C.V.
                                            Royal Dutch Shell
                                            Royal Dutch Shell plc
                                            Saft Groupe SA
                                            Samarco Mineração SA
                                            Sappi
                                            Sappi Europe S.A.
                                            Schneider
                                            State Street
                                            The Ontario Lottery and Gaming Corporation (OLG)
                                            Total E&P North Sea UK Limited
                                            TOTAL S.A.
                                            Total SA
                                            TransCanada
                                            Uber
                                            Uber International C.V.
                                            Uber Technologies, Inc.
                                            Valmet
                                            Valmet Oyj
                                            Vestas
                                            Vestas - Confidential
                                            Vestas Wind Systems
                                            Vestas Wind Systems A/S
                                            VodafoneZiggo
                                            Wärtsilä
                                            YIT
124 Blue Cross of California Inc dba Anthem Arkansas Blue Cross & Blue Shield                  Clients in matters
    Blue Cross                              BCBS Arkansas                                      unrelated to the debtors
                                            BCBS Louisiana
                                            Blue Cross and Blue Shield Association
                                            Blue Cross And Blue Shield Of Arizona Inc.
                                            Blue Cross and Blue Shield of Arizona, Inc.
                                            Blue Cross and Blue Shield of Minnesota
                                            Blue Cross and Blue Shield of North Carolina
                                            Blue Cross Blue Shield Association
                                            Blue Cross Blue Shield AZ
                                            Blue Cross Blue Shield NC
                                            Blue Cross Blue Shield of Arizona
                                            Blue Cross Blue Shield of Minnesota
                                            Blue Cross Blue Shield of North Carolina
                                            Blue Cross Blue Shield System



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#   Interested Party Name               Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company      Blue Cross of Idaho                                  Clients in matters
                                        Blue Cross Of Idaho Health Service Inc.
                                        Blue Cross of Idaho Health Service, Inc.
                                        Blue Cross/Blue Shield of Louisiana
                                        CareFirst BCBS
                                        CareFirst Blue Cross Blue Shield
                                        Louisiana Health Service & Indemnity Company, PAC
125 BlueLine Rental LLC                 United Rentals Inc.                                  Clients in matters
                                        United Rentals, Inc.                                 unrelated to the debtors
126 BlueMountain Capital Management LLC Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj   Clients in matters
                                        Finance on behalf of BlueMountain Capital Management unrelated to the debtors
                                        LLC
                                        Blue Mountain Capital
                                        Bluemountain Capital Management Llc
                                        New Mountain Capital
                                        New Mountain Capital LLC
127 BNP Paribas                         BNP Paribas                                          Clients in matters
                                                                                             unrelated to the debtors
128 BNP Paribas Securities Corp         Abbott Ireland Diabetes Care                         Clients in matters
                                        ABN AMRO Bank N.V.                                   unrelated to the debtors
                                        Abu Dhabi Chamber Of Commerce & Industry
                                        Air Liquide Asia Pacific
                                        Baloise-Holding AG
                                        Bank of Baroda
                                        Bank of the West
                                        BHP
                                        BHP Billiton
                                        BHP Billiton Group
                                        BNP Paribas
                                        BNP Paribas IP
                                        BNPP
                                        BNPP IP
                                        BPost
                                        bpost Bank
                                        bpost SA
                                        Caixabank
                                        CaixaBank, S.A.
                                        Citi
                                        Credit Agricole Indosuez
                                        Crédit Agricole Indosuez
                                        Crédit Agricole Indosuez Wealth
                                        Credit Agricole Wealth
                                        Crédit Agricole Wealth
                                        Eltel Networks
                                        Endesa
                                        Gazprom PJSC
                                        GE
                                        General Motors Corp. - Confidential
                                        Hanwha Total Petrochemicals Co., Ltd.
                                        ING
                                        ING Bank Nederland
                                        KeyCorp
                                        Maersk



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1   21 st Century Casualty Company   Massmart                                   Clients in matters
                                     Nissan
                                     Nissan Europe
                                     Raiffeisen Bank, a.s.
                                     Red Electrica Sa
                                     REE
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Saft Groupe SA
                                     SAUR
                                     Shell
                                     Sundaram Mutual
                                     Total E&P North Sea UK Limited
                                     TOTAL S.A.
                                     Total SA
                                     TransCanada
                                     UCB
                                     Viesgo
129 BNP Paribas US                   Abbott Ireland Diabetes Care               Clients in matters
                                     ABN AMRO Bank N.V.                         unrelated to the debtors
                                     Abu Dhabi Chamber Of Commerce & Industry
                                     Air Liquide Asia Pacific
                                     Baloise-Holding AG
                                     Bank of Baroda
                                     Bank of the West
                                     BHP
                                     BHP Billiton
                                     BHP Billiton Group
                                     BNP Paribas
                                     BNP Paribas IP
                                     BNPP
                                     BNPP IP
                                     BPost
                                     bpost Bank
                                     bpost SA
                                     Caixabank
                                     CaixaBank, S.A.
                                     Citi
                                     Credit Agricole Indosuez
                                     Crédit Agricole Indosuez
                                     Crédit Agricole Indosuez Wealth
                                     Credit Agricole Wealth
                                     Crédit Agricole Wealth
                                     Eltel Networks
                                     Endesa
                                     Gazprom PJSC
                                     GE
                                     General Motors Corp. - Confidential
                                     Hanwha Total Petrochemicals Co., Ltd.
                                     ING
                                     ING Bank Nederland
                                     KeyCorp
                                     Maersk



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#   Interested Party Name            Proposed Professionals Connection Name      Connection Type
1   21 st Century Casualty Company   Massmart                                    Clients in matters
                                     Nissan
                                     Nissan Europe
                                     Raiffeisen Bank, a.s.
                                     Red Electrica Sa
                                     REE
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Saft Groupe SA
                                     SAUR
                                     Shell
                                     Sundaram Mutual
                                     Total E&P North Sea UK Limited
                                     TOTAL S.A.
                                     Total SA
                                     TransCanada
                                     UCB
                                     Viesgo
130 BP Energy Company                Abu Dhabi Chamber of Commerce               Clients in matters
                                     Abu Dhabi Chamber Of Commerce & Industry    unrelated to the debtors
                                     Abu Dhabi Financial Group
                                     Abu Dhabi Investment Council
                                     Aker BP
                                     Aker BP ASA
                                     Aker Group
                                     BP
                                     BP Castrol
                                     BP Chemicals
                                     BP International Limited
                                     BP International Ltd
                                     BP p.l.c.
                                     Cairn
                                     Castrol
                                     Copec Combustibles
                                     Lightsource
                                     Lightsource Renewable Development Limited
                                     Odyssey Investment Partners
                                     TAQA
                                     TransCanada
131 BP Products North America Inc    Abu Dhabi Chamber of Commerce               Clients in matters
                                     Abu Dhabi Chamber Of Commerce & Industry    unrelated to the debtors
                                     Abu Dhabi Financial Group
                                     Abu Dhabi Investment Council
                                     Aker BP
                                     Aker BP ASA
                                     Aker Group
                                     BP
                                     BP Castrol
                                     BP Chemicals
                                     BP International Limited
                                     BP International Ltd
                                     BP p.l.c.
                                     Cairn


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#    Interested Party Name              Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company     Castrol                                             Clients in matters
                                        Copec Combustibles
                                        Lightsource
                                        Lightsource Renewable Development Limited
                                        Odyssey Investment Partners
                                        TAQA
                                        TransCanada
132 Bright House Networks LLC           Comcast                                             Clients in matters
                                        Comcast NBCU                                        unrelated to the debtors
                                        Comcast/NBCU
                                        Time Inc.
                                        Time Warner Cable
                                        Time Warner Inc.
                                        Time, Inc.
133 California Power Holdings LLC       Hanwha Financial                                    Clients in matters
                                        Hanwha Total Petrochemicals Co., Ltd.               unrelated to the debtors
                                        KEPCO
                                        Korea Electric Power Corporation
                                        Korea Hydro & Nuclear Power Co
134 Calpine Corporation                 Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
135 Calpine Energy Services LP          Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
136 Calpine Energy Solutions LLC        Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
137 Calpine Geysers Co L P              Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
138 Calpine King City Cogen             Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
139 Calpine Pittsburg Power Plant       Edison International / Southern California Edison   Clients in matters
                                        Edison Mission Energy                               unrelated to the debtors
                                        Entergy
                                        Sempra Energy
140 Caltrop Corporation                 EMCOR                                               Clients in matters
                                        GE                                                  unrelated to the debtors
141 Cameron International Corporation   Cameron International Corporation                   Clients in matters
                                        Cenovus Energy Inc                                  unrelated to the debtors
                                        Cenovus Energy Inc.
                                        NatCo
                                        Omron Europe Gmbh
                                        Schlumberger
                                        Schlumberger Ltd.
                                        Schlumberger NV


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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      Yara Brasil Fertilizantes S.A.             Clients in matters
142 CAN NAT RES                         BP                                         Clients in matters
                                        BP p.l.c.                                  unrelated to the debtors
                                        ENI S.p.A.
                                        Marathon Oil Corporation
                                        Shell
143 Canadian Imperial Bank of Commerce AIMIA Groupe Aeroplan Inc                   Clients in matters
                                        Aimia Inc.                                 unrelated to the debtors
                                        Canadian Imperial Bank of Commerce
                                        CIBC
                                        Citi
                                        Deutsche Bank
                                        Mastercard
                                        Telus
                                        TELUS Communications Inc.
                                        TELUS Corporation
                                        TELUS Health
                                        Telus International
144 Canadian Imperial Bank Of Commerce, AIMIA Groupe Aeroplan Inc                  Clients in matters
    New York Agency                     Aimia Inc.                                 unrelated to the debtors
                                        Canadian Imperial Bank of Commerce
                                        CIBC
                                        Citi
                                        Deutsche Bank
                                        Mastercard
                                        Telus
                                        TELUS Communications Inc.
                                        TELUS Corporation
                                        TELUS Health
                                        Telus International
145 Canon Solutions America Inc         Asahi Glass Company (AGC)                  Clients in matters
                                        Citi                                       unrelated to the debtors
                                        INCJ
                                        Innovation Network Corporation of Japan
                                        Renesas Electronics
                                        Renesas Electronics Corporation
                                        Toshiba Corp.
                                        Toshiba Corporation
146 Canopius Managing Agents Limited    Canopius                                   Clients in matters
                                        Nissan                                     unrelated to the debtors
147 Capital Group                       Capital G                                  Clients in matters
                                        Capital Group                              unrelated to the debtors
                                        The Capital Group Companies Inc
148 Capital Power Corporation           Kelso                                      Clients in matters
                                                                                   unrelated to the debtors
149 Capital Power LP                    Kelso                                      Clients in matters
                                                                                   unrelated to the debtors
150 Cardinal Cogen                      Advent - Estacio                           Clients in matters
                                        Advent - Grupo Fleury                      unrelated to the debtors
                                        Advent / CCC Information Services
                                        Advent International France
                                        Aker Group
                                        AREVA Group


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#   Interested Party Name            Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company   AXA                                                Clients in matters
                                     Axiom
                                     Baker Hugues
                                     Boeing
                                     Chevron
                                     Citi
                                     Daimler PGMex
                                     Enel
                                     FMC Technologies
                                     GE
                                     GE Additive
                                     GE Aviation
                                     GE Capital
                                     GE Corporate
                                     GE Digital
                                     GE Distributed Power
                                     GE Energy
                                     GE Healthcare
                                     GE India
                                     GE Oil & Gas
                                     GE Oil & Gas (GE Baker)
                                     GE Power
                                     GE Power & Water
                                     GE Power, SPS
                                     GE Renewable Energy
                                     GE Renewables
                                     GE Transportation
                                     GEHC
                                     General Electric
                                     General Electric Co.
                                     General Electric Company
                                     General Electric Oil & Gas
                                     Hilton
                                     Iberdrola S.A.
                                     J. C. Penney Corporation
                                     JP Morgan
                                     LM Wind Power A/S
                                     Lm Wind Power Holding A/S
                                     Mubadala
                                     Mubadala BMS
                                     Mubadala Development Company
                                     Mubadala Development Company PJSC
                                     Mubadala Development Company PJSC - Confidential
                                     Mubadala ICLDC
                                     Mubadala Minesa
                                     PKP Energetyka
                                     SABIC
                                     Shell
                                     SNC-Lavalin Group Inc.
                                     Suez Water Technologies & Solutions
                                     Sunrun
                                     Sunrun Inc.
                                     SunRun, Inc.



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#    Interested Party Name               Proposed Professionals Connection Name               Connection Type
1    21 st Century Casualty Company      Telus                                                Clients in matters
                                         The Hamilton Group Inc
                                         Tungsram
                                         YPF
151 Cargill Inc                          Allianz                                              Clients in matters
                                         BBVA                                                 unrelated to the debtors
                                         Cargill
                                         Cargill Animal Nutrition
                                         Cargill Corn Milling North America
                                         Cargill Feed & Nutrition
152 Cargill Ltd                          Allianz                                              Clients in matters
                                         BBVA                                                 unrelated to the debtors
                                         Cargill
                                         Cargill Animal Nutrition
                                         Cargill Corn Milling North America
                                         Cargill Feed & Nutrition
153 Cargill Power Markets LLC            Allianz                                              Clients in matters
                                         BBVA                                                 unrelated to the debtors
                                         Cargill
                                         Cargill Animal Nutrition
                                         Cargill Corn Milling North America
                                         Cargill Feed & Nutrition
154 CarVal Investors                     Allianz                                              Clients in matters
                                         BBVA                                                 unrelated to the debtors
                                         Cargill
                                         Cargill Animal Nutrition
                                         Cargill Corn Milling North America
                                         Cargill Feed & Nutrition
155 Caspian Capital LP                   Seaway Heavy Lifting Offshore Crew B.V.              Clients in matters
                                                                                              unrelated to the debtors
156 Catlin Specialty Insurance Company   Ad hoc lenders to Arch Coal on behalf of Catlin Re   Clients in matters
                                         Switzerland Ltd.                                     unrelated to the debtors
                                         Ardian
                                         Automatic Data Processing Inc. (ADP)
                                         AXA
                                         AXA Colpatria
                                         AXA Konzern AG
                                         AXA Lebensversicherungs AG
                                         AXA Life Insurance Co., Ltd.
                                         AXA Tianping
                                         AXA UK plc
                                         AXA-Equitable Holdings
                                         AXA-US
                                         BASF
                                         BASF Corp.
                                         BASF Corporation
                                         BASF New Business GmbH
                                         BASF SE
                                         Bayer
                                         BP p.l.c.
                                         Clariant International AG
                                         Colpatria
                                         Essity


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#   Interested Party Name            Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company   Essity AB                                 Clients in matters
                                     ExxonMobil Fuel & Lubricants
                                     HSBC
                                     Huntsman PU
                                     KAMET AXA
                                     Kotak Mahindra Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monte Dei Paschi Di Siena
                                     MPS - Monte dei Paschi di Siena
                                     QBE
                                     Rio Tinto
                                     Rio Tinto Alcan
                                     Rio Tinto Alcan Inc.
                                     Rio Tinto Aluminium
                                     Rio Tinto B&A
                                     Rio Tinto Bauxite & Alumina
                                     Rio Tinto Bauxite and Alumina
                                     Rio Tinto Coal Australia
                                     Rio Tinto Copper Group
                                     Rio Tinto Fer & Titane
                                     Rio Tinto Iron and Titanium
                                     Rio Tinto Iron and Titanium Limited
                                     Rio Tinto Iron Ore
                                     Rio Tinto Limited
                                     Rio Tinto PLC
                                     SCA
                                     SCA Consumer
                                     Sintetica
                                     Solvay
                                     Solvay Chemicals
                                     Sun Life
                                     Svenska Cellulosa AB
                                     Swiss Medical Group
                                     The Procter & Gamble Company (P&G)
                                     UPM-Kymmene Oyj
                                     Wintershall Holding GmbH
                                     XL Catlin
                                     XL Group Plc
                                     XL Insurance
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
157 Centerbridge Partners LP         Bankunited                                Clients in matters
                                     BankUnited, Inc.                          unrelated to the debtors
                                     Bluestem Brands
                                     Caesars
                                     Canopius
                                     Centerbridge
                                     Centerbridge Partners
                                     Centerbridge Partners Europe, LLP
                                     Citi
                                     Great Wolf Resorts, Inc.



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#    Interested Party Name              Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company     HSBC                                       Clients in matters
                                        Johnson Controls International
                                        Lightsquared Lp
                                        Mr. Cooper
                                        Mr. Cooper Group Inc.
                                        Nationstar Mortgage
                                        Nationstar Mortgage Llc
                                        Netcare
                                        PNC
                                        Santander
                                        Santander Consumer
                                        Santander US
                                        Senvion GmbH
                                        Sirius XM
                                        Visteon
                                        Visteon Corporation
158 Central Valley Gas Stor             Georgia Power                              Clients in matters
                                        Georgia Power Company                      unrelated to the debtors
                                        Southern Company
159 Certain affiliates of American      AIG                                        Clients in matters
    International Group Inc :           AIG Capital Corporation                    unrelated to the debtors
                                        AIG Property Casualty
                                        American International Group (AIG)
                                        Avon
                                        Avon Global
                                        Blackboard
                                        BridgeBio Pharma LLC
                                        BRISA
                                        BT
                                        Citi
                                        GE
                                        General Atlantic
                                        General Atlantic (UK) LLP
                                        General Atlantic Partners
                                        Hamilton Insurance
                                        ING
                                        ING Bank Nederland
                                        PineBridge Investments
                                        QED Therapeutics
                                        Vodafone
                                        Vodafone (VOD)
                                        Vodafone Group PLC
160 CH2M HILL Engineers Inc             Aker Group                                 Clients in matters
                                        Jacobs                                     unrelated to the debtors
                                        Jacobs Engineering
                                        Jacobs Engineering Group, Inc.
161 ChargePoint Inc                     GE                                         Clients in matters
                                                                                   unrelated to the debtors
162 Charter Communications              Comcast                                    Clients in matters
                                        Comcast NBCU                               unrelated to the debtors
                                        Comcast/NBCU
                                        Time Inc.
                                        Time Warner Cable


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#   Interested Party Name            Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company   Time Warner Inc.                          Clients in matters
                                     Time, Inc.
163 ChemTreat Inc                    Citi                                      Clients in matters
                                     Danaher Corp                              unrelated to the debtors
                                     Harris Corporation
                                     Hoffman-La Roche Pharma
                                     Micron
                                     Olympus
164 Chevron                          Caltex                                    Clients in matters
                                     Cepsa                                     unrelated to the debtors
                                     Chevron
                                     Chevron Corporation
                                     Chevron Eurasia Business Unit
                                     Chevron Phillips Chemical Company LLC
                                     Chevron Phillips Chemical Company LP
                                     ExxonMobil Fuel & Lubricants
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Sasol
                                     Shell
                                     Spirit Energy
165 Chevron Power Holding Inc        Chevron                                   Clients in matters
                                                                               unrelated to the debtors
166 Chevron Products Company         Caltex                                    Clients in matters
                                     Cepsa                                     unrelated to the debtors
                                     Chevron
                                     Chevron Corporation
                                     Chevron Eurasia Business Unit
                                     Chevron Phillips Chemical Company LLC
                                     Chevron Phillips Chemical Company LP
                                     ExxonMobil Fuel & Lubricants
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Sasol
                                     Shell
                                     Spirit Energy
167 Chevron USA Inc                  Caltex                                    Clients in matters
                                     Cepsa                                     unrelated to the debtors
                                     Chevron
                                     Chevron Corporation
                                     Chevron Eurasia Business Unit
                                     Chevron Phillips Chemical Company LLC
                                     Chevron Phillips Chemical Company LP
                                     ExxonMobil Fuel & Lubricants
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Sasol
                                     Shell
                                     Spirit Energy
168 Chubb Bermuda Insurance Ltd      Chubb                                     Clients in matters
                                     Chubb Corporation                         unrelated to the debtors
                                     CIGNA
                                     INA


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#   Interested Party Name              Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company     INA-Holding Schaeffler KG                               Clients in matters
169 Chubb Custom Insurance Company     Chubb                                                   Clients in matters
                                       Chubb Corporation                                       unrelated to the debtors
                                       CIGNA
                                       INA
                                       INA-Holding Schaeffler KG
170 Chubb Group:                       Boeing                                                  Clients in matters
                                       Carrier Corporation                                     unrelated to the debtors
                                       Chubb
                                       Chubb Corporation
                                       Computer Sciences Corp.
                                       Computer Sciences Corp. (CSC)
                                       Corning CDT
                                       Corning Optical Communica CSS
                                       GE
                                       Johnson Controls International
                                       KONE
                                       Lockheed Martin Missiles and Fire Control (LM Energy)
                                       Lockheed Martin Missles and Fire Control
                                       Otis Elevator Co.
                                       Pratt and Whitney
                                       Raytheon
                                       Raytheon Company
                                       Raytheon Missile Systems
                                       Raytheon UK
                                       Sirius XM
                                       ThyssenKrupp CSA
                                       United Technologies Aerospace Systems
                                       United Technologies Corp
                                       United Technologies Corp.
                                       UTC - CCS
171 Chubb Insurance Company of New     Chubb                                                   Clients in matters
    Jersey                             Chubb Corporation                                       unrelated to the debtors
                                       CIGNA
                                       INA
                                       INA-Holding Schaeffler KG
172 Chubb National Insurance Company   Chubb                                                   Clients in matters
                                       Chubb Corporation                                       unrelated to the debtors
                                       CIGNA
                                       INA
                                       INA-Holding Schaeffler KG
173 CIGNA Group Insurance              Baxter                                                  Clients in matters
                                       CIGNA                                                   unrelated to the debtors
                                       CIGNA Corporation
                                       CuraScript SD
                                       eviCore
                                       Express Scripts
                                       Express Scripts Holding Company
                                       Express Scripts Inc.
                                       Intermountain
174 CIMA Energy Ltd                    Acindar - ArcelorMittal                                 Clients in matters
                                       Allegro Invest SE                                       unrelated to the debtors
                                       Allegro Sp. z o.o


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#    Interested Party Name            Proposed Professionals Connection Name                Connection Type
1    21 st Century Casualty Company   Bayer                                                 Clients in matters
                                      BHP
                                      BHP Billiton
                                      BHP Billiton Group
                                      BHP Billiton Mitsubishi Alliance Pty Limited
                                      Cargill
                                      CCR
                                      Chiyoda Corporation
                                      Danone Russia
                                      Danone Water
                                      Danone Waters of America
                                      Diamond Generating Corporation
                                      Electricity Generating PCL
                                      INCJ
                                      Innovation Network Corporation of Japan
                                      Ja Okayama K.K.
                                      KFC India
                                      KFC South Africa
                                      L&T
                                      L&T digital
                                      L&T Infotech
                                      Mitsubishi Chemicals Advanced Materials
                                      Mitsubishi Corp.
                                      Mitsubishi Corporation
                                      Mitsubishi Corporation RtM Japan Ltd.
                                      Mitsubishi Motors Corporation
                                      Mitsubishi Motors Europe B.V.
                                      Mitsubishi UFJ Financial Group, Inc.
                                      MSC
                                      One Rock Capital
                                      One Rock Capital Partners
                                      PT Go-Jek Indonesia
                                      Rio Tinto Iron Ore
                                      Royal Dutch Shell Retail
                                      Royal Dutch/Shell Group
                                      Shell
                                      Yamato
                                      Zhejiang Hengyi Group Co. Ltd.
                                      Zhejiang Huaye
175 Cisco Air Systems                 Cisco                                                 Clients in matters
                                                                                            unrelated to the debtors
176 Citadel Advisors LLC              Abbott                                                Clients in matters
                                      Abbott EPD                                            unrelated to the debtors
                                      Abbott Ireland Diabetes Care
                                      Abbott Nutritionals
                                      CIGNA
                                      Citadel Investment Group LLC
                                      Citadel L.L.C.
                                      COSAN S/A Industria e Comercio
                                      Faro Capital Fundo De Investimento Em Participações
                                      Hoa Binh Construction Group Joint Stock Company
                                      Informatica
                                      Johnson Controls International



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#   Interested Party Name            Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company   Merck                                                   Clients in matters
                                     Merck KGaA
                                     Merck Millipore Sigma
                                     NiSource
                                     NiSource Inc.
                                     Oi
                                     Pfizer Global Pharmaceuticals
                                     Seaway Heavy Lifting Offshore Crew B.V.
                                     Valeant
                                     Valeant International
                                     Valeant Pharma
                                     Visteon
                                     Visteon Corporation
177 Citation Insurance Company       Tnuva                                                   Clients in matters
                                                                                             unrelated to the debtors
178 Citibank NA                      Aegon USA (Transamerica)                                Clients in matters
                                     Apollo                                                  unrelated to the debtors
                                     Bank Leumi
                                     Brooks Brothers Group Inc.
                                     CEVA
                                     Citi
                                     Citibanamex
                                     Citibank
                                     Citibank N.A
                                     Citibank N.A.
                                     Citibank, N.A.
                                     Citicards
                                     Citicorp
                                     Citigroup
                                     Citigroup Inc.
                                     Deutsche Bank
                                     DIC
                                     DIC Corp.
                                     Digicel Group Limited
                                     Digicel Group Ltd.
                                     Diners Club
                                     Dixy
                                     Federal Reserve Bank - IFF
                                     Federal Reserve Bank of NY
                                     Financial Partners Inc
                                     GE
                                     Grupo Financiero Banamex, S.A. de C.V.
                                     HSBC
                                     Informatica
                                     ING
                                     ING Bank Nederland
                                     KeyCorp
                                     Legg Mason
                                     Lockheed Martin Aeronautics
                                     Lockheed Martin Missiles and Fire Control (LM Energy)
                                     Lockheed Martin Mission Systems and Training
                                     Lockheed Martin Missles and Fire Control
                                     Mastercard



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#   Interested Party Name            Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company   National Westminster Bank Plc                           Clients in matters
                                     PostNL
                                     PostNL NV
                                     Primerica Inc.
                                     Prosegur Compañia de Seguridad SA
                                     State Street
                                     Suncor
                                     TNT Express NV
                                     Valid
                                     Vodafone
                                     Vodafone (VOD)
                                     Vodafone Group PLC
                                     World Bank
                                     World Bank International Working Group
179 Citigarden Hotel                 Citi                                                    Clients in matters
                                                                                             unrelated to the debtors
180 Citigroup                        Aegon USA (Transamerica)                                Clients in matters
                                     Apollo                                                  unrelated to the debtors
                                     Bank Leumi
                                     Brooks Brothers Group Inc.
                                     CEVA
                                     Citi
                                     Citibanamex
                                     Citibank
                                     Citibank N.A
                                     Citibank N.A.
                                     Citibank, N.A.
                                     Citicards
                                     Citicorp
                                     Citigroup
                                     Citigroup Inc.
                                     Deutsche Bank
                                     DIC
                                     DIC Corp.
                                     Digicel Group Limited
                                     Digicel Group Ltd.
                                     Diners Club
                                     Dixy
                                     Federal Reserve Bank - IFF
                                     Federal Reserve Bank of NY
                                     Financial Partners Inc
                                     GE
                                     Grupo Financiero Banamex, S.A. de C.V.
                                     HSBC
                                     Informatica
                                     ING
                                     ING Bank Nederland
                                     KeyCorp
                                     Legg Mason
                                     Lockheed Martin Aeronautics
                                     Lockheed Martin Missiles and Fire Control (LM Energy)
                                     Lockheed Martin Mission Systems and Training
                                     Lockheed Martin Missles and Fire Control



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#    Interested Party Name            Proposed Professionals Connection Name                  Connection Type
1    21 st Century Casualty Company   Mastercard                                              Clients in matters
                                      National Westminster Bank Plc
                                      PostNL
                                      PostNL NV
                                      Primerica Inc.
                                      Prosegur Compañia de Seguridad SA
                                      State Street
                                      Suncor
                                      TNT Express NV
                                      Valid
                                      Vodafone
                                      Vodafone (VOD)
                                      Vodafone Group PLC
                                      World Bank
                                      World Bank International Working Group
181 Citigroup Energy Inc              Aegon USA (Transamerica)                                Clients in matters
                                      Apollo                                                  unrelated to the debtors
                                      Bank Leumi
                                      Brooks Brothers Group Inc.
                                      CEVA
                                      Citi
                                      Citibank
                                      Citibank N.A
                                      Citibank N.A.
                                      Citibank, N.A.
                                      Citicards
                                      Citicorp
                                      Citigroup
                                      Citigroup Inc.
                                      Deutsche Bank
                                      DIC
                                      DIC Corp.
                                      Digicel Group Limited
                                      Digicel Group Ltd.
                                      Diners Club
                                      Dixy
                                      Federal Reserve Bank - IFF
                                      Federal Reserve Bank of NY
                                      Financial Partners Inc
                                      GE
                                      HSBC
                                      Informatica
                                      ING
                                      ING Bank Nederland
                                      KeyCorp
                                      Legg Mason
                                      Lockheed Martin Aeronautics
                                      Lockheed Martin Missiles and Fire Control (LM Energy)
                                      Lockheed Martin Mission Systems and Training
                                      Lockheed Martin Missles and Fire Control
                                      Mastercard
                                      National Westminster Bank Plc
                                      PostNL



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#   Interested Party Name            Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company   PostNL NV                                               Clients in matters
                                     Primerica Inc.
                                     Prosegur Compañia de Seguridad SA
                                     State Street
                                     Suncor
                                     TNT Express NV
                                     Valid
                                     Vodafone
                                     Vodafone (VOD)
                                     Vodafone Group PLC
                                     World Bank
                                     World Bank International Working Group
182 Citigroup Global Markets         Aegon USA (Transamerica)                                Clients in matters
                                     Apollo                                                  unrelated to the debtors
                                     Bank Leumi
                                     Brooks Brothers Group Inc.
                                     CEVA
                                     Citi
                                     Citibank
                                     Citibank N.A
                                     Citibank N.A.
                                     Citibank, N.A.
                                     Citicards
                                     Citicorp
                                     Citigroup
                                     Citigroup Inc.
                                     Deutsche Bank
                                     DIC
                                     DIC Corp.
                                     Digicel Group Limited
                                     Digicel Group Ltd.
                                     Diners Club
                                     Dixy
                                     Federal Reserve Bank - IFF
                                     Federal Reserve Bank of NY
                                     Financial Partners Inc
                                     GE
                                     HSBC
                                     Informatica
                                     ING
                                     ING Bank Nederland
                                     KeyCorp
                                     Legg Mason
                                     Lockheed Martin Aeronautics
                                     Lockheed Martin Missiles and Fire Control (LM Energy)
                                     Lockheed Martin Mission Systems and Training
                                     Lockheed Martin Missles and Fire Control
                                     Mastercard
                                     National Westminster Bank Plc
                                     PostNL
                                     PostNL NV
                                     Primerica Inc.
                                     Prosegur Compañia de Seguridad SA



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#   Interested Party Name                 Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company        State Street                                         Clients in matters
                                          Suncor
                                          TNT Express NV
                                          Valid
                                          Vodafone
                                          Vodafone (VOD)
                                          Vodafone Group PLC
                                          World Bank
                                          World Bank International Working Group
183 Citizens Insurance Company of America The Hanover Insurance Group Inc.                     Clients in matters
                                                                                               unrelated to the debtors
184 Citizens Telecommunications            Frontier Communications Corporation                 Clients in matters
                                           Verizon                                             unrelated to the debtors
                                           Verizon Communications
185 Civic Property & Casualty Company      AIG                                                 Clients in matters
                                           Baloise-Holding AG                                  unrelated to the debtors
                                           Basler Versicherung AG
                                           Gilde Buy Out Partners
                                           ING
                                           ING Bank Nederland
                                           QBE
                                           Santander Brasil
                                           Santander Mexico
                                           Unum
                                           Zurich Deutscher Herold Lebensversicherung AG
                                           Zurich Financial Services
                                           Zurich Insurance
                                           Zurich Insurance Company Ltd
                                           Zurich Insurance Group AG
                                           Zurich North America
                                           Zurich-Santander
186 Clean Harbors Environmental Services   Clean Harbors                                       Clients in matters
    Inc                                    Mercedes-Benz Automotive Finance                    unrelated to the debtors
                                           Murphy Oil
187 Clearway Energy                        NRG Energy Inc.                                     Clients in matters
                                                                                               unrelated to the debtors
188 Clearway Energy Group LLC              NRG Energy Inc.                                     Clients in matters
                                                                                               unrelated to the debtors
189 Clearway Energy Inc                    NRG Energy Inc.                                     Clients in matters
                                                                                               unrelated to the debtors
190 CNA Insurance Company                  Chevron                                             Clients in matters
                                           CNA Financial Corp.                                 unrelated to the debtors
                                           CNA Insurance
                                           CNA Insurance Companies
                                           Diamond Offshore
                                           Diamond Offshore Drilling Inc.
                                           Loews Corp.
191 Coalinga Cogeneration Company          Consolidated Edison Company of New York, Inc.,      Clients in matters
                                           (CECONY)                                            unrelated to the debtors
                                           Edison International / Southern California Edison
                                           Edison Mission Energy
                                           GenOn
                                           Kelso



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#   Interested Party Name                 Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company        NRG Energy Inc.                                     Clients in matters
192 Coastal Chemical Co LLC               Cargill                                             Clients in matters
                                          Yara Brasil Fertilizantes S.A.                      unrelated to the debtors
193 Cognizant Worldwide Limited           Cognizant                                           Clients in matters
                                          Cognizant Technology                                unrelated to the debtors
                                          Cognizant Technology Solutions
                                          Cognizant Technology Solutions Corp
                                          Cognizant Technology Solutions Corporation
                                          ING
                                          ING Bank Nederland
194 Columbia Electric Inc                 Consolidated Edison Company of New York, Inc.,      Clients in matters
                                          (CECONY)                                            unrelated to the debtors
                                          Edison International / Southern California Edison
                                          Edison Mission Energy
                                          GenOn
                                          Kelso
                                          NRG Energy Inc.
195 Comcast                               Comcast                                             Clients in matters
                                          Comcast Cable Communications Inc.                   unrelated to the debtors
                                          Comcast Cable Communications, LLC
                                          Comcast NBCU
                                          Comcast/NBCU
                                          MGM
                                          NBC Universal
                                          Sky
                                          Sky Deutschland AG
                                          Sky Deutschland Fernsehen GmbH & Co. KG
                                          Sky Deutschland GmbH
                                          Sky UK Limited
                                          Time Warner Inc.
196 Commerce Energy Inc                   Ecobee Inc.                                         Clients in matters
                                          Suncor                                              unrelated to the debtors
197 Commerce West Insurance Company       Mapfre SA                                           Clients in matters
                                          MapFre USA                                          unrelated to the debtors
                                          Mercedes-Benz Automotive Finance
198 Compass Lexecon LLC                   Citi                                                Clients in matters
                                                                                              unrelated to the debtors
199 Concur                                RIB Limited                                         Clients in matters
                                          RIB Software SE                                     unrelated to the debtors
                                          SAP
                                          SAP AG
                                          SAP SE
200 ConeTec Investigations Ltd            ABB Ltd                                             Clients in matters
                                          Autoroute du Maroc                                  unrelated to the debtors
                                          Citi
                                          ITC
                                          MTN
201 ConocoPhillips Company                BP                                                  Clients in matters
                                          BP p.l.c.                                           unrelated to the debtors
                                          ConocoPhillips
                                          ConocoPhillips Alaska
202 Consolidated Edison Development Inc   Consolidated Edison                                 Clients in matters
                                                                                              unrelated to the debtors


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#    Interested Party Name            Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company   Consolidated Edison Company of New York, Inc.,      Clients in matters
                                                                                          unrelated  to the debtors
                                      (CECONY)
                                      Consolidated Edison, Inc.
                                      Sempra Energy
203 Constellation Energy Group Inc    Bluestem Brands                                     Clients in matters
                                      ComEd                                               unrelated to the debtors
                                      Consolidated Edison Company of New York, Inc.,
                                      (CECONY)
                                      Entergy
                                      Exelon
                                      Exelon Corporation
                                      Shell
204 Constitution State Services LLC   Equifax Services, Inc.                              Clients in matters
                                      The Travelers Companies Inc.                        unrelated to the debtors
                                      The Travelers Companies, Inc.
                                      Travelers Corp.
205 Continental Insurance Company     Chevron                                             Clients in matters
                                      CNA Financial Corp.                                 unrelated to the debtors
                                      CNA Insurance
                                      CNA Insurance Companies
                                      Diamond Offshore
                                      Diamond Offshore Drilling Inc.
                                      Loews Corp.
206 Contra Costa Electric Inc         EMC Corporation                                     Clients in matters
                                      EMCOR                                               unrelated to the debtors
                                      EMCOR Group, Inc.
                                      USM
                                      USM/Megafon
207 Control Components Inc - CCI      ABB Ltd                                             Clients in matters
                                                                                          unrelated to the debtors
208 Control Solutions Inc             ChemChina                                           Clients in matters
                                      China National Chemical Corp                        unrelated to the debtors
                                      Elkem A/S
                                      Hoffman-La Roche Pharma
                                      Monsanto
                                      Syngenta
                                      Syngenta Crop Protection AG
209 Copper Mountain Solar 1 LLC       Lone Star/US Pipe                                   Clients in matters
                                      Pemex                                               unrelated to the debtors
                                      Sempra Energy
                                      Southern California Gas/San Diego Gas & Electric
210 Copper Mountain Solar II LLC      Lone Star/US Pipe                                   Clients in matters
                                      Pemex                                               unrelated to the debtors
                                      Sempra Energy
                                      Southern California Gas/San Diego Gas & Electric
211 Coral Power LLC                   Abu Dhabi Chamber of Commerce                       Clients in matters
                                      Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                      Abu Dhabi Financial Group
                                      Abu Dhabi Investment Council
                                      Abu Dhabi National Oil Company (ADNOC)
                                      Abu Dhabi Power Corporation (ADPC)
                                      Abu Dhabi Water and Electricity Authority (ADWEA)
                                      Avista Capital Partners Ii Gp Llc.


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#    Interested Party Name            Proposed Professionals Connection Name                   Connection Type
1    21 st Century Casualty Company   BeLux GEM Cluster                                        Clients in matters
                                      BG Group
                                      BG Group plc
                                      BP
                                      BP p.l.c.
                                      Brunei Shell PetroleumSdn. Bhd.
                                      Chevron
                                      COSAN S/A Industria e Comercio
                                      Infineum
                                      Infineum International LTD
                                      Marathon Oil Corporation
                                      Raizen
                                      Repsol
                                      Repsol Bolivia
                                      Rosneft
                                      Royal Dutch Shell
                                      Royal Dutch Shell plc
                                      Royal Dutch Shell Retail
                                      Royal Dutch/Shell Group
                                      Shell
                                      Shell Australia Limited
                                      Shell Chemical LP
                                      Shell Chemicals
                                      Shell Chemicals Ltd.
                                      Shell Deutschland Oil GmbH
                                      Shell Egypt
                                      Shell Energy North America (US), L.P.
                                      Shell International B.V.
                                      Shell International Exploration & Production B.V.
                                      Shell Nederland B.V.
                                      Shell New energies
                                      Shell Oil
                                      Shell Oil Co.
                                      Shell Oil Company
                                      Shell Oil Products Company LLC
                                      Shell UK
                                      Sirius XM
                                      TEPCO
                                      TEPCO FP
                                      TEPCO Power Grid
                                      Vopak
                                      Walloon Regional Government
                                      Zhejiang Hengyi Group Co. Ltd.
                                      Zhejiang Huaye
212 CP Energy Marketing Inc           Duke Energy                                              Clients in matters
                                                                                               unrelated to the debtors
213 Cravath Swaine & Moore LLP        Cravath Swaine & Moore LLP (for BCBS - Horizon)          Clients in matters
                                      Cravath, Swaine, and Moore LLP                           unrelated to the debtors
214 Credit Suisse Energy LLC          Ad hoc lenders to Arch Coal on behalf of Credit Suisse   Clients in matters
                                      Securities                                               unrelated to the debtors
                                      Airbus
                                      Airbus Defence and Space GmbH
                                      Airbus Group NV



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#    Interested Party Name            Proposed Professionals Connection Name               Connection Type
1    21 st Century Casualty Company   Airbus Helicopters                                   Clients in matters
                                      Airbus Safran Launchers
                                      Automatic Data Processing Inc. (ADP)
                                      Commerzbank AG
                                      Credit Suisse
                                      Credit Suisse AG
                                      Credit Suisse Group
                                      Deutsche Bank
                                      DTE Energy Company
                                      HSBC
                                      Maersk Group
                                      PTT
                                      PTT PCL
                                      Sun Life
                                      Swiss Universal Bank (SUB)
                                      Swisscard
                                      Swisscard AECS GmbH
                                      UBP
215 Crux Subsurface Inc               Intermountain                                        Clients in matters
                                      Quanta Services                                      unrelated to the debtors
216 Cryogenic Transportation LLC      Kenan Advantage Group                                Clients in matters
                                                                                           unrelated to the debtors
217 CSAA Fire & Casualty Insurance    AAA                                                  Clients in matters
    Company                           AAA (American Automobile Association)                unrelated to the debtors
                                      AAA NCNU
                                      California State Automobile Association (CSAA)
218 CSAA General Insurance Company    AAA                                                  Clients in matters
                                      AAA (American Automobile Association)                unrelated to the debtors
                                      AAA NCNU
                                      California State Automobile Association (CSAA)
219 CSAA Insurance Exchange           AAA                                                  Clients in matters
                                      AAA (American Automobile Association)                unrelated to the debtors
                                      AAA NCNU
                                      California State Automobile Association (CSAA)
220 Cummins Pacific                   Cummins                                              Clients in matters
                                      Cummins Engine Co. Inc.                              unrelated to the debtors
                                      Cummins Inc
                                      Cummins Inc.
                                      Eaton
                                      Johnson Matthey
221 Cushman & Wakefield Inc           Realogy Holdings Corp.                               Clients in matters
                                                                                           unrelated to the debtors
222 Cyrus Capital Partners LP         Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj   Clients in matters
                                      Finance on behalf of Cyrus Capital Partners, L.P.    unrelated to the debtors
                                      Johnson Controls International
                                      JP Morgan
                                      Visteon
                                      Visteon Corporation
223 Davidson Kempner Capital          Alpha Natural Resources                              Clients in matters
    Management                        Alpha Natural Resources Inc.                         unrelated to the debtors
                                      Bankia
                                      BCS Automotive Interface Solutions
                                      BMC Stock Holdings, Inc.


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#   Interested Party Name            Proposed Professionals Connection Name         Connection Type
1   21 st Century Casualty Company   Contura Energy Inc.                            Clients in matters
                                     Johnson Controls International
                                     NXP Semiconductors
                                     Piraeus Bank Group
                                     Pirelli & C. SpA
                                     Visteon
                                     Visteon Corporation
224 DB Energy Trading                Abraaj                                         Clients in matters
                                     Abraaj Capital Limited                         unrelated to the debtors
                                     Adeo
                                     Air Berlin PLC & Co. Luftverkehrs KG
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aker Group
                                     Atos
                                     Atos Origin
                                     Atos Origin S.A.
                                     AXA
                                     Bank Leumi
                                     Bankia
                                     BeLux GEM Cluster
                                     BT
                                     Csx Corporation
                                     Deutsche Asset Management
                                     Deutsche Bank
                                     Deutsche Bank AG
                                     Deutsche Bank AG London
                                     Deutsche Börse AG
                                     Deutsche Börse Beteiligungsverwaltungs GmbH
                                     Deutsche Börse Group
                                     Deutsche Post AG
                                     Discount Bank
                                     Erste Bank Group AG
                                     Financial Corporation Otkrytie
                                     GE
                                     GE Energy
                                     Goldman Sachs - FWS
                                     ING
                                     International Consolidated Airlines Group SA
                                     Irkutsk Region Government
                                     Israel Corporation Limited
                                     Israel Discount Bank
                                     JP Morgan
                                     JPMorgan Chase & Co. - Confidential
                                     Knowles
                                     KPN
                                     Lloyds Banking Group
                                     Lloyds Banking Group plc
                                     London Stock Exchange
                                     London Stock Exchange Group plc



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#   Interested Party Name            Proposed Professionals Connection Name        Connection Type
1   21 st Century Casualty Company   Metso                                         Clients in matters
                                     Metso Oyj
                                     New York Stock Exchange
                                     NTT- Dimension Data
                                     NTT Holding
                                     NTT West
                                     Otkrytie Holding Oao
                                     Otkrytiye Group
                                     PSP investments holding europe ltd
                                     Refinitiv
                                     Roche (China) Co., Ltd.
                                     Roche China
                                     Roche Diagnostics International Ltd.
                                     Roche Korea
                                     Roche/Genentech
                                     Salesforce.com Inc
                                     salesforce.com, inc.
                                     Sanofi Biologics
                                     Sanofi Japan
                                     Shinsei Bank
                                     Shinsei Bank Ltd
                                     Shinsei Bank, Limited
                                     Shinsei Bank, Ltd.
                                     Telia
                                     Transaero AirLines JSC
                                     TUIfly GmbH
                                     Vallourec
                                     Vallourec Group
                                     Vallourec Soluções Tubulares do Brasil S.A.
                                     Valmet
                                     Valmet Oyj
                                     Xerox
                                     Yutong
                                     Zebra
                                     Zhengzhou Yutong Bus Co., Ltd.
225 DCP Midstream Partners LP        DCP Midstream                                 Clients in matters
                                     DCP Midstream Partners LP                     unrelated to the debtors
226 DDB Worldwide Communications     Abbott EPD                                    Clients in matters
    Group                            EMC                                           unrelated to the debtors
                                     Telia
227 DE Shaw                          BioVectra Inc.                                Clients in matters
                                     CJ Corp.                                      unrelated to the debtors
                                     curium pharma
                                     Didi
                                     Didi Chuxing
                                     Louisiana Pacific
                                     Lowe's Companies Inc.
                                     Lowe's Companies, Inc.
                                     Mallinckrodt
                                     Mallinckrodt Inc.
                                     Mallinckrodt LLC
                                     Portola Pharmaceuticals, Inc.
                                     Uber


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#    Interested Party Name                Proposed Professionals Connection Name         Connection Type
1228 21
     DE st Century
        Shaw       Casualty
              Orienteer     Company
                        Portfolios LLC    NXP Semiconductors                             Clients in matters
                                                                                         unrelated to the debtors
229 Delano PV 1 LLC                       AES Corporation                                Clients in matters
                                          BHP                                            unrelated to the debtors
                                          BHP Billiton
                                          BHP Billiton Group
                                          GE
                                          GE Energy
230 Dell Financial Services LLC           Corning CDT                                    Clients in matters
                                          EMC                                            unrelated to the debtors
                                          EMC Corporation
                                          NTT- Dimension Data
                                          NTT Holding
                                          NTT West
                                          RSA
                                          Samsung
                                          Samsung C&T Engineering & Construction Group
                                          Samsung Electronics
                                          Samsung Electronics Co., Ltd.
                                          Samsung Electronics Corporation
                                          Samsung Group
                                          Samsung Networks
                                          VMware, Inc.
231 Depositors Insurance Comp Any a       Nationwide                                     Clients in matters
    Nationwide Company                    Nationwide Insurance                           unrelated to the debtors
232 Desert Sunlight 300 LLC               NRG Energy Inc.                                Clients in matters
                                                                                         unrelated to the debtors
233 Desert Sunlight Investment Holdings   NRG Energy Inc.                                Clients in matters
                                                                                         unrelated to the debtors
234 Desri Portal Ridge Development LLC    Avon                                           Clients in matters
                                          Avon Global                                    unrelated to the debtors
                                          Citi
                                          City National Bank
                                          Daimler PGMex
                                          Deutsche Bank
                                          Eldridge Industries
                                          Kroger
                                          Maritime Bank
                                          Old National Bancorp
                                          State Street
                                          U.S. Bancorp
                                          US Bancorp
                                          US Bank
                                          Visa
                                          Visa Canada Corporation
                                          Visa Inc
                                          Visa Inc.
                                          Visa Worldwide Pte. Limited
235 Deutsche Bank                         Abraaj                                         Clients in matters
                                          Abraaj Capital Limited                         unrelated to the debtors
                                          Adeo
                                          Air Berlin PLC & Co. Luftverkehrs KG
                                          Airbus



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#   Interested Party Name            Proposed Professionals Connection Name         Connection Type
1   21 st Century Casualty Company   Airbus Defence and Space GmbH                  Clients in matters
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aker Group
                                     Atos
                                     Atos Origin
                                     Atos Origin S.A.
                                     AXA
                                     Bank Leumi
                                     Bankia
                                     BeLux GEM Cluster
                                     BT
                                     Csx Corporation
                                     Deutsche Asset Management
                                     Deutsche Bank
                                     Deutsche Bank AG
                                     Deutsche Bank AG London
                                     Deutsche Börse AG
                                     Deutsche Börse Beteiligungsverwaltungs GmbH
                                     Deutsche Börse Group
                                     Deutsche Post AG
                                     Discount Bank
                                     Erste Bank Group AG
                                     Financial Corporation Otkrytie
                                     GE
                                     GE Energy
                                     Goldman Sachs - FWS
                                     ING
                                     International Consolidated Airlines Group SA
                                     Irkutsk Region Government
                                     Israel Corporation Limited
                                     Israel Discount Bank
                                     JP Morgan
                                     JPMorgan Chase & Co. - Confidential
                                     Knowles
                                     KPN
                                     Lloyds Banking Group
                                     Lloyds Banking Group plc
                                     London Stock Exchange
                                     London Stock Exchange Group plc
                                     Metso
                                     Metso Oyj
                                     New York Stock Exchange
                                     NTT- Dimension Data
                                     NTT Holding
                                     NTT West
                                     Otkrytie Holding Oao
                                     Otkrytiye Group
                                     PSP investments holding europe ltd
                                     Refinitiv
                                     Roche (China) Co., Ltd.
                                     Roche China



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#   Interested Party Name                Proposed Professionals Connection Name        Connection Type
1   21 st Century Casualty Company       Roche Diagnostics International Ltd.          Clients in matters
                                         Roche Korea
                                         Roche/Genentech
                                         Salesforce.com Inc
                                         salesforce.com, inc.
                                         Sanofi Biologics
                                         Sanofi Japan
                                         Shinsei Bank
                                         Shinsei Bank Ltd
                                         Shinsei Bank, Limited
                                         Shinsei Bank, Ltd.
                                         Telia
                                         Transaero AirLines JSC
                                         TUIfly GmbH
                                         Vallourec
                                         Vallourec Group
                                         Vallourec Soluções Tubulares do Brasil S.A.
                                         Valmet
                                         Valmet Oyj
                                         Xerox
                                         Yutong
                                         Zebra
                                         Zhengzhou Yutong Bus Co., Ltd.
236 Deutsche Bank National Trust Company Abraaj                                        Clients in matters
                                         Abraaj Capital Limited                        unrelated to the debtors
                                         Adeo
                                         Air Berlin PLC & Co. Luftverkehrs KG
                                         Airbus
                                         Airbus Defence and Space GmbH
                                         Airbus Group NV
                                         Airbus Helicopters
                                         Airbus Safran Launchers
                                         Aker Group
                                         Atos
                                         Atos Origin
                                         Atos Origin S.A.
                                         AXA
                                         Bank Leumi
                                         Bankia
                                         BeLux GEM Cluster
                                         BT
                                         Csx Corporation
                                         Deutsche Asset Management
                                         Deutsche Bank
                                         Deutsche Bank AG
                                         Deutsche Bank AG London
                                         Deutsche Börse AG
                                         Deutsche Börse Beteiligungsverwaltungs GmbH
                                         Deutsche Börse Group
                                         Deutsche Post AG
                                         Discount Bank
                                         Erste Bank Group AG
                                         Financial Corporation Otkrytie



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#   Interested Party Name            Proposed Professionals Connection Name         Connection Type
1   21 st Century Casualty Company   GE                                             Clients in matters
                                     GE Energy
                                     Goldman Sachs - FWS
                                     ING
                                     International Consolidated Airlines Group SA
                                     Irkutsk Region Government
                                     Israel Corporation Limited
                                     Israel Discount Bank
                                     JP Morgan
                                     JPMorgan Chase & Co. - Confidential
                                     Knowles
                                     KPN
                                     Lloyds Banking Group
                                     Lloyds Banking Group plc
                                     London Stock Exchange
                                     London Stock Exchange Group plc
                                     Metso
                                     Metso Oyj
                                     New York Stock Exchange
                                     NTT- Dimension Data
                                     NTT Holding
                                     NTT West
                                     Otkrytie Holding Oao
                                     Otkrytiye Group
                                     PSP investments holding europe ltd
                                     Refinitiv
                                     Roche (China) Co., Ltd.
                                     Roche China
                                     Roche Diagnostics International Ltd.
                                     Roche Korea
                                     Roche/Genentech
                                     Salesforce.com Inc
                                     salesforce.com, inc.
                                     Sanofi Biologics
                                     Sanofi Japan
                                     Shinsei Bank
                                     Shinsei Bank Ltd
                                     Shinsei Bank, Limited
                                     Shinsei Bank, Ltd.
                                     Telia
                                     Transaero AirLines JSC
                                     TUIfly GmbH
                                     Vallourec
                                     Vallourec Group
                                     Vallourec Soluções Tubulares do Brasil S.A.
                                     Valmet
                                     Valmet Oyj
                                     Xerox
                                     Yutong
                                     Zebra
                                     Zhengzhou Yutong Bus Co., Ltd.
237 Deutsche Bank Securities Inc     Abraaj                                         Clients in matters
                                     Abraaj Capital Limited                         unrelated to the debtors



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#   Interested Party Name            Proposed Professionals Connection Name         Connection Type
1   21 st Century Casualty Company   Adeo                                           Clients in matters
                                     Air Berlin PLC & Co. Luftverkehrs KG
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aker Group
                                     Atos
                                     Atos Origin
                                     Atos Origin S.A.
                                     AXA
                                     Bank Leumi
                                     Bankia
                                     BeLux GEM Cluster
                                     BT
                                     Csx Corporation
                                     Deutsche Asset Management
                                     Deutsche Bank
                                     Deutsche Bank AG
                                     Deutsche Bank AG London
                                     Deutsche Börse AG
                                     Deutsche Börse Beteiligungsverwaltungs GmbH
                                     Deutsche Börse Group
                                     Deutsche Post AG
                                     Discount Bank
                                     Erste Bank Group AG
                                     Financial Corporation Otkrytie
                                     GE
                                     GE Energy
                                     Goldman Sachs - FWS
                                     ING
                                     International Consolidated Airlines Group SA
                                     Irkutsk Region Government
                                     Israel Corporation Limited
                                     Israel Discount Bank
                                     JP Morgan
                                     JPMorgan Chase & Co. - Confidential
                                     Knowles
                                     KPN
                                     Lloyds Banking Group
                                     Lloyds Banking Group plc
                                     London Stock Exchange
                                     London Stock Exchange Group plc
                                     Metso
                                     Metso Oyj
                                     New York Stock Exchange
                                     NTT- Dimension Data
                                     NTT Holding
                                     NTT West
                                     Otkrytie Holding Oao
                                     Otkrytiye Group
                                     PSP investments holding europe ltd



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#   Interested Party Name            Proposed Professionals Connection Name        Connection Type
1   21 st Century Casualty Company   Refinitiv                                     Clients in matters
                                     Roche (China) Co., Ltd.
                                     Roche China
                                     Roche Diagnostics International Ltd.
                                     Roche Korea
                                     Roche/Genentech
                                     Salesforce.com Inc
                                     salesforce.com, inc.
                                     Sanofi Biologics
                                     Sanofi Japan
                                     Shinsei Bank
                                     Shinsei Bank Ltd
                                     Shinsei Bank, Limited
                                     Shinsei Bank, Ltd.
                                     Telia
                                     Transaero AirLines JSC
                                     TUIfly GmbH
                                     Vallourec
                                     Vallourec Group
                                     Vallourec Soluções Tubulares do Brasil S.A.
                                     Valmet
                                     Valmet Oyj
                                     Xerox
                                     Yutong
                                     Zebra
                                     Zhengzhou Yutong Bus Co., Ltd.
238 Deutsche Bank Trust Company      Abraaj                                        Clients in matters
    Americas                         Abraaj Capital Limited                        unrelated to the debtors
                                     Adeo
                                     Air Berlin PLC & Co. Luftverkehrs KG
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aker Group
                                     Atos
                                     Atos Origin
                                     Atos Origin S.A.
                                     AXA
                                     Bank Leumi
                                     Bankia
                                     BeLux GEM Cluster
                                     BT
                                     Csx Corporation
                                     Deutsche Asset Management
                                     Deutsche Bank
                                     Deutsche Bank AG
                                     Deutsche Bank AG London
                                     Deutsche Börse AG
                                     Deutsche Börse Beteiligungsverwaltungs GmbH
                                     Deutsche Börse Group
                                     Deutsche Post AG



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#   Interested Party Name            Proposed Professionals Connection Name         Connection Type
1   21 st Century Casualty Company   Discount Bank                                  Clients in matters
                                     Erste Bank Group AG
                                     Financial Corporation Otkrytie
                                     GE
                                     GE Energy
                                     Goldman Sachs - FWS
                                     ING
                                     International Consolidated Airlines Group SA
                                     Irkutsk Region Government
                                     Israel Corporation Limited
                                     Israel Discount Bank
                                     JP Morgan
                                     JPMorgan Chase & Co. - Confidential
                                     Knowles
                                     KPN
                                     Lloyds Banking Group
                                     Lloyds Banking Group plc
                                     London Stock Exchange
                                     London Stock Exchange Group plc
                                     Metso
                                     Metso Oyj
                                     New York Stock Exchange
                                     NTT- Dimension Data
                                     NTT Holding
                                     NTT West
                                     Otkrytie Holding Oao
                                     Otkrytiye Group
                                     PSP investments holding europe ltd
                                     Refinitiv
                                     Roche (China) Co., Ltd.
                                     Roche China
                                     Roche Diagnostics International Ltd.
                                     Roche Korea
                                     Roche/Genentech
                                     Salesforce.com Inc
                                     salesforce.com, inc.
                                     Sanofi Biologics
                                     Sanofi Japan
                                     Shinsei Bank
                                     Shinsei Bank Ltd
                                     Shinsei Bank, Limited
                                     Shinsei Bank, Ltd.
                                     Telia
                                     Transaero AirLines JSC
                                     TUIfly GmbH
                                     Vallourec
                                     Vallourec Group
                                     Vallourec Soluções Tubulares do Brasil S.A.
                                     Valmet
                                     Valmet Oyj
                                     Xerox
                                     Yutong
                                     Zebra



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#   Interested Party Name                  Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company         Zhengzhou Yutong Bus Co., Ltd.            Clients in matters
239 DG Fairhaven Power LLC                 Hanwha Financial                          Clients in matters
                                           Hanwha Total Petrochemicals Co., Ltd.     unrelated to the debtors
                                           KEPCO
                                           Korea Electric Power Corporation
                                           Korea Hydro & Nuclear Power Co
240 Diablo Winds LLC                       FPL Group, Inc.                           Clients in matters
                                           NextEra Energy Inc.                       unrelated to the debtors
                                           NextEra Energy Resources
                                           NextEra Energy Resources, LLC
                                           NextEra/Florida Power and Light
241 Diameter Capital Partners LP           Caesars                                   Clients in matters
                                                                                     unrelated to the debtors
242 Dignity Health                         Catholic Health Initiatives               Clients in matters
                                           CommonSpirit Health                       unrelated to the debtors
                                           Dignity Health
                                           St Luke's Health System
                                           St. Luke's Health System
                                           Trinity Health
                                           Welltok
                                           WellTok Inc.
243 Dignity Health dba St Elizabeth        Catholic Health Initiatives               Clients in matters
    Community Hospital                     CommonSpirit Health                       unrelated to the debtors
                                           Dignity Health
                                           St Luke's Health System
                                           St. Luke's Health System
                                           Trinity Health
                                           Welltok
                                           WellTok Inc.
244 Dignity Health Medical Foundation      Catholic Health Initiatives               Clients in matters
                                           CommonSpirit Health                       unrelated to the debtors
                                           Dignity Health
                                           St Luke's Health System
                                           St. Luke's Health System
                                           Trinity Health
                                           Welltok
                                           WellTok Inc.
245 Direct Energy                          American Electric Power (AEP)             Clients in matters
                                           Centrica                                  unrelated to the debtors
                                           Chevron
                                           ENI S.p.A.
                                           Entergy
                                           Shell
                                           Spirit Energy
                                           Suncor
                                           Wintershall Holding GmbH
246 Direct Energy Business Marketing LLC   American Electric Power (AEP)             Clients in matters
                                           Centrica                                  unrelated to the debtors
                                           Chevron
                                           ENI S.p.A.
                                           Entergy
                                           Shell
                                           Spirit Energy


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#   Interested Party Name               Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company      Suncor                                              Clients in matters
                                        Wintershall Holding GmbH
247 Dominion Solar Holdings Inc         Dominion Energy, Inc.                               Clients in matters
                                        Dominion Resources Inc.                             unrelated to the debtors
                                        DT Group Holdings A/S
                                        Edison International / Southern California Edison
                                        Edison Mission Energy
                                        Royal Dutch Shell
                                        Royal Dutch Shell plc
                                        Royal Dutch Shell Retail
                                        Royal Dutch/Shell Group
                                        SCANA Corp.
                                        Shell
248 DSM Concrete Inc                    DSM                                                 Clients in matters
                                        DSM N.V. (Dutch State Mines)                        unrelated to the debtors
249 DTE Biomass Energy                  DTE Energy Company                                  Clients in matters
                                        DTE Energy Resources, Inc.                          unrelated to the debtors
250 DTE Energy Services Inc             DTE Energy Company                                  Clients in matters
                                        DTE Energy Resources, Inc.                          unrelated to the debtors
251 DTE Stockton LLC                    DTE Energy Company                                  Clients in matters
                                        DTE Energy Resources, Inc.                          unrelated to the debtors
252 Duke Energy Marketing America LLC   BHP                                                 Clients in matters
                                        BHP Billiton                                        unrelated to the debtors
                                        BHP Billiton Group
                                        Duke Energy
                                        Duke Energy Corp.
                                        Duke Energy Corporation
                                        GE
253 Dynamics Inc                        AIMIA Groupe Aeroplan Inc                           Clients in matters
                                        Aimia Inc.                                          unrelated to the debtors
                                        Canadian Imperial Bank of Commerce
                                        CIBC
                                        Citi
                                        Deutsche Bank
                                        Mastercard
                                        Telus
                                        TELUS Communications Inc.
                                        TELUS Corporation
                                        TELUS Health
                                        Telus International
254 Dynegy Marketing and Trade LLC      Dynegy Inc                                          Clients in matters
                                        Dynegy, Inc.                                        unrelated to the debtors
255 Dynegy Morro Bay LLC                Ameren                                              Clients in matters
                                        Ameren Energy                                       unrelated to the debtors
                                        Dynegy Inc
                                        Dynegy, Inc.
                                        Luminant
                                        Public Power Corporation
                                        Vistra Energy
                                        Vistra Energy Corp.
256 Dynegy Moss Landing LLC             Ameren                                              Clients in matters
                                        Ameren Energy                                       unrelated to the debtors
                                        Dynegy Inc


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#    Interested Party Name                Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company       Dynegy, Inc.                                        Clients in matters
                                          Luminant
                                          Public Power Corporation
                                          Vistra Energy
                                          Vistra Energy Corp.
257 Dynegy Power LLC                      Ameren                                              Clients in matters
                                          Ameren Energy                                       unrelated to the debtors
                                          Dynegy Inc
                                          Dynegy, Inc.
                                          Luminant
                                          Public Power Corporation
                                          Vistra Energy
                                          Vistra Energy Corp.
258 Eaton Corporation                     Eaton                                               Clients in matters
                                          Eaton Corp.                                         unrelated to the debtors
                                          Eaton Corporation
                                          GE
                                          Power Machines
259 Eco-Energy LLC                        Copersucar S/A                                      Clients in matters
                                          Copersucar SA                                       unrelated to the debtors
260 EDF Renewable Energy                  AREVA                                               Clients in matters
                                          AREVA Group                                         unrelated to the debtors
                                          Deutsche Bank
                                          Edison International
                                          Edison International / Southern California Edison
                                          Électricité De France
                                          GE
                                          GE Energy
                                          Richemont
                                          Schneider
261 EDF Trading                           AREVA                                               Clients in matters
                                          AREVA Group                                         unrelated to the debtors
                                          Deutsche Bank
                                          Edison International
                                          Edison International / Southern California Edison
                                          Électricité De France
                                          GE
                                          GE Energy
                                          Richemont
                                          Schneider
262 Edf Trading North America LLC         AREVA                                               Clients in matters
                                          AREVA Group                                         unrelated to the debtors
                                          Deutsche Bank
                                          Edison International
                                          Edison International / Southern California Edison
                                          Électricité De France
                                          GE
                                          GE Energy
                                          Richemont
                                          Schneider
263 Edison Electric Institute             Edison Electric Institute                           Clients in matters
                                          Edison Electric Institute Inc.                      unrelated to the debtors
264 EDP Renewables North America LLC      Corporacion Empresarial Pascual Sl.                 Clients in matters
                                                                                              unrelated to the debtors

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#   Interested Party Name              Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company     EDP - Distribuição                         Clients in matters
                                                                                  unrelated  to the debtors
                                       EDP - Electricidade de Portugal S.A.
                                       EDP - Electricidade de Portugal, S.A.
                                       EDP - Energias de Portugal
                                       EDP - Energias de Portugal S.A.
                                       EDP- Electricidade de Portugal, SA
                                       Energias de Portugal
                                       Galp Energia, SGPS, S.A.
                                       Galpenergia
                                       mabe, s. a. de c.v.
                                       NATURGAS
                                       Nuon
                                       Repsol
                                       Repsol Bolivia
                                       Royal Dutch Shell Retail
                                       Royal Dutch/Shell Group
                                       Shell
265 EEN LP and Enbridge LP             DCP Midstream                              Clients in matters
                                       Duke Energy                                unrelated to the debtors
                                       Enbridge
                                       Enbridge (U.S.) Inc.
                                       Enbridge Inc.
                                       Murphy Oil
                                       Shell
266 El Dorado Hydro LLC                BP                                         Clients in matters
                                       BP p.l.c.                                  unrelated to the debtors
                                       Endesa
                                       Enel
                                       Enel Brasil S.A.
                                       Enel Green Power
                                       Enel S.p.A.
                                       Enel SpA
                                       Origin Energy Markets
267 El Paso Natural Gas Company        BHP                                        Clients in matters
                                       BHP Billiton                               unrelated to the debtors
                                       BHP Billiton Group
                                       BP
                                       BP p.l.c.
                                       Chevron
                                       Duke Energy
                                       ExxonMobil Fuel & Lubricants
                                       Koninklijke Vopak NV
                                       Shell
                                       TransCanada
                                       Vopak
                                       Wärtsilä
268 Electric Insurance Company         Advent - Estacio                           Clients in matters
                                       Advent - Grupo Fleury                      unrelated to the debtors
                                       Advent / CCC Information Services
                                       Advent International France
                                       Aker Group
                                       AREVA Group
                                       AXA


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#   Interested Party Name            Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company   Axiom                                              Clients in matters
                                     Baker Hugues
                                     Boeing
                                     Chevron
                                     Citi
                                     Daimler PGMex
                                     Enel
                                     FMC Technologies
                                     GE
                                     GE Additive
                                     GE Aviation
                                     GE Capital
                                     GE Corporate
                                     GE Digital
                                     GE Distributed Power
                                     GE Energy
                                     GE Healthcare
                                     GE India
                                     GE Oil & Gas
                                     GE Oil & Gas (GE Baker)
                                     GE Power
                                     GE Power & Water
                                     GE Power, SPS
                                     GE Renewable Energy
                                     GE Renewables
                                     GE Transportation
                                     GEHC
                                     General Electric
                                     General Electric Co.
                                     General Electric Company
                                     General Electric Oil & Gas
                                     Hilton
                                     Iberdrola S.A.
                                     J. C. Penney Corporation
                                     JP Morgan
                                     LM Wind Power A/S
                                     Lm Wind Power Holding A/S
                                     Mubadala
                                     Mubadala BMS
                                     Mubadala Development Company
                                     Mubadala Development Company PJSC
                                     Mubadala Development Company PJSC - Confidential
                                     Mubadala ICLDC
                                     Mubadala Minesa
                                     PKP Energetyka
                                     SABIC
                                     Shell
                                     SNC-Lavalin Group Inc.
                                     Suez Water Technologies & Solutions
                                     Sunrun
                                     Sunrun Inc.
                                     SunRun, Inc.
                                     Telus



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#    Interested Party Name                 Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company        The Hamilton Group Inc                              Clients in matters
                                           Tungsram
                                           YPF
269 Elliott Management Corporation         Elliott Management                                  Clients in matters
                                           Elliott Management Corporation                      unrelated to the debtors
270 Elster American Meter Company LLC      Bayer                                               Clients in matters
                                           Honeywell                                           unrelated to the debtors
                                           Honeywell International Inc.
                                           Honeywell PMT
                                           Ipsen
                                           ITC
                                           Johnson Matthey Plc
                                           Roche (China) Co., Ltd.
                                           Roche China
271 Employers Insurance Company of         ING                                                 Clients in matters
    Wausau                                 ING Bank Nederland                                  unrelated to the debtors
                                           Liberty Insurance
                                           Liberty Mutual
                                           Liberty Mutual Group
                                           Liberty Mutual Group, Inc.
                                           Liberty Mutual Holding Company Inc.
                                           Liberty Mutual Insurance Company
272 Empyrean Capital Partners LP on behalf Informatica                                         Clients in matters
    of certain funds and accounts          Johnson Controls International                      unrelated to the debtors
                                           Visteon
                                           Visteon Corporation
273 Encompass Insurance Company            Ad hoc lenders to Arch Coal on behalf of Allstate   Clients in matters
                                           Investment Management Company                       unrelated to the debtors
                                           Ad hoc lenders to Arch Coal on behalf of Allstate
                                           Investments, LLC
                                           Allstate Insurance
                                           Fidelity International
                                           Fidelity International Limited
                                           GE
274 Endurance American Specialty           Canopius                                            Clients in matters
    Insurance Company                      Nissan                                              unrelated to the debtors
275 Endurance Risk Solutions Assurance Co Canopius                                             Clients in matters
                                           Nissan                                              unrelated to the debtors
276 Endurance Specialty Insurance          Canopius                                            Clients in matters
    Company                                Nissan                                              unrelated to the debtors
277 Enel Green Power North America Inc     BP                                                  Clients in matters
                                           BP p.l.c.                                           unrelated to the debtors
                                           Endesa
                                           Enel
                                           Enel Brasil S.A.
                                           Enel Green Power
                                           Enel S.p.A.
                                           Enel SpA
                                           Origin Energy Markets
278 Enel X                                 BP                                                  Clients in matters
                                           BP p.l.c.                                           unrelated to the debtors
                                           Endesa
                                           Enel


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#   Interested Party Name               Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company      Enel Brasil S.A.                                  Clients in matters
                                        Enel Green Power
                                        Enel S.p.A.
                                        Enel SpA
                                        Origin Energy Markets
279 Energy America LLC                  American Electric Power (AEP)                     Clients in matters
                                        Centrica                                          unrelated to the debtors
                                        Chevron
                                        ENI S.p.A.
                                        Entergy
                                        Shell
                                        Spirit Energy
                                        Suncor
                                        Wintershall Holding GmbH
280 Energy Capital Partners             Energy Capital Partners Llc                       Clients in matters
                                                                                          unrelated to the debtors
281 Energy Systems Group LLC            Chevron                                           Clients in matters
                                                                                          unrelated to the debtors
282 Enovity Inc                         Chemours                                          Clients in matters
                                        DIC                                               unrelated to the debtors
                                        DIC Corp.
                                        Nuon
                                        Sempra Energy
                                        Yangguang Co Ltd.
283 Environment One Corporation         American Electric Power (AEP)                     Clients in matters
                                        Bankia                                            unrelated to the debtors
                                        BNSF Railway Company
                                        BP
                                        BP p.l.c.
                                        Burlington Northern Santa Fe
                                        Burlington Northern Santa Fe Corporation
                                        Burlington Northern Santa Fe Corporation (BNSF)
                                        Chemours
                                        Chevron
                                        Citi
                                        Corning CDT
                                        CSRA
                                        CSRA Inc.
                                        Daimler PGMex
                                        DaVita Inc.
                                        Dow Chemical Company
                                        Dow DuPont
                                        Dow DuPont Ag Co
                                        Dow DuPont AgCo
                                        DowDuPont
                                        DowDuPont Ag Division
                                        DowDupont AgCo
                                        DowDuPont Inc.
                                        DowDupont SpecCo
                                        DQ DC Multi-client code
                                        Duke Energy
                                        DuPont
                                        DuPont Nutrition & Health



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#   Interested Party Name              Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company     DuPont Pioneer                             Clients in matters
                                       DuPont/Pioneer
                                       Firmenich International Sa
                                       Fresenius RTG
                                       Fresenius SE & Co. KGaA
                                       GE
                                       GE Power, SPS
                                       GEHC
                                       General Dynamic UK
                                       General Dynamics Corporation
                                       General Motors Corp. - Confidential
                                       Hyatt
                                       Hyatt Corporation
                                       Hyatt Hotels Corporation
                                       Intermountain
                                       Kraft Foods Inc.
                                       Kraft Heinz
                                       KraftHeinz Canada
                                       Kraft-Heinz Canada
                                       L&T
                                       L&T digital
                                       L&T Infotech
                                       Lubrizol Corp
                                       Lubrizol Corporation
                                       Micron
                                       Mondelez International
                                       Mondelez International Inc.
                                       Nissan
                                       OTC
                                       PKP Energetyka
                                       Providence
                                       ROHM Co. Ltd
                                       Sun Life
                                       Tesco PLC
                                       The Kraft Heinz Company
                                       The Kraft Heinz Company - via Genpact
                                       The Kraft Heinz Foods Company
                                       Timet
                                       Trident Group
                                       Viacom 18
                                       Visa
                                       Visa Canada Corporation
                                       Visa Inc
                                       Visa Inc.
                                       Visa Worldwide Pte. Limited
                                       Zhejiang Hengyi Group Co. Ltd.
                                       Zhejiang Huaye
284 Environmental Resources Management Environmental Resource Mgmt                Clients in matters
                                                                                  unrelated to the debtors
285 Equinix Inc                        Equinix, Inc.                              Clients in matters
                                                                                  unrelated to the debtors
286 Essentia Ins Co                    Colfax Corporation                         Clients in matters
                                       Markel Corporation                         unrelated to the debtors



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#   Interested Party Name               Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company      Markel Insurance                                  Clients in matters
287 ETC Marketing Ltd                   Arclin                                            Clients in matters
                                        Duke Energy                                       unrelated to the debtors
                                        Lone Star/Forterra
                                        Lone Star/Forterra Building Products
                                        Lone Star/Hanson Building Products
                                        Lone Star/US Pipe
                                        LS/Caliber Home Loans
                                        Stripes Group
288 Eurus Energy America Corp           Asahi Glass Company (AGC)                         Clients in matters
                                        GrabTaxi Holdings Pte Ltd                         unrelated to the debtors
                                        Toyota
289 Evanston Insurance Company          Colfax Corporation                                Clients in matters
                                        Markel Corporation                                unrelated to the debtors
                                        Markel Insurance
290 Everest Indemnity Insurance Company Axiom                                             Clients in matters
                                                                                          unrelated to the debtors
291 Everest National Insurance Company   Axiom                                            Clients in matters
                                                                                          unrelated to the debtors
292 Exelon Corporation                   Bluestem Brands                                  Clients in matters
                                         ComEd                                            unrelated to the debtors
                                         Consolidated Edison Company of New York, Inc.,
                                         (CECONY)
                                         Entergy
                                         Exelon
                                         Exelon Corporation
                                         Shell
293 Exelon Generation Company LLC        Bluestem Brands                                  Clients in matters
                                         ComEd                                            unrelated to the debtors
                                         Consolidated Edison Company of New York, Inc.,
                                         (CECONY)
                                         Entergy
                                         Exelon
                                         Exelon Corporation
                                         Shell
294 ExGen Renewables                     Bluestem Brands                                  Clients in matters
                                         ComEd                                            unrelated to the debtors
                                         Consolidated Edison Company of New York, Inc.,
                                         (CECONY)
                                         Entergy
                                         Exelon
                                         Exelon Corporation
                                         Shell
295 Express Scripts Holding Company      Baxter                                           Clients in matters
                                         CIGNA                                            unrelated to the debtors
                                         CIGNA Corporation
                                         CuraScript SD
                                         eviCore
                                         Express Scripts
                                         Express Scripts Holding Company
                                         Express Scripts Inc.
                                         Intermountain
296 Fairfax Co                           Abitibi-Consolidated                             Clients in matters
                                                                                          unrelated to the debtors

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#   Interested Party Name             Proposed Professionals Connection Name          Connection Type
1   21 st Century Casualty Company    Advent - Estacio                                Clients in matters
                                                                                      unrelated  to the debtors
                                      Advent - Grupo Fleury
                                      Advent / CCC Information Services
                                      Advent International France
                                      AXA UK plc
                                      GE
                                      Markel Insurance
                                      Mosaic
                                      Mytilineos Holdings S.A.
                                      QBE
                                      Resolute Forest Products
                                      Resolute Forest Products Inc.
                                      Resolute Forest Products, Inc.
                                      Riverstone
                                      Riverstone Holdings Llc
                                      The Mosaic Co.
                                      The Mosaic Company
                                      Transamerica Reinsurance
297 Farallon Capital Management LLC   Bankunited                                      Clients in matters
                                      BankUnited, Inc.                                unrelated to the debtors
                                      Didi
                                      Didi Chuxing
                                      Intarcia
                                      Intarcia Therapeutics Inc.
                                      JP Morgan
                                      Mr. Cooper
                                      Mr. Cooper Group Inc.
                                      Nationstar Mortgage
                                      Nationstar Mortgage Llc
                                      NXP Semiconductors
                                      PNC
                                      PT Go-Jek Indonesia
                                      Uber
                                      Via Varejo
                                      Via Varejo S.A.
298 Farmers Entities                  AIG                                             Clients in matters
                                      Baloise-Holding AG                              unrelated to the debtors
                                      Basler Versicherung AG
                                      Gilde Buy Out Partners
                                      ING
                                      ING Bank Nederland
                                      QBE
                                      Santander Brasil
                                      Santander Mexico
                                      Unum
                                      Zurich Deutscher Herold Lebensversicherung AG
                                      Zurich Financial Services
                                      Zurich Insurance
                                      Zurich Insurance Company Ltd
                                      Zurich Insurance Group AG
                                      Zurich North America
                                      Zurich-Santander




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#    Interested Party Name                Proposed Professionals Connection Name          Connection Type
1299 21 st Century
     Farmers       Casualty
              Insurance     Company
                        Company of Oregon AIG                                             Clients in matters
                                                                                          unrelated to the debtors
300 Farmers Insurance Company of          AIG                                             Clients in matters
    Washington                            Baloise-Holding AG                              unrelated to the debtors
                                          Basler Versicherung AG
                                          Gilde Buy Out Partners
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          Santander Brasil
                                          Santander Mexico
                                          Unum
                                          Zurich Deutscher Herold Lebensversicherung AG
                                          Zurich Financial Services
                                          Zurich Insurance
                                          Zurich Insurance Company Ltd
                                          Zurich Insurance Group AG
                                          Zurich North America
                                          Zurich-Santander
301 Farmers Insurance Exchange            AIG                                             Clients in matters
                                                                                          unrelated to the debtors
302 Farmers Specialty Insurance Company   AIG                                             Clients in matters
                                          Baloise-Holding AG                              unrelated to the debtors
                                          Basler Versicherung AG
                                          Gilde Buy Out Partners
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          Santander Brasil
                                          Santander Mexico
                                          Unum
                                          Zurich Deutscher Herold Lebensversicherung AG
                                          Zurich Financial Services
                                          Zurich Insurance
                                          Zurich Insurance Company Ltd
                                          Zurich Insurance Group AG
                                          Zurich North America
                                          Zurich-Santander
303 Farmland Mutual Insurance Company     Nationwide                                      Clients in matters
                                          Nationwide Insurance                            unrelated to the debtors
304 FD Thomas Inc                         BP                                              Clients in matters
                                          BP p.l.c.                                       unrelated to the debtors
305 Federal Insurance Company             Chubb                                           Clients in matters
                                          Chubb Corporation                               unrelated to the debtors
                                          CIGNA
                                          INA
                                          INA-Holding Schaeffler KG
306 Fidelity & Deposit Company of         AIG                                             Clients in matters
    Maryland                              Baloise-Holding AG                              unrelated to the debtors
                                          Basler Versicherung AG
                                          Gilde Buy Out Partners
                                          ING
                                          ING Bank Nederland



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#    Interested Party Name              Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company     QBE                                                 Clients in matters
                                        Santander Brasil
                                        Santander Mexico
                                        Unum
                                        Zurich Deutscher Herold Lebensversicherung AG
                                        Zurich Financial Services
                                        Zurich Insurance
                                        Zurich Insurance Company Ltd
                                        Zurich Insurance Group AG
                                        Zurich North America
                                        Zurich-Santander
307 Fidelity and Guaranty Insurance     Equifax Services, Inc.                              Clients in matters
    Underwriters Inc                    The Travelers Companies Inc.                        unrelated to the debtors
                                        The Travelers Companies, Inc.
                                        Travelers Corp.
308 Fidelity Management & Research      Cipla                                               Clients in matters
    Company                             Cipla Health Limited                                unrelated to the debtors
                                        Cipla Limited
                                        Fidelity
                                        Fidelity International
                                        Fidelity International Limited
                                        Fidelity Investments
                                        Hua Medicine (Shanghai) Ltd.
                                        International Business Machines Corporation (IBM)
                                        Kelso
                                        Pan Pacific International Holding
309 Fidelity Management Trust Company   Cipla                                               Clients in matters
                                        Cipla Health Limited                                unrelated to the debtors
                                        Cipla Limited
                                        Fidelity
                                        Fidelity International
                                        Fidelity International Limited
                                        Fidelity Investments
                                        Hua Medicine (Shanghai) Ltd.
                                        International Business Machines Corporation (IBM)
                                        Kelso
                                        Pan Pacific International Holding
310 Fire Insurance Exchange             AIG                                                 Clients in matters
                                        Baloise-Holding AG                                  unrelated to the debtors
                                        Basler Versicherung AG
                                        Gilde Buy Out Partners
                                        ING
                                        ING Bank Nederland
                                        QBE
                                        Santander Brasil
                                        Santander Mexico
                                        Unum
                                        Zurich Deutscher Herold Lebensversicherung AG
                                        Zurich Financial Services
                                        Zurich Insurance
                                        Zurich Insurance Company Ltd
                                        Zurich Insurance Group AG
                                        Zurich North America


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#   Interested Party Name              Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company     Zurich-Santander                                  Clients in matters
311 Fireman’s Fund Insurance Company   ADAC e.V.                                         Clients in matters
                                       Aegon USA (Transamerica)                          unrelated to the debtors
                                       AGCO
                                       Airbus
                                       Airbus Defence and Space GmbH
                                       Airbus Group NV
                                       Airbus Helicopters
                                       Airbus Safran Launchers
                                       Allianz
                                       Allianz AG
                                       Allianz Asia Pacific (AZAP)
                                       Allianz Asset Management AG
                                       Allianz Bank
                                       Allianz CIA de Seguros y Reaseguros SA
                                       Allianz Deutschland AG
                                       Allianz France
                                       Allianz Global Investors
                                       Allianz Global Investors GmbH
                                       Allianz Hungaria Zrt.
                                       Allianz Lebensversicherungs-AG
                                       Allianz Life Insurance Company of New York
                                       Allianz Partners SAS
                                       Allianz S.P.A.
                                       Allianz SE
                                       Allianz Sigorta A.S.
                                       Allianz Versicherungs-AG
                                       Alphabet Inc
                                       AXA
                                       BASF
                                       BASF Corp.
                                       BASF Corporation
                                       BASF New Business GmbH
                                       BASF SE
                                       Bayer
                                       Bayer AG
                                       Bayer Consumer Care AG
                                       Bayer Consumer Health
                                       Bayer CropScience AG
                                       Bayer Healthcare
                                       Bayer HealthCare AG
                                       Bayer Holding Ltd.
                                       Bayer Pharma
                                       Bayer Pharma AG
                                       Bayer Pharmaceuticals
                                       Bayerische Motoren Werke AG
                                       BDF Nivea LTDA.
                                       Beiersdorf AG
                                       Beiersdorf Manufacturing Hamburg GmbH
                                       Beiersdorf Tchibo Holding
                                       BMW AG
                                       Bmw China Automotive Trading Ltd.
                                       Boehringer Ingelheim Middle East & North Africa



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   BP p.l.c.                                         Clients in matters
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan
                                     Nestlé
                                     Nestle Foods
                                     Nestle Purina
                                     Nestlé Regional Spring Water
                                     Nestlé S.A.
                                     Nestle Waters
                                     Nestle Waters North America
                                     Nokia Oy
                                     Nokia Oyj
                                     Pfizer Global Pharmaceuticals
                                     PIMCO
                                     PIMCO Europe Ltd.
                                     Rolls Royce
                                     Rolls Royce Defense
                                     Societe Generale IBFS



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#    Interested Party Name                  Proposed Professionals Connection Name    Connection Type
1    21 st Century Casualty Company         Starbucks                                 Clients in matters
                                            UniCredit Banca
                                            Unicredit Bank AG
                                            UniCredit Bank Austria AG
                                            UniCredit CIB
                                            UniCredit SpA
                                            Wintershall Holding GmbH
                                            Zhejiang Hengyi Group Co. Ltd.
                                            Zhejiang Huaye
312 First American Specialty Insurance      State Street                              Clients in matters
                                                                                      unrelated to the debtors
313 First Independent Bank of NV            GE                                        Clients in matters
                                            Intermountain                             unrelated to the debtors
                                            The Clearing House
314 First National Insurance Company of     ING                                       Clients in matters
    America                                 ING Bank Nederland                        unrelated to the debtors
                                            Liberty Insurance
                                            Liberty Mutual
                                            Liberty Mutual Group
                                            Liberty Mutual Group, Inc.
                                            Liberty Mutual Holding Company Inc.
                                            Liberty Mutual Insurance Company
315 First Reserve                           First Reserve                             Clients in matters
                                            First Reserve Corp                        unrelated to the debtors
                                            First Reserve Corporation
316 First Specialty Insurance Corporation   Australis Partners (Advisers), LLC        Clients in matters
                                            CIGNA                                     unrelated to the debtors
                                            CNA Financial Corp.
                                            CNA Insurance
                                            FWD Group Management Holdings Limited
                                            GE
                                            HSBC
                                            Old Mutual Latam
                                            Shinsei Bank
                                            Shinsei Bank Ltd
                                            Shinsei Bank, Limited
                                            Shinsei Bank, Ltd.
                                            Swiss Re
                                            Swiss Re Corporate Solutions
                                            Swiss Re Management Ltd
                                            UBF (UAE Banks Federation)
317 Five Points Construction Co Inc         Intermountain                             Clients in matters
                                            Quanta Services                           unrelated to the debtors
318 Fluor Corporation                       Automatic Data Processing Inc. (ADP)      Clients in matters
                                            Technip FMC                               unrelated to the debtors
319 Ford Motor Company                      Association of Rus Automakers             Clients in matters
                                            Aston Martin                              unrelated to the debtors
                                            Aston Martin Holdings (UK) LTD
                                            Aston Martin Lagonda (AML)
                                            Aston Martin Lagonda Limited
                                            Aston Martin Lagonda Ltd.
                                            Aston Martin Lagonda, Ltd.
                                            Bankunited


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#   Interested Party Name            Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company   BankUnited, Inc.                                    Clients in matters
                                     FCA
                                     Ford
                                     Ford Asia Pacific
                                     Ford Motor Company
                                     Ford of Europe
                                     Ford South America
                                     Ford Werke GmbH
                                     Ford-Werke GmbH
                                     MAPPER Lithography Holding BV
                                     Mr. Cooper
                                     Mr. Cooper Group Inc.
                                     Nationstar Mortgage
                                     Nationstar Mortgage Llc
                                     PNC
                                     Visteon
320 Fording                          Grupo Minero (Colpatria)                            Clients in matters
                                     Grupo Mineros                                       unrelated to the debtors
                                     Grupo Mineros S.A.
                                     Oldcastle
                                     Oldcastle - APG (Architectural Products Group)
                                     Rio Tinto Bauxite & Alumina
                                     Rio Tinto Bauxite and Alumina
                                     Rio Tinto Coal Australia
                                     Rio Tinto Copper Group
                                     Rio Tinto Fer & Titane
                                     Teck Resources
                                     Teck Resources Limited
321 Forefront Power LLC              Association of Rus Automakers                       Clients in matters
                                     Astellas                                            unrelated to the debtors
                                     Axiom
                                     BHP
                                     BHP Billiton
                                     BHP Billiton Group
                                     Cargill
                                     Edison International / Southern California Edison
                                     Edison Mission Energy
                                     FORTIS
                                     Fortis Healthcare Limited
                                     IHH Healthcare Berhad
                                     Krakatau Steel
                                     Mærsk A/S
                                     Maersk Group
                                     Maersk Tankers
                                     Mitsui
                                     Mitsui & Co Europe, PLC
                                     Mitsui & Co., Ltd.
                                     Mitsui & Company Limited
                                     Modec
                                     Naturgy
                                     Naturgy Energy Group, S.A.
                                     Nippon Steel & Sumikin
                                     Nippon Steel Corporation


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#   Interested Party Name                Proposed Professionals Connection Name          Connection Type
1   21 st Century Casualty Company       Nippon Steel Sumikin Engineering                Clients in matters
                                         Novus International
                                         Origin Energy Ltd
                                         Origin Energy Markets
                                         Otsuka
                                         Pfizer Global Pharmaceuticals
                                         Philips Lighting B.V.
                                         PTC
                                         Samarco Mineração SA
                                         ThyssenKrupp CSA
                                         VLI
                                         Woodside Petroleum Ltd
                                         Yamato
322 Foremost Insurance Company Grand     AIG                                             Clients in matters
    Rapids Michigan                      Baloise-Holding AG                              unrelated to the debtors
                                         Basler Versicherung AG
                                         Gilde Buy Out Partners
                                         ING
                                         ING Bank Nederland
                                         QBE
                                         Santander Brasil
                                         Santander Mexico
                                         Unum
                                         Zurich Deutscher Herold Lebensversicherung AG
                                         Zurich Financial Services
                                         Zurich Insurance
                                         Zurich Insurance Company Ltd
                                         Zurich Insurance Group AG
                                         Zurich North America
                                         Zurich-Santander
323 Foremost Property and Casualty       AIG                                             Clients in matters
    Insurance Company                    Baloise-Holding AG                              unrelated to the debtors
                                         Basler Versicherung AG
                                         Gilde Buy Out Partners
                                         ING
                                         ING Bank Nederland
                                         QBE
                                         Santander Brasil
                                         Santander Mexico
                                         Unum
                                         Zurich Deutscher Herold Lebensversicherung AG
                                         Zurich Financial Services
                                         Zurich Insurance
                                         Zurich Insurance Company Ltd
                                         Zurich Insurance Group AG
                                         Zurich North America
                                         Zurich-Santander
324 Foremost Signature Insurance Company AIG                                             Clients in matters
                                         Baloise-Holding AG                              unrelated to the debtors
                                         Basler Versicherung AG
                                         Gilde Buy Out Partners
                                         ING
                                         ING Bank Nederland


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#   Interested Party Name            Proposed Professionals Connection Name          Connection Type
1   21 st Century Casualty Company   QBE                                             Clients in matters
                                     Santander Brasil
                                     Santander Mexico
                                     Unum
                                     Zurich Deutscher Herold Lebensversicherung AG
                                     Zurich Financial Services
                                     Zurich Insurance
                                     Zurich Insurance Company Ltd
                                     Zurich Insurance Group AG
                                     Zurich North America
                                     Zurich-Santander
325 Fortis Energy Marketing          Abbott Ireland Diabetes Care                    Clients in matters
                                     ABN AMRO Bank N.V.                              unrelated to the debtors
                                     Abu Dhabi Chamber Of Commerce & Industry
                                     Air Liquide Asia Pacific
                                     Baloise-Holding AG
                                     Bank of Baroda
                                     Bank of the West
                                     BHP
                                     BHP Billiton
                                     BHP Billiton Group
                                     BNP Paribas
                                     BNP Paribas IP
                                     BNPP
                                     BNPP IP
                                     BPost
                                     bpost Bank
                                     bpost SA
                                     Caixabank
                                     CaixaBank, S.A.
                                     Citi
                                     Credit Agricole Indosuez
                                     Crédit Agricole Indosuez
                                     Crédit Agricole Indosuez Wealth
                                     Credit Agricole Wealth
                                     Crédit Agricole Wealth
                                     Eltel Networks
                                     Endesa
                                     Gazprom PJSC
                                     GE
                                     General Motors Corp. - Confidential
                                     Hanwha Total Petrochemicals Co., Ltd.
                                     ING
                                     ING Bank Nederland
                                     KeyCorp
                                     Maersk
                                     Massmart
                                     Nissan
                                     Nissan Europe
                                     Raiffeisen Bank, a.s.
                                     Red Electrica Sa
                                     REE
                                     Royal Dutch Shell Retail



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#    Interested Party Name              Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company     Royal Dutch/Shell Group                             Clients in matters
                                        Saft Groupe SA
                                        SAUR
                                        Shell
                                        Sundaram Mutual
                                        Total E&P North Sea UK Limited
                                        TOTAL S.A.
                                        Total SA
                                        TransCanada
                                        UCB
                                        Viesgo
326 Foster Wheeler Martinez Inc         Ares                                                Clients in matters
                                        GE                                                  unrelated to the debtors
                                        GE Oil & Gas
                                        GE Oil & Gas (GE Baker)
                                        General Electric Oil & Gas
                                        Philips Lighting B.V.
                                        Rolls Royce Defense
                                        TransCanada
                                        TransCanada Corporation
327 FPL Energy Montezuma Wind LLC       FPL Group, Inc.                                     Clients in matters
                                        NextEra Energy Inc.                                 unrelated to the debtors
                                        NextEra Energy Resources
                                        NextEra Energy Resources, LLC
                                        NextEra/Florida Power and Light
328 Framatome Inc                       AREVA                                               Clients in matters
                                        AREVA Group                                         unrelated to the debtors
                                        Deutsche Bank
                                        Edison International
                                        Edison International / Southern California Edison
                                        Électricité De France
                                        GE
                                        GE Energy
                                        Richemont
                                        Schneider
329 Freedom Specialty Insurance Company Nationwide                                          Clients in matters
                                        Nationwide Insurance                                unrelated to the debtors
330 Freeport McMoRan Oil & Gas LLC      Chevron                                             Clients in matters
                                        Freeport-McMoRan Inc.                               unrelated to the debtors
                                        Shell
331 Frito-Lay Inc                       Asahi                                               Clients in matters
                                        Asahi Beer                                          unrelated to the debtors
                                        Asahi Glass Company (AGC)
                                        Embotelladora Las Margaritas S.A.P.I. de C.V.
                                        Pepsico Inc.
                                        Pioneer Corporation
332 Frontier Communications Corporation Frontier Communications Corporation                 Clients in matters
                                        Verizon                                             unrelated to the debtors
                                        Verizon Communications
333 Frontier Communications of America, Frontier Communications Corporation                 Clients in matters
    Inc                                 Verizon                                             unrelated to the debtors
                                        Verizon Communications




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#    Interested Party Name            Proposed Professionals Connection Name     Connection Type
1334 21
     FTIst Century Casualty
        Consulting  Inc     Company   Citi                                       Clients in matters
                                                                                 unrelated to the debtors
335 Fugro USA Land Inc                Siris Capital Group Llc                    Clients in matters
                                                                                 unrelated to the debtors
336 Fugro USA Marine Inc              Siris Capital Group Llc                    Clients in matters
                                                                                 unrelated to the debtors
337 Garrison Property and Casualty    United Services Automobile Association     Clients in matters
    Insurance Company                 USAA                                       unrelated to the debtors
338 Gartner Inc                       AMR Interagency Coordination Mechanism     Clients in matters
                                      Gartner                                    unrelated to the debtors
                                      Gartner Group
                                      Gartner Inc.
339 GCube Insurance Services Inc      HSBC                                       Clients in matters
                                      Marsh & McLennan                           unrelated to the debtors
                                      Marsh & McLennan Companies
                                      Marsh & McLennan Cos., Inc.
340 GE Oil & Gas - North America      Advent - Estacio                           Clients in matters
                                      Advent - Grupo Fleury                      unrelated to the debtors
                                      Advent / CCC Information Services
                                      Advent International France
                                      Aker Group
                                      AREVA Group
                                      AXA
                                      Axiom
                                      Baker Hugues
                                      Boeing
                                      Chevron
                                      Citi
                                      Daimler PGMex
                                      Enel
                                      FMC Technologies
                                      GE
                                      GE Additive
                                      GE Aviation
                                      GE Capital
                                      GE Corporate
                                      GE Digital
                                      GE Distributed Power
                                      GE Energy
                                      GE Healthcare
                                      GE India
                                      GE Oil & Gas
                                      GE Oil & Gas (GE Baker)
                                      GE Power
                                      GE Power & Water
                                      GE Power, SPS
                                      GE Renewable Energy
                                      GE Renewables
                                      GE Transportation
                                      GEHC
                                      General Electric
                                      General Electric Co.
                                      General Electric Company



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#   Interested Party Name            Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company   General Electric Oil & Gas                         Clients in matters
                                     Hilton
                                     Iberdrola S.A.
                                     J. C. Penney Corporation
                                     JP Morgan
                                     LM Wind Power A/S
                                     Lm Wind Power Holding A/S
                                     Mubadala
                                     Mubadala BMS
                                     Mubadala Development Company
                                     Mubadala Development Company PJSC
                                     Mubadala Development Company PJSC - Confidential
                                     Mubadala ICLDC
                                     Mubadala Minesa
                                     PKP Energetyka
                                     SABIC
                                     Shell
                                     SNC-Lavalin Group Inc.
                                     Suez Water Technologies & Solutions
                                     Sunrun
                                     Sunrun Inc.
                                     SunRun, Inc.
                                     Telus
                                     The Hamilton Group Inc
                                     Tungsram
                                     YPF
341 GE Renewable Energy              Advent - Estacio                                   Clients in matters
                                     Advent - Grupo Fleury                              unrelated to the debtors
                                     Advent / CCC Information Services
                                     Advent International France
                                     Aker Group
                                     AREVA Group
                                     AXA
                                     Axiom
                                     Baker Hugues
                                     Boeing
                                     Chevron
                                     Citi
                                     Daimler PGMex
                                     Enel
                                     FMC Technologies
                                     GE
                                     GE Additive
                                     GE Aviation
                                     GE Capital
                                     GE Corporate
                                     GE Digital
                                     GE Distributed Power
                                     GE Energy
                                     GE Healthcare
                                     GE India
                                     GE Oil & Gas
                                     GE Oil & Gas (GE Baker)



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#   Interested Party Name             Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company    GE Power                                           Clients in matters
                                      GE Power & Water
                                      GE Power, SPS
                                      GE Renewable Energy
                                      GE Renewables
                                      GE Transportation
                                      GEHC
                                      General Electric
                                      General Electric Co.
                                      General Electric Company
                                      General Electric Oil & Gas
                                      Hilton
                                      Iberdrola S.A.
                                      J. C. Penney Corporation
                                      JP Morgan
                                      LM Wind Power A/S
                                      Lm Wind Power Holding A/S
                                      Mubadala
                                      Mubadala BMS
                                      Mubadala Development Company
                                      Mubadala Development Company PJSC
                                      Mubadala Development Company PJSC - Confidential
                                      Mubadala ICLDC
                                      Mubadala Minesa
                                      PKP Energetyka
                                      SABIC
                                      Shell
                                      SNC-Lavalin Group Inc.
                                      Suez Water Technologies & Solutions
                                      Sunrun
                                      Sunrun Inc.
                                      SunRun, Inc.
                                      Telus
                                      The Hamilton Group Inc
                                      Tungsram
                                      YPF
342 Geico General Insurance Company   American Electric Power (AEP)                      Clients in matters
                                      Bankia                                             unrelated to the debtors
                                      BNSF Railway Company
                                      BP
                                      BP p.l.c.
                                      Burlington Northern Santa Fe
                                      Burlington Northern Santa Fe Corporation
                                      Burlington Northern Santa Fe Corporation (BNSF)
                                      Chemours
                                      Chevron
                                      Citi
                                      Corning CDT
                                      CSRA
                                      CSRA Inc.
                                      Daimler PGMex
                                      DaVita Inc.
                                      Dow Chemical Company



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#   Interested Party Name            Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company   Dow DuPont                                Clients in matters
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Visa Canada Corporation                           Clients in matters
                                     Visa Inc
                                     Visa Inc.
                                     Visa Worldwide Pte. Limited
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
343 Geico Indemnity Company          American Electric Power (AEP)                     Clients in matters
                                     Bankia                                            unrelated to the debtors
                                     BNSF Railway Company
                                     BP
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada



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1   21 st Century Casualty Company          Kraft-Heinz Canada                       Clients in matters
                                            L&T
                                            L&T digital
                                            L&T Infotech
                                            Lubrizol Corp
                                            Lubrizol Corporation
                                            Micron
                                            Mondelez International
                                            Mondelez International Inc.
                                            Nissan
                                            OTC
                                            PKP Energetyka
                                            Providence
                                            ROHM Co. Ltd
                                            Sun Life
                                            Tesco PLC
                                            The Kraft Heinz Company
                                            The Kraft Heinz Company - via Genpact
                                            The Kraft Heinz Foods Company
                                            Timet
                                            Trident Group
                                            Viacom 18
                                            Visa
                                            Visa Canada Corporation
                                            Visa Inc
                                            Visa Inc.
                                            Visa Worldwide Pte. Limited
                                            Zhejiang Hengyi Group Co. Ltd.
                                            Zhejiang Huaye
344 Gelco Corporation dba GE Fleet Services Advent - Estacio                         Clients in matters
                                            Advent - Grupo Fleury                    unrelated to the debtors
                                            Advent / CCC Information Services
                                            Advent International France
                                            Aker Group
                                            AREVA Group
                                            AXA
                                            Axiom
                                            Baker Hugues
                                            Boeing
                                            Chevron
                                            Citi
                                            Daimler PGMex
                                            Enel
                                            FMC Technologies
                                            GE
                                            GE Additive
                                            GE Aviation
                                            GE Capital
                                            GE Corporate
                                            GE Digital
                                            GE Distributed Power
                                            GE Energy
                                            GE Healthcare



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#    Interested Party Name               Proposed Professionals Connection Name             Connection Type
1    21 st Century Casualty Company      GE India                                           Clients in matters
                                         GE Oil & Gas
                                         GE Oil & Gas (GE Baker)
                                         GE Power
                                         GE Power & Water
                                         GE Power, SPS
                                         GE Renewable Energy
                                         GE Renewables
                                         GE Transportation
                                         GEHC
                                         General Electric
                                         General Electric Co.
                                         General Electric Company
                                         General Electric Oil & Gas
                                         Hilton
                                         Iberdrola S.A.
                                         J. C. Penney Corporation
                                         JP Morgan
                                         LM Wind Power A/S
                                         Lm Wind Power Holding A/S
                                         Mubadala
                                         Mubadala BMS
                                         Mubadala Development Company
                                         Mubadala Development Company PJSC
                                         Mubadala Development Company PJSC - Confidential
                                         Mubadala ICLDC
                                         Mubadala Minesa
                                         PKP Energetyka
                                         SABIC
                                         Shell
                                         SNC-Lavalin Group Inc.
                                         Suez Water Technologies & Solutions
                                         Sunrun
                                         Sunrun Inc.
                                         SunRun, Inc.
                                         Telus
                                         The Hamilton Group Inc
                                         Tungsram
                                         YPF
345 General Casualty Company of          CIGNA                                              Clients in matters
    Wisconsin                            CUNA                                               unrelated to the debtors
                                         ING
                                         ING Bank Nederland
                                         QBE
                                         QBE Insurance Group Ltd
                                         QBE Insurance Group Ltd.
346 General Construction                 Aker Group                                         Clients in matters
                                                                                            unrelated to the debtors
347 General Electric International Inc   GE                                                 Clients in matters
                                                                                            unrelated to the debtors
348 General Insurance Company of America ING                                                Clients in matters
                                         ING Bank Nederland                                 unrelated to the debtors
                                         Liberty Insurance



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#    Interested Party Name                Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company       Liberty Mutual                                      Clients in matters
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
349 General Security Indemnity Company of Aegon USA (Transamerica)                            Clients in matters
    Arizona                               SCOR                                                unrelated to the debtors
                                          Transamerica
                                          Transamerica Reinsurance
350 Generali US Branch                    Allegro Invest SE                                   Clients in matters
                                          Allegro Sp. z o.o                                   unrelated to the debtors
                                          Assicurazioni Generali SpA
                                          Banca 5
                                          Banca Fideuram SPA
                                          Banco de Credito
                                          Banco Santander SA
                                          BP p.l.c.
                                          Citi
                                          Companhia Seguros Tranquilidade, S.A.
                                          Enel
                                          GE
                                          Generali
                                          Generali Deutschland AG
                                          ICG - Intermediated Capital Group
                                          Impregilo S.p.A.
                                          Intesa Sanpaolo
                                          Intesa Sanpaolo - CLB
                                          Intesa Sanpaolo Group Services
                                          Intesa Sanpaolo S.p.A.
                                          Intesa Sanpaolo SpA
                                          Intesa Sanpaolo Vita
                                          Salini Impregilo SpA
                                          Santander
                                          Santander Consumer
                                          Santander Group
                                          Santander Holdings USA, Inc.
                                          Santander Mexico
                                          Santander UK
                                          Santander UK plc
                                          Santander US
                                          Terna SpA
                                          Tranquilidade
                                          Waypoint Capital Services Inc.
351 Genesis Solar LLC                     FPL Group, Inc.                                     Clients in matters
                                          NextEra Energy Inc.                                 unrelated to the debtors
                                          NextEra Energy Resources
                                          NextEra Energy Resources, LLC
                                          NextEra/Florida Power and Light
352 Genesys Telecommunications            IBM Watson Health                                   Clients in matters
    Laboratories Inc                                                                          unrelated to the debtors
353 GenOn Delta LLC                       Consolidated Edison Company of New York, Inc.,      Clients in matters
                                          (CECONY)                                            unrelated to the debtors
                                          Edison International / Southern California Edison


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#    Interested Party Name                  Proposed Professionals Connection Name                Connection Type
1    21 st Century Casualty Company         Edison Mission Energy                                 Clients in matters
                                            GenOn
                                            Kelso
                                            NRG Energy Inc.
354 GenOn Energy Inc                        GenOn                                                 Clients in matters
                                            GenOn Energy, Inc.                                    unrelated to the debtors
                                            TransCanada
355 GenOn Energy Management LLC             GenOn                                                 Clients in matters
                                            GenOn Energy, Inc.                                    unrelated to the debtors
                                            TransCanada
356 Geysers Power Company LLC               Edison International / Southern California Edison     Clients in matters
                                            Edison Mission Energy                                 unrelated to the debtors
                                            Entergy
                                            Sempra Energy
357 GFI Brokers LLC                         Tullett Prebon ICAP                                   Clients in matters
                                                                                                  unrelated to the debtors
358 GFI Securities LLC                      Tullett Prebon ICAP                                   Clients in matters
                                                                                                  unrelated to the debtors
359 Gill Ranch Stforage LLC                 Northwest Natural Holding Company                     Clients in matters
                                                                                                  unrelated to the debtors
360 Gilroy Energy Center LLC Creed Energy   Edison International / Southern California Edison     Clients in matters
    Center LLC and Goosehaven Energy        Edison Mission Energy                                 unrelated to the debtors
    Center LLC                              Entergy
                                            Sempra Energy
361 Golden Eagle Insurance Corporation      ING                                                   Clients in matters
                                            ING Bank Nederland                                    unrelated to the debtors
                                            Liberty Insurance
                                            Liberty Mutual
                                            Liberty Mutual Group
                                            Liberty Mutual Group, Inc.
                                            Liberty Mutual Holding Company Inc.
                                            Liberty Mutual Insurance Company
362 Golden Hills Interconnection LLC        NextEra Energy Inc.                                   Clients in matters
                                                                                                  unrelated to the debtors
363 GoldenTree Asset Management LP          Ad hoc lenders to Arch Coal on behalf of GoldenTree   Clients in matters
                                            Asset Management LP                                   unrelated to the debtors
                                            BP p.l.c.
                                            BPI Shiseido
                                            Co-operative Bank Plc
                                            The Co-operative Bank
364 Goldman Sachs & Co. LLC                 ABP                                                   Clients in matters
                                            ABP/APG                                               unrelated to the debtors
                                            Airbus
                                            Airbus Defence and Space GmbH
                                            Airbus Group NV
                                            Airbus Helicopters
                                            Airbus Safran Launchers
                                            Aramark
                                            AXA
                                            Broad Street Principal Investments, L.L.C
                                            C.H.I. Overhead Doors
                                            Citi
                                            CJ Corp.



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#   Interested Party Name            Proposed Professionals Connection Name                 Connection Type
1   21 st Century Casualty Company   Facebook                                               Clients in matters
                                     Facebook Inc.
                                     Facebook, Inc.
                                     FireEye Inc.
                                     FireEye, Inc.
                                     Flint Group CPS
                                     GE
                                     Global Atlantic Financial
                                     Global Atlantic Financial Company
                                     Goldman Sachs
                                     Goldman Sachs - FWS
                                     Goldman Sachs - RCO
                                     Goldman sachs - redexis
                                     Goldman Sachs & Co, LLC
                                     Goldman Sachs & Company
                                     Goldman Sachs Asset Management Brasil Ltda
                                     Goldman Sachs Australia Equity Pty. Ltd.
                                     Goldman Sachs Bank USA
                                     Goldman Sachs Group
                                     Goldman Sachs International
                                     Goldman Sachs Merchant Banking
                                     Goldman Sachs PE
                                     GS/Trader Interactive LLC
                                     Hilton
                                     HSBC
                                     ICBC Bank Argentina
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     Intermountain
                                     KKR Japan
                                     Neovia Group
                                     Neusoft
                                     Ontex
                                     PHC
                                     Ping An
                                     Ping An Annuity Company
                                     Ping An Bank
                                     Ping An Group
                                     Ping An Insurance
                                     Ping An Insurance (Group) Company Of China Ltd. - Ping
                                     An Global Voyager Fund
                                     Ping An Insurance (Grp) Co of China Ltd.
                                     Ping An Puhui
                                     Ping An QFAX
                                     Ping An Trust
                                     Pingan Group
                                     PingAn Health
                                     PingAn Indonesia
                                     QBE
                                     Shell
                                     Solera
                                     Solera Holdings Inc.
                                     Square Holding Germany GmbH



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Standard & Poor's                                 Clients in matters
                                     Sterling Talent Solutions
                                     Suncor
                                     Taikang
                                     Taikang Life Insurance Co., Ltd
                                     The Goldman Sachs Group, Inc.
                                     Transamerica
                                     Ulster
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
365 Goldman Sachs Bank USA           ABP                                               Clients in matters
                                     ABP/APG                                           unrelated to the debtors
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aramark
                                     AXA
                                     Broad Street Principal Investments, L.L.C
                                     C.H.I. Overhead Doors
                                     Citi
                                     CJ Corp.
                                     Facebook
                                     Facebook Inc.
                                     Facebook, Inc.
                                     FireEye Inc.
                                     FireEye, Inc.
                                     Flint Group CPS
                                     GE
                                     Global Atlantic Financial
                                     Global Atlantic Financial Company
                                     Goldman Sachs
                                     Goldman Sachs - FWS
                                     Goldman Sachs - RCO
                                     Goldman sachs - redexis
                                     Goldman Sachs & Co, LLC
                                     Goldman Sachs & Company
                                     Goldman Sachs Asset Management Brasil Ltda
                                     Goldman Sachs Australia Equity Pty. Ltd.
                                     Goldman Sachs Bank USA
                                     Goldman Sachs Group
                                     Goldman Sachs International
                                     Goldman Sachs Merchant Banking
                                     Goldman Sachs PE
                                     GS/Trader Interactive LLC
                                     Hilton
                                     HSBC
                                     ICBC Bank Argentina
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     Intermountain
                                     KKR Japan



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#   Interested Party Name            Proposed Professionals Connection Name                   Connection Type
1   21 st Century Casualty Company   Neovia Group                                             Clients in matters
                                     Neusoft
                                     Ontex
                                     PHC
                                     Ping An
                                     Ping An Annuity Company
                                     Ping An Bank
                                     Ping An Group
                                     Ping An Insurance
                                     Ping An Insurance (Group) Company Of China Ltd. - Ping
                                     An Global Voyager Fund
                                     Ping An Insurance (Grp) Co of China Ltd.
                                     Ping An Puhui
                                     Ping An QFAX
                                     Ping An Trust
                                     Pingan Group
                                     PingAn Health
                                     PingAn Indonesia
                                     QBE
                                     Shell
                                     Solera
                                     Solera Holdings Inc.
                                     Square Holding Germany GmbH
                                     Standard & Poor's
                                     Sterling Talent Solutions
                                     Suncor
                                     Taikang
                                     Taikang Life Insurance Co., Ltd
                                     The Goldman Sachs Group, Inc.
                                     Transamerica
                                     Ulster
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
366 Google Inc                       Alphabet Inc                                             Clients in matters
                                     Capital G                                                unrelated to the debtors
                                     Geometric
                                     Geometric Ltd.
                                     Google
                                     Google Europe
                                     Google Germany GmbH
                                     Google Inc
                                     Google Inc.
                                     Google Ireland Limited
                                     International Business Machines Corporation (IBM)
                                     Lenovo
                                     Lenovo (Beijing) Limited
                                     Lenovo Group
                                     Lyft
                                     Lyft Inc.
                                     Oscar Health
                                     Oscar Health Insurance
                                     PT Go-Jek Indonesia
                                     Rising Tide Management LLC



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Sidewalk Labs                                     Clients in matters
                                     Uber
                                     Uber International C.V.
                                     Uber Technologies, Inc.
367 Government Employees Insurance   American Electric Power (AEP)                     Clients in matters
    Company                          Bankia                                            unrelated to the debtors
                                     BNSF Railway Company
                                     BP
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T



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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      L&T digital                                Clients in matters
                                        L&T Infotech
                                        Lubrizol Corp
                                        Lubrizol Corporation
                                        Micron
                                        Mondelez International
                                        Mondelez International Inc.
                                        Nissan
                                        OTC
                                        PKP Energetyka
                                        Providence
                                        ROHM Co. Ltd
                                        Sun Life
                                        Tesco PLC
                                        The Kraft Heinz Company
                                        The Kraft Heinz Company - via Genpact
                                        The Kraft Heinz Foods Company
                                        Timet
                                        Trident Group
                                        Viacom 18
                                        Visa
                                        Visa Canada Corporation
                                        Visa Inc
                                        Visa Inc.
                                        Visa Worldwide Pte. Limited
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
368 Granite Construction Company        Intermountain                              Clients in matters
                                                                                   unrelated to the debtors
369 Granite Construction Incorporated   Intermountain                              Clients in matters
                                                                                   unrelated to the debtors
370 Granite State Insurance Company     AIG                                        Clients in matters
                                        AIG Capital Corporation                    unrelated to the debtors
                                        AIG Property Casualty
                                        American International Group (AIG)
                                        Avon
                                        Avon Global
                                        Blackboard
                                        BridgeBio Pharma LLC
                                        BRISA
                                        BT
                                        Citi
                                        GE
                                        General Atlantic
                                        General Atlantic (UK) LLP
                                        General Atlantic Partners
                                        Hamilton Insurance
                                        ING
                                        ING Bank Nederland
                                        PineBridge Investments
                                        QED Therapeutics
                                        Vodafone
                                        Vodafone (VOD)



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#   Interested Party Name                 Proposed Professionals Connection Name      Connection Type
1   21 st Century Casualty Company        Vodafone Group PLC                          Clients in matters
371 Graphic Packaging International Inc   Smurfit-Stone Container Corporation         Clients in matters
                                                                                      unrelated to the debtors
372 Great American Alliance Insurance     CUNA                                        Clients in matters
    Company                               Great American Insurance Company, Inc.      unrelated to the debtors
373 Great American Assurance Company      CUNA                                        Clients in matters
                                          Great American Insurance Company, Inc.      unrelated to the debtors
374 Great American E&S Insurance          CUNA                                        Clients in matters
    Company                               Great American Insurance Company, Inc.      unrelated to the debtors
375 Great American Insurance Company      CUNA                                        Clients in matters
                                          Great American Insurance Company, Inc.      unrelated to the debtors
376 Great American Insurance Company      CUNA                                        Clients in matters
    and certain affiliates:               Great American Insurance Company, Inc.      unrelated to the debtors
377 Great American Insurance Company of CUNA                                          Clients in matters
    New York                              Great American Insurance Company, Inc.      unrelated to the debtors
378 Great American Spirit Insurance       CUNA                                        Clients in matters
    Company                               Great American Insurance Company, Inc.      unrelated to the debtors
379 Great Lakes Insurance SE              Allianz                                     Clients in matters
                                          Apollo                                      unrelated to the debtors
                                          Apollo Hospitals Enterprise Ltd
                                          Banistmo
                                          BP
                                          BP p.l.c.
                                          CBRE
                                          CNA Financial Corp.
                                          ERGO
                                          ERGO Group AG
                                          Ergo International AG
                                          ERGO Versicherungsgruppe AG
                                          Fair
                                          Hetero
                                          Munich Health North America
                                          Munich Healthcare
                                          Munich Re
                                          Paramount Health Care
                                          State Street
380 Great Northern Insurance Company      Chubb                                       Clients in matters
                                          Chubb Corporation                           unrelated to the debtors
                                          CIGNA
                                          INA
                                          INA-Holding Schaeffler KG
381 Great West Life and Annuity Insurance Aon                                         Clients in matters
    Company                               CNA Insurance                               unrelated to the debtors
                                          Groupe Bruxelles Lambert SA
                                          Power Corporation of Canada
                                          Power Financial Corporation
                                          Putnam Investments
                                          The Great-West Life Assurance Company
                                          Webhelp
382 Green Ridge Power LLC                 FPL Group, Inc.                             Clients in matters
                                          NextEra Energy Inc.                         unrelated to the debtors
                                          NextEra Energy Resources
                                          NextEra Energy Resources, LLC


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#   Interested Party Name                 Proposed Professionals Connection Name        Connection Type
1   21 st Century Casualty Company        NextEra/Florida Power and Light               Clients in matters
383 Greenleaf Power                       Enel                                          Clients in matters
                                                                                        unrelated to the debtors
384 Greenwaste of Tehama                  Intermountain                                 Clients in matters
                                          Paine & Partners                              unrelated to the debtors
                                          Paine & Partners Llc
                                          Paine and Partners
                                          Paine Schwartz
                                          Progressive Corporation
385 Gulf Interstate Engineering Company   L&T                                           Clients in matters
                                          L&T digital                                   unrelated to the debtors
                                          L&T Infotech
386 Hach Company                          Citi                                          Clients in matters
                                          Danaher Corp                                  unrelated to the debtors
                                          Harris Corporation
                                          Hoffman-La Roche Pharma
                                          Micron
                                          Olympus
387 Hamilton Re Ltd                       Hamilton Insurance                            Clients in matters
                                                                                        unrelated to the debtors
388 Hanover American Insurance Company The Hanover Insurance Group Inc.                 Clients in matters
                                                                                        unrelated to the debtors
389 Harbert Management Corp               Harbinger Capital Partners Gp L.L.C.          Clients in matters
                                                                                        unrelated to the debtors
390 Hartford Accident & Indemnity         CNA Financial Corp.                           Clients in matters
    Company                               Hartford Fire International Ltd.              unrelated to the debtors
                                          The Hartford
                                          The Hartford Financial Services Group Inc.
                                          The Hartford Financial Services Group, Inc.
                                          The Hartford Financial Services Inc.
391 Hartford Casualty Insurance Company   CNA Financial Corp.                           Clients in matters
                                          Hartford Fire International Ltd.              unrelated to the debtors
                                          The Hartford
                                          The Hartford Financial Services Group Inc.
                                          The Hartford Financial Services Group, Inc.
                                          The Hartford Financial Services Inc.
392 Hartford Fire Insurance Company       Hartford Fire International Ltd.              Clients in matters
                                                                                        unrelated to the debtors
393 Hartford Underwriters Insurance       CNA Financial Corp.                           Clients in matters
    Company                               Hartford Fire International Ltd.              unrelated to the debtors
                                          The Hartford
                                          The Hartford Financial Services Group Inc.
                                          The Hartford Financial Services Group, Inc.
                                          The Hartford Financial Services Inc.
394 Hatchet Ridge Wind LLC                Suncor                                        Clients in matters
                                                                                        unrelated to the debtors
395 Hayward Baker Inc                     Nucor                                         Clients in matters
                                                                                        unrelated to the debtors
396 HBK Master Fund LP co HBK Services    Caesars                                       Clients in matters
    LLC                                   Endeavour Energy                              unrelated to the debtors
                                          Impregilo S.p.A.
                                          NXP Semiconductors
                                          Salini Impregilo SpA



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1397 21
     HDst Century Casualty Company
        Supply                             HD Supply                                  Clients in matters
                                           The Home Depot                             unrelated to the debtors
                                           The Home Depot, Inc.
398 HDI Global Insurance Company           AXA                                        Clients in matters
                                           Deutsche Bank                              unrelated to the debtors
                                           HSBC
                                           Talanx AG
                                           Talanx Asset Management
                                           Talanx Germany
399 HDI Global SE                          AXA                                        Clients in matters
                                           Deutsche Bank                              unrelated to the debtors
                                           HSBC
                                           Talanx AG
                                           Talanx Asset Management
                                           Talanx Germany
400 HDI Global Specialty SE                AXA                                        Clients in matters
                                           Deutsche Bank                              unrelated to the debtors
                                           HSBC
                                           Talanx AG
                                           Talanx Asset Management
                                           Talanx Germany
401 Helvetia Assurances S A                Basler Versicherung AG                     Clients in matters
                                                                                      unrelated to the debtors
402 Helvetia Schweizerische                Basler Versicherung AG                     Clients in matters
    Versicherungsgesellsc haft Ag                                                     unrelated to the debtors
403 Henkels & McCoy Inc                    H&M AB                                     Clients in matters
                                                                                      unrelated to the debtors
404 HercRentals                            Hertz                                      Clients in matters
                                           The Hertz Corp.                            unrelated to the debtors
405 High Plain Ranch II LLLC               NRG Energy Inc.                            Clients in matters
                                                                                      unrelated to the debtors
406 Hillcrest Sheet Metal A Division of Mesa EMC Corporation                          Clients in matters
    Energy Systems Inc                       EMCOR                                    unrelated to the debtors
                                             EMCOR Group, Inc.
                                             USM
                                             USM/Megafon
407 Hoffman Southwest Corp                   Hoffman-La Roche Pharma                  Clients in matters
                                                                                      unrelated to the debtors
408 Holtec International                   Entergy                                    Clients in matters
                                                                                      unrelated to the debtors
409 Homesite Insurance Company of          American Family Insurance                  Clients in matters
    California                                                                        unrelated to the debtors
410 Honeywell International Inc            Bayer                                      Clients in matters
                                           Honeywell                                  unrelated to the debtors
                                           Honeywell International Inc.
                                           Honeywell PMT
                                           Ipsen
                                           ITC
                                           Johnson Matthey Plc
                                           Roche (China) Co., Ltd.
                                           Roche China
411 Houston Casualty Company               Tokio Marine Holdings Inc.                 Clients in matters
                                           Tokio Marine Holdings, Inc.                unrelated to the debtors



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1412 21 st Century
     HSBC  Bank plcCasualty Company       Allianz                                     Clients in matters
                                          HSBC                                        unrelated to the debtors
                                          HSBC Bank Plc
                                          HSBC Holdings plc
                                          JP Morgan
                                          Kyriba Corp
                                          Li & Fung Ltd.
                                          Mastercard
                                          National Westminster Bank
                                          Piramal Developers Private Limited
                                          PTC
                                          Saudi British Bank / HSBC
                                          State Street
413 Hydratight Operations Inc             LM Ericsson Telefon AB                      Clients in matters
                                                                                      unrelated to the debtors
414 Iberdrola Renewables Inc              Corporacion Empresarial Pascual Sl.         Clients in matters
                                          EDP - Electricidade de Portugal, S.A.       unrelated to the debtors
                                          EDP- Electricidade de Portugal, SA
                                          Endesa
                                          Iberdrola
                                          Iberdrola S.A.
                                          Red Electrica Sa
                                          REE
                                          Viesgo
415 Icap Capital Markets Inc              Axiom                                       Clients in matters
                                          Tullett Prebon                              unrelated to the debtors
                                          Tullett Prebon ICAP
                                          Tullett Prebon Plc
416 ICAP Energy LLC                       Axiom                                       Clients in matters
                                          Tullett Prebon                              unrelated to the debtors
                                          Tullett Prebon ICAP
                                          Tullett Prebon Plc
417 ICE NGX Canada Inc                    Automatic Data Processing Inc. (ADP)        Clients in matters
                                          Euroclear                                   unrelated to the debtors
                                          Euronext
                                          FINRA
                                          Intercontinental Exchange
                                          New York Stock Exchange
418 Idemitsu Apollo Corporation           Apollo                                      Clients in matters
                                          Panasonic North America                     unrelated to the debtors
                                          Shell
419 IDS Property Casualty Insurance       American Family Insurance                   Clients in matters
    Company                                                                           unrelated to the debtors
420 IHI Power Services Corp               Nisshin Seifun Group Inc.                   Clients in matters
                                                                                      unrelated to the debtors
421 Illinois Farmers Insurance Company    AIG                                         Clients in matters
                                                                                      unrelated to the debtors
422 Illinois Union Insurance Company     Chubb                                        Clients in matters
                                         Chubb Corporation                            unrelated to the debtors
                                         CIGNA
                                         INA
                                         INA-Holding Schaeffler KG
423 Indemnity Insurance Company of North Chubb                                        Clients in matters
                                                                                      unrelated to the debtors

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#    Interested Party Name                 Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company
     America                               Chubb Corporation                                   Clients in matters
                                                                                               unrelated  to the debtors
                                           CIGNA
                                           INA
                                           INA-Holding Schaeffler KG
424 Infosys Limited                        Infosys                                             Clients in matters
                                           Infosys Limited                                     unrelated to the debtors
                                           Infosys Technologies Ltd
                                           Philips Lighting B.V.
                                           Van Lanschot NV
425 Instrument & Valve Services Company    Bankunited                                          Clients in matters
                                           BankUnited, Inc.                                    unrelated to the debtors
                                           Bosch Rexroth AG Deutschland
                                           Emerson Electric
                                           Emerson Electric Co.
                                           GE
                                           Johnson Controls International
                                           Mr. Cooper
                                           Mr. Cooper Group Inc.
                                           Nationstar Mortgage
                                           Nationstar Mortgage Llc
                                           PNC
                                           Samsung
426 Intercontinental Exchange Inc          Intercontinental Exchange                           Clients in matters
                                                                                               unrelated to the debtors
427 Intermountain Disposal                 Intermountain                                       Clients in matters
                                                                                               unrelated to the debtors
428 Intermountain Electric Company         Intermountain                                       Clients in matters
                                                                                               unrelated to the debtors
429 International Business Machines Corp   ACI Worldwide                                       Clients in matters
                                           ACI Worldwide Inc.                                  unrelated to the debtors
                                           Exa Corp
                                           IBM
                                           IBM Watson Health
                                           International Business Machines Corporation (IBM)
                                           Maersk Group
                                           Merck Healthcare
                                           SAP
                                           UniCredit CIB
                                           Verizon
                                           Viewpoint
                                           Viewpointe
430 International Line Builders Inc        Intermountain                                       Clients in matters
                                           Masco                                               unrelated to the debtors
431 Interstate Fire & Casualty Company     ADAC e.V.                                           Clients in matters
                                           Aegon USA (Transamerica)                            unrelated to the debtors
                                           AGCO
                                           Airbus
                                           Airbus Defence and Space GmbH
                                           Airbus Group NV
                                           Airbus Helicopters
                                           Airbus Safran Launchers
                                           Allianz
                                           Allianz AG



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Allianz Asia Pacific (AZAP)                       Clients in matters
                                     Allianz Asset Management AG
                                     Allianz Bank
                                     Allianz CIA de Seguros y Reaseguros SA
                                     Allianz Deutschland AG
                                     Allianz France
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   ExxonMobil Fuel & Lubricants                      Clients in matters
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan
                                     Nestlé
                                     Nestle Foods
                                     Nestle Purina
                                     Nestlé Regional Spring Water
                                     Nestlé S.A.
                                     Nestle Waters
                                     Nestle Waters North America
                                     Nokia Oy
                                     Nokia Oyj
                                     Pfizer Global Pharmaceuticals
                                     PIMCO
                                     PIMCO Europe Ltd.
                                     Rolls Royce
                                     Rolls Royce Defense
                                     Societe Generale IBFS
                                     Starbucks
                                     UniCredit Banca
                                     Unicredit Bank AG
                                     UniCredit Bank Austria AG
                                     UniCredit CIB
                                     UniCredit SpA
                                     Wintershall Holding GmbH
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
432 Ireland                          European Union                                    Clients in matters
                                                                                       unrelated to the debtors



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#    Interested Party Name                Proposed Professionals Connection Name      Connection Type
1433 21
     IronstMountain
           Century Casualty Company       Citi                                        Clients in matters
                                          Iron Mountain                               unrelated to the debtors
434 Iron Mountain Information             Citi                                        Clients in matters
    Management LLC                        Iron Mountain                               unrelated to the debtors
435 Ironshore                             ING                                         Clients in matters
                                          ING Bank Nederland                          unrelated to the debtors
                                          Liberty Insurance
                                          Liberty Mutual
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
436 Ironshore Indemnity Inc               ING                                         Clients in matters
                                          ING Bank Nederland                          unrelated to the debtors
                                          Liberty Insurance
                                          Liberty Mutual
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
437 Ironshore Insurance Limited           ING                                         Clients in matters
                                          ING Bank Nederland                          unrelated to the debtors
                                          Liberty Insurance
                                          Liberty Mutual
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
438 Ironshore Specialty Insurance Company ING                                         Clients in matters
                                          ING Bank Nederland                          unrelated to the debtors
                                          Liberty Insurance
                                          Liberty Mutual
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
439 J Aron & Company LLC                  ABP                                         Clients in matters
                                          ABP/APG                                     unrelated to the debtors
                                          Airbus
                                          Airbus Defence and Space GmbH
                                          Airbus Group NV
                                          Airbus Helicopters
                                          Airbus Safran Launchers
                                          Aramark
                                          AXA
                                          Broad Street Principal Investments, L.L.C
                                          C.H.I. Overhead Doors
                                          Citi
                                          CJ Corp.
                                          Facebook
                                          Facebook Inc.
                                          Facebook, Inc.
                                          FireEye Inc.


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#   Interested Party Name            Proposed Professionals Connection Name                 Connection Type
1   21 st Century Casualty Company   FireEye, Inc.                                          Clients in matters
                                     Flint Group CPS
                                     GE
                                     Global Atlantic Financial
                                     Global Atlantic Financial Company
                                     Goldman Sachs
                                     Goldman Sachs - FWS
                                     Goldman Sachs - RCO
                                     Goldman sachs - redexis
                                     Goldman Sachs & Co, LLC
                                     Goldman Sachs & Company
                                     Goldman Sachs Asset Management Brasil Ltda
                                     Goldman Sachs Australia Equity Pty. Ltd.
                                     Goldman Sachs Bank USA
                                     Goldman Sachs Group
                                     Goldman Sachs International
                                     Goldman Sachs Merchant Banking
                                     Goldman Sachs PE
                                     GS/Trader Interactive LLC
                                     Hilton
                                     HSBC
                                     ICBC Bank Argentina
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     Intermountain
                                     KKR Japan
                                     Neovia Group
                                     Neusoft
                                     Ontex
                                     PHC
                                     Ping An
                                     Ping An Annuity Company
                                     Ping An Bank
                                     Ping An Group
                                     Ping An Insurance
                                     Ping An Insurance (Group) Company Of China Ltd. - Ping
                                     An Global Voyager Fund
                                     Ping An Insurance (Grp) Co of China Ltd.
                                     Ping An Puhui
                                     Ping An QFAX
                                     Ping An Trust
                                     Pingan Group
                                     PingAn Health
                                     PingAn Indonesia
                                     QBE
                                     Shell
                                     Solera
                                     Solera Holdings Inc.
                                     Square Holding Germany GmbH
                                     Standard & Poor's
                                     Sterling Talent Solutions
                                     Suncor
                                     Taikang



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#    Interested Party Name                  Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company         Taikang Life Insurance Co., Ltd                     Clients in matters
                                            The Goldman Sachs Group, Inc.
                                            Transamerica
                                            Ulster
                                            Zhejiang Hengyi Group Co. Ltd.
                                            Zhejiang Huaye
440 J&J Pumps Inc                           J&J - Janssen Cilag                                 Clients in matters
                                                                                                unrelated to the debtors
441 Jack B Kelley LLC                       Kenan Advantage Group                               Clients in matters
                                                                                                unrelated to the debtors
442 Jackson Valley Energy Partners          Consolidated Edison Company of New York, Inc.,      Clients in matters
                                            (CECONY)                                            unrelated to the debtors
                                            Edison International / Southern California Edison
                                            Edison Mission Energy
                                            GenOn
                                            Kelso
                                            NRG Energy Inc.
443 John Crane Inc                          GE                                                  Clients in matters
                                            Smiths Detection                                    unrelated to the debtors
                                            Smiths Group
                                            Smiths Group Plc
444 Johnson Controls Inc - Central Region   ADT Security Services                               Clients in matters
                                            CBRE                                                unrelated to the debtors
                                            Delphi Corporation
                                            Entergy
                                            JCI
                                            Johnson Controls
                                            Johnson Controls GmbH
                                            Johnson Controls Inc.
                                            Johnson Controls International
                                            Johnson Controls, Inc.
                                            Tyco International
                                            Tyco International Ltd.
                                            Visteon Corporation
445 JP Morgan Chase Bank NA                 Allianz                                             Clients in matters
                                            American Electric Power (AEP)                       unrelated to the debtors
                                            ANZ Bank New Zealand Limited
                                            Aramark
                                            AXA
                                            Banco Santander SA
                                            Bankunited
                                            BankUnited, Inc.
                                            BP p.l.c.
                                            CAE Inc.
                                            CAE, Inc.
                                            China Minsheng Bank
                                            China Minsheng Banking Co Ltd
                                            China Minsheng Banking Corp., Ltd.
                                            China Pacific Insurance (Group) Co., Ltd
                                            China Pacific Insurance (Group) Co., Ltd.
                                            China Vanke Co., Ltd.
                                            Citi
                                            City National Bank



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#   Interested Party Name               Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company      Clicks                                              Clients in matters
                                        CPIC
                                        Fannie Mae
                                        GE
                                        Helios
                                        Hella KG Hueck & Co.
                                        HSBC
                                        ICA Gruppen AB
                                        ICA Gruppen AB (publ)
                                        ICBC Bank Argentina
                                        ICG - Intermediated Capital Group
                                        Industrial & Commercial Bank of China
                                        Industrial and Commercial Bank of China Limited
                                        Intermountain
                                        JP Morgan
                                        JP Morgan Chase
                                        JPMC
                                        JPMorgan Chase
                                        JPMorgan Chase & Co.
                                        JPMorgan Chase & Co. - Confidential
                                        KeyCorp
                                        Kohl's
                                        Lafarge India (Now Nuvoco)
                                        Mastercard
                                        MSB
                                        Netcare
                                        New Clicks Holdings Ltd
                                        New Frontier
                                        One Equity Partners Europe GmbH
                                        One Equity Partners LLC
                                        Osmose Utilities Services, Inc.
                                        Peabody
                                        PNC
                                        RBS
                                        Samsung
                                        Santander
                                        Santander Consumer
                                        Santander Group
                                        Santander Holdings USA, Inc.
                                        Santander Mexico
                                        Santander UK
                                        Santander UK plc
                                        Santander US
                                        Schneider Electric Operations and Consulting GmbH
                                        Sempra Energy
                                        Vanke
                                        Waypoint Capital Services Inc.
                                        Yongfeng Steel
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
                                        Zhengzhou Yutong Bus Co., Ltd.
446 JP Morgan Securities LLC            Allianz                                             Clients in matters
                                        American Electric Power (AEP)                       unrelated to the debtors



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   ANZ Bank New Zealand Limited                      Clients in matters
                                     Aramark
                                     AXA
                                     Banco Santander SA
                                     Bankunited
                                     BankUnited, Inc.
                                     BP p.l.c.
                                     CAE Inc.
                                     CAE, Inc.
                                     China Minsheng Bank
                                     China Minsheng Banking Co Ltd
                                     China Minsheng Banking Corp., Ltd.
                                     China Pacific Insurance (Group) Co., Ltd
                                     China Pacific Insurance (Group) Co., Ltd.
                                     China Vanke Co., Ltd.
                                     Citi
                                     City National Bank
                                     Clicks
                                     CPIC
                                     Fannie Mae
                                     GE
                                     Helios
                                     Hella KG Hueck & Co.
                                     HSBC
                                     ICA Gruppen AB
                                     ICA Gruppen AB (publ)
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     Intermountain
                                     JP Morgan
                                     JP Morgan Chase
                                     JPMC
                                     JPMorgan Chase
                                     JPMorgan Chase & Co.
                                     JPMorgan Chase & Co. - Confidential
                                     KeyCorp
                                     Kohl's
                                     Lafarge India (Now Nuvoco)
                                     Mastercard
                                     MSB
                                     Netcare
                                     New Clicks Holdings Ltd
                                     New Frontier
                                     One Equity Partners Europe GmbH
                                     One Equity Partners LLC
                                     Osmose Utilities Services, Inc.
                                     Peabody
                                     PNC
                                     RBS
                                     Samsung
                                     Santander



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#    Interested Party Name                 Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company        Santander Consumer                                  Clients in matters
                                           Santander Group
                                           Santander Holdings USA, Inc.
                                           Santander Mexico
                                           Santander UK
                                           Santander UK plc
                                           Santander US
                                           Schneider Electric Operations and Consulting GmbH
                                           Sempra Energy
                                           Vanke
                                           Waypoint Capital Services Inc.
                                           Yongfeng Steel
                                           Zhejiang Hengyi Group Co. Ltd.
                                           Zhejiang Huaye
                                           Zhengzhou Yutong Bus Co., Ltd.
447 JP Morgan Ventures                     JP Morgan                                           Clients in matters
                                                                                               unrelated to the debtors
448 JP Morgan Ventures Energy Corporation Allianz                                              Clients in matters
                                          American Electric Power (AEP)                        unrelated to the debtors
                                          ANZ Bank New Zealand Limited
                                          Aramark
                                          AXA
                                          Banco Santander SA
                                          Bankunited
                                          BankUnited, Inc.
                                          BP p.l.c.
                                          CAE Inc.
                                          CAE, Inc.
                                          China Minsheng Bank
                                          China Minsheng Banking Co Ltd
                                          China Minsheng Banking Corp., Ltd.
                                          China Pacific Insurance (Group) Co., Ltd
                                          China Pacific Insurance (Group) Co., Ltd.
                                          China Vanke Co., Ltd.
                                          Citi
                                          City National Bank
                                          Clicks
                                          CPIC
                                          Fannie Mae
                                          GE
                                          Helios
                                          Hella KG Hueck & Co.
                                          HSBC
                                          ICA Gruppen AB
                                          ICA Gruppen AB (publ)
                                          ICBC Bank Argentina
                                          ICG - Intermediated Capital Group
                                          Industrial & Commercial Bank of China
                                          Industrial and Commercial Bank of China Limited
                                          Intermountain
                                          JP Morgan
                                          JP Morgan Chase
                                          JPMC



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#    Interested Party Name                Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company       JPMorgan Chase                                      Clients in matters
                                          JPMorgan Chase & Co.
                                          JPMorgan Chase & Co. - Confidential
                                          KeyCorp
                                          Kohl's
                                          Lafarge India (Now Nuvoco)
                                          Mastercard
                                          MSB
                                          Netcare
                                          New Clicks Holdings Ltd
                                          New Frontier
                                          One Equity Partners Europe GmbH
                                          One Equity Partners LLC
                                          Osmose Utilities Services, Inc.
                                          Peabody
                                          PNC
                                          RBS
                                          Samsung
                                          Santander
                                          Santander Consumer
                                          Santander Group
                                          Santander Holdings USA, Inc.
                                          Santander Mexico
                                          Santander UK
                                          Santander UK plc
                                          Santander US
                                          Schneider Electric Operations and Consulting GmbH
                                          Sempra Energy
                                          Vanke
                                          Waypoint Capital Services Inc.
                                          Yongfeng Steel
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
                                          Zhengzhou Yutong Bus Co., Ltd.
449 KBIC Insurance Company                ING                                                 Clients in matters
                                          ING Bank Nederland                                  unrelated to the debtors
                                          KB Financial Group
                                          KB Kookmin Card CO. LTD.
                                          Kookmin Bank
450 Kenny Construction Company            Intermountain                                       Clients in matters
                                                                                              unrelated to the debtors
451 Kepco California LLC                  KEPCO                                               Clients in matters
                                                                                              unrelated to the debtors
452 Kern River Cogen Company              Consolidated Edison Company of New York, Inc.,      Clients in matters
                                          (CECONY)                                            unrelated to the debtors
                                          Edison International / Southern California Edison
                                          Edison Mission Energy
                                          GenOn
                                          Kelso
                                          NRG Energy Inc.
453 Kern River Gas Transmission Company   American Electric Power (AEP)                       Clients in matters
                                          Bankia                                              unrelated to the debtors
                                          BNSF Railway Company



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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   BP                                                Clients in matters
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.



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#    Interested Party Name                Proposed Professionals Connection Name      Connection Type
1    21 st Century Casualty Company       Nissan                                      Clients in matters
                                          OTC
                                          PKP Energetyka
                                          Providence
                                          ROHM Co. Ltd
                                          Sun Life
                                          Tesco PLC
                                          The Kraft Heinz Company
                                          The Kraft Heinz Company - via Genpact
                                          The Kraft Heinz Foods Company
                                          Timet
                                          Trident Group
                                          Viacom 18
                                          Visa
                                          Visa Canada Corporation
                                          Visa Inc
                                          Visa Inc.
                                          Visa Worldwide Pte. Limited
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
454 Key Government Finance Inc            Cargill                                     Clients in matters
                                          Citi                                        unrelated to the debtors
                                          Government of Norway
                                          HSBC
                                          KeyBank
                                          KeyCorp
                                          Orix
                                          PNC
                                          TD
455 Keystone Aerial Surveys Inc           Samsung                                     Clients in matters
                                          Zhejiang Hengyi Group Co. Ltd.              unrelated to the debtors
                                          Zhejiang Huaye
456 Kiewit Power                          Aker Group                                  Clients in matters
                                                                                      unrelated to the debtors
457 Klondike Wind Power III LLC          Corporacion Empresarial Pascual Sl.          Clients in matters
                                         EDP - Electricidade de Portugal, S.A.        unrelated to the debtors
                                         EDP- Electricidade de Portugal, SA
                                         Endesa
                                         Iberdrola
                                         Iberdrola S.A.
                                         Red Electrica Sa
                                         REE
                                         Viesgo
458 Knighthead Capital Management LLC on Seaway Heavy Lifting Offshore Crew B.V.      Clients in matters
    behalf of certain funds and Accounts                                              unrelated to the debtors

459 Koch Energy Svc                       BP                                          Clients in matters
                                          BP p.l.c.                                   unrelated to the debtors
                                          Georgia-Pacific Corporation
                                          Georgia-Pacific LLC
                                          Huntsman PU
                                          Koch Equity Development LLC
                                          Koch Industries, Inc.


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#    Interested Party Name                    Proposed Professionals Connection Name                Connection Type
1    21 st Century Casualty Company           Laird Performance Materials                           Clients in matters
                                              Molex
                                              Molex LLC
                                              OCP
                                              OCP S.A.
                                              The Procter & Gamble Company (P&G)
460 Koch Supply & Trading LP                  BP                                                    Clients in matters
                                              BP p.l.c.                                             unrelated to the debtors
                                              Georgia-Pacific Corporation
                                              Georgia-Pacific LLC
                                              Huntsman PU
                                              Koch Equity Development LLC
                                              Koch Industries, Inc.
                                              Laird Performance Materials
                                              Molex
                                              Molex LLC
                                              OCP
                                              OCP S.A.
                                              The Procter & Gamble Company (P&G)
461 Kompogas SLO LLC                          JP Morgan                                             Clients in matters
                                                                                                    unrelated to the debtors
462 Kone Inc                                  KONE                                                  Clients in matters
                                              KONE Corporation                                      unrelated to the debtors
                                              KONE Oyj
                                              ThyssenKrupp CSA
463 Konecranes Inc                            ABB Ltd                                               Clients in matters
                                              KONE Corporation                                      unrelated to the debtors
                                              KONE Oyj
464 KPMG LLP                                  Daimler PGMex                                         Clients in matters
                                              Stichting Administratiekantoor Verder International   unrelated to the debtors
                                              Stichting Administratiekantoor Vitol Holding Ii
465 LACC #21                                  Axiall Corp.                                          Clients in matters
                                              Axiall Corporation                                    unrelated to the debtors
                                              Westlake Chemical Corporation
466 Lamar Advertising                         GTCR /Callcredit                                      Clients in matters
                                                                                                    unrelated to the debtors
467 Landmark American Insurance               Ares                                                  Clients in matters
    Company                                   Ares Capital Management                               unrelated to the debtors
                                              Ares Management
468 Latigo Partners LP on behalf of certain   ArcelorMittal - Acindar                               Clients in matters
    funds and accounts                        BT plc                                                unrelated to the debtors
                                              Peabody
                                              Peabody Energy
                                              Peabody Energy Australia Pty Ltd
                                              Peabody Energy Corporation
469 Leavitt's Freight Service - Fresno        Rodan & Fields Llc                                    Clients in matters
                                                                                                    unrelated to the debtors
470 Lehman Brothers                           BirlaSoft                                             Clients in matters
                                              Birlasoft Limited                                     unrelated to the debtors
                                              Royal KPN
                                              Woori Bank Co., Ltd.
                                              Woori Finance Holdings Co., Ltd.
471 Lehman Brothers Commodity Services        BirlaSoft                                             Clients in matters
                                                                                                    unrelated to the debtors

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1   21 st Century Casualty Company    Birlasoft Limited                              Clients in matters
                                                                                     unrelated  to the debtors
                                      Royal KPN
                                      Woori Bank Co., Ltd.
                                      Woori Finance Holdings Co., Ltd.
472 Leidos Engineering LLC            Leidos                                         Clients in matters
                                      Lockheed Martin Mission Systems and Training   unrelated to the debtors
                                      Lockheed Martin Missles and Fire Control
473 Lemoore PV 1 LLC                  AES Corporation                                Clients in matters
                                      BHP                                            unrelated to the debtors
                                      BHP Billiton
                                      BHP Billiton Group
                                      GE
                                      GE Energy
474 Level 3 Communications LLC        Apollo                                         Clients in matters
                                      CenturyLink                                    unrelated to the debtors
                                      Centurylink Inc.
                                      DISH Network Corp.
                                      ICG - Intermediated Capital Group
                                      ITC
                                      Sprint
                                      Verizon
475 Lewis-Goetz and Company Inc       Caltex                                         Clients in matters
                                      Cargill                                        unrelated to the debtors
                                      ING
                                      Makro
                                      Shell
                                      SHV Holdings N.V.
                                      SHV Holdings NV
476 Lexington Insurance Company       AIG                                            Clients in matters
                                      AIG Capital Corporation                        unrelated to the debtors
                                      AIG Property Casualty
                                      American International Group (AIG)
                                      Avon
                                      Avon Global
                                      Blackboard
                                      BridgeBio Pharma LLC
                                      BRISA
                                      BT
                                      Citi
                                      GE
                                      General Atlantic
                                      General Atlantic (UK) LLP
                                      General Atlantic Partners
                                      Hamilton Insurance
                                      ING
                                      ING Bank Nederland
                                      PineBridge Investments
                                      QED Therapeutics
                                      Vodafone
                                      Vodafone (VOD)
                                      Vodafone Group PLC
477 Liberty Insurance Corporation     ING                                            Clients in matters
                                      ING Bank Nederland                             unrelated to the debtors


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#    Interested Party Name               Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company      Liberty Insurance                          Clients in matters
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
478 Liberty Insurance Underwriters Inc   ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
479 Liberty Mutual Insurance Company     ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
480 Liberty Mutual Insurance Europe SE   ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
481 Liberty Specialty Markets            ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
482 Liberty Surplus Insurance Corp.      ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
483 Life Insurance Company of North      Baxter                                     Clients in matters
    America                              CIGNA                                      unrelated to the debtors
                                         CIGNA Corporation
                                         CuraScript SD
                                         eviCore
                                         Express Scripts
                                         Express Scripts Holding Company


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#    Interested Party Name               Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company      Express Scripts Inc.                       Clients in matters
                                         Intermountain
484 Live Nation, co Matt Prieshoff       Live Nation Entertainment Inc.             Clients in matters
                                         Live Nation Entertainment, Inc.            unrelated to the debtors
485 Lloyds                               Inchcape LATAM                             Clients in matters
                                         Lloyds Banking Group                       unrelated to the debtors
                                         Lloyds Banking Group plc
                                         PIMCO
                                         Rolls Royce Defense
                                         The Halifax Group
486 Lloyd's of London Limited            Society of Lloyd's                         Clients in matters
                                                                                    unrelated to the debtors
487 Lonestar West Services LLC           Clean Harbors                              Clients in matters
                                         Mercedes-Benz Automotive Finance           unrelated to the debtors
                                         Murphy Oil
488 Loop                                 BP                                         Clients in matters
                                         BP p.l.c.                                  unrelated to the debtors
                                         Chevron
                                         EQT/Dometic
                                         Marathon Oil Corporation
                                         Marathon Petroleum Corporation
                                         Shell
                                         Tesoro Refining, Marketing & Supply Co.
489 Lord Abbett & Co LLC                 AGCO                                       Clients in matters
                                         ArcelorMittal - Acindar                    unrelated to the debtors
                                         Ashfield Healthcare
                                         Ashfield Healthcare, LLC
                                         BB&T Corporation
                                         BT plc
                                         Cairn
                                         CEVA
                                         Cipla
                                         Cipla Limited
                                         GLP
                                         Hudbay
                                         Maisons du monde
                                         Maisons du Monde S.A.
                                         Peabody
                                         Peabody Energy
                                         Peabody Energy Australia Pty Ltd
                                         Peabody Energy Corporation
                                         PostNL
                                         PostNL NV
                                         Prosegur Compañia de Seguridad SA
                                         Repsol
                                         Repsol Bolivia
                                         Spark New Zealand
                                         Spark New Zealand Limited
                                         Telecom New Zealand
                                         Telecom New Zealand Limited
                                         The Sterling Group L P
                                         TNT Express NV
                                         TOTAL S.A.


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#    Interested Party Name                     Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company            UDG Healthcare Plc                                  Clients in matters
                                               Ulster
                                               Valid
                                               YPF
490 Los Esteros Critical Energy Facility LLC   Edison International / Southern California Edison   Clients in matters
                                               Edison Mission Energy                               unrelated to the debtors
                                               Entergy
                                               Sempra Energy
491 Lost Hills Solar LLC                       Georgia Power                                       Clients in matters
                                               Georgia Power Company                               unrelated to the debtors
                                               Southern Company
492 Louis Berger US INC                        Leidos                                              Clients in matters
                                               Technip FMC                                         unrelated to the debtors
493 Louisiana Energy Services LLC              Enrichment Technology Company Limited               Clients in matters
                                               Enrichment Technology Company Ltd                   unrelated to the debtors
494 Loy Clark Pipeline Company                 Intermountain                                       Clients in matters
                                               Masco                                               unrelated to the debtors
495 Macquarie Can                              Asciano                                             Clients in matters
                                               BT                                                  unrelated to the debtors
                                               Cargill
                                               CMG healthcare
                                               HSBC
                                               ING
                                               ING Bank Nederland
                                               Life Healthcare Group Holdings Ltd.
                                               Macquarie Bank Limited
                                               Macquarie Group Limited
                                               Macquarie Infrastructure Corporation
                                               PTC
                                               The Ontario Lottery and Gaming Corporation (OLG)
                                               Waypoint Capital Services Inc.
496 Macquarie Energy LLC                       Asciano                                             Clients in matters
                                               BT                                                  unrelated to the debtors
                                               Cargill
                                               CMG healthcare
                                               HSBC
                                               ING
                                               ING Bank Nederland
                                               Life Healthcare Group Holdings Ltd.
                                               Macquarie Bank Limited
                                               Macquarie Group Limited
                                               Macquarie Infrastructure Corporation
                                               PTC
                                               The Ontario Lottery and Gaming Corporation (OLG)
                                               Waypoint Capital Services Inc.
497 Macquarie Futures USA Inc.                 Asciano                                             Clients in matters
                                               BT                                                  unrelated to the debtors
                                               Cargill
                                               CMG healthcare
                                               HSBC
                                               ING
                                               ING Bank Nederland
                                               Life Healthcare Group Holdings Ltd.


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#   Interested Party Name             Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company    Macquarie Bank Limited                             Clients in matters
                                      Macquarie Group Limited
                                      Macquarie Infrastructure Corporation
                                      PTC
                                      The Ontario Lottery and Gaming Corporation (OLG)
                                      Waypoint Capital Services Inc.
498 Madera Power LLC                  Metso                                              Clients in matters
                                      Metso Oyj                                          unrelated to the debtors
499 Magnetech Industrial Services     ICG - Intermediated Capital Group                  Clients in matters
                                                                                         unrelated to the debtors
500 MAPFRE Global Risks               MapFre USA                                         Clients in matters
                                                                                         unrelated to the debtors
501 MAPFRE Insurance Company          Mapfre SA                                          Clients in matters
                                      MapFre USA                                         unrelated to the debtors
                                      Mercedes-Benz Automotive Finance
502 Mapfre USA                        Mapfre SA                                          Clients in matters
                                      MapFre USA                                         unrelated to the debtors
                                      Mercedes-Benz Automotive Finance
503 Mapleservice Inc                  Logisticare                                        Clients in matters
                                      Providence Service Corp.                           unrelated to the debtors
504 Marathon Asset Management         ArcelorMittal - Acindar                            Clients in matters
                                      BT plc                                             unrelated to the debtors
                                      Hilton
                                      Peabody
                                      Peabody Energy
                                      Peabody Energy Australia Pty Ltd
                                      Peabody Energy Corporation
                                      Sun Edison
                                      SunEdison
                                      Vanguard
505 Marble Ridge Capital              Neiman Marcus Group                                Clients in matters
                                                                                         unrelated to the debtors
506 Marelich Mechanical Co Inc        EMC Corporation                                    Clients in matters
                                      EMCOR                                              unrelated to the debtors
                                      EMCOR Group, Inc.
                                      USM
                                      USM/Megafon
507 Maricopa West Solar PV 2 LLC      ABB Ltd                                            Clients in matters
                                      Avon                                               unrelated to the debtors
                                      Avon Global
                                      BHP
                                      BHP Billiton
                                      BHP Billiton Group
                                      Citi
                                      Deutsche Bank
                                      E.ON Climate & Renewables GmbH
                                      E.ON SE
                                      E.ON UK plc
                                      EFG Bank European Financial Group SA
                                      Endesa
                                      Enexis
                                      Essent Nederland B.V.
                                      innogy SE



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#   Interested Party Name                  Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company         RWE Supply & Trading GmbH                            Clients in matters
                                           State of North Carolina - Division Budget - GSA
                                           Viesgo
508 Markel American Insurance Company      Colfax Corporation                                   Clients in matters
                                           Markel Corporation                                   unrelated to the debtors
                                           Markel Insurance
509 Markel Bermuda Limited                 Colfax Corporation                                   Clients in matters
                                           Markel Corporation                                   unrelated to the debtors
                                           Markel Insurance
510 Markel Insurance Company               Colfax Corporation                                   Clients in matters
                                           Markel Corporation                                   unrelated to the debtors
                                           Markel Insurance
511 Markel Service Incorporated            Colfax Corporation                                   Clients in matters
                                           Markel Corporation                                   unrelated to the debtors
                                           Markel Insurance
512 Martinez Cogen Limited Partnership     GE                                                   Clients in matters
                                                                                                unrelated to the debtors
513 Maskell Pipe & Supply Inc           HD Supply                                               Clients in matters
                                                                                                unrelated to the debtors
514 Massachusetts Bay Insurance Company The Hanover Insurance Group Inc.                        Clients in matters
                                                                                                unrelated to the debtors
515 MassMutual Asset Finance LLC        Ad hoc lenders to Arch Coal on behalf of Babson Capital Clients in matters
                                        Management LLC                                          unrelated to the debtors
                                        Baring PE Asia
                                        Baring Private Equity Asia Pte Ltd
                                        Intermountain
                                        Mass Mutual
                                        Massachusetts Mutual Life Insurance Company
                                        MassMutual
                                        MassMutual Financial Group
                                        MassMutual Life Insurance Company
                                        MassMutual Life Insurance Company K.K.
                                        MSC
                                        Murphy Oil
                                        Shell
516 MCE Corporation                     Societe Generale IBFS                                   Clients in matters
                                                                                                unrelated to the debtors
517 McKinsey                            Finalta                                                 Clients in matters
                                        Hospital for Special Surgery                            unrelated to the debtors
                                        Lunar Design Incorporated
                                        McKinsey Academy
                                        McKinsey Academy 360
                                        McKinsey Digital Marketing Academy for LatAm in
                                        collaboration with Google
                                        McKinsey Hospital Institute NA
                                        McKinsey Innovation Boot Camp
                                        McKinsey Innovation Bootcamp
                                        Mckinsey Social Iniciative
                                        McKinsey Social Initiative
                                        McKinsey Social Institute
                                        Ping An Insurance (Grp) Co of China Ltd.
518 Mears Group Inc                     Intermountain                                           Clients in matters
                                        Quanta Services                                         unrelated to the debtors



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#    Interested Party Name                Proposed Professionals Connection Name                   Connection Type
1519 21 st Century
     Mercuria      Casualty Company
               Commodities  Canada        Chevron                                                  Clients in matters
                                          JP Morgan                                                unrelated to the debtors
                                          JPMorgan Chase & Co. - Confidential
                                          MGM
                                          Shell
                                          Vopak
520 Mercuria Ener Amer Inc                Chevron                                                  Clients in matters
                                          JP Morgan                                                unrelated to the debtors
                                          JPMorgan Chase & Co. - Confidential
                                          MGM
                                          Shell
                                          Vopak
521 Merrill Lynch Commodities Inc         Aegon USA (Transamerica)                                 Clients in matters
                                          Apollo                                                   unrelated to the debtors
                                          Bank Of America
                                          Bank of America Corp.
                                          Bank of America Corporation
                                          Bankia
                                          Barnes Group
                                          Barnes Group, Inc.
                                          Daimler PGMex
                                          Deutsche Bank
                                          Entergy
                                          First Republic Bank
                                          First Republic Bank Inc.
                                          GE
                                          KeyCorp
                                          Mastercard
                                          MasterCard Inc.
                                          Mastercard Incorporated
                                          Merrill Lynch, Pierce, Fenner & Smith Incorporated
                                          National Westminster Bank
                                          National Westminster Bank Plc
                                          Nets A/S
                                          Overseas Private Investment Corporation - (Solar
                                          Mosaic)
                                          Overseas Private Investment Corporation - Solar Mosaic
                                          PNC
                                          Riverstone
                                          Sempra Energy
                                          Shell
                                          State Street
                                          Urban Edge
522 Merrill Lynch Pierce Fenner & Smith   Aegon USA (Transamerica)                                 Clients in matters
    Incorporated                          Apollo                                                   unrelated to the debtors
                                          Bank Of America
                                          Bank of America Corp.
                                          Bank of America Corporation
                                          Bankia
                                          Barnes Group
                                          Barnes Group, Inc.
                                          Daimler PGMex
                                          Deutsche Bank


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#   Interested Party Name               Proposed Professionals Connection Name                 Connection Type
1   21 st Century Casualty Company      Entergy                                                Clients in matters
                                        First Republic Bank
                                        First Republic Bank Inc.
                                        GE
                                        KeyCorp
                                        Mastercard
                                        MasterCard Inc.
                                        Mastercard Incorporated
                                        Merrill Lynch, Pierce, Fenner & Smith Incorporated
                                        National Westminster Bank
                                        National Westminster Bank Plc
                                        Nets A/S
                                        Overseas Private Investment Corporation - (Solar
                                        Mosaic)
                                        Overseas Private Investment Corporation - Solar Mosaic
                                        PNC
                                        Riverstone
                                        Sempra Energy
                                        Shell
                                        State Street
                                        Urban Edge
523 MESA                                Baxter                                                 Clients in matters
                                                                                               unrelated to the debtors
524 Mesquite Solar 1 LLC                Lone Star/US Pipe                                      Clients in matters
                                        Pemex                                                  unrelated to the debtors
                                        Sempra Energy
                                        Southern California Gas/San Diego Gas & Electric
525 Metcalf Energy Center               Edison International / Southern California Edison      Clients in matters
                                        Edison Mission Energy                                  unrelated to the debtors
                                        Entergy
                                        Sempra Energy
526 Meter Readings Holding LLC          GE                                                     Clients in matters
                                        Hubbell                                                unrelated to the debtors
                                        Hubbell, Inc.
                                        LM Ericsson Telefon AB
527 Metro PCS California LLC            Allianz                                                Clients in matters
                                        Croatian Telecom                                       unrelated to the debtors
                                        Deutsche Telekom AG
                                        Deutsche Telekom IT GmbH
                                        DT Group Holdings A/S
                                        Hrvatski Telekom
                                        Magyar Telekom
                                        MOL
                                        OTE - Hellenic Telecommunications Organization
                                        PTC
                                        SAP
                                        SAP AG
                                        Scout24 AG
                                        Tele2
                                        Tele2 AB
                                        Telekom Deutschland GmbH
                                        T-Mobile
                                        T-Mobile Austria GmbH


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#   Interested Party Name                Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company       T-Mobile Austria Holding GmbH                     Clients in matters
                                         T-Mobile Netherlands
                                         T-Mobile US
                                         T-Mobile USA, Inc.
                                         T-Systems International GmbH
                                         Vodafone (VOD)
528 Metropolitan Direct Property And     AIG                                               Clients in matters
    Casualty Insurance Company           Citi                                              unrelated to the debtors
                                         GE
                                         Manulife
                                         Manulife Financial
                                         MetLife
                                         MetLife Inc.
                                         MetLife Insurance K.K.
                                         MetLife Russia
                                         MetLife, Inc.
                                         TIAA-CREF
529 Metropolitan Property and Casualty   AIG                                               Clients in matters
    Insurance Company                    Citi                                              unrelated to the debtors
                                         GE
                                         Manulife
                                         Manulife Financial
                                         MetLife
                                         MetLife Inc.
                                         MetLife Insurance K.K.
                                         MetLife Russia
                                         MetLife, Inc.
                                         TIAA-CREF
530 MidAmerican Energy                   American Electric Power (AEP)                     Clients in matters
                                         Bankia                                            unrelated to the debtors
                                         BNSF Railway Company
                                         BP
                                         BP p.l.c.
                                         Burlington Northern Santa Fe
                                         Burlington Northern Santa Fe Corporation
                                         Burlington Northern Santa Fe Corporation (BNSF)
                                         Chemours
                                         Chevron
                                         Citi
                                         Corning CDT
                                         CSRA
                                         CSRA Inc.
                                         Daimler PGMex
                                         DaVita Inc.
                                         Dow Chemical Company
                                         Dow DuPont
                                         Dow DuPont Ag Co
                                         Dow DuPont AgCo
                                         DowDuPont
                                         DowDuPont Ag Division
                                         DowDupont AgCo
                                         DowDuPont Inc.
                                         DowDupont SpecCo


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   DQ DC Multi-client code                    Clients in matters
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa
                                     Visa Canada Corporation
                                     Visa Inc
                                     Visa Inc.
                                     Visa Worldwide Pte. Limited
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
531 Mid-Century Insurance Company    AIG                                        Clients in matters
                                                                                unrelated to the debtors



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#    Interested Party Name                  Proposed Professionals Connection Name              Connection Type
1532 21 st Century
     Midland       Casualty
              Resource      Company
                       Recovery Inc         Chevron                                             Clients in matters
                                            H&P                                                 unrelated to the debtors
533 Midset Cogen Co                         Edison International                                Clients in matters
                                            Edison International / Southern California Edison   unrelated to the debtors
                                            Edison Mission Energy
                                            Homer City Funding LLC
                                            Southern California Edison Co.
                                            Southern California Edison Company
                                            Southern Company
534 Midway Power LLC                        Duke Energy                                         Clients in matters
                                            Pacific Gas and Electric Company                    unrelated to the debtors
                                            PG&E
                                            PG&E Corporation
535 Midway Sunset Cogeneration Co           Consolidated Edison Company of New York, Inc.,      Clients in matters
                                            (CECONY)                                            unrelated to the debtors
                                            Edison International / Southern California Edison
                                            Edison Mission Energy
                                            GenOn
                                            Kelso
                                            NRG Energy Inc.
536 Mieco Inc                               AGL Energy Ltd                                      Clients in matters
                                            Asahi Glass Company (AGC)                           unrelated to the debtors
                                            BP
                                            BP p.l.c.
                                            Cargill
                                            INCJ
                                            ING
                                            Innovation Network Corporation of Japan
                                            Mærsk A/S
                                            Maersk Group
                                            Marubeni Corp
                                            MAS
                                            Mitsubishi Chemicals Advanced Materials
                                            Nissan
                                            Rakuten Holdings
                                            Toyota
537 Miller Pipeline                         Chevron                                             Clients in matters
                                                                                                unrelated to the debtors
538 Mitsubishi Electric Power Products Inc - GE                                                 Clients in matters
    Substation Division                      Hankyu Hanshin Group                               unrelated to the debtors
                                             L&T
                                             L&T digital
                                             L&T Infotech
                                             Mitsubishi Corp.
                                             Mitsubishi Corporation
539 Mitsubishi Hitachi Power Systems         AREVA                                              Clients in matters
    Americas Inc                             Enrichment Technology Company Limited              unrelated to the debtors
                                             Enrichment Technology Company Ltd
                                             Hitachi Construction
                                             Hitachi Construction Machinery Tierra
                                             INCJ
                                             Innovation Network Corporation of Japan
                                             Mitsubishi Corp.


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#    Interested Party Name              Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company     Mitsubishi Corporation                              Clients in matters
                                        Mitsubishi Heavy Industries Ltd
                                        Mitsubishi Heavy Industries Ltd.
                                        Wärtsilä
540 Mitsubishi UFJ Securities USA INC   AIG                                                 Clients in matters
                                        Bank of Ayudhya Public Company                      unrelated to the debtors
                                        Hitachi Ltd.
                                        HSBC
                                        Mitsubishi Corp.
                                        Mitsubishi Corporation
                                        Mitsubishi UFJ Financial Group, Inc.
                                        Mitsubishi UFJ Trust Bank
                                        MUFG
                                        MUFG Americas Holdings Corporation
                                        MUFG Bank Ltd. (New York Branch)
                                        MUFG Bank, Ltd.
                                        MUFG Union Bank, N.A.
                                        MUFG/Union Bank
                                        RBS
                                        The Bank of Tokyo-Mitsubishi UFJ, Ltd
                                        Union Bank
                                        Union Bank of California
                                        Union Bank/ MUFG
541 Mizuho Bank Ltd                     Mizuho Financial Group Inc.                         Clients in matters
                                        Mizuho Financial Group, Inc.                        unrelated to the debtors
                                        Mizuho Securities Co., Ltd.
542 Mizuho Corporate Bank Ltd           Mizuho Financial Group Inc.                         Clients in matters
                                        Mizuho Financial Group, Inc.                        unrelated to the debtors
                                        Mizuho Securities Co., Ltd.
543 Mojave Sun Power LLC                Befesa Management Services GmbH                     Clients in matters
                                                                                            unrelated to the debtors
544 Monarch Alternative Capital LP      Alberta Investment Management Company (AIMCo)       Clients in matters
                                        Alberta Investment Management Corporation (AIMCo)   unrelated to the debtors
                                        Caesars
                                        Delphi Corporation
                                        Johnson Controls International
                                        SCOR
                                        Sirius XM
                                        Vanguard
                                        Visteon
                                        Visteon Corporation
545 Morgan Stanley Bank NA              Airbus                                              Clients in matters
                                        Airbus Defence and Space GmbH                       unrelated to the debtors
                                        Airbus Group NV
                                        Airbus Helicopters
                                        Airbus Safran Launchers
                                        China Minsheng Bank
                                        China Minsheng Banking Co Ltd
                                        China Minsheng Banking Corp., Ltd.
                                        Deutsche Bank
                                        Hilton
                                        Morgan Staney Hong Kong
                                        Morgan Stanley


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#   Interested Party Name              Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company     Morgan Stanley & Co. International plc     Clients in matters
                                       Morgan Stanley Capital Partners
                                       MSB
                                       MUFG
                                       Providence
                                       QUILTER PLC
                                       Scout24 AG
                                       Siris Capital Group Llc
                                       Sun Life
                                       Union Bank/ MUFG
546 Morgan Stanley Capital Group Inc   Airbus                                     Clients in matters
                                       Airbus Defence and Space GmbH              unrelated to the debtors
                                       Airbus Group NV
                                       Airbus Helicopters
                                       Airbus Safran Launchers
                                       China Minsheng Bank
                                       China Minsheng Banking Co Ltd
                                       China Minsheng Banking Corp., Ltd.
                                       Deutsche Bank
                                       Hilton
                                       Morgan Staney Hong Kong
                                       Morgan Stanley
                                       Morgan Stanley & Co. International plc
                                       Morgan Stanley Capital Partners
                                       MSB
                                       MUFG
                                       Providence
                                       QUILTER PLC
                                       Scout24 AG
                                       Siris Capital Group Llc
                                       Sun Life
                                       Union Bank/ MUFG
547 Morgan Stanley ISG Operations      Airbus                                     Clients in matters
                                       Airbus Defence and Space GmbH              unrelated to the debtors
                                       Airbus Group NV
                                       Airbus Helicopters
                                       Airbus Safran Launchers
                                       China Minsheng Bank
                                       China Minsheng Banking Co Ltd
                                       China Minsheng Banking Corp., Ltd.
                                       Deutsche Bank
                                       Hilton
                                       Morgan Staney Hong Kong
                                       Morgan Stanley
                                       Morgan Stanley & Co. International plc
                                       Morgan Stanley Capital Partners
                                       MSB
                                       MUFG
                                       Providence
                                       QUILTER PLC
                                       Scout24 AG
                                       Siris Capital Group Llc
                                       Sun Life


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Union Bank/ MUFG                           Clients in matters
548 Morgan Stanley Senior Funding    Airbus                                     Clients in matters
                                     Airbus Defence and Space GmbH              unrelated to the debtors
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     China Minsheng Bank
                                     China Minsheng Banking Co Ltd
                                     China Minsheng Banking Corp., Ltd.
                                     Deutsche Bank
                                     Hilton
                                     Morgan Staney Hong Kong
                                     Morgan Stanley
                                     Morgan Stanley & Co. International plc
                                     Morgan Stanley Capital Partners
                                     MSB
                                     MUFG
                                     Providence
                                     QUILTER PLC
                                     Scout24 AG
                                     Siris Capital Group Llc
                                     Sun Life
                                     Union Bank/ MUFG
549 MRC Global Inc                   Aker Group                                 Clients in matters
                                     MSD Japan                                  unrelated to the debtors
550 MS Amlin                         Amlin plc                                  Clients in matters
                                     Goldman Sachs - FWS                        unrelated to the debtors
                                     Mitsui & Co., Ltd.
                                     Mitsui & Company Limited
                                     MS Amlin UK
                                     Sinar Mas Group
                                     Toyota
551 MSD Capital LP                   Bank Leumi                                 Clients in matters
                                     Bank Leumi USA                             unrelated to the debtors
                                     BP
                                     BP p.l.c.
                                     Chevron
                                     CJ Corp.
                                     DT Group Holdings A/S
                                     hhs technology group
                                     ICG - Intermediated Capital Group
                                     JP Morgan
                                     Luminant
                                     Mercedes-Benz Automotive Finance
                                     Micron
                                     Micron Technology
                                     Micron Technology Inc
                                     Micron Technology Inc.
                                     Micron Technology, Inc.
                                     MSD Capital
                                     MSD Japan
                                     Nissan
                                     PVH Corp.


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   PVH Europe B.V.                            Clients in matters
                                     Related Companies
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Shell
                                     The Related Companies Inc
                                     Toyota
                                     Waypoint Capital Services Inc.
                                     ZenPayroll, Inc.
552 MSD Partners LP                  Bank Leumi                                 Clients in matters
                                     Bank Leumi USA                             unrelated to the debtors
                                     BP
                                     BP p.l.c.
                                     Chevron
                                     CJ Corp.
                                     DT Group Holdings A/S
                                     hhs technology group
                                     ICG - Intermediated Capital Group
                                     JP Morgan
                                     Luminant
                                     Mercedes-Benz Automotive Finance
                                     Micron
                                     Micron Technology
                                     Micron Technology Inc
                                     Micron Technology Inc.
                                     Micron Technology, Inc.
                                     MSD Capital
                                     MSD Japan
                                     Nissan
                                     PVH Corp.
                                     PVH Europe B.V.
                                     Related Companies
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Shell
                                     The Related Companies Inc
                                     Toyota
                                     Waypoint Capital Services Inc.
                                     ZenPayroll, Inc.
553 MUFG                             AIG                                        Clients in matters
                                     Bank of Ayudhya Public Company             unrelated to the debtors
                                     Hitachi Ltd.
                                     HSBC
                                     Mitsubishi Corp.
                                     Mitsubishi Corporation
                                     Mitsubishi UFJ Financial Group, Inc.
                                     Mitsubishi UFJ Trust Bank
                                     MUFG
                                     MUFG Americas Holdings Corporation
                                     MUFG Bank Ltd. (New York Branch)
                                     MUFG Bank, Ltd.
                                     MUFG Union Bank, N.A.
                                     MUFG/Union Bank


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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      RBS                                        Clients in matters
                                        The Bank of Tokyo-Mitsubishi UFJ, Ltd
                                        Union Bank
                                        Union Bank of California
                                        Union Bank/ MUFG
554 MUFG Union Bank NA                  AIG                                        Clients in matters
                                        Bank of Ayudhya Public Company             unrelated to the debtors
                                        Hitachi Ltd.
                                        HSBC
                                        Mitsubishi Corp.
                                        Mitsubishi Corporation
                                        Mitsubishi UFJ Financial Group, Inc.
                                        Mitsubishi UFJ Trust Bank
                                        MUFG
                                        MUFG Americas Holdings Corporation
                                        MUFG Bank Ltd. (New York Branch)
                                        MUFG Bank, Ltd.
                                        MUFG Union Bank, N.A.
                                        MUFG/Union Bank
                                        RBS
                                        The Bank of Tokyo-Mitsubishi UFJ, Ltd
                                        Union Bank
                                        Union Bank of California
                                        Union Bank/ MUFG
555 Munich Re                           Allianz                                    Clients in matters
                                        Apollo                                     unrelated to the debtors
                                        Apollo Hospitals Enterprise Ltd
                                        Banistmo
                                        BP
                                        BP p.l.c.
                                        CBRE
                                        CNA Financial Corp.
                                        ERGO
                                        ERGO Group AG
                                        Ergo International AG
                                        ERGO Versicherungsgruppe AG
                                        Fair
                                        Hetero
                                        Munich Health North America
                                        Munich Healthcare
                                        Munich Re
                                        Paramount Health Care
                                        State Street
556 Nalco Company                       Clariant International AG                  Clients in matters
                                        Coca-Cola Kenya                            unrelated to the debtors
                                        Diversey Care
                                        Ecolab Incorporated
557 NASDAQ OMX Commodities Clearing -   FINRA                                      Clients in matters
    Contract Merchant LLC                                                          unrelated to the debtors
558 National Fire & Marine Insurance    American Electric Power (AEP)              Clients in matters
    Company                             Bankia                                     unrelated to the debtors
                                        BNSF Railway Company
                                        BP


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   BP p.l.c.                                         Clients in matters
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan



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#    Interested Party Name                Proposed Professionals Connection Name       Connection Type
1    21 st Century Casualty Company       OTC                                          Clients in matters
                                          PKP Energetyka
                                          Providence
                                          ROHM Co. Ltd
                                          Sun Life
                                          Tesco PLC
                                          The Kraft Heinz Company
                                          The Kraft Heinz Company - via Genpact
                                          The Kraft Heinz Foods Company
                                          Timet
                                          Trident Group
                                          Viacom 18
                                          Visa
                                          Visa Canada Corporation
                                          Visa Inc
                                          Visa Inc.
                                          Visa Worldwide Pte. Limited
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
559 National Fire Insurance of Hartford   Chevron                                      Clients in matters
                                          CNA Financial Corp.                          unrelated to the debtors
                                          CNA Insurance
                                          CNA Insurance Companies
                                          Diamond Offshore
                                          Diamond Offshore Drilling Inc.
                                          Loews Corp.
560 National Surety Corporation           ADAC e.V.                                    Clients in matters
                                          Aegon USA (Transamerica)                     unrelated to the debtors
                                          AGCO
                                          Airbus
                                          Airbus Defence and Space GmbH
                                          Airbus Group NV
                                          Airbus Helicopters
                                          Airbus Safran Launchers
                                          Allianz
                                          Allianz AG
                                          Allianz Asia Pacific (AZAP)
                                          Allianz Asset Management AG
                                          Allianz Bank
                                          Allianz CIA de Seguros y Reaseguros SA
                                          Allianz Deutschland AG
                                          Allianz France
                                          Allianz Global Investors
                                          Allianz Global Investors GmbH
                                          Allianz Hungaria Zrt.
                                          Allianz Lebensversicherungs-AG
                                          Allianz Life Insurance Company of New York
                                          Allianz Partners SAS
                                          Allianz S.P.A.
                                          Allianz SE
                                          Allianz Sigorta A.S.
                                          Allianz Versicherungs-AG
                                          Alphabet Inc


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   AXA                                               Clients in matters
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health
                                     Bayer CropScience AG
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD



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#   Interested Party Name                 Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company        Lone Star/Hanson Building Products        Clients in matters
                                          Lotte Chilsung
                                          Maersk Group
                                          Merck
                                          Merck KGAA
                                          Merck Millipore Sigma
                                          Monsanto
                                          Monsanto Co.
                                          Monsanto Company
                                          MSD Japan
                                          Nestlé
                                          Nestle Foods
                                          Nestle Purina
                                          Nestlé Regional Spring Water
                                          Nestlé S.A.
                                          Nestle Waters
                                          Nestle Waters North America
                                          Nokia Oy
                                          Nokia Oyj
                                          Pfizer Global Pharmaceuticals
                                          PIMCO
                                          PIMCO Europe Ltd.
                                          Rolls Royce
                                          Rolls Royce Defense
                                          Societe Generale IBFS
                                          Starbucks
                                          UniCredit Banca
                                          Unicredit Bank AG
                                          UniCredit Bank Austria AG
                                          UniCredit CIB
                                          UniCredit SpA
                                          Wintershall Holding GmbH
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
561 National Union Fire Insurance Company AIG                                       Clients in matters
    of Pittsburgh Pa                      AIG Capital Corporation                   unrelated to the debtors
                                          AIG Property Casualty
                                          American International Group (AIG)
                                          Avon
                                          Avon Global
                                          Blackboard
                                          BridgeBio Pharma LLC
                                          BRISA
                                          BT
                                          Citi
                                          GE
                                          General Atlantic
                                          General Atlantic (UK) LLP
                                          General Atlantic Partners
                                          Hamilton Insurance
                                          ING
                                          ING Bank Nederland
                                          PineBridge Investments



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#   Interested Party Name                  Proposed Professionals Connection Name      Connection Type
1   21 st Century Casualty Company         QED Therapeutics                            Clients in matters
                                           Vodafone
                                           Vodafone (VOD)
                                           Vodafone Group PLC
562 Nationwide General Insurance           Nationwide Insurance                        Clients in matters
    Company                                                                            unrelated to the debtors
563 Nationwide Indemnity Company        Nationwide                                     Clients in matters
                                        Nationwide Insurance                           unrelated to the debtors
564 Nationwide Insurance Company of     Nationwide                                     Clients in matters
    America                             Nationwide Insurance                           unrelated to the debtors
565 Nationwide Lloyds Insurance Company City National Bank                             Clients in matters
                                        Hilltop Holdings Inc.                          unrelated to the debtors
566 Nationwide Mutual Fire Insurance    Nationwide                                     Clients in matters
    Company                             Nationwide Insurance                           unrelated to the debtors
567 Nationwide Mutual Insurance Company Nationwide                                     Clients in matters
    and certain affiliates              Nationwide Insurance                           unrelated to the debtors
568 Navigators Management Company Inc CNA Financial Corp.                              Clients in matters
    New York                            Hartford Fire International Ltd.               unrelated to the debtors
                                        The Hartford
                                        The Hartford Financial Services Group Inc.
                                        The Hartford Financial Services Group, Inc.
                                        The Hartford Financial Services Inc.
569 Network Mapping Incorporated        Viewpoint                                      Clients in matters
                                                                                       unrelated to the debtors
570 New Cingular Wireless PCS LLC          AT&T                                        Clients in matters
                                           CME Media Services Limited                  unrelated to the debtors
                                           CME Media Services Ltd
                                           Comcast
                                           Comcast NBCU
                                           Comcast/NBCU
                                           DIRECTV
                                           Ingenio La Union
                                           Sky
                                           Sky Brasil Serviços Ltda.
                                           Sprint
                                           Time Inc.
                                           Time Warner Inc.
                                           Time, Inc.
                                           T-Mobile
                                           Verizon
                                           Windstream
571 New Cingular Wireless Services         AT&T                                        Clients in matters
                                           CME Media Services Limited                  unrelated to the debtors
                                           CME Media Services Ltd
                                           Comcast
                                           Comcast NBCU
                                           Comcast/NBCU
                                           DIRECTV
                                           Ingenio La Union
                                           Sky
                                           Sky Brasil Serviços Ltda.
                                           Sprint
                                           Time Inc.


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#   Interested Party Name                Proposed Professionals Connection Name       Connection Type
1   21 st Century Casualty Company       Time Warner Inc.                             Clients in matters
                                         Time, Inc.
                                         T-Mobile
                                         Verizon
                                         Windstream
572 New Hampshire Insurance Company      AIG                                          Clients in matters
                                         AIG Capital Corporation                      unrelated to the debtors
                                         AIG Property Casualty
                                         American International Group (AIG)
                                         Avon
                                         Avon Global
                                         Blackboard
                                         BridgeBio Pharma LLC
                                         BRISA
                                         BT
                                         Citi
                                         GE
                                         General Atlantic
                                         General Atlantic (UK) LLP
                                         General Atlantic Partners
                                         Hamilton Insurance
                                         ING
                                         ING Bank Nederland
                                         PineBridge Investments
                                         QED Therapeutics
                                         Vodafone
                                         Vodafone (VOD)
                                         Vodafone Group PLC
573 Newtyn Management LLC on behalf of   Aker Group                                   Clients in matters
    certain funds and accounts           Aker Solutions                               unrelated to the debtors
                                         MSD Japan
574 Nexans High Voltage USA              Nexans                                       Clients in matters
                                                                                      unrelated to the debtors
575 Nextel Communications                ANI Technologies Private Limited (OLA)       Clients in matters
                                         AnI technologies pvt ltd                     unrelated to the debtors
                                         ANI Technologies Pvt. Ltd.
                                         Avaya
                                         Citi
                                         Didi
                                         Didi Chuxing
                                         Dogus Holding
                                         Dogus Holding A S
                                         Fair
                                         Geometric
                                         Geometric Ltd.
                                         GrabTaxi Holdings Pte Ltd
                                         InMobi
                                         Inmobi Technology Services Private Limited
                                         Nextel
                                         Nextel Brasil
                                         Ola Fleet Technologies Pvt Ltd
                                         Parkjockey
                                         Parkjockey USA



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#    Interested Party Name                   Proposed Professionals Connection Name       Connection Type
1    21 st Century Casualty Company          Rappi S.A.S.                                 Clients in matters
                                             Rising Tide Management LLC
                                             SBB - Schweizerische Bundesbahnen
                                             Sofi
                                             Softbank
                                             SoftBank Corp.
                                             SoftBank Energy
                                             Softbank Group Capital Limited
                                             SoftBank Group Corp.
                                             SoftBank Group Corp. - Confidential client
                                             SoftBank Investment Advisers
                                             SoftBank Investment Advisors
                                             Softbank KK
                                             SoftBank Mobile Corp.
                                             Softbank Vision fund
                                             Sprint
                                             Sprint Corp.
                                             Sprint Corporation
                                             Uber
                                             Uber International C.V.
                                             Uber Technologies, Inc.
                                             Vidéotron Ltée
                                             Visa
                                             Vision Fund
                                             WeWork
                                             WeWork Companies Inc.
                                             Wirecard AG
                                             WME IMG
                                             Yahoo Japan
                                             Zhejiang Hengyi Group Co. Ltd.
                                             Zhejiang Huaye
576 Nextel of California Inc a Delaware Corp ANI Technologies Private Limited (OLA)       Clients in matters
                                             AnI technologies pvt ltd                     unrelated to the debtors
                                             ANI Technologies Pvt. Ltd.
                                             Avaya
                                             Citi
                                             Didi
                                             Didi Chuxing
                                             Dogus Holding
                                             Dogus Holding A S
                                             Fair
                                             Geometric
                                             Geometric Ltd.
                                             GrabTaxi Holdings Pte Ltd
                                             InMobi
                                             Inmobi Technology Services Private Limited
                                             Nextel
                                             Nextel Brasil
                                             Ola Fleet Technologies Pvt Ltd
                                             Parkjockey
                                             Parkjockey USA
                                             Rappi S.A.S.
                                             Rising Tide Management LLC



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#    Interested Party Name                 Proposed Professionals Connection Name       Connection Type
1    21 st Century Casualty Company        SBB - Schweizerische Bundesbahnen            Clients in matters
                                           Sofi
                                           Softbank
                                           SoftBank Corp.
                                           SoftBank Energy
                                           Softbank Group Capital Limited
                                           SoftBank Group Corp.
                                           SoftBank Group Corp. - Confidential client
                                           SoftBank Investment Advisers
                                           SoftBank Investment Advisors
                                           Softbank KK
                                           SoftBank Mobile Corp.
                                           Softbank Vision fund
                                           Sprint
                                           Sprint Corp.
                                           Sprint Corporation
                                           Uber
                                           Uber International C.V.
                                           Uber Technologies, Inc.
                                           Vidéotron Ltée
                                           Visa
                                           Vision Fund
                                           WeWork
                                           WeWork Companies Inc.
                                           Wirecard AG
                                           WME IMG
                                           Yahoo Japan
                                           Zhejiang Hengyi Group Co. Ltd.
                                           Zhejiang Huaye
577 NextEra Energy Inc                     FPL Group, Inc.                              Clients in matters
                                           NextEra Energy Inc.                          unrelated to the debtors
                                           NextEra Energy Resources
                                           NextEra Energy Resources, LLC
                                           NextEra/Florida Power and Light
578 NextEra Energy Marketing LLC           FPL Group, Inc.                              Clients in matters
                                           NextEra Energy Inc.                          unrelated to the debtors
                                           NextEra Energy Resources
                                           NextEra Energy Resources, LLC
                                           NextEra/Florida Power and Light
579 NextEra Energy Partners, LP            NextEra Energy Inc.                          Clients in matters
                                                                                        unrelated to the debtors
580 NextEra Energy Resources Acquisitions, NextEra Energy Resources                     Clients in matters
    LLC                                    NextEra Energy Resources, LLC                unrelated to the debtors
581 NextEra Energy Resources, LLC          FPL Group, Inc.                              Clients in matters
                                           NextEra Energy Inc.                          unrelated to the debtors
                                           NextEra Energy Resources
                                           NextEra Energy Resources, LLC
                                           NextEra/Florida Power and Light
582 NJR Energy Serv                        New Jersey Resources                         Clients in matters
                                                                                        unrelated to the debtors
583 Noble Americas Corporation             Port of Antwerp                              Clients in matters
                                           Royal Dutch Shell                            unrelated to the debtors
                                           Royal Dutch Shell plc



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#   Interested Party Name                Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company       Royal Dutch Shell Retail                                Clients in matters
                                         Royal Dutch/Shell Group
                                         Shell
                                         TOTAL S.A.
                                         Vitol Services Limited
584 Noble Americas Gas & Power Corp      Chevron                                                 Clients in matters
                                         JP Morgan                                               unrelated to the debtors
                                         JPMorgan Chase & Co. - Confidential
                                         MGM
                                         Shell
                                         Vopak
585 Noresco LLC                          Boeing                                                  Clients in matters
                                         Carrier Corporation                                     unrelated to the debtors
                                         Chubb
                                         Chubb Corporation
                                         Computer Sciences Corp.
                                         Computer Sciences Corp. (CSC)
                                         Corning CDT
                                         Corning Optical Communica CSS
                                         GE
                                         Johnson Controls International
                                         KONE
                                         Lockheed Martin Missiles and Fire Control (LM Energy)
                                         Lockheed Martin Missles and Fire Control
                                         Otis Elevator Co.
                                         Pratt and Whitney
                                         Raytheon
                                         Raytheon Company
                                         Raytheon Missile Systems
                                         Raytheon UK
                                         Sirius XM
                                         ThyssenKrupp CSA
                                         United Technologies Aerospace Systems
                                         United Technologies Corp
                                         United Technologies Corp.
                                         UTC - CCS
586 North American Specialty Insurance   Australis Partners (Advisers), LLC                      Clients in matters
    Company                              CIGNA                                                   unrelated to the debtors
                                         CNA Financial Corp.
                                         CNA Insurance
                                         FWD Group Management Holdings Limited
                                         GE
                                         HSBC
                                         Old Mutual Latam
                                         Shinsei Bank
                                         Shinsei Bank Ltd
                                         Shinsei Bank, Limited
                                         Shinsei Bank, Ltd.
                                         Swiss Re
                                         Swiss Re Corporate Solutions
                                         Swiss Re Management Ltd
                                         UBF (UAE Banks Federation)




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#    Interested Party Name                  Proposed Professionals Connection Name               Connection Type
1587 21 st Century
     North          CasualtyInsurance
            Light Specialty   Company       Ad hoc lenders to Arch Coal on behalf of Allstate    Clients in matters
     Company                                Investment Management Company                        unrelated to the debtors
                                            Ad hoc lenders to Arch Coal on behalf of Allstate
                                            Investments, LLC
                                            Allstate Insurance
                                            Fidelity International
                                            Fidelity International Limited
                                            GE
588 North Sky River Energy LLC              FPL Group, Inc.                                      Clients in matters
                                            NextEra Energy Inc.                                  unrelated to the debtors
                                            NextEra Energy Resources
                                            NextEra Energy Resources, LLC
                                            NextEra/Florida Power and Light
589 North Star Solar LLC                    Georgia Power                                        Clients in matters
                                            Georgia Power Company                                unrelated to the debtors
                                            Southern Company
590 NOV FluidControl a division of National Axiom                                                Clients in matters
    Oilwell Varco LP                        Maersk Group                                         unrelated to the debtors
                                            MSD Japan
591 NRG Energy Inc                          Consolidated Edison Company of New York, Inc.,       Clients in matters
                                            (CECONY)                                             unrelated to the debtors
                                            Edison International / Southern California Edison
                                            Edison Mission Energy
                                            GenOn
                                            Kelso
                                            NRG Energy Inc.
592 NRG Marsh Landing LLC                   NRG Energy Inc.                                      Clients in matters
                                                                                                 unrelated to the debtors
593 NRG Power Marketing LLC                  Consolidated Edison Company of New York, Inc.,      Clients in matters
                                             (CECONY)                                            unrelated to the debtors
                                             Edison International / Southern California Edison
                                             Edison Mission Energy
                                             GenOn
                                             Kelso
                                             NRG Energy Inc.
594 NRG Solar Alpine LLC                     NRG Energy Inc.                                     Clients in matters
                                                                                                 unrelated to the debtors
595 Nuance Communications, Inc.              Nuance Communications                               Clients in matters
                                             Nuance Communications, Inc.                         unrelated to the debtors
596 Nuclear Regulatory Commission            Nuclear Regulatory Commission                       Clients in matters
                                                                                                 unrelated to the debtors
597 Nuveen Alternative Advisors LLC          Cargill                                             Clients in matters
                                             Cargill Feed & Nutrition                            unrelated to the debtors
598 NV Energy                                American Electric Power (AEP)                       Clients in matters
                                             Bankia                                              unrelated to the debtors
                                             BNSF Railway Company
                                             BP
                                             BP p.l.c.
                                             Burlington Northern Santa Fe
                                             Burlington Northern Santa Fe Corporation
                                             Burlington Northern Santa Fe Corporation (BNSF)
                                             Chemours
                                             Chevron



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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Citi                                       Clients in matters
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC



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#    Interested Party Name              Proposed Professionals Connection Name                   Connection Type
1    21 st Century Casualty Company     The Kraft Heinz Company                                  Clients in matters
                                        The Kraft Heinz Company - via Genpact
                                        The Kraft Heinz Foods Company
                                        Timet
                                        Trident Group
                                        Viacom 18
                                        Visa
                                        Visa Canada Corporation
                                        Visa Inc
                                        Visa Inc.
                                        Visa Worldwide Pte. Limited
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
599 Oak Hill Advisors, L.P.             Advance Auto Parts                                       Clients in matters
                                        Advance Auto Parts Inc.                                  unrelated to the debtors
                                        Advance Auto Parts, Inc.
                                        Johnson Controls International
                                        Visteon
                                        Visteon Corporation
600 Oaktree Capital Management LP       Ad hoc lenders to Arch Coal on behalf of Oaktree Capital Clients in matters
                                        Management LP                                            unrelated to the debtors
                                        Griffin Real Estate
                                        Oaktree Capital
                                        Oaktree Capital Management
                                        Oaktree Capital Management LLC
601 Ocampo-Esta Corporation             EMCOR                                                    Clients in matters
                                        GE                                                       unrelated to the debtors
602 Occidental Energy Marketing, Inc.   BP                                                       Clients in matters
                                        BP p.l.c.                                                unrelated to the debtors
                                        Dow DuPont Ag Co
                                        ExxonMobil Fuel & Lubricants
                                        Occidental Petroleum Corp.
                                        Occidental Petroleum Corporation
                                        Repsol
                                        Repsol Bolivia
                                        Royal Dutch Shell Retail
                                        Royal Dutch/Shell Group
                                        Shell
                                        Union Pacific
                                        Union Pacific Corporation
603 Occidental Energy Ventures Corp     BP                                                       Clients in matters
                                        BP p.l.c.                                                unrelated to the debtors
                                        Dow DuPont Ag Co
                                        ExxonMobil Fuel & Lubricants
                                        Occidental Petroleum Corp.
                                        Occidental Petroleum Corporation
                                        Repsol
                                        Repsol Bolivia
                                        Royal Dutch Shell Retail
                                        Royal Dutch/Shell Group
                                        Shell
                                        Union Pacific
                                        Union Pacific Corporation


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#    Interested Party Name                Proposed Professionals Connection Name               Connection Type
1604 21 st Century
     Occidental    Casualty
                Power       Company
                       Services Inc       BP                                                   Clients in matters
                                          BP p.l.c.                                            unrelated to the debtors
                                          Dow DuPont Ag Co
                                          ExxonMobil Fuel & Lubricants
                                          Occidental Petroleum Corp.
                                          Occidental Petroleum Corporation
                                          Repsol
                                          Repsol Bolivia
                                          Royal Dutch Shell Retail
                                          Royal Dutch/Shell Group
                                          Shell
                                          Union Pacific
                                          Union Pacific Corporation
605 Och-Ziff Capital Management Group LLC Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj   Clients in matters
                                          Finance on behalf of OZ Management II LP             unrelated to the debtors
                                          Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj
                                          Finance on behalf of OZ Management LP
                                          Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj
                                          Finance on behalf of OZ Management LP
                                          Akzo Nobel
                                          Akzo Nobel N.V.
                                          Bahrain Financial Company
                                          Bankunited
                                          BankUnited, Inc.
                                          CMG healthcare
                                          First Cargo
                                          First Cargo (China) Limited
                                          GlaxoSmithKline
                                          GlaxoSmithKline Consumer Healthcare, L.P.
                                          GlaxoSmithKline LLC
                                          GlaxoSmithKline plc
                                          GP Investimentos
                                          GP Investments
                                          GSK
                                          GSK Biologicals
                                          GSK Consumer Health
                                          GSK Vaccines
                                          Korea Exchange
                                          L&T
                                          L&T digital
                                          L&T Infotech
                                          Mr. Cooper
                                          Mr. Cooper Group Inc.
                                          Nationstar Mortgage
                                          Nationstar Mortgage Llc
                                          PNC
                                          Samsung
                                          Sanofi Biologics
                                          Sanofi Japan
                                          UCB
                                          ViiV Healthcare
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye



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#    Interested Party Name                Proposed Professionals Connection Name           Connection Type
1606 21 st CenturyLLC
     ODOR-TECH     Casualty Company       Arkema S.A.                                      Clients in matters
                                          Dow DuPont Ag Co                                 unrelated to the debtors
                                          Repsol
                                          Repsol Bolivia
                                          YPF
607 Ohio Security Insurance Company       ING                                              Clients in matters
                                          ING Bank Nederland                               unrelated to the debtors
                                          Liberty Insurance
                                          Liberty Mutual
                                          Liberty Mutual Group
                                          Liberty Mutual Group, Inc.
                                          Liberty Mutual Holding Company Inc.
                                          Liberty Mutual Insurance Company
608 Oil Casualty Insurance Limited        ATB Financial                                    Clients in matters
                                          BP                                               unrelated to the debtors
                                          BP p.l.c.
                                          Dow DuPont Ag Co
                                          Monsanto
609 Oldcastle Precast Inc                 Oldcastle                                        Clients in matters
                                          Oldcastle - APG (Architectural Products Group)   unrelated to the debtors
610 Olympus Power LLC                     Olympus                                          Clients in matters
                                                                                           unrelated to the debtors
611 OneBeacon Atlantic Specialty Ins Co   Allianz                                          Clients in matters
                                          AXA                                              unrelated to the debtors
                                          HSBC
                                          ING
                                          ING Bank Nederland
                                          Intact Financial Corp.
                                          Intact Financial Corporation
612 Oracle America Inc                    Cargill                                          Clients in matters
                                          Contextmedia Inc.                                unrelated to the debtors
                                          Delphi Corporation
                                          Samsung
                                          SAP
                                          SAP AG
                                          Vantiv Inc.
613 Oracle Corporation                    Cargill                                          Clients in matters
                                          Contextmedia Inc.                                unrelated to the debtors
                                          Delphi Corporation
                                          Samsung
                                          SAP
                                          SAP AG
                                          Vantiv Inc.
614 Osmose Utilities Services Inc         Osmose Utilities Services, Inc.                  Clients in matters
                                                                                           unrelated to the debtors
615 Otis Elevator Company                 Boeing                                           Clients in matters
                                          Carrier Corporation                              unrelated to the debtors
                                          Chubb
                                          Chubb Corporation
                                          Computer Sciences Corp.
                                          Computer Sciences Corp. (CSC)
                                          Corning CDT
                                          Corning Optical Communica CSS


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#    Interested Party Name                 Proposed Professionals Connection Name                  Connection Type
1    21 st Century Casualty Company        GE                                                      Clients in matters
                                           Johnson Controls International
                                           KONE
                                           Lockheed Martin Missiles and Fire Control (LM Energy)
                                           Lockheed Martin Missles and Fire Control
                                           Otis Elevator Co.
                                           Pratt and Whitney
                                           Raytheon
                                           Raytheon Company
                                           Raytheon Missile Systems
                                           Raytheon UK
                                           Sirius XM
                                           ThyssenKrupp CSA
                                           United Technologies Aerospace Systems
                                           United Technologies Corp
                                           United Technologies Corp.
                                           UTC - CCS
616 Owl Creek Asset Management LP on       Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj      Clients in matters
    behalf of certain funds and accounts   Finance on behalf of Owl Creek Asset Management, L.P.   unrelated to the debtors
                                           Bankunited
                                           BankUnited, Inc.
                                           Mr. Cooper
                                           Mr. Cooper Group Inc.
                                           Nationstar Mortgage
                                           Nationstar Mortgage Llc
                                           Navistar
                                           Navistar International Corp.
                                           Navistar International Corporation
                                           PNC
                                           Sprint
617 Oxy Ener Canada                        BP                                                      Clients in matters
                                           BP p.l.c.                                               unrelated to the debtors
                                           Dow DuPont Ag Co
                                           ExxonMobil Fuel & Lubricants
                                           Occidental Petroleum Corp.
                                           Occidental Petroleum Corporation
                                           Repsol
                                           Repsol Bolivia
                                           Royal Dutch Shell Retail
                                           Royal Dutch/Shell Group
                                           Shell
                                           Union Pacific
                                           Union Pacific Corporation
618 P Schoenfeld Asset Management LP       Vivendi SA                                              Clients in matters
                                                                                                   unrelated to the debtors
619 Pace Engineering Inc                   Intermountain                                           Clients in matters
                                           Quanta Services                                         unrelated to the debtors
620 Pacific Bell Telephone Company         AT&T                                                    Clients in matters
                                           CME Media Services Limited                              unrelated to the debtors
                                           CME Media Services Ltd
                                           Comcast
                                           Comcast NBCU
                                           Comcast/NBCU


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#   Interested Party Name            Proposed Professionals Connection Name       Connection Type
1   21 st Century Casualty Company   DIRECTV                                      Clients in matters
                                     Ingenio La Union
                                     Sky
                                     Sky Brasil Serviços Ltda.
                                     Sprint
                                     Time Inc.
                                     Time Warner Inc.
                                     Time, Inc.
                                     T-Mobile
                                     Verizon
                                     Windstream
621 Pacific Indemnity Company        Chubb                                        Clients in matters
                                     Chubb Corporation                            unrelated to the debtors
                                     CIGNA
                                     INA
                                     INA-Holding Schaeffler KG
622 Pacific Investment Management    ADAC e.V.                                    Clients in matters
    Company LLC                      Aegon USA (Transamerica)                     unrelated to the debtors
                                     AGCO
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Allianz
                                     Allianz AG
                                     Allianz Asia Pacific (AZAP)
                                     Allianz Asset Management AG
                                     Allianz Bank
                                     Allianz CIA de Seguros y Reaseguros SA
                                     Allianz Deutschland AG
                                     Allianz France
                                     Allianz Global Investors
                                     Allianz Global Investors GmbH
                                     Allianz Hungaria Zrt.
                                     Allianz Lebensversicherungs-AG
                                     Allianz Life Insurance Company of New York
                                     Allianz Partners SAS
                                     Allianz S.P.A.
                                     Allianz SE
                                     Allianz Sigorta A.S.
                                     Allianz Versicherungs-AG
                                     Alphabet Inc
                                     AXA
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     Bayer AG
                                     Bayer Consumer Care AG
                                     Bayer Consumer Health


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Bayer CropScience AG                              Clients in matters
                                     Bayer Healthcare
                                     Bayer HealthCare AG
                                     Bayer Holding Ltd.
                                     Bayer Pharma
                                     Bayer Pharma AG
                                     Bayer Pharmaceuticals
                                     Bayerische Motoren Werke AG
                                     BDF Nivea LTDA.
                                     Beiersdorf AG
                                     Beiersdorf Manufacturing Hamburg GmbH
                                     Beiersdorf Tchibo Holding
                                     BMW AG
                                     Bmw China Automotive Trading Ltd.
                                     Boehringer Ingelheim Middle East & North Africa
                                     BP p.l.c.
                                     BT
                                     Cembra
                                     Cembra Money Bank AG
                                     Clariant International AG
                                     Commerzbank AG
                                     CPIC
                                     Deutsche Bank
                                     DTE Energy Company
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     ExxonMobil Fuel & Lubricants
                                     GEA Group Aktiengesellschaft
                                     Gerber Nutrition (Nestle)
                                     HSBC
                                     Huntsman PU
                                     HX Holding GmbH
                                     ICBC Bank Argentina
                                     ICG - Intermediated Capital Group
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     ING
                                     ING Bank Nederland
                                     inSphere GmbH
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Liverpool Victoria
                                     Liverpool Victoria General Insurance Group LTD
                                     Lone Star/Hanson Building Products
                                     Lotte Chilsung
                                     Maersk Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monsanto
                                     Monsanto Co.
                                     Monsanto Company
                                     MSD Japan



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#   Interested Party Name             Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company    Nestlé                                               Clients in matters
                                      Nestle Foods
                                      Nestle Purina
                                      Nestlé Regional Spring Water
                                      Nestlé S.A.
                                      Nestle Waters
                                      Nestle Waters North America
                                      Nokia Oy
                                      Nokia Oyj
                                      Pfizer Global Pharmaceuticals
                                      PIMCO
                                      PIMCO Europe Ltd.
                                      Rolls Royce
                                      Rolls Royce Defense
                                      Societe Generale IBFS
                                      Starbucks
                                      UniCredit Banca
                                      Unicredit Bank AG
                                      UniCredit Bank Austria AG
                                      UniCredit CIB
                                      UniCredit SpA
                                      Wintershall Holding GmbH
                                      Zhejiang Hengyi Group Co. Ltd.
                                      Zhejiang Huaye
623 Pacific Life Insurance Company    Manulife                                             Clients in matters
                                      Pacific Life Insurance Company                       unrelated to the debtors
                                      Pacific Life Insurance Company Inc.
624 Pacific Summit Energy LLC         Abu Dhabi Chamber of Commerce                        Clients in matters
                                      Abu Dhabi Chamber Of Commerce & Industry             unrelated to the debtors
                                      Abu Dhabi Financial Group
                                      Abu Dhabi Investment Council
                                      Abu Dhabi National Oil Company (ADNOC)
                                      Abu Dhabi Power Corporation (ADPC)
                                      Abu Dhabi Water and Electricity Authority (ADWEA)
                                      AIG
                                      Allegro Invest SE
                                      Allegro Sp. z o.o
                                      Cepsa
                                      COSAN S/A Industria e Comercio
                                      Duke Energy
                                      GE
                                      INCJ
                                      Innovation Network Corporation of Japan
                                      Netcare Ltd.
                                      Nomura
                                      Nomura ICG
                                      Panasonic North America
                                      San Cristobal Sociedad Mutual De Seguros Generales
                                      Shell
                                      Sierra Gorda SCM
                                      SMBC/BTPN
                                      Sumitomo Corporation
                                      TBC Corporation, Inc.


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Toyota                                            Clients in matters
                                     Vallourec
                                     Vallourec Group
                                     Vallourec Soluções Tubulares do Brasil S.A.
625 Pacificorp                       American Electric Power (AEP)                     Clients in matters
                                     Bankia                                            unrelated to the debtors
                                     BNSF Railway Company
                                     BP
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T



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#    Interested Party Name                 Proposed Professionals Connection Name        Connection Type
1    21 st Century Casualty Company        L&T digital                                   Clients in matters
                                           L&T Infotech
                                           Lubrizol Corp
                                           Lubrizol Corporation
                                           Micron
                                           Mondelez International
                                           Mondelez International Inc.
                                           Nissan
                                           OTC
                                           PKP Energetyka
                                           Providence
                                           ROHM Co. Ltd
                                           Sun Life
                                           Tesco PLC
                                           The Kraft Heinz Company
                                           The Kraft Heinz Company - via Genpact
                                           The Kraft Heinz Foods Company
                                           Timet
                                           Trident Group
                                           Viacom 18
                                           Visa
                                           Visa Canada Corporation
                                           Visa Inc
                                           Visa Inc.
                                           Visa Worldwide Pte. Limited
                                           Zhejiang Hengyi Group Co. Ltd.
                                           Zhejiang Huaye
626 PAR Electrical Contractors Inc         Intermountain                                 Clients in matters
                                           Quanta Services                               unrelated to the debtors
627 Parrey LLC                             Georgia Power                                 Clients in matters
                                           Georgia Power Company                         unrelated to the debtors
                                           Southern Company
628 Parsons Environment & Infrastructure   Polaris                                       Clients in matters
    Group Inc                                                                            unrelated to the debtors
629 Paul Weiss Rifkind Wharton & Garrison Paul, Weiss, Rifkind, Wharton & Garrison       Clients in matters
    LLP                                   Paul, Weiss, Rifkind, Wharton & Garrison LLP   unrelated to the debtors
630 Paulson & Co Inc on behalf of certain American Electric Power (AEP)                  Clients in matters
    funds and accounts                    Avaya                                          unrelated to the debtors
                                          Caesars
                                          Caesars Entertainment Corporation
                                          Capita plc
                                          Chemours
                                          Citi
                                          CMG healthcare
                                          Corning CDT
                                          Delphi Corporation
                                          Dow Chemical Company
                                          Dow DuPont
                                          Dow DuPont Ag Co
                                          Dow DuPont AgCo
                                          DowDuPont
                                          DowDuPont Ag Division
                                          DowDupont AgCo


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#   Interested Party Name                Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company       DowDuPont Inc.                             Clients in matters
                                         DowDupont SpecCo
                                         DuPont
                                         DuPont Nutrition & Health
                                         DuPont Pioneer
                                         DuPont/Pioneer
                                         Goldcorp Inc.
                                         MGM
                                         Old Mutual Group
                                         Old Mutual Latam
                                         ROHM Co. Ltd
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
631 Peerless Indemnity Insurance Company ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
632 Peerless Insurance Company           ING                                        Clients in matters
                                         ING Bank Nederland                         unrelated to the debtors
                                         Liberty Insurance
                                         Liberty Mutual
                                         Liberty Mutual Group
                                         Liberty Mutual Group, Inc.
                                         Liberty Mutual Holding Company Inc.
                                         Liberty Mutual Insurance Company
633 Pentwater Capital Management LP on Caesars                                      Clients in matters
    behalf of certain funds and accounts GE                                         unrelated to the debtors
                                         Momentive
                                         NXP Semiconductors
634 Pep Boys                             Caesars                                    Clients in matters
                                         Caesars Entertainment Corporation          unrelated to the debtors
                                         Clorox Company
                                         Lyft
                                         Lyft Inc.
                                         Pep Boys
                                         The Clorox Company
635 Pep Boys- Director of Facilities     Pep Boys                                   Clients in matters
                                                                                    unrelated to the debtors
636 Pep Boys- Law                       Pep Boys                                    Clients in matters
                                                                                    unrelated to the debtors
637 Performance Mechanical Inc          EMC Corporation                             Clients in matters
                                        EMCOR                                       unrelated to the debtors
                                        EMCOR Group, Inc.
                                        USM
                                        USM/Megafon
638 Petrochem Insulation Inc            BP                                          Clients in matters
                                        BP p.l.c.                                   unrelated to the debtors
639 Petrochina                          BP                                          Clients in matters
                                        BP p.l.c.                                   unrelated to the debtors



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#   Interested Party Name                  Proposed Professionals Connection Name      Connection Type
1   21 st Century Casualty Company         Sirius XM                                   Clients in matters
640 PFL Futures Limited                    Chicago Mercantile Exchange                 Clients in matters
                                           CME Finance Holdings Limited                unrelated to the debtors
                                           CME Group Inc.
                                           Ripple
641 Philadelphia Indemnity Insurance       Tokio Marine Holdings Inc.                  Clients in matters
    Company                                Tokio Marine Holdings, Inc.                 unrelated to the debtors
642 Pillsbury Winthrop Shaw Pittman LLP    BP                                          Clients in matters
                                           BP p.l.c.                                   unrelated to the debtors
643 Pine Grove CSD                         Allegro Sp. z o.o                           Clients in matters
                                           Enerkem                                     unrelated to the debtors
                                           Enerkem Inc.
                                           Ulster
                                           Waste Management
644 Pinnacle West Capital Corp             Arizona Public Service                      Clients in matters
                                           Axiom                                       unrelated to the debtors
                                           Pinnacle West Capital Corp.
                                           Suncor
645 Pitney Bowes Global Financial Services Bankunited                                  Clients in matters
    LLC                                    BankUnited, Inc.                            unrelated to the debtors
                                           Citi
                                           Mr. Cooper
                                           Mr. Cooper Group Inc.
                                           Nationstar Mortgage
                                           Nationstar Mortgage Llc
                                           Pitney Bowes
                                           Pitney Bowes Inc.
                                           PNC
646 Pollak                                 Alphabet Inc                                Clients in matters
                                                                                       unrelated to the debtors
647 Potelco Inc                             Intermountain                              Clients in matters
                                            Quanta Services                            unrelated to the debtors
648 Powell Electrical Systems Inc Service   GE                                         Clients in matters
    Division                                                                           unrelated to the debtors
649 Power One LLC                           ABB                                        Clients in matters
                                            ABB Ltd                                    unrelated to the debtors
                                            ABB Optical
                                            GE
650 Praetorian Insurance Company            CIGNA                                      Clients in matters
                                            CUNA                                       unrelated to the debtors
                                            ING
                                            ING Bank Nederland
                                            QBE
                                            QBE Insurance Group Ltd
                                            QBE Insurance Group Ltd.
651 Praxair                                 Air Liquide Asia Pacific                   Clients in matters
                                            Bahrain Steel BSC C EC                     unrelated to the debtors
                                            BP
                                            BP p.l.c.
                                            Coca Cola
                                            Coca Cola European Partners Iberia SLU
                                            Linde AG
                                            Linde PLC


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#   Interested Party Name                 Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company        Power Machines                             Clients in matters
                                          Praxair, Inc.
                                          PT. Indonesia Power
                                          Shell
                                          ThyssenKrupp CSA
                                          Yara Brasil Fertilizantes S.A.
                                          Yara International ASA
652 Praxair Services Inc                  Air Liquide Asia Pacific                   Clients in matters
                                          Bahrain Steel BSC C EC                     unrelated to the debtors
                                          BP
                                          BP p.l.c.
                                          Coca Cola
                                          Coca Cola European Partners Iberia SLU
                                          Linde AG
                                          Linde PLC
                                          Power Machines
                                          Praxair, Inc.
                                          PT. Indonesia Power
                                          Shell
                                          ThyssenKrupp CSA
                                          Yara Brasil Fertilizantes S.A.
                                          Yara International ASA
653 Prebon Energy Inc                     Axiom                                      Clients in matters
                                          Tullett Prebon                             unrelated to the debtors
                                          Tullett Prebon ICAP
                                          Tullett Prebon Plc
654 PricewaterhouseCoopers LLP            Acceleron Pharmaceuticals                  Clients in matters
                                          Hoffman-La Roche Pharma                    unrelated to the debtors
                                          SAP SE
655 Pristine Power LLC                    Dow DuPont Ag Co                           Clients in matters
                                          PPL Corporation                            unrelated to the debtors
                                          Talisman Sinopec Energy UK
                                          Veresen, Inc.
656 Progressive Casualty Insurance        Progressive Corporation                    Clients in matters
    Company                               Progressive Insurance                      unrelated to the debtors
657 Progressive Direct Insurance Company Progressive Corporation                     Clients in matters
                                          Progressive Insurance                      unrelated to the debtors
658 Progressive Express Insurance Company Progressive Corporation                    Clients in matters
                                          Progressive Insurance                      unrelated to the debtors
659 Progressive Select Insurance Company Progressive Corporation                     Clients in matters
                                          Progressive Insurance                      unrelated to the debtors
660 Progressive West Insurance Company Progressive Corporation                       Clients in matters
                                          Progressive Insurance                      unrelated to the debtors
661 Prologis LP                           BHP                                        Clients in matters
                                          BHP Billiton                               unrelated to the debtors
                                          BHP Billiton Group
                                          Prologis
                                          Prologis Inc.
                                          Sirius XM
662 Prometheus Energy Group Inc           Apollo                                     Clients in matters
                                                                                     unrelated to the debtors
663 Property and Casualty Insurance      CNA Financial Corp.                         Clients in matters
    Company of Hartford                  Hartford Fire International Ltd.            unrelated to the debtors


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#    Interested Party Name                Proposed Professionals Connection Name         Connection Type
1    21 st Century Casualty Company       The Hartford                                   Clients in matters
                                          The Hartford Financial Services Group Inc.
                                          The Hartford Financial Services Group, Inc.
                                          The Hartford Financial Services Inc.
664 PSC Industrial Outsourcing LP         GE                                             Clients in matters
                                          GE Energy                                      unrelated to the debtors
665 Public Employees Retirement           State of New Mexico                            Clients in matters
    Association of New Mexico             State of New Mexico Health Services Division   unrelated to the debtors
                                          US. State of New Mexico
666 Public Service Company New Mexico     Duke Energy                                    Clients in matters
                                                                                         unrelated to the debtors
667 Public Service Enterprise Group       Arizona Public Service                         Clients in matters
                                                                                         unrelated to the debtors
668 Pure Technologies Ltd                 Citi                                           Clients in matters
                                          Xylem                                          unrelated to the debtors
                                          Xylem Inc.
669 PureHM Inc                            Citi                                           Clients in matters
                                          Xylem                                          unrelated to the debtors
                                          Xylem Inc.
670 QBE Americas Inc                      CIGNA                                          Clients in matters
                                          CUNA                                           unrelated to the debtors
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          QBE Insurance Group Ltd
                                          QBE Insurance Group Ltd.
671 QBE Insurance Corporation             CIGNA                                          Clients in matters
                                          CUNA                                           unrelated to the debtors
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          QBE Insurance Group Ltd
                                          QBE Insurance Group Ltd.
672 QBE Specialty Insurance Company       CIGNA                                          Clients in matters
                                          CUNA                                           unrelated to the debtors
                                          ING
                                          ING Bank Nederland
                                          QBE
                                          QBE Insurance Group Ltd
                                          QBE Insurance Group Ltd.
673 Quanta Energy Services LLC            Intermountain                                  Clients in matters
                                          Quanta Services                                unrelated to the debtors
674 Quanta Technology                     Intermountain                                  Clients in matters
                                          Quanta Services                                unrelated to the debtors
675 Quanta Utility Engineering Services   Intermountain                                  Clients in matters
                                          Quanta Services                                unrelated to the debtors
676 Quest Diagnostics Health & Wellness   Outreach, Inc.                                 Clients in matters
    LLC                                   Quest Diagnostics                              unrelated to the debtors
677 RBC Capital Markets                   BP                                             Clients in matters
                                          BP p.l.c.                                      unrelated to the debtors
                                          City National Bank
                                          JP Morgan
                                          JPMorgan Chase & Co. - Confidential


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#   Interested Party Name                  Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company         LUKOIL PJSC                                         Clients in matters
                                           Mastercard
                                           PGT Innovations
                                           PGT Innovations, Inc.
                                           RBC
                                           RBC Wealth Management
                                           Royal Bank of Canada
                                           Surgut Oil Gas Holding
678 RDO Equipment Co                       Deere                                               Clients in matters
                                                                                               unrelated to the debtors
679 RE Kansas LLC                          Dominion Energy, Inc.                               Clients in matters
                                           Dominion Resources Inc.                             unrelated to the debtors
                                           DT Group Holdings A/S
                                           Edison International / Southern California Edison
                                           Edison Mission Energy
                                           Royal Dutch Shell
                                           Royal Dutch Shell plc
                                           Royal Dutch Shell Retail
                                           Royal Dutch/Shell Group
                                           SCANA Corp.
                                           Shell
680 RE Kent South LLC                      Dominion Energy, Inc.                               Clients in matters
                                           Dominion Resources Inc.                             unrelated to the debtors
                                           DT Group Holdings A/S
                                           Edison International / Southern California Edison
                                           Edison Mission Energy
                                           Royal Dutch Shell
                                           Royal Dutch Shell plc
                                           Royal Dutch Shell Retail
                                           Royal Dutch/Shell Group
                                           SCANA Corp.
                                           Shell
681 Realty Income Corporation              California State Automobile Association (CSAA)      Clients in matters
                                           CVS                                                 unrelated to the debtors
                                           CVS Caremark Corp
                                           CVS Caremark Corp.
                                           FedEx Office
                                           GE
                                           GE Oil & Gas (GE Baker)
                                           General Electric Oil & Gas
                                           Kohl's
                                           Pep Boys
                                           PNC
                                           RB
                                           Realty Income
                                           Rite Aid Corporation
                                           Sam's Club
                                           Summit Hotel Properties, Inc.
682 Redwood Capital Management LLC on      Oi                                                  Clients in matters
    behalf of certain funds and accounts                                                       unrelated to the debtors
683 Regent Insurance Company               CIGNA                                               Clients in matters
                                           CUNA                                                unrelated to the debtors
                                           ING


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#    Interested Party Name                   Proposed Professionals Connection Name             Connection Type
1    21 st Century Casualty Company          ING Bank Nederland                                 Clients in matters
                                             QBE
                                             QBE Insurance Group Ltd
                                             QBE Insurance Group Ltd.
684 Repsol Canada Energy                     Repsol                                             Clients in matters
                                             Repsol Bolivia                                     unrelated to the debtors
685 Republic Services                        Republic Services Inc.                             Clients in matters
                                                                                                unrelated to the debtors
686 Republic Services San Jose               Arizona Public Service                             Clients in matters
                                             Republic Services Inc.                             unrelated to the debtors
687 Richmond Sanitary Service, Inc.          Arizona Public Service                             Clients in matters
                                             Republic Services Inc.                             unrelated to the debtors
688 Rite Aid Corporation and Thrifty Payless Envision Pharma                                    Clients in matters
    Inc                                      Rite Aid Corporation                               unrelated to the debtors
                                             Shell
                                             State Street
689 Riverstone                               Cobalt International Energy                        Clients in matters
                                             Cobalt International Energy L.P.                   unrelated to the debtors
                                             Kosmos Energy
                                             Kosmos Energy Ltd.
                                             Nielsen Holdings plc
                                             PPL Corporation
                                             Riverstone Holdings Llc
                                             Suncor
                                             The Nielsen Company B.V.
690 Royal Bank of Canada                     BP                                                 Clients in matters
                                             BP p.l.c.                                          unrelated to the debtors
                                             City National Bank
                                             JP Morgan
                                             JPMorgan Chase & Co. - Confidential
                                             LUKOIL PJSC
                                             Mastercard
                                             PGT Innovations
                                             PGT Innovations, Inc.
                                             RBC
                                             RBC Wealth Management
                                             Royal Bank of Canada
                                             Surgut Oil Gas Holding
691 Royal Bank of Scotland                   ABN AMRO Holding N.V.                              Clients in matters
                                             ING                                                unrelated to the debtors
                                             ING Bank Nederland
                                             National Westminster Bank
                                             National Westminster Bank Plc
                                             RBS
                                             Royal Bank of Scotland Group plc
                                             Sempra Energy
                                             Southern California Gas/San Diego Gas & Electric
                                             Ulster
                                             Ulster Bank
                                             Worldpay
                                             Worldpay Limited
                                             Worldpay LLC
                                             WorldPay Ltd.


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#   Interested Party Name             Proposed Professionals Connection Name             Connection Type
1   21 st Century Casualty Company    Worldpay, Inc.                                     Clients in matters
692 Royal Bank of Scotland PLC        ABN AMRO Holding N.V.                              Clients in matters
                                      ING                                                unrelated to the debtors
                                      ING Bank Nederland
                                      National Westminster Bank
                                      National Westminster Bank Plc
                                      RBS
                                      Royal Bank of Scotland Group plc
                                      Sempra Energy
                                      Southern California Gas/San Diego Gas & Electric
                                      Ulster
                                      Ulster Bank
                                      Worldpay
                                      Worldpay Limited
                                      Worldpay LLC
                                      WorldPay Ltd.
                                      Worldpay, Inc.
693 RSA Insurance Co PLC              Codan Forsikring A/S                               Clients in matters
                                      RSA                                                unrelated to the debtors
                                      RSA Canada
                                      RSA Insurance Group Plc
                                      Trygg-Hansa AB
694 RSUI Group Inc                    Ares                                               Clients in matters
                                      Ares Capital Management                            unrelated to the debtors
                                      Ares Management
695 RSUI Indemnity Company            Ares                                               Clients in matters
                                      Ares Capital Management                            unrelated to the debtors
                                      Ares Management
696 Ruby Pipeline, LLC                BHP                                                Clients in matters
                                      BHP Billiton                                       unrelated to the debtors
                                      BHP Billiton Group
                                      BP
                                      BP p.l.c.
                                      Chevron
                                      Duke Energy
                                      ExxonMobil Fuel & Lubricants
                                      Koninklijke Vopak NV
                                      Shell
                                      TransCanada
                                      Vopak
                                      Wärtsilä
697 Russelectric Inc                  Alstom S.A.                                        Clients in matters
                                      AREVA Group                                        unrelated to the debtors
                                      Atos
                                      Atos Origin
                                      Atos Origin S.A.
                                      Avon
                                      Avon Global
                                      Axiom
                                      Bayer
                                      Becton Dickinson Singapore
                                      Blitz GmbH
                                      Citi


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#   Interested Party Name                 Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company        Eaton                                               Clients in matters
                                          Faraday & Future Inc.
                                          Faraday Future
                                          GE
                                          GE Power
                                          GE Power, SPS
                                          IBS
                                          ING
                                          Ingersoll Rand - IRS
                                          Kiwi Holdco Cayco Ltd.
                                          Kiwi Uk Holdco 2 Ltd.
                                          KPN
                                          Mediq
                                          next 47 GmbH
                                          Northern Capital Air Gates OOO
                                          Ranbaxy Laboratories
                                          Rolls Royce Defense
                                          Schneider Electric Operations and Consulting GmbH
                                          Siemens - Gamesa
                                          Siemens AG
                                          Siemens Energy, Inc.
                                          Siemens Financial Services GmbH
                                          Siemens Gamesa
                                          Siemens Gamesa Renewable Energy
                                          Siemens Gamesa Renewable Energy, S.A.
                                          SIEMENS Healthcare
                                          Siemens Healthcare GmbH
                                          SIEMENS-GAMESA
                                          Sirius XM
                                          Sivantos Pte. Ltd.
                                          Synchrony Financial
                                          Valeo
                                          Valeo SA
                                          Voith Familien Verwaltung Gmbh
                                          Xerox
698 Russell City Energy Company           Edison International / Southern California Edison   Clients in matters
                                          Edison Mission Energy                               unrelated to the debtors
                                          Entergy
                                          Sempra Energy
699 Sachem Head Capital Management LP     Autodesk                                            Clients in matters
                                          Centene Corporation                                 unrelated to the debtors
                                          P&G
                                          Pfizer Global Pharmaceuticals
                                          The Procter & Gamble Company (P&G)
                                          WellCare Health Plans
                                          WellCare Health Plans Inc.
                                          WellCare Health Plans, Inc.
                                          Whitbread
                                          Whitbread Plc
                                          Zoetis
                                          Zoetis Inc.
700 Safeco Insurance Company of America   ING                                                 Clients in matters
                                          ING Bank Nederland                                  unrelated to the debtors


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#    Interested Party Name                 Proposed Professionals Connection Name           Connection Type
1    21 st Century Casualty Company        Liberty Insurance                                Clients in matters
                                           Liberty Mutual
                                           Liberty Mutual Group
                                           Liberty Mutual Group, Inc.
                                           Liberty Mutual Holding Company Inc.
                                           Liberty Mutual Insurance Company
701 Safeco Insurance Company Of Illinois   ING                                              Clients in matters
                                           ING Bank Nederland                               unrelated to the debtors
                                           Liberty Insurance
                                           Liberty Mutual
                                           Liberty Mutual Group
                                           Liberty Mutual Group, Inc.
                                           Liberty Mutual Holding Company Inc.
                                           Liberty Mutual Insurance Company
702 Safety-Kleen Systems Inc               Clean Harbors                                    Clients in matters
                                           Mercedes-Benz Automotive Finance                 unrelated to the debtors
                                           Murphy Oil
703 SAGE Engineers Inc                     Gannett Co., Inc.                                Clients in matters
                                                                                            unrelated to the debtors
704 Saint Agnes Med Ctr                    Trinity Health                                   Clients in matters
                                                                                            unrelated to the debtors
705 Saint Francis Memorial Hospital     Catholic Health Initiatives                         Clients in matters
                                        CommonSpirit Health                                 unrelated to the debtors
                                        Dignity Health
                                        St Luke's Health System
                                        St. Luke's Health System
                                        Trinity Health
                                        Welltok
                                        WellTok Inc.
706 Salinas River Cogen Co              Edison International                                Clients in matters
                                        Edison International / Southern California Edison   unrelated to the debtors
                                        Edison Mission Energy
                                        Homer City Funding LLC
                                        Southern California Edison Co.
                                        Southern California Edison Company
                                        Southern Company
707 Salt River Project                  Sempra Energy                                       Clients in matters
                                        TransCanada                                         unrelated to the debtors
708 San Diego Gas & Electric Company    Lone Star/US Pipe                                   Clients in matters
                                        Pemex                                               unrelated to the debtors
                                        Sempra Energy
                                        Southern California Gas/San Diego Gas & Electric
709 San Jose Water Company              Avon                                                Clients in matters
                                        Avon Global                                         unrelated to the debtors
710 San Luis Garbage                    Intermountain                                       Clients in matters
                                        Paine & Partners                                    unrelated to the debtors
                                        Paine & Partners Llc
                                        Paine and Partners
                                        Paine Schwartz
                                        Progressive Corporation
711 Sargent Canyon Cogeneration Company Edison International                                Clients in matters
                                        Edison International / Southern California Edison   unrelated to the debtors
                                        Edison Mission Energy


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#    Interested Party Name               Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company      Homer City Funding LLC                              Clients in matters
                                         Southern California Edison Co.
                                         Southern California Edison Company
                                         Southern Company
712 Schindler Elevator Corp              Schindler AG                                        Clients in matters
                                         Schindler Digital Business Ltd.                     unrelated to the debtors
                                         Schindler Holding Ltd
                                         Schindler Management Ltd.
713 Schlumberger US Land                 Cameron International Corporation                   Clients in matters
                                         Cenovus Energy Inc                                  unrelated to the debtors
                                         Cenovus Energy Inc.
                                         NatCo
                                         Omron Europe Gmbh
                                         Schlumberger
                                         Schlumberger Ltd.
                                         Schlumberger NV
                                         Yara Brasil Fertilizantes S.A.
714 Schneider Electric Systems USA Inc   ABB Ltd                                             Clients in matters
                                         AVEVA Group PLC                                     unrelated to the debtors
                                         Boeing
                                         CAE Inc.
                                         CAE, Inc.
                                         GE
                                         Inari
                                         L&T
                                         L&T digital
                                         L&T Infotech
                                         Robertshaw
                                         Schneider
                                         Schneider Electric
                                         Schneider Electric GmbH
                                         Schneider Electric Operations and Consulting GmbH
                                         Schneider Electric SA
                                         Schneider Electric US
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
715 Schneider Electric USA               ABB Ltd                                             Clients in matters
                                         AVEVA Group PLC                                     unrelated to the debtors
                                         Boeing
                                         CAE Inc.
                                         CAE, Inc.
                                         GE
                                         Inari
                                         L&T
                                         L&T digital
                                         L&T Infotech
                                         Robertshaw
                                         Schneider
                                         Schneider Electric
                                         Schneider Electric GmbH
                                         Schneider Electric Operations and Consulting GmbH
                                         Schneider Electric SA
                                         Schneider Electric US


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#    Interested Party Name               Proposed Professionals Connection Name             Connection Type
1    21 st Century Casualty Company      Zhejiang Hengyi Group Co. Ltd.                     Clients in matters
                                         Zhejiang Huaye
716 Scottsdale Indemnity Company         Nationwide                                         Clients in matters
                                         Nationwide Insurance                               unrelated to the debtors
717 Scottsdale Insurance Company         Nationwide                                         Clients in matters
                                         Nationwide Insurance                               unrelated to the debtors
718 Scottsdale Surplus Lines Insurance   Nationwide                                         Clients in matters
    Company                              Nationwide Insurance                               unrelated to the debtors
719 Sea West Energy                      AES Corporation                                    Clients in matters
                                         BHP                                                unrelated to the debtors
                                         BHP Billiton
                                         BHP Billiton Group
                                         GE
                                         GE Energy
720 SEIU United Service Workers – West   SEIU-UHW & Joint Employer Education Fund           Clients in matters
                                                                                            unrelated to the debtors
721 Select Energy Service LLC            Arclin                                             Clients in matters
                                         Lone Star/Forterra                                 unrelated to the debtors
                                         Lone Star/Forterra Building Products
                                         Lone Star/Hanson Building Products
                                         LS/Caliber Home Loans
722 Sempra Energy                        Lone Star/US Pipe                                  Clients in matters
                                         Pemex                                              unrelated to the debtors
                                         Sempra Energy
                                         Southern California Gas/San Diego Gas & Electric
723 Sempra Energy Trading Co             Sempra Energy                                      Clients in matters
                                         Southern California Gas/San Diego Gas & Electric   unrelated to the debtors
724 Sempra Gas and Power Marketing LLC   Lone Star/US Pipe                                  Clients in matters
                                         Pemex                                              unrelated to the debtors
                                         Sempra Energy
                                         Southern California Gas/San Diego Gas & Electric
725 Sempra US Gas & Power                Lone Star/US Pipe                                  Clients in matters
                                         Pemex                                              unrelated to the debtors
                                         Sempra Energy
                                         Southern California Gas/San Diego Gas & Electric
726 Senator Investment Group LP          Allergan                                           Clients in matters
                                         Allergan Inc.                                      unrelated to the debtors
                                         Allergan USA, Inc.
                                         Allergan, Inc.
                                         Bidco
                                         Caesars
                                         Dr Reddy's
                                         Dr Reddy's Laboratories (DRL)
                                         Dr. Reddys
                                         LifeCell
                                         Littlejohn & Co. L.L.C.
                                         Lyft
                                         Lyft Inc.
                                         Merck
                                         Sirius XM
                                         Valeant
                                         Valeant International
                                         Valeant Pharma


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1727 21 st Century
     Sequent       Casualty Company
              Energy                  Georgia Power                                       Clients in matters
                                      Georgia Power Company                               unrelated to the debtors
                                      Southern Company
728 Sequoia Insurance Company         American Capital Ltd.                               Clients in matters
                                      Genworth Financial                                  unrelated to the debtors
                                      Genworth Financial Inc.
729 Serengeti Asset Management LP     Sprint                                              Clients in matters
                                                                                          unrelated to the debtors
730 Service Employees International   SEIU-UHW & Joint Employer Education Fund            Clients in matters
                                                                                          unrelated to the debtors
731 Shafter Solar LLC                 NextEra Energy Inc.                                 Clients in matters
                                                                                          unrelated to the debtors
732 Shell Energy                      Shell                                               Clients in matters
                                                                                          unrelated to the debtors
733 Shell Energy CAN                  Abu Dhabi Chamber of Commerce                       Clients in matters
                                      Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                      Abu Dhabi Financial Group
                                      Abu Dhabi Investment Council
                                      Abu Dhabi National Oil Company (ADNOC)
                                      Abu Dhabi Power Corporation (ADPC)
                                      Abu Dhabi Water and Electricity Authority (ADWEA)
                                      Avista Capital Partners Ii Gp Llc.
                                      BeLux GEM Cluster
                                      BG Group
                                      BG Group plc
                                      BP
                                      BP p.l.c.
                                      Brunei Shell PetroleumSdn. Bhd.
                                      Chevron
                                      COSAN S/A Industria e Comercio
                                      Infineum
                                      Infineum International LTD
                                      Marathon Oil Corporation
                                      Raizen
                                      Repsol
                                      Repsol Bolivia
                                      Rosneft
                                      Royal Dutch Shell
                                      Royal Dutch Shell plc
                                      Royal Dutch Shell Retail
                                      Royal Dutch/Shell Group
                                      Shell
                                      Shell Australia Limited
                                      Shell Chemical LP
                                      Shell Chemicals
                                      Shell Chemicals Ltd.
                                      Shell Deutschland Oil GmbH
                                      Shell Egypt
                                      Shell Energy North America (US), L.P.
                                      Shell International B.V.
                                      Shell International Exploration & Production B.V.
                                      Shell Nederland B.V.
                                      Shell New energies



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#   Interested Party Name            Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company   Shell Oil                                           Clients in matters
                                     Shell Oil Co.
                                     Shell Oil Company
                                     Shell Oil Products Company LLC
                                     Shell UK
                                     Sirius XM
                                     TEPCO
                                     TEPCO FP
                                     TEPCO Power Grid
                                     Vopak
                                     Walloon Regional Government
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
734 Shell Energy North America LP    Abu Dhabi Chamber of Commerce                       Clients in matters
                                     Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                     Abu Dhabi Financial Group
                                     Abu Dhabi Investment Council
                                     Abu Dhabi National Oil Company (ADNOC)
                                     Abu Dhabi Power Corporation (ADPC)
                                     Abu Dhabi Water and Electricity Authority (ADWEA)
                                     Avista Capital Partners Ii Gp Llc.
                                     BeLux GEM Cluster
                                     BG Group
                                     BG Group plc
                                     BP
                                     BP p.l.c.
                                     Brunei Shell PetroleumSdn. Bhd.
                                     Chevron
                                     COSAN S/A Industria e Comercio
                                     Infineum
                                     Infineum International LTD
                                     Marathon Oil Corporation
                                     Raizen
                                     Repsol
                                     Repsol Bolivia
                                     Rosneft
                                     Royal Dutch Shell
                                     Royal Dutch Shell plc
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Shell
                                     Shell Australia Limited
                                     Shell Chemical LP
                                     Shell Chemicals
                                     Shell Chemicals Ltd.
                                     Shell Deutschland Oil GmbH
                                     Shell Egypt
                                     Shell Energy North America (US), L.P.
                                     Shell International B.V.
                                     Shell International Exploration & Production B.V.
                                     Shell Nederland B.V.
                                     Shell New energies
                                     Shell Oil



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#   Interested Party Name            Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company   Shell Oil Co.                                       Clients in matters
                                     Shell Oil Company
                                     Shell Oil Products Company LLC
                                     Shell UK
                                     Sirius XM
                                     TEPCO
                                     TEPCO FP
                                     TEPCO Power Grid
                                     Vopak
                                     Walloon Regional Government
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
735 Shell Trading Company            Abu Dhabi Chamber of Commerce                       Clients in matters
                                     Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                     Abu Dhabi Financial Group
                                     Abu Dhabi Investment Council
                                     Abu Dhabi National Oil Company (ADNOC)
                                     Abu Dhabi Power Corporation (ADPC)
                                     Abu Dhabi Water and Electricity Authority (ADWEA)
                                     Avista Capital Partners Ii Gp Llc.
                                     BeLux GEM Cluster
                                     BG Group
                                     BG Group plc
                                     BP
                                     BP p.l.c.
                                     Brunei Shell PetroleumSdn. Bhd.
                                     Chevron
                                     COSAN S/A Industria e Comercio
                                     Infineum
                                     Infineum International LTD
                                     Marathon Oil Corporation
                                     Raizen
                                     Repsol
                                     Repsol Bolivia
                                     Rosneft
                                     Royal Dutch Shell
                                     Royal Dutch Shell plc
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Shell
                                     Shell Australia Limited
                                     Shell Chemical LP
                                     Shell Chemicals
                                     Shell Chemicals Ltd.
                                     Shell Deutschland Oil GmbH
                                     Shell Egypt
                                     Shell Energy North America (US), L.P.
                                     Shell International B.V.
                                     Shell International Exploration & Production B.V.
                                     Shell Nederland B.V.
                                     Shell New energies
                                     Shell Oil
                                     Shell Oil Co.



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1   21 st Century Casualty Company   Shell Oil Company                                   Clients in matters
                                     Shell Oil Products Company LLC
                                     Shell UK
                                     Sirius XM
                                     TEPCO
                                     TEPCO FP
                                     TEPCO Power Grid
                                     Vopak
                                     Walloon Regional Government
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
736 Shell Western E & P              Abu Dhabi Chamber of Commerce                       Clients in matters
                                     Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                     Abu Dhabi Financial Group
                                     Abu Dhabi Investment Council
                                     Abu Dhabi National Oil Company (ADNOC)
                                     Abu Dhabi Power Corporation (ADPC)
                                     Abu Dhabi Water and Electricity Authority (ADWEA)
                                     Avista Capital Partners Ii Gp Llc.
                                     BeLux GEM Cluster
                                     BG Group
                                     BG Group plc
                                     BP
                                     BP p.l.c.
                                     Brunei Shell PetroleumSdn. Bhd.
                                     Chevron
                                     COSAN S/A Industria e Comercio
                                     Infineum
                                     Infineum International LTD
                                     Marathon Oil Corporation
                                     Raizen
                                     Repsol
                                     Repsol Bolivia
                                     Rosneft
                                     Royal Dutch Shell
                                     Royal Dutch Shell plc
                                     Royal Dutch Shell Retail
                                     Royal Dutch/Shell Group
                                     Shell
                                     Shell Australia Limited
                                     Shell Chemical LP
                                     Shell Chemicals
                                     Shell Chemicals Ltd.
                                     Shell Deutschland Oil GmbH
                                     Shell Egypt
                                     Shell Energy North America (US), L.P.
                                     Shell International B.V.
                                     Shell International Exploration & Production B.V.
                                     Shell Nederland B.V.
                                     Shell New energies
                                     Shell Oil
                                     Shell Oil Co.
                                     Shell Oil Company



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#    Interested Party Name               Proposed Professionals Connection Name              Connection Type
1    21 st Century Casualty Company      Shell Oil Products Company LLC                      Clients in matters
                                         Shell UK
                                         Sirius XM
                                         TEPCO
                                         TEPCO FP
                                         TEPCO Power Grid
                                         Vopak
                                         Walloon Regional Government
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
737 Shiloh I Wind Project LLC            Corporacion Empresarial Pascual Sl.                 Clients in matters
                                         EDP - Electricidade de Portugal, S.A.               unrelated to the debtors
                                         EDP- Electricidade de Portugal, SA
                                         Endesa
                                         Iberdrola
                                         Iberdrola S.A.
                                         Red Electrica Sa
                                         REE
                                         Viesgo
738 Siemens Energy Inc Fossil Services   Alstom S.A.                                         Clients in matters
    Power Generation                     AREVA Group                                         unrelated to the debtors
                                         Atos
                                         Atos Origin
                                         Atos Origin S.A.
                                         Avon
                                         Avon Global
                                         Axiom
                                         Bayer
                                         Becton Dickinson Singapore
                                         Blitz GmbH
                                         Citi
                                         Eaton
                                         Faraday & Future Inc.
                                         Faraday Future
                                         GE
                                         GE Power
                                         GE Power, SPS
                                         IBS
                                         ING
                                         Ingersoll Rand - IRS
                                         Kiwi Holdco Cayco Ltd.
                                         Kiwi Uk Holdco 2 Ltd.
                                         KPN
                                         Mediq
                                         next 47 GmbH
                                         Northern Capital Air Gates OOO
                                         Ranbaxy Laboratories
                                         Rolls Royce Defense
                                         Schneider Electric Operations and Consulting GmbH
                                         Siemens - Gamesa
                                         Siemens AG
                                         Siemens Energy, Inc.
                                         Siemens Financial Services GmbH


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#   Interested Party Name            Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company   Siemens Gamesa                                      Clients in matters
                                     Siemens Gamesa Renewable Energy
                                     Siemens Gamesa Renewable Energy, S.A.
                                     SIEMENS Healthcare
                                     Siemens Healthcare GmbH
                                     SIEMENS-GAMESA
                                     Sirius XM
                                     Sivantos Pte. Ltd.
                                     Synchrony Financial
                                     Valeo
                                     Valeo SA
                                     Voith Familien Verwaltung Gmbh
                                     Xerox
739 Siemens Industry Inc             Alstom S.A.                                         Clients in matters
                                     AREVA Group                                         unrelated to the debtors
                                     Atos
                                     Atos Origin
                                     Atos Origin S.A.
                                     Avon
                                     Avon Global
                                     Axiom
                                     Bayer
                                     Becton Dickinson Singapore
                                     Blitz GmbH
                                     Citi
                                     Eaton
                                     Faraday & Future Inc.
                                     Faraday Future
                                     GE
                                     GE Power
                                     GE Power, SPS
                                     IBS
                                     ING
                                     Ingersoll Rand - IRS
                                     Kiwi Holdco Cayco Ltd.
                                     Kiwi Uk Holdco 2 Ltd.
                                     KPN
                                     Mediq
                                     next 47 GmbH
                                     Northern Capital Air Gates OOO
                                     Ranbaxy Laboratories
                                     Rolls Royce Defense
                                     Schneider Electric Operations and Consulting GmbH
                                     Siemens - Gamesa
                                     Siemens AG
                                     Siemens Energy, Inc.
                                     Siemens Financial Services GmbH
                                     Siemens Gamesa
                                     Siemens Gamesa Renewable Energy
                                     Siemens Gamesa Renewable Energy, S.A.
                                     SIEMENS Healthcare
                                     Siemens Healthcare GmbH
                                     SIEMENS-GAMESA



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#    Interested Party Name             Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company    Sirius XM                                  Clients in matters
                                       Sivantos Pte. Ltd.
                                       Synchrony Financial
                                       Valeo
                                       Valeo SA
                                       Voith Familien Verwaltung Gmbh
                                       Xerox
740 Silver Point Capital LP            Caesars                                    Clients in matters
                                       Co-operative Bank Plc                      unrelated to the debtors
                                       Delphi Corporation
                                       Johnson Controls International
                                       Sprint
                                       The Co-operative Bank
                                       Visteon
                                       Visteon Corporation
741 Simon Property Group               General Motors Corp. - Confidential        Clients in matters
                                       Macerich                                   unrelated to the debtors
                                       Mitsubishi Estate Co., Ltd.
742 SimplexGrinnell                    ADT Security Services                      Clients in matters
                                       CBRE                                       unrelated to the debtors
                                       Delphi Corporation
                                       Entergy
                                       JCI
                                       Johnson Controls
                                       Johnson Controls GmbH
                                       Johnson Controls Inc.
                                       Johnson Controls International
                                       Johnson Controls, Inc.
                                       Tyco International
                                       Tyco International Ltd.
                                       Visteon Corporation
743 SmartWatt Energy Inc               American Electric Power (AEP)              Clients in matters
                                       Centrica                                   unrelated to the debtors
                                       Chevron
                                       ENI S.p.A.
                                       Entergy
                                       Shell
                                       Spirit Energy
                                       Suncor
                                       Wintershall Holding GmbH
744 Sodexo Inc                         Sodexo                                     Clients in matters
                                       Sodexo SA                                  unrelated to the debtors
                                       TOTAL S.A.
                                       Vale
                                       Vale SA
745 Solar Partners VII LLC             FPL Group, Inc.                            Clients in matters
                                       NextEra Energy Inc.                        unrelated to the debtors
                                       NextEra Energy Resources
                                       NextEra Energy Resources, LLC
                                       NextEra/Florida Power and Light
746 Solar Turbines Incorporated        CAE Inc.                                   Clients in matters
                                       CAE, Inc.                                  unrelated to the debtors
                                       Caterpillar


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#   Interested Party Name                Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company       Caterpillar Inc.                                    Clients in matters
                                         Caterpillar Industrial Power Systems Division
                                         GE
                                         Huainan Mining
                                         Navistar International Corp.
                                         Navistar International Corporation
                                         Neovia Group
                                         TransCanada
                                         Zhengzhou Yutong Bus Co., Ltd.
747 Southern California Edison Company   Edison International                                Clients in matters
                                         Edison International / Southern California Edison   unrelated to the debtors
                                         Edison Mission Energy
                                         Homer City Funding LLC
                                         Southern California Edison Co.
                                         Southern California Edison Company
                                         Southern Company
748 Southern California Gas Company      Lone Star/US Pipe                                   Clients in matters
                                         Pemex                                               unrelated to the debtors
                                         Sempra Energy
                                         Southern California Gas/San Diego Gas & Electric
749 Southern Power Company               Georgia Power                                       Clients in matters
                                         Georgia Power Company                               unrelated to the debtors
                                         Southern Company
750 Southwestern Bell Telephone LP       AT&T                                                Clients in matters
                                         CME Media Services Limited                          unrelated to the debtors
                                         CME Media Services Ltd
                                         Comcast
                                         Comcast NBCU
                                         Comcast/NBCU
                                         DIRECTV
                                         Ingenio La Union
                                         Sky
                                         Sky Brasil Serviços Ltda.
                                         Sprint
                                         Time Inc.
                                         Time Warner Inc.
                                         Time, Inc.
                                         T-Mobile
                                         Verizon
                                         Windstream
751 Southwire Company LLC                ABB Ltd                                             Clients in matters
                                                                                             unrelated to the debtors
752 Souza Farming Co LLC                 Souza Cruz (BAT Brazil)                             Clients in matters
                                                                                             unrelated to the debtors
753 Spectra Energy Partners LP           DCP Midstream                                       Clients in matters
                                         Duke Energy                                         unrelated to the debtors
                                         Enbridge
                                         Enbridge (U.S.) Inc.
                                         Enbridge Inc.
                                         Murphy Oil
                                         Shell
754 Sprint                               ANI Technologies Private Limited (OLA)              Clients in matters
                                         AnI technologies pvt ltd                            unrelated to the debtors



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#    Interested Party Name            Proposed Professionals Connection Name       Connection Type
1    21 st Century Casualty Company   ANI Technologies Pvt. Ltd.                   Clients in matters
                                      Avaya
                                      Citi
                                      Didi
                                      Didi Chuxing
                                      Dogus Holding
                                      Dogus Holding A S
                                      Fair
                                      Geometric
                                      Geometric Ltd.
                                      GrabTaxi Holdings Pte Ltd
                                      InMobi
                                      Inmobi Technology Services Private Limited
                                      Nextel
                                      Nextel Brasil
                                      Ola Fleet Technologies Pvt Ltd
                                      Parkjockey
                                      Parkjockey USA
                                      Rappi S.A.S.
                                      Rising Tide Management LLC
                                      SBB - Schweizerische Bundesbahnen
                                      Sofi
                                      Softbank
                                      SoftBank Corp.
                                      SoftBank Energy
                                      Softbank Group Capital Limited
                                      SoftBank Group Corp.
                                      SoftBank Group Corp. - Confidential client
                                      SoftBank Investment Advisers
                                      SoftBank Investment Advisors
                                      Softbank KK
                                      SoftBank Mobile Corp.
                                      Softbank Vision fund
                                      Sprint
                                      Sprint Corp.
                                      Sprint Corporation
                                      Uber
                                      Uber International C.V.
                                      Uber Technologies, Inc.
                                      Vidéotron Ltée
                                      Visa
                                      Vision Fund
                                      WeWork
                                      WeWork Companies Inc.
                                      Wirecard AG
                                      WME IMG
                                      Yahoo Japan
                                      Zhejiang Hengyi Group Co. Ltd.
                                      Zhejiang Huaye
755 Sprint Spectrum                   Sprint Corp.                                 Clients in matters
                                      Sprint Corporation                           unrelated to the debtors
756 SPS Atwell Island LLC             Duke Energy                                  Clients in matters
                                      Sun Edison                                   unrelated to the debtors



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#    Interested Party Name                  Proposed Professionals Connection Name    Connection Type
1    21 st Century Casualty Company         SunEdison                                 Clients in matters
                                            Yahoo Japan
757 SPX Transformer Solutions Inc - Service Johnson Controls International            Clients in matters
    Division                                                                          unrelated to the debtors
758 St Joseph's Medical Center Of Stockton Catholic Health Initiatives                Clients in matters
                                            CommonSpirit Health                       unrelated to the debtors
                                            Dignity Health
                                            St Luke's Health System
                                            St. Luke's Health System
                                            Trinity Health
                                            Welltok
                                            WellTok Inc.
759 Standard Guaranty Insurance Company American Securities                           Clients in matters
                                            GE                                        unrelated to the debtors
                                            Insurance Australia Group Limited (IAG)
760 Standard Pacific Gas Line Inc           Duke Energy                               Clients in matters
                                            Pacific Gas and Electric Company          unrelated to the debtors
                                            PG&E
                                            PG&E Corporation
761 Star Insurance Company                  Baloise-Holding AG                        Clients in matters
                                            Bank of Georgia                           unrelated to the debtors
                                            Bank of Georgia JSC
                                            Fidelidade
                                            JP Morgan
                                            JPMorgan Chase & Co. - Confidential
                                            Zhejiang Hengyi Group Co. Ltd.
                                            Zhejiang Huaye
762 Starr Surplus Lines Insurance Company Starr Investment Holdings Llc               Clients in matters
                                                                                      unrelated to the debtors
763 Starr Technical Risks                 Starr Investment Holdings Llc               Clients in matters
                                                                                      unrelated to the debtors
764 Starwood Energy Group Global LLC      Bankia                                      Clients in matters
                                          Citi                                        unrelated to the debtors
                                          Hilton
                                          JP Morgan
                                          JPMorgan Chase & Co. - Confidential
                                          Roche (China) Co., Ltd.
                                          Roche China
                                          Verizon
                                          Waypoint Capital Services Inc.
765 State – Dept of Justice               US Department of Justice                    Clients in matters
                                                                                      unrelated to the debtors
766 State Farm County Mutual Insurance   Lafarge India (Now Nuvoco)                   Clients in matters
    Company of Texas                     Rolls Royce Defense                          unrelated to the debtors
                                         Vulcan Materials
                                         Vulcan Materials Co.
                                         Vulcan Materials Company
767 State Farm Fire and Casualty Company Lafarge India (Now Nuvoco)                   Clients in matters
                                         Rolls Royce Defense                          unrelated to the debtors
                                         Vulcan Materials
                                         Vulcan Materials Co.
                                         Vulcan Materials Company
768 State Farm General Insurance Company Lafarge India (Now Nuvoco)                   Clients in matters
                                                                                      unrelated to the debtors

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#   Interested Party Name                    Proposed Professionals Connection Name   Connection Type
1   21 st Century Casualty Company           Rolls Royce Defense                      Clients in matters
                                                                                      unrelated  to the debtors
                                             Vulcan Materials
                                             Vulcan Materials Co.
                                             Vulcan Materials Company
769 State Farm Mutual Automible Insurance Lafarge India (Now Nuvoco)                  Clients in matters
    Company                                  Rolls Royce Defense                      unrelated to the debtors
                                             Vulcan Materials
                                             Vulcan Materials Co.
                                             Vulcan Materials Company
770 State of California                      State of California                      Clients in matters
                                             State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
771 State of California - CHP - Admin        State of California                      Clients in matters
    Services                                 State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
772 State of California - CHP - Telecom Unit State of California                      Clients in matters
                                             State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
773 State of California - Department of      State of California                      Clients in matters
    Water Resources                          State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
774 State of California - Dept Gen Svc       State of California                      Clients in matters
                                             State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
775 State of California - Dept of Fish &     State of California                      Clients in matters
    Game                                     State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
776 State of California - Dept of Forestry & State of California                      Clients in matters
    Fire Prot                                State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
777 State of California - Dept of Forestry & State of California                      Clients in matters
    Fire Protection                          State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
778 State of California - Dept of Parks &    State of California                      Clients in matters
    Recreation                               State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
779 State of California - DGS Real Estate    State of California                      Clients in matters
    Services                                 State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
780 State of California - DGS RESD for       State of California                      Clients in matters
    Telecom Div                              State of California - (First Data)       unrelated to the debtors
                                             State of California - (Infosys)
                                             US. State of California
781 State of California - DOT                State of California                      Clients in matters
                                                                                      unrelated to the debtors

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#    Interested Party Name                  Proposed Professionals Connection Name          Connection Type
1    21 st Century Casualty Company         State of California - (First Data)              Clients in matters
                                                                                            unrelated  to the debtors
                                            State of California - (Infosys)
                                            US. State of California
782 State of California - DOT - Maint Prog  State of California                             Clients in matters
                                            State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
783 State of California – Taxation          State of California                             Clients in matters
                                            State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
784 State of California Department          State of California                             Clients in matters
                                            State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
785 State of California Dept of General     State of California                             Clients in matters
    Services for Department of Justice      State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
786 State of California Office of Emergency State of California                             Clients in matters
    Services                                State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
787 State of California, Dept of Water      State of California                             Clients in matters
    Resources                               State of California - (First Data)              unrelated to the debtors
                                            State of California - (Infosys)
                                            US. State of California
788 Steadfast Insurance Company             AIG                                             Clients in matters
                                            Baloise-Holding AG                              unrelated to the debtors
                                            Basler Versicherung AG
                                            Gilde Buy Out Partners
                                            ING
                                            ING Bank Nederland
                                            QBE
                                            Santander Brasil
                                            Santander Mexico
                                            Unum
                                            Zurich Deutscher Herold Lebensversicherung AG
                                            Zurich Financial Services
                                            Zurich Insurance
                                            Zurich Insurance Company Ltd
                                            Zurich Insurance Group AG
                                            Zurich North America
                                            Zurich-Santander
789 SteelMill Master Fund LP co PointState ArcelorMittal - Acindar                          Clients in matters
    Capital LP                              BT plc                                          unrelated to the debtors
                                            Johnson Controls International
                                            Peabody
                                            Peabody Energy
                                            Peabody Energy Australia Pty Ltd
                                            Peabody Energy Corporation
                                            Visteon
                                            Visteon Corporation


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1790 21 st Century
     Stericycle    Casualty Company
                Environmental Solutions Inc    Stericycle                                              Clients in matters
                                               Stericycle Inc.                                         unrelated to the debtors
791 Sterling National Bank                     HSBC                                                    Clients in matters
                                                                                                       unrelated to the debtors
792 Stockton Cogen Co                          Sasol                                                   Clients in matters
                                                                                                       unrelated to the debtors
793 Stonehill Capital Management LLC on        Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj      Clients in matters
    behalf of certain funds                    Finance on behalf of Stonehill Capital Management LLC   unrelated to the debtors
                                               Johnson Controls International
                                               Visteon
                                               Visteon Corporation
794 Storage Technology Corp                    Cargill                                                 Clients in matters
                                               Contextmedia Inc.                                       unrelated to the debtors
                                               Delphi Corporation
                                               Samsung
                                               SAP
                                               SAP AG
                                               Vantiv Inc.
795 Strategic Value Parnters, LLC, acting as   BP                                                      Clients in matters
    agent on behalf of its managed funds       BP p.l.c.                                               unrelated to the debtors
    and accounts                               Chaparral
                                               EAG Inc.
                                               GenOn
                                               GenOn Energy, Inc.
                                               Kloeckner & Co AG
                                               McCarthy & Stone
                                               McCarthy & Stone plc
                                               Seaway Heavy Lifting Offshore Crew B.V.
                                               Solarworld AG
                                               Strategic Value Partners
                                               Strategic Value Partners LLC
                                               TransCanada
796 STS Hydropower LLC                         Consolidated Edison Company of New York, Inc.,          Clients in matters
                                               (CECONY)                                                unrelated to the debtors
                                               Edison International / Southern California Edison
                                               Edison Mission Energy
                                               GenOn
                                               Kelso
                                               NRG Energy Inc.
797 SUEZ WTS USA Inc                           ACE Limited                                             Clients in matters
                                               Acea                                                    unrelated to the debtors
                                               Acea SpA
                                               Areti
                                               Dow DuPont Ag Co
                                               Enel
                                               GE
                                               JP Morgan
                                               Micron
                                               Rubicon Global
                                               Rubicon Global Holdings LLC
                                               Serco
                                               Suez
                                               SUEZ Environnement Co. SA



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1   21 st Century Casualty Company        SUEZ SA                                             Clients in matters
                                          Suez Water Technologies & Solutions
798 Sulzer Chemtech USA Inc               ABP                                                 Clients in matters
                                          Wärtsilä                                            unrelated to the debtors
799 Sumitomo Mitsui Banking Corporation   Asahi Glass Company (AGC)                           Clients in matters
                                          Bank Tabungan Pensiunan Nasional Tbk (BTPN)         unrelated to the debtors
                                          Citi
                                          Mitsui
                                          Rakuten Holdings
                                          SMBC/BTPN
                                          Sumitomo Corporation
                                          Sumitomo Mitsui Banking Corporation (SMBC)
                                          Sumitomo Mitsui Financial Group
                                          Toyota
800 Summit Line Construction Inc          Intermountain                                       Clients in matters
                                          Quanta Services                                     unrelated to the debtors
801 Suncor Energy                         Enerkem                                             Clients in matters
                                          Enerkem Inc.                                        unrelated to the debtors
                                          Royal Dutch Shell Retail
                                          Royal Dutch/Shell Group
                                          Shell
                                          Suncor
                                          Suncor Energy
                                          Suncor Energy Inc.
                                          Suncor Inc.
                                          Talisman Sinopec Energy UK
802 SunEdison Yieldco ACQ2 LLC            Duke Energy                                         Clients in matters
                                          Sun Edison                                          unrelated to the debtors
                                          SunEdison
                                          Yahoo Japan
803 Sunrise Power Company LLC             Consolidated Edison Company of New York, Inc.,      Clients in matters
                                          (CECONY)                                            unrelated to the debtors
                                          Edison International / Southern California Edison
                                          Edison Mission Energy
                                          GenOn
                                          Kelso
                                          NRG Energy Inc.
804 Sunshine Gas Producers LLC            Abu Dhabi Chamber of Commerce                       Clients in matters
                                          Abu Dhabi Chamber Of Commerce & Industry            unrelated to the debtors
                                          Abu Dhabi Financial Group
                                          Abu Dhabi Investment Council
                                          Abu Dhabi National Oil Company (ADNOC)
                                          Abu Dhabi Power Corporation (ADPC)
                                          Abu Dhabi Water and Electricity Authority (ADWEA)
                                          Avista Capital Partners Ii Gp Llc.
                                          BeLux GEM Cluster
                                          BG Group
                                          BG Group plc
                                          BP
                                          BP p.l.c.
                                          Brunei Shell PetroleumSdn. Bhd.
                                          Chevron
                                          COSAN S/A Industria e Comercio


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1    21 st Century Casualty Company      Infineum                                            Clients in matters
                                         Infineum International LTD
                                         Marathon Oil Corporation
                                         Raizen
                                         Repsol
                                         Repsol Bolivia
                                         Rosneft
                                         Royal Dutch Shell
                                         Royal Dutch Shell plc
                                         Royal Dutch Shell Retail
                                         Royal Dutch/Shell Group
                                         Shell
                                         Shell Australia Limited
                                         Shell Chemical LP
                                         Shell Chemicals
                                         Shell Chemicals Ltd.
                                         Shell Deutschland Oil GmbH
                                         Shell Egypt
                                         Shell Energy North America (US), L.P.
                                         Shell International B.V.
                                         Shell International Exploration & Production B.V.
                                         Shell Nederland B.V.
                                         Shell New energies
                                         Shell Oil
                                         Shell Oil Co.
                                         Shell Oil Company
                                         Shell Oil Products Company LLC
                                         Shell UK
                                         Sirius XM
                                         TEPCO
                                         TEPCO FP
                                         TEPCO Power Grid
                                         Vopak
                                         Walloon Regional Government
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
805 Surewest Directories                 Corning CDT                                         Clients in matters
                                         Gannett                                             unrelated to the debtors
                                         Gannett Co., Inc.
                                         Providence
                                         Tribune Publishing Co.
                                         Tribune Publishing Company
806 Sustainable Power Group              AES Corporation                                     Clients in matters
                                         BHP                                                 unrelated to the debtors
                                         BHP Billiton
                                         BHP Billiton Group
                                         GE
                                         GE Energy
807 Swiss Re International SE            Australis Partners (Advisers), LLC                  Clients in matters
                                         CIGNA                                               unrelated to the debtors
                                         CNA Financial Corp.
                                         CNA Insurance
                                         FWD Group Management Holdings Limited


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1    21 st Century Casualty Company    GE                                                      Clients in matters
                                       HSBC
                                       Old Mutual Latam
                                       Shinsei Bank
                                       Shinsei Bank Ltd
                                       Shinsei Bank, Limited
                                       Shinsei Bank, Ltd.
                                       Swiss Re
                                       Swiss Re Corporate Solutions
                                       Swiss Re Management Ltd
                                       UBF (UAE Banks Federation)
808 Sylvania Lighting Services Corp    Osram                                                   Clients in matters
                                       OSRAM GmbH                                              unrelated to the debtors
                                       Osram Opto Semiconductors GmbH
809 T Rowe Price Associates Inc        Airbnb                                                  Clients in matters
                                       Airbnb Inc.                                             unrelated to the debtors
                                       Contextmedia Inc.
                                       Louisiana Pacific
                                       T Rowe Price
                                       T. Rowe Price
                                       T. Rowe Price Group Inc.
                                       ZenPayroll, Inc.
810 TALX Corp                          Computer Sciences Corp (CSC)                            Clients in matters
                                       Computer Sciences Corp.                                 unrelated to the debtors
                                       Computer Sciences Corp. (CSC)
                                       Equifax Services, Inc.
                                       Russia Burger King
                                       SoftBank Energy
                                       SoftBank Group Corp. - Confidential client
                                       SoftBank Investment Advisers
                                       SoftBank Investment Advisors
                                       Softbank Vision fund
811 TATA America International Corp    Boeing                                                  Clients in matters
                                       Haldia Petrochemicals Limited                           unrelated to the debtors
                                       Kaltim Prima Coal (KPC)
                                       Lockheed Martin Aeronautics
                                       Lockheed Martin Missiles and Fire Control (LM Energy)
                                       Lockheed Martin Mission Systems and Training
                                       Lockheed Martin Missles and Fire Control
                                       Nissan
                                       Starbucks
                                       T S Global Holdings Pte Ltd
                                       Tata Communications Limited (TCL)
                                       Tata Global Beverages Limited
                                       Tata Motors
                                       Tata Motors Ltd.
                                       Tata Opportunities Fund
                                       Tata Sky
                                       Tata Sons
                                       Tata Sons - Tata Communication
                                       Tata Steel
                                       Tata Steel Advanced Analytics
                                       Tata Steel Europe


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#   Interested Party Name                Proposed Professionals Connection Name                  Connection Type
1   21 st Century Casualty Company       Tata Steel Ltd                                          Clients in matters
                                         Voltas
812 Tata Consultancy Services            Boeing                                                  Clients in matters
                                         Haldia Petrochemicals Limited                           unrelated to the debtors
                                         Kaltim Prima Coal (KPC)
                                         Lockheed Martin Aeronautics
                                         Lockheed Martin Missiles and Fire Control (LM Energy)
                                         Lockheed Martin Mission Systems and Training
                                         Lockheed Martin Missles and Fire Control
                                         Nissan
                                         Starbucks
                                         T S Global Holdings Pte Ltd
                                         Tata Communications Limited (TCL)
                                         Tata Global Beverages Limited
                                         Tata Motors
                                         Tata Motors Ltd.
                                         Tata Opportunities Fund
                                         Tata Sky
                                         Tata Sons
                                         Tata Sons - Tata Communication
                                         Tata Steel
                                         Tata Steel Advanced Analytics
                                         Tata Steel Europe
                                         Tata Steel Ltd
                                         Voltas
813 TD Bank NA                           AIMIA Groupe Aeroplan Inc                               Clients in matters
                                         Aimia Inc.                                              unrelated to the debtors
                                         Citi
                                         Daimler PGMex
                                         First West
                                         Mercedes-Benz Automotive Finance
                                         Optus
                                         Symcor Inc.
                                         TD
                                         TD Bank
                                         TD Bank USA, National Association
                                         TD Bank, N.A.
                                         TD Group US Holdings LLC
                                         TD Insurance
                                         The TD Canada Trust Company
                                         The Toronto-Dominion Bank
                                         Toronto Dominion
                                         Toronto Dominion Bank
                                         Toronto-Dominion Bank
                                         Transamerica
814 Td Energy Trading Inc                AIMIA Groupe Aeroplan Inc                               Clients in matters
                                         Aimia Inc.                                              unrelated to the debtors
                                         Citi
                                         Daimler PGMex
                                         First West
                                         Mercedes-Benz Automotive Finance
                                         Optus
                                         Symcor Inc.


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#   Interested Party Name              Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company     TD                                         Clients in matters
                                       TD Bank
                                       TD Bank USA, National Association
                                       TD Bank, N.A.
                                       TD Group US Holdings LLC
                                       TD Insurance
                                       The TD Canada Trust Company
                                       The Toronto-Dominion Bank
                                       Toronto Dominion
                                       Toronto Dominion Bank
                                       Toronto-Dominion Bank
                                       Transamerica
815 TD Securities                      AIMIA Groupe Aeroplan Inc                  Clients in matters
                                       Aimia Inc.                                 unrelated to the debtors
                                       Citi
                                       Daimler PGMex
                                       First West
                                       Mercedes-Benz Automotive Finance
                                       Optus
                                       Symcor Inc.
                                       TD
                                       TD Bank
                                       TD Bank USA, National Association
                                       TD Bank, N.A.
                                       TD Group US Holdings LLC
                                       TD Insurance
                                       The TD Canada Trust Company
                                       The Toronto-Dominion Bank
                                       Toronto Dominion
                                       Toronto Dominion Bank
                                       Toronto-Dominion Bank
                                       Transamerica
816 Technology Insurance Company Inc   American Capital Ltd.                      Clients in matters
                                       Genworth Financial                         unrelated to the debtors
                                       Genworth Financial Inc.
817 Tecta America                      Avon                                       Clients in matters
                                       Avon Global                                unrelated to the debtors
818 Teledyne Monitor Labs Inc          3M                                         Clients in matters
                                       Axiom                                      unrelated to the debtors
                                       Royal Philips NV
819 Telvent USA LLC                    ABB Ltd                                    Clients in matters
                                       AVEVA Group PLC                            unrelated to the debtors
                                       Boeing
                                       CAE Inc.
                                       CAE, Inc.
                                       GE
                                       Inari
                                       L&T
                                       L&T digital
                                       L&T Infotech
                                       Robertshaw
                                       Schneider
                                       Schneider Electric


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#   Interested Party Name                Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company       Schneider Electric GmbH                             Clients in matters
                                         Schneider Electric Operations and Consulting GmbH
                                         Schneider Electric SA
                                         Schneider Electric US
                                         Zhejiang Hengyi Group Co. Ltd.
                                         Zhejiang Huaye
820 Tenaris Hydril Field Services        Acindar - ArcelorMittal                             Clients in matters
                                         Stichting Administratiekantoor Vitol Holding Ii     unrelated to the debtors
821 TerraForm Power Inc                  Duke Energy                                         Clients in matters
                                         Sun Edison                                          unrelated to the debtors
                                         SunEdison
                                         Yahoo Japan
822 Tesoro Refining & Marketing Company BP                                                   Clients in matters
    LLC                                  BP p.l.c.                                           unrelated to the debtors
                                         Chevron
                                         EQT/Dometic
                                         Marathon Oil Corporation
                                         Marathon Petroleum Corporation
                                         Shell
                                         Tesoro Refining, Marketing & Supply Co.
823 Tetra Tech OGI DBA Tetra Tech Inc    Advent - Estacio                                    Clients in matters
                                         Advent - Grupo Fleury                               unrelated to the debtors
                                         Advent / CCC Information Services
                                         Advent International France
                                         NSW Department of Education
824 Texaco Exploration & Production Inc  Caltex                                              Clients in matters
                                         Cepsa                                               unrelated to the debtors
                                         Chevron
                                         Chevron Corporation
                                         Chevron Eurasia Business Unit
                                         Chevron Phillips Chemical Company LLC
                                         Chevron Phillips Chemical Company LP
                                         ExxonMobil Fuel & Lubricants
                                         Royal Dutch Shell Retail
                                         Royal Dutch/Shell Group
                                         Sasol
                                         Shell
                                         Spirit Energy
825 The Bank of Tokyo-Mitsubishi UFJ Ltd The Bank of Tokyo-Mitsubishi UFJ, Ltd               Clients in matters
                                                                                             unrelated to the debtors
826 The Baupost Group LLC                 Arconic                                            Clients in matters
                                          Arconic Inc.                                       unrelated to the debtors
                                          Baupost
                                          BP p.l.c.
                                          BPI Shiseido
                                          Intarcia
                                          Intarcia Therapeutics Inc.
                                          Marathon Oil Corporation
                                          Veritiv
                                          Veritiv Corp.
                                          Veritiv Corporation
                                          Vodafone (VOD)
                                          VodafoneZiggo


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   xpedx                                             Clients in matters
827 The Goldman Sachs Group, Inc.    ABP                                               Clients in matters
                                     ABP/APG                                           unrelated to the debtors
                                     Airbus
                                     Airbus Defence and Space GmbH
                                     Airbus Group NV
                                     Airbus Helicopters
                                     Airbus Safran Launchers
                                     Aramark
                                     AXA
                                     Broad Street Principal Investments, L.L.C
                                     C.H.I. Overhead Doors
                                     Citi
                                     CJ Corp.
                                     Facebook
                                     Facebook Inc.
                                     Facebook, Inc.
                                     FireEye Inc.
                                     FireEye, Inc.
                                     Flint Group CPS
                                     GE
                                     Global Atlantic Financial
                                     Global Atlantic Financial Company
                                     Goldman Sachs
                                     Goldman Sachs - FWS
                                     Goldman Sachs - RCO
                                     Goldman sachs - redexis
                                     Goldman Sachs & Co, LLC
                                     Goldman Sachs & Company
                                     Goldman Sachs Asset Management Brasil Ltda
                                     Goldman Sachs Australia Equity Pty. Ltd.
                                     Goldman Sachs Bank USA
                                     Goldman Sachs Group
                                     Goldman Sachs International
                                     Goldman Sachs Merchant Banking
                                     Goldman Sachs PE
                                     GS/Trader Interactive LLC
                                     Hilton
                                     HSBC
                                     ICBC Bank Argentina
                                     Industrial & Commercial Bank of China
                                     Industrial and Commercial Bank of China Limited
                                     Intermountain
                                     KKR Japan
                                     Neovia Group
                                     Neusoft
                                     Ontex
                                     PHC
                                     Ping An
                                     Ping An Annuity Company
                                     Ping An Bank
                                     Ping An Group
                                     Ping An Insurance



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#    Interested Party Name                Proposed Professionals Connection Name                 Connection Type
1    21 st Century Casualty Company       Ping An Insurance (Group) Company Of China Ltd. - Ping Clients in matters
                                          An Global Voyager Fund
                                          Ping An Insurance (Grp) Co of China Ltd.
                                          Ping An Puhui
                                          Ping An QFAX
                                          Ping An Trust
                                          Pingan Group
                                          PingAn Health
                                          PingAn Indonesia
                                          QBE
                                          Shell
                                          Solera
                                          Solera Holdings Inc.
                                          Square Holding Germany GmbH
                                          Standard & Poor's
                                          Sterling Talent Solutions
                                          Suncor
                                          Taikang
                                          Taikang Life Insurance Co., Ltd
                                          The Goldman Sachs Group, Inc.
                                          Transamerica
                                          Ulster
                                          Zhejiang Hengyi Group Co. Ltd.
                                          Zhejiang Huaye
828 The Hanover Insurance Group           The Hanover Insurance Group Inc.                       Clients in matters
                                                                                                 unrelated to the debtors
829 The Insurance Company of the State of AIG                                                    Clients in matters
    Pennsylvania                          AIG Capital Corporation                                unrelated to the debtors
                                          AIG Property Casualty
                                          American International Group (AIG)
                                          Avon
                                          Avon Global
                                          Blackboard
                                          BridgeBio Pharma LLC
                                          BRISA
                                          BT
                                          Citi
                                          GE
                                          General Atlantic
                                          General Atlantic (UK) LLP
                                          General Atlantic Partners
                                          Hamilton Insurance
                                          ING
                                          ING Bank Nederland
                                          PineBridge Investments
                                          QED Therapeutics
                                          Vodafone
                                          Vodafone (VOD)
                                          Vodafone Group PLC
830 The Marine Insurance Company Ltd      Codan Forsikring A/S                                   Clients in matters
                                          RSA                                                    unrelated to the debtors
                                          RSA Canada
                                          RSA Insurance Group Plc



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#   Interested Party Name                  Proposed Professionals Connection Name    Connection Type
1   21 st Century Casualty Company         Trygg-Hansa AB                            Clients in matters
831 The Mosaic Company                     Freeport-McMoRan Inc.                     Clients in matters
                                           Mosaic                                    unrelated to the debtors
                                           Mosaic Fertilizantes do Brasil Ltda.
                                           The Mosaic Co.
                                           The Mosaic Company
                                           Vale
                                           Vale Fertilizantes
                                           Vale SA
832 The North River Insurance              Abitibi-Consolidated                      Clients in matters
                                           Advent - Estacio                          unrelated to the debtors
                                           Advent - Grupo Fleury
                                           Advent / CCC Information Services
                                           Advent International France
                                           AXA UK plc
                                           GE
                                           Markel Insurance
                                           Mosaic
                                           Mytilineos Holdings S.A.
                                           QBE
                                           Resolute Forest Products
                                           Resolute Forest Products Inc.
                                           Resolute Forest Products, Inc.
                                           Riverstone
                                           Riverstone Holdings Llc
                                           The Mosaic Co.
                                           The Mosaic Company
                                           Transamerica Reinsurance
833 The Northfield Insurance Company       Equifax Services, Inc.                    Clients in matters
                                           The Travelers Companies Inc.              unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
834 The Ohio Casualty Insurance Company ING                                          Clients in matters
                                           ING Bank Nederland                        unrelated to the debtors
                                           Liberty Insurance
                                           Liberty Mutual
                                           Liberty Mutual Group
                                           Liberty Mutual Group, Inc.
                                           Liberty Mutual Holding Company Inc.
                                           Liberty Mutual Insurance Company
835 The Princeton Excess and Surplus Lines Allianz                                   Clients in matters
    Insurance Company                      Apollo                                    unrelated to the debtors
                                           Apollo Hospitals Enterprise Ltd
                                           Banistmo
                                           BP
                                           BP p.l.c.
                                           CBRE
                                           CNA Financial Corp.
                                           ERGO
                                           ERGO Group AG
                                           Ergo International AG
                                           ERGO Versicherungsgruppe AG
                                           Fair


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#   Interested Party Name                 Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company        Hetero                                     Clients in matters
                                          Munich Health North America
                                          Munich Healthcare
                                          Munich Re
                                          Paramount Health Care
                                          State Street
836 The Progressive Corporation           Progressive Corporation                    Clients in matters
                                          Progressive Insurance                      unrelated to the debtors
837 The Standard Fire Insurance Company   Equifax Services, Inc.                     Clients in matters
                                          The Travelers Companies Inc.               unrelated to the debtors
                                          The Travelers Companies, Inc.
                                          Travelers Corp.
838 The Travelers Home and Marine         Equifax Services, Inc.                     Clients in matters
    Insurance Company                     The Travelers Companies Inc.               unrelated to the debtors
                                          The Travelers Companies, Inc.
                                          Travelers Corp.
839 The Travelers Indemnity Company       Equifax Services, Inc.                     Clients in matters
                                          The Travelers Companies Inc.               unrelated to the debtors
                                          The Travelers Companies, Inc.
                                          Travelers Corp.
840 The Travelers Indemnity Company of    Equifax Services, Inc.                     Clients in matters
    America                               The Travelers Companies Inc.               unrelated to the debtors
                                          The Travelers Companies, Inc.
                                          Travelers Corp.
841 The Vanguard Group Inc                ABB Ltd                                    Clients in matters
                                          Comcast                                    unrelated to the debtors
                                          Comcast NBCU
                                          Comcast/NBCU
                                          Dalmia Bharat Cement Limited
                                          Duke Energy
                                          Ford
                                          GE Power, SPS
                                          GEHC
                                          HCL Technologies
                                          HCL Technologies Limited
                                          Hilton
                                          Huainan Mining
                                          Infineum
                                          JP Morgan
                                          JPMorgan Chase & Co. - Confidential
                                          KeyCorp
                                          Krispy Kreme Doughnut Corporation
                                          Ma'aden Aluminium
                                          Ørsted
                                          Ørsted A/S
                                          PKP Energetyka
                                          Sanchez Energy
                                          Sanchez Energy Corp.
                                          Sanchez Energy Corporation
                                          The Vanguard Group Inc
                                          The Vanguard Group Inc.
                                          Vanguard
                                          Vanguard Investments Japan


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Walmart India                              Clients in matters
842 Third Point LLC                  American Electric Power (AEP)              Clients in matters
                                     Amgen                                      unrelated to the debtors
                                     Amgen (Europe) GmbH
                                     Amgen Astellas Bio Pharma
                                     Amgen Australia Pty Limited
                                     Amgen Europe
                                     Amgen Inc
                                     Amgen Inc.
                                     Amgen Incorporated
                                     Amgen JAPAC
                                     Amgen, Inc.
                                     Astellas
                                     Chemours
                                     Corning CDT
                                     Discovery Communications International
                                     Dover Corporation
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Eczacibasi Holding
                                     Eczacibasi Holding Anonim Sirketi
                                     Enphase Energy
                                     Essilor
                                     Essilor of America
                                     EssilorLuxottica
                                     EssilorLuxottica China
                                     EssilorLuxottica Société anonyme
                                     Gerber Nutrition (Nestle)
                                     KFC India
                                     KFC South Africa
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     Lotte Chilsung
                                     Luxottica
                                     Luxottica SpA
                                     Lyft
                                     Lyft Inc.
                                     Murphy Exploration & Production Company
                                     Murphy Oil
                                     Murphy Oil Corp.
                                     Nestlé
                                     Nestle Foods



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#   Interested Party Name               Proposed Professionals Connection Name       Connection Type
1   21 st Century Casualty Company      Nestle Purina                                Clients in matters
                                        Nestlé Regional Spring Water
                                        Nestlé S.A.
                                        Nestle Waters
                                        Nestle Waters North America
                                        Nokia
                                        Nokia Networks
                                        Nokia Networks and Solutions Oy
                                        Nokia Oy
                                        Nokia Oyj
                                        Nokia Solutions and Networks
                                        Nokia Solutions and Networks GmbH & Co. KG
                                        Nokia Solutions and Networks Oy
                                        Nokia Technologies Ltd.
                                        Nokia Technologies Oy
                                        PayPal
                                        PayPal Holdings Inc.
                                        Pfizer Global Pharmaceuticals
                                        Pizza Hut
                                        Raytheon
                                        Raytheon Company
                                        Raytheon UK
                                        Roche (China) Co., Ltd.
                                        Roche China
                                        Roche Diagnostics International Ltd.
                                        Roche Korea
                                        Roche/Genentech
                                        ROHM Co. Ltd
                                        Sofi
                                        Sony Computer Science Laboratories
                                        Sony Corporation
                                        Starbucks
                                        Yahoo Japan
                                        Yahoo!
                                        YUM Brands Inc
                                        Yum Restaurants India Pvt Ltd
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
843 ThyssenKrupp Elevator Corporation   KONE                                         Clients in matters
                                        MMG Australia                                unrelated to the debtors
                                        ThyssenKrupp AG
                                        ThyssenKrupp CSA
                                        ThyssenKrupp Elevator AG
                                        ThyssenKrupp Industrial Solutions AG
                                        Thyssenkrupp Marine Systems GmbH
                                        ThyssenKrupp Steel Europe AG
844 TKO Power                           BP                                           Clients in matters
                                        BP p.l.c.                                    unrelated to the debtors
                                        Endesa
                                        Enel
                                        Enel Brasil S.A.
                                        Enel Green Power
                                        Enel S.p.A.


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#   Interested Party Name            Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company   Enel SpA                                          Clients in matters
                                     Origin Energy Markets
845 T-Mobile US, Inc.                Allianz                                           Clients in matters
                                     Croatian Telecom                                  unrelated to the debtors
                                     Deutsche Telekom AG
                                     Deutsche Telekom IT GmbH
                                     DT Group Holdings A/S
                                     Hrvatski Telekom
                                     Magyar Telekom
                                     MOL
                                     OTE - Hellenic Telecommunications Organization
                                     PTC
                                     SAP
                                     SAP AG
                                     Scout24 AG
                                     Tele2
                                     Tele2 AB
                                     Telekom Deutschland GmbH
                                     T-Mobile
                                     T-Mobile Austria GmbH
                                     T-Mobile Austria Holding GmbH
                                     T-Mobile Netherlands
                                     T-Mobile US
                                     T-Mobile USA, Inc.
                                     T-Systems International GmbH
                                     Vodafone (VOD)
846 Topaz Solar Farms LLC            American Electric Power (AEP)                     Clients in matters
                                     Bankia                                            unrelated to the debtors
                                     BNSF Railway Company
                                     BP
                                     BP p.l.c.
                                     Burlington Northern Santa Fe
                                     Burlington Northern Santa Fe Corporation
                                     Burlington Northern Santa Fe Corporation (BNSF)
                                     Chemours
                                     Chevron
                                     Citi
                                     Corning CDT
                                     CSRA
                                     CSRA Inc.
                                     Daimler PGMex
                                     DaVita Inc.
                                     Dow Chemical Company
                                     Dow DuPont
                                     Dow DuPont Ag Co
                                     Dow DuPont AgCo
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   DuPont                                     Clients in matters
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa
                                     Visa Canada Corporation
                                     Visa Inc
                                     Visa Inc.
                                     Visa Worldwide Pte. Limited
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
847 Toronto Dominion Bank            AIMIA Groupe Aeroplan Inc                  Clients in matters
                                     Aimia Inc.                                 unrelated to the debtors
                                     Citi
                                     Daimler PGMex



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#    Interested Party Name            Proposed Professionals Connection Name                Connection Type
1    21 st Century Casualty Company   First West                                            Clients in matters
                                      Mercedes-Benz Automotive Finance
                                      Optus
                                      Symcor Inc.
                                      TD
                                      TD Bank
                                      TD Bank USA, National Association
                                      TD Bank, N.A.
                                      TD Group US Holdings LLC
                                      TD Insurance
                                      The TD Canada Trust Company
                                      The Toronto-Dominion Bank
                                      Toronto Dominion
                                      Toronto Dominion Bank
                                      Toronto-Dominion Bank
                                      Transamerica
848 Total Waste Systems of Mariposa   Intermountain                                         Clients in matters
                                      Paine & Partners                                      unrelated to the debtors
                                      Paine & Partners Llc
                                      Paine and Partners
                                      Paine Schwartz
                                      Progressive Corporation
849 Tower Select Insurance Company    Canopius                                              Clients in matters
                                                                                            unrelated to the debtors
850 TPG Sixth Street Partners LLC     Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj    Clients in matters
                                      Finance on behalf of TPG Sixth Street Partners, LLC   unrelated to the debtors
                                      American Tire Distributors
                                      American Tire Distributors Holdings, Inc.
                                      Avaya
                                      Bayer
                                      Caesars
                                      Caruso
                                      Despegar.com
                                      Dow DuPont Ag Co
                                      Dow DuPont AgCo
                                      Du Xiaoman Financial
                                      FORTIS
                                      Fortis Healthcare Limited
                                      GE
                                      GS Holdings Corp
                                      GSK
                                      ITC
                                      J Crew
                                      J. C. Penney Corporation
                                      J. Crew
                                      Janssen (China) Research & Development Center
                                      Janssen (JNJ)
                                      Janssen Colombia
                                      Janssen EMEA
                                      Janssen Japan
                                      Kindred Healthcare Inc.
                                      Kindred Healthcare, Inc.
                                      Lenta



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#    Interested Party Name             Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company    Lenta Ltd.                                 Clients in matters
                                       Lifetime Fitness
                                       LPL Financial
                                       LPL Financial Corporation
                                       McAfee Inc.
                                       McCarthy & Stone
                                       McCarthy & Stone plc
                                       Next EV
                                       NextEV Co. Ltd
                                       NXP Semiconductors
                                       Ontex
                                       PT Telekomunikasi Selular Indonesia
                                       PT Telkom Indonesia
                                       Rodan & Fields Llc
                                       Rodan + Fields Llc
                                       Shriram Capital
                                       Shriram Capital Limited
                                       Siberian Coal Energy Company (SUEK)
                                       Telkom Indonesia
                                       Telkomsel
                                       TPG
                                       TPG Capital
                                       TPG Capital Management L.P.
                                       TPG Growth, LLC
                                       United Phosphorus Limited
                                       Viking Cruises
                                       Viking Cruises, Ltd.
                                       Viking River Cruises
                                       Viking River Cruises Inc.
                                       VTB
                                       VTB 24
                                       VTB Bank PJSC
                                       Zebra
                                       Zhejiang Hengyi Group Co. Ltd.
                                       Zhejiang Huaye
851 TransAlta Corporation              Suncor                                     Clients in matters
                                       TransAlta                                  unrelated to the debtors
                                       TransAlta Corp.
852 TransAlta Energy Marketing Inc     Suncor                                     Clients in matters
                                       TransAlta                                  unrelated to the debtors
                                       TransAlta Corp.
853 TransCanada Foothills Pipe Lines   Bankunited                                 Clients in matters
                                       BankUnited, Inc.                           unrelated to the debtors
                                       Cargill
                                       Mr. Cooper
                                       Mr. Cooper Group Inc.
                                       Nationstar Mortgage
                                       Nationstar Mortgage Llc
                                       NiSource
                                       NiSource Inc.
                                       PNC
                                       TC Energy
                                       TransCanada


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#   Interested Party Name                   Proposed Professionals Connection Name      Connection Type
1   21 st Century Casualty Company          TransCanada Corporation                     Clients in matters
854 Transcanada Nova                        TransCanada                                 Clients in matters
                                                                                        unrelated to the debtors
855 Transportation Insurance Company       Chevron                                      Clients in matters
                                           CNA Financial Corp.                          unrelated to the debtors
                                           CNA Insurance
                                           CNA Insurance Companies
                                           Diamond Offshore
                                           Diamond Offshore Drilling Inc.
                                           Loews Corp.
856 Transwestern Pipeline Company LLC      Arclin                                       Clients in matters
                                           Duke Energy                                  unrelated to the debtors
                                           Lone Star/Forterra
                                           Lone Star/Forterra Building Products
                                           Lone Star/Hanson Building Products
                                           Lone Star/US Pipe
                                           LS/Caliber Home Loans
                                           Stripes Group
857 Travelers Casualty Insurance Company Equifax Services, Inc.                         Clients in matters
    of America                             The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
858 Travelers Commercial Insurance         Equifax Services, Inc.                       Clients in matters
    Company                                The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
859 Travelers Indemnity Company of         Equifax Services, Inc.                       Clients in matters
    Connecticut                            The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
860 Travelers Insurance Co                 The Travelers Companies Inc.                 Clients in matters
                                           The Travelers Companies, Inc.                unrelated to the debtors
                                           Travelers Corp.
861 Travelers Insurance Company of         Equifax Services, Inc.                       Clients in matters
    America                                The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
862 Travelers Property Casualty Company of Equifax Services, Inc.                       Clients in matters
    America                                The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
863 Travelers Property Casualty Insurance Equifax Services, Inc.                        Clients in matters
    Company                                The Travelers Companies Inc.                 unrelated to the debtors
                                           The Travelers Companies, Inc.
                                           Travelers Corp.
864 TRC Companies, Inc.                    EMCOR                                        Clients in matters
                                           GE                                           unrelated to the debtors
865 Trees LLC                              American Electric Power (AEP)                Clients in matters
                                                                                        unrelated to the debtors
866 Tri Sage Consulting                     Sirius XM                                   Clients in matters
                                                                                        unrelated to the debtors
867 Triton Construction Services            Aker Group                                  Clients in matters
                                            Jacobs                                      unrelated to the debtors


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#    Interested Party Name             Proposed Professionals Connection Name        Connection Type
1    21 st Century Casualty Company    Jacobs Engineering                            Clients in matters
                                       Jacobs Engineering Group, Inc.
868 Trumbull Insurance Company         CNA Financial Corp.                           Clients in matters
                                       Hartford Fire International Ltd.              unrelated to the debtors
                                       The Hartford
                                       The Hartford Financial Services Group Inc.
                                       The Hartford Financial Services Group, Inc.
                                       The Hartford Financial Services Inc.
869 Tudor Insurance Company            AIG                                           Clients in matters
                                       AIG Capital Corporation                       unrelated to the debtors
                                       AIG Property Casualty
                                       American International Group (AIG)
                                       Avon
                                       Avon Global
                                       Blackboard
                                       BridgeBio Pharma LLC
                                       BRISA
                                       BT
                                       Citi
                                       GE
                                       General Atlantic
                                       General Atlantic (UK) LLP
                                       General Atlantic Partners
                                       Hamilton Insurance
                                       ING
                                       ING Bank Nederland
                                       PineBridge Investments
                                       QED Therapeutics
                                       Vodafone
                                       Vodafone (VOD)
                                       Vodafone Group PLC
870 Tullet Liberty                     Axiom                                         Clients in matters
                                       Tullett Prebon                                unrelated to the debtors
                                       Tullett Prebon ICAP
                                       Tullett Prebon Plc
871 Turner Construction Company        Aker Group                                    Clients in matters
                                       Al Babtain Holding Company                    unrelated to the debtors
                                       Bayer
                                       Deutsche Bank
872 Twin City Fire Insurance Company   CNA Financial Corp.                           Clients in matters
                                       Hartford Fire International Ltd.              unrelated to the debtors
                                       The Hartford
                                       The Hartford Financial Services Group Inc.
                                       The Hartford Financial Services Group, Inc.
                                       The Hartford Financial Services Inc.
873 Tyco Integrated Security LLC       ADT Security Services                         Clients in matters
                                       CBRE                                          unrelated to the debtors
                                       Delphi Corporation
                                       Entergy
                                       JCI
                                       Johnson Controls
                                       Johnson Controls GmbH
                                       Johnson Controls Inc.


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#   Interested Party Name            Proposed Professionals Connection Name       Connection Type
1   21 st Century Casualty Company   Johnson Controls International               Clients in matters
                                     Johnson Controls, Inc.
                                     Tyco International
                                     Tyco International Ltd.
                                     Visteon Corporation
874 Ubiquitel LLC                    ANI Technologies Private Limited (OLA)       Clients in matters
                                     AnI technologies pvt ltd                     unrelated to the debtors
                                     ANI Technologies Pvt. Ltd.
                                     Avaya
                                     Citi
                                     Didi
                                     Didi Chuxing
                                     Dogus Holding
                                     Dogus Holding A S
                                     Fair
                                     Geometric
                                     Geometric Ltd.
                                     GrabTaxi Holdings Pte Ltd
                                     InMobi
                                     Inmobi Technology Services Private Limited
                                     Nextel
                                     Nextel Brasil
                                     Ola Fleet Technologies Pvt Ltd
                                     Parkjockey
                                     Parkjockey USA
                                     Rappi S.A.S.
                                     Rising Tide Management LLC
                                     SBB - Schweizerische Bundesbahnen
                                     Sofi
                                     Softbank
                                     SoftBank Corp.
                                     SoftBank Energy
                                     Softbank Group Capital Limited
                                     SoftBank Group Corp.
                                     SoftBank Group Corp. - Confidential client
                                     SoftBank Investment Advisers
                                     SoftBank Investment Advisors
                                     Softbank KK
                                     SoftBank Mobile Corp.
                                     Softbank Vision fund
                                     Sprint
                                     Sprint Corp.
                                     Sprint Corporation
                                     Uber
                                     Uber International C.V.
                                     Uber Technologies, Inc.
                                     Vidéotron Ltée
                                     Visa
                                     Vision Fund
                                     WeWork
                                     WeWork Companies Inc.
                                     Wirecard AG
                                     WME IMG



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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Yahoo Japan                                Clients in matters
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
875 UBS AG                           Banco Bilbao Vizcaya Argentaria            Clients in matters
                                     Banco de Credito                           unrelated to the debtors
                                     Banco de Occidente, S.A.
                                     BBVA
                                     BBVA - Banco Bilbao Vizcaya Argentaria
                                     BBVA Compass Bancshares, Inc.
                                     Bluesky Hotels & Resorts Inc.
                                     CCR
                                     EASA
                                     EDP - Electricidade de Portugal, S.A.
                                     EDP- Electricidade de Portugal, SA
                                     Eni Gas e Luce S.p.A.
                                     ENI S.p.A.
                                     Eurazeo
                                     Eurazeo SA
                                     Eurazeo/Lazard
                                     ExxonMobil Fuel & Lubricants
                                     ING
                                     ING Bank Nederland
                                     Nuon
                                     QUIRON
                                     UBS AG
                                     UBS AG, New York Branch
                                     UBS Business Solutions AG
                                     UBS Group AG
                                     UBS Switzerland AG
                                     UBS Wealth Management AG
876 UBS Investment Bank              Banco Bilbao Vizcaya Argentaria            Clients in matters
                                     Banco de Credito                           unrelated to the debtors
                                     Banco de Occidente, S.A.
                                     BBVA
                                     BBVA - Banco Bilbao Vizcaya Argentaria
                                     BBVA Compass Bancshares, Inc.
                                     Bluesky Hotels & Resorts Inc.
                                     CCR
                                     EASA
                                     EDP - Electricidade de Portugal, S.A.
                                     EDP- Electricidade de Portugal, SA
                                     Eni Gas e Luce S.p.A.
                                     ENI S.p.A.
                                     Eurazeo
                                     Eurazeo SA
                                     Eurazeo/Lazard
                                     ExxonMobil Fuel & Lubricants
                                     ING
                                     ING Bank Nederland
                                     Nuon
                                     QUIRON
                                     UBS AG
                                     UBS AG, New York Branch


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#    Interested Party Name              Proposed Professionals Connection Name      Connection Type
1    21 st Century Casualty Company     UBS Business Solutions AG                   Clients in matters
                                        UBS Group AG
                                        UBS Switzerland AG
                                        UBS Wealth Management AG
877 UBS Securities                      Banco Bilbao Vizcaya Argentaria             Clients in matters
                                        Banco de Credito                            unrelated to the debtors
                                        Banco de Occidente, S.A.
                                        BBVA
                                        BBVA - Banco Bilbao Vizcaya Argentaria
                                        BBVA Compass Bancshares, Inc.
                                        Bluesky Hotels & Resorts Inc.
                                        CCR
                                        EASA
                                        EDP - Electricidade de Portugal, S.A.
                                        EDP- Electricidade de Portugal, SA
                                        Eni Gas e Luce S.p.A.
                                        ENI S.p.A.
                                        Eurazeo
                                        Eurazeo SA
                                        Eurazeo/Lazard
                                        ExxonMobil Fuel & Lubricants
                                        ING
                                        ING Bank Nederland
                                        Nuon
                                        QUIRON
                                        UBS AG
                                        UBS AG, New York Branch
                                        UBS Business Solutions AG
                                        UBS Group AG
                                        UBS Switzerland AG
                                        UBS Wealth Management AG
878 UCSF                                University of California - San Francisco    Clients in matters
                                                                                    unrelated to the debtors
879 Underground Construction Co Inc     Intermountain                               Clients in matters
                                        Quanta Services                             unrelated to the debtors
880 Underwriters at Lloyd's London      Society of Lloyd's                          Clients in matters
                                                                                    unrelated to the debtors
881 Unigard Insurance Company           CIGNA                                       Clients in matters
                                        CUNA                                        unrelated to the debtors
                                        ING
                                        ING Bank Nederland
                                        QBE
                                        QBE Insurance Group Ltd
                                        QBE Insurance Group Ltd.
882 Union Bank of California            AIG                                         Clients in matters
                                        Bank of Ayudhya Public Company              unrelated to the debtors
                                        Hitachi Ltd.
                                        HSBC
                                        Mitsubishi Corp.
                                        Mitsubishi Corporation
                                        Mitsubishi UFJ Financial Group, Inc.
                                        Mitsubishi UFJ Trust Bank
                                        MUFG



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#    Interested Party Name                 Proposed Professionals Connection Name            Connection Type
1    21 st Century Casualty Company        MUFG Americas Holdings Corporation                Clients in matters
                                           MUFG Bank Ltd. (New York Branch)
                                           MUFG Bank, Ltd.
                                           MUFG Union Bank, N.A.
                                           MUFG/Union Bank
                                           RBS
                                           The Bank of Tokyo-Mitsubishi UFJ, Ltd
                                           Union Bank
                                           Union Bank of California
                                           Union Bank/ MUFG
883 Union Pacific Railroad Company         Union Pacific                                     Clients in matters
                                           Union Pacific Corporation                         unrelated to the debtors
884 United Airlines                        Avianca                                           Clients in matters
                                           Avianca Lifemiles                                 unrelated to the debtors
                                           Avianca, S.A.
                                           Boeing
                                           Covia
                                           Covia Holdings Corp.
                                           UAL (United Airlines)
                                           United Airlines
                                           United Airlines, Inc.
885 United Energy                          United Energy Multinet Gas                        Clients in matters
                                                                                             unrelated to the debtors
886 United Financial Casualty Company      Progressive Corporation                           Clients in matters
                                           Progressive Insurance                             unrelated to the debtors
887 United Fire & Casualty Company         United Fire Group, Inc.                           Clients in matters
                                                                                             unrelated to the debtors
888 United Rentals - Onsite                United Rentals Inc.                               Clients in matters
                                           United Rentals, Inc.                              unrelated to the debtors
889 United Services Automobile Association United Services Automobile Association            Clients in matters
                                           USAA                                              unrelated to the debtors
890 United Specialty Insurance Company     Colfax Corporation                                Clients in matters
                                           Markel Corporation                                unrelated to the debtors
                                           Markel Insurance
891 United States Aircraft Insurance Group American Electric Power (AEP)                     Clients in matters
                                           Bankia                                            unrelated to the debtors
                                           BNSF Railway Company
                                           BP
                                           BP p.l.c.
                                           Burlington Northern Santa Fe
                                           Burlington Northern Santa Fe Corporation
                                           Burlington Northern Santa Fe Corporation (BNSF)
                                           Chemours
                                           Chevron
                                           Citi
                                           Corning CDT
                                           CSRA
                                           CSRA Inc.
                                           Daimler PGMex
                                           DaVita Inc.
                                           Dow Chemical Company
                                           Dow DuPont
                                           Dow DuPont Ag Co


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Dow DuPont AgCo                            Clients in matters
                                     DowDuPont
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa
                                     Visa Canada Corporation
                                     Visa Inc



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#    Interested Party Name                 Proposed Professionals Connection Name            Connection Type
1    21 st Century Casualty Company        Visa Inc.                                         Clients in matters
                                           Visa Worldwide Pte. Limited
                                           Zhejiang Hengyi Group Co. Ltd.
                                           Zhejiang Huaye
892 United States Fire Insurance Company   Abitibi-Consolidated                              Clients in matters
    dba Crum & Forster                     Advent - Estacio                                  unrelated to the debtors
                                           Advent - Grupo Fleury
                                           Advent / CCC Information Services
                                           Advent International France
                                           AXA UK plc
                                           GE
                                           Markel Insurance
                                           Mosaic
                                           Mytilineos Holdings S.A.
                                           QBE
                                           Resolute Forest Products
                                           Resolute Forest Products Inc.
                                           Resolute Forest Products, Inc.
                                           Riverstone
                                           Riverstone Holdings Llc
                                           The Mosaic Co.
                                           The Mosaic Company
                                           Transamerica Reinsurance
893 United States Liability Insurance      American Electric Power (AEP)                     Clients in matters
    Company                                Bankia                                            unrelated to the debtors
                                           BNSF Railway Company
                                           BP
                                           BP p.l.c.
                                           Burlington Northern Santa Fe
                                           Burlington Northern Santa Fe Corporation
                                           Burlington Northern Santa Fe Corporation (BNSF)
                                           Chemours
                                           Chevron
                                           Citi
                                           Corning CDT
                                           CSRA
                                           CSRA Inc.
                                           Daimler PGMex
                                           DaVita Inc.
                                           Dow Chemical Company
                                           Dow DuPont
                                           Dow DuPont Ag Co
                                           Dow DuPont AgCo
                                           DowDuPont
                                           DowDuPont Ag Division
                                           DowDupont AgCo
                                           DowDuPont Inc.
                                           DowDupont SpecCo
                                           DQ DC Multi-client code
                                           Duke Energy
                                           DuPont
                                           DuPont Nutrition & Health
                                           DuPont Pioneer


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#    Interested Party Name              Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company     DuPont/Pioneer                             Clients in matters
                                        Firmenich International Sa
                                        Fresenius RTG
                                        Fresenius SE & Co. KGaA
                                        GE
                                        GE Power, SPS
                                        GEHC
                                        General Dynamic UK
                                        General Dynamics Corporation
                                        General Motors Corp. - Confidential
                                        Hyatt
                                        Hyatt Corporation
                                        Hyatt Hotels Corporation
                                        Intermountain
                                        Kraft Foods Inc.
                                        Kraft Heinz
                                        KraftHeinz Canada
                                        Kraft-Heinz Canada
                                        L&T
                                        L&T digital
                                        L&T Infotech
                                        Lubrizol Corp
                                        Lubrizol Corporation
                                        Micron
                                        Mondelez International
                                        Mondelez International Inc.
                                        Nissan
                                        OTC
                                        PKP Energetyka
                                        Providence
                                        ROHM Co. Ltd
                                        Sun Life
                                        Tesco PLC
                                        The Kraft Heinz Company
                                        The Kraft Heinz Company - via Genpact
                                        The Kraft Heinz Foods Company
                                        Timet
                                        Trident Group
                                        Viacom 18
                                        Visa
                                        Visa Canada Corporation
                                        Visa Inc
                                        Visa Inc.
                                        Visa Worldwide Pte. Limited
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
894 Univar USA Inc                      Dow DuPont Ag Co                           Clients in matters
                                        Univar                                     unrelated to the debtors
                                        Univar Corp.
                                        Univar Inc.
895 Universal Plant Services            NRG Energy Inc.                            Clients in matters
                                                                                   unrelated to the debtors




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#    Interested Party Name            Proposed Professionals Connection Name            Connection Type
1896 21 st Century
     University    Casualty Company
                of Miami              University of Miami                               Clients in matters
                                                                                        unrelated to the debtors
897 URENCO Limited                    Enrichment Technology Company Limited             Clients in matters
                                      Enrichment Technology Company Ltd                 unrelated to the debtors
898 US Aviation Insurance Group       American Electric Power (AEP)                     Clients in matters
                                      Bankia                                            unrelated to the debtors
                                      BNSF Railway Company
                                      BP
                                      BP p.l.c.
                                      Burlington Northern Santa Fe
                                      Burlington Northern Santa Fe Corporation
                                      Burlington Northern Santa Fe Corporation (BNSF)
                                      Chemours
                                      Chevron
                                      Citi
                                      Corning CDT
                                      CSRA
                                      CSRA Inc.
                                      Daimler PGMex
                                      DaVita Inc.
                                      Dow Chemical Company
                                      Dow DuPont
                                      Dow DuPont Ag Co
                                      Dow DuPont AgCo
                                      DowDuPont
                                      DowDuPont Ag Division
                                      DowDupont AgCo
                                      DowDuPont Inc.
                                      DowDupont SpecCo
                                      DQ DC Multi-client code
                                      Duke Energy
                                      DuPont
                                      DuPont Nutrition & Health
                                      DuPont Pioneer
                                      DuPont/Pioneer
                                      Firmenich International Sa
                                      Fresenius RTG
                                      Fresenius SE & Co. KGaA
                                      GE
                                      GE Power, SPS
                                      GEHC
                                      General Dynamic UK
                                      General Dynamics Corporation
                                      General Motors Corp. - Confidential
                                      Hyatt
                                      Hyatt Corporation
                                      Hyatt Hotels Corporation
                                      Intermountain
                                      Kraft Foods Inc.
                                      Kraft Heinz
                                      KraftHeinz Canada
                                      Kraft-Heinz Canada
                                      L&T



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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      L&T digital                                Clients in matters
                                        L&T Infotech
                                        Lubrizol Corp
                                        Lubrizol Corporation
                                        Micron
                                        Mondelez International
                                        Mondelez International Inc.
                                        Nissan
                                        OTC
                                        PKP Energetyka
                                        Providence
                                        ROHM Co. Ltd
                                        Sun Life
                                        Tesco PLC
                                        The Kraft Heinz Company
                                        The Kraft Heinz Company - via Genpact
                                        The Kraft Heinz Foods Company
                                        Timet
                                        Trident Group
                                        Viacom 18
                                        Visa
                                        Visa Canada Corporation
                                        Visa Inc
                                        Visa Inc.
                                        Visa Worldwide Pte. Limited
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
899 US Bank                             U.S. Bancorp                               Clients in matters
                                        US Bancorp                                 unrelated to the debtors
                                        US Bank
900 US Bank NA                          Avon                                       Clients in matters
                                        Avon Global                                unrelated to the debtors
                                        Citi
                                        City National Bank
                                        Daimler PGMex
                                        Deutsche Bank
                                        Eldridge Industries
                                        Kroger
                                        Maritime Bank
                                        Old National Bancorp
                                        State Street
                                        U.S. Bancorp
                                        US Bancorp
                                        US Bank
                                        Visa
                                        Visa Canada Corporation
                                        Visa Inc
                                        Visa Inc.
                                        Visa Worldwide Pte. Limited
901 US Bank NA Global Corporate Trust   Avon                                       Clients in matters
    Services                            Avon Global                                unrelated to the debtors
                                        Citi
                                        City National Bank


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#   Interested Party Name                  Proposed Professionals Connection Name              Connection Type
1   21 st Century Casualty Company         Daimler PGMex                                       Clients in matters
                                           Deutsche Bank
                                           Eldridge Industries
                                           Kroger
                                           Maritime Bank
                                           Old National Bancorp
                                           State Street
                                           U.S. Bancorp
                                           US Bancorp
                                           US Bank
                                           Visa
                                           Visa Canada Corporation
                                           Visa Inc
                                           Visa Inc.
                                           Visa Worldwide Pte. Limited
902 US Bank National Association           Avon                                                Clients in matters
                                           Avon Global                                         unrelated to the debtors
                                           Citi
                                           City National Bank
                                           Daimler PGMex
                                           Deutsche Bank
                                           Eldridge Industries
                                           Kroger
                                           Maritime Bank
                                           Old National Bancorp
                                           State Street
                                           U.S. Bancorp
                                           US Bancorp
                                           US Bank
                                           Visa
                                           Visa Canada Corporation
                                           Visa Inc
                                           Visa Inc.
                                           Visa Worldwide Pte. Limited
903 US Department of Transportation        US Department of Transportation - FAA - MOBIS       Clients in matters
                                           US Department of Transportation (GRA) - FAA - IFF   unrelated to the debtors
                                           US Dept of Transp - FAA (CGH)
                                           US Dept of Transportation - FAA (LS Tech)
904 US Nuclear Regulatory Commission       Nuclear Regulatory Commission                       Clients in matters
                                                                                               unrelated to the debtors
905 US Securities and Exchange Commission Securities and Exchange Commission - (Chevo)         Clients in matters
                                          Securities and Exchange Commission - (Chevo) - GSA   unrelated to the debtors
                                          Securities and Exchange Commission - (Chevo) - IFF
                                          Securities and Exchange Commission (SEC)
906 US Specialty Insurance Company        Tokio Marine Holdings Inc.                           Clients in matters
                                          Tokio Marine Holdings, Inc.                          unrelated to the debtors
907 US Telepacific Corp                   ICG - Intermediated Capital Group                    Clients in matters
                                                                                               unrelated to the debtors
908 USA Waste of California                Allegro Sp. z o.o                                   Clients in matters
                                           Enerkem                                             unrelated to the debtors
                                           Enerkem Inc.
                                           Ulster
                                           Waste Management



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#    Interested Party Name                 Proposed Professionals Connection Name     Connection Type
1909 21 st Century
     USAA   CasualtyCasualty Company
                     Insurance Company     United Services Automobile Association     Clients in matters
                                           USAA                                       unrelated to the debtors
910 USAA General Indemnity Company         United Services Automobile Association     Clients in matters
                                           USAA                                       unrelated to the debtors
911 UTEC Constructors Corporation          ABB Ltd                                    Clients in matters
                                           Autoroute du Maroc                         unrelated to the debtors
                                           Citi
                                           ITC
                                           MTN
912 Utility Tree Service LLC               American Electric Power (AEP)              Clients in matters
                                                                                      unrelated to the debtors
913 Valero Refining Company                AMR Interagency Coordination Mechanism     Clients in matters
                                           BP                                         unrelated to the debtors
                                           BP p.l.c.
                                           Chevron
                                           Enerkem
                                           Enerkem Inc.
                                           Vale S.A.
914 Valero Refining Company - California   AMR Interagency Coordination Mechanism     Clients in matters
                                           BP                                         unrelated to the debtors
                                           BP p.l.c.
                                           Chevron
                                           Enerkem
                                           Enerkem Inc.
                                           Vale S.A.
915 Validus Reinsurance Limited            AIG                                        Clients in matters
                                           AIG Capital Corporation                    unrelated to the debtors
                                           AIG Property Casualty
                                           American International Group (AIG)
                                           Avon
                                           Avon Global
                                           Blackboard
                                           BridgeBio Pharma LLC
                                           BRISA
                                           BT
                                           Citi
                                           GE
                                           General Atlantic
                                           General Atlantic (UK) LLP
                                           General Atlantic Partners
                                           Hamilton Insurance
                                           ING
                                           ING Bank Nederland
                                           PineBridge Investments
                                           QED Therapeutics
                                           Vodafone
                                           Vodafone (VOD)
                                           Vodafone Group PLC
916 Valley Forge Insurance Company         Chevron                                    Clients in matters
                                           CNA Financial Corp.                        unrelated to the debtors
                                           CNA Insurance
                                           CNA Insurance Companies
                                           Diamond Offshore


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#    Interested Party Name              Proposed Professionals Connection Name          Connection Type
1    21 st Century Casualty Company     Diamond Offshore Drilling Inc.                  Clients in matters
                                        Loews Corp.
917 Valley Power Systems North          Beijing Mercedes-Benz Sales Service Co., Ltd.   Clients in matters
                                        car2go group GmbH                               unrelated to the debtors
                                        CGI
                                        Daimler
                                        Daimler AG
                                        Daimler Financial Services AG
                                        Daimler PGMex
                                        Daimler Trucks North America
                                        Denza Auto
                                        EvoBus GmbH
                                        HERE
                                        HERE Technologies
                                        Mercedes-Benz (China) Ltd.
                                        Mercedes-Benz Automotive Finance
                                        Mercedes-Benz Energy GmbH
                                        Mercedes-Benz Manufacturing Poland Sp. z o.o.
                                        Mercedes-Benz Research & Development North
                                        America, Inc.
                                        Moovel GmbH
                                        Nissan
                                        Nissan Europe
                                        Nissan Middle East
                                        Renault Nissan
                                        Renault-Nissan
                                        Renault-Nissan Alliance
                                        Renault-Nissan B.V.
                                        THERE Holding B.V.
918 Vantage Wind Energy LLC             Duke Energy                                     Clients in matters
                                                                                        unrelated to the debtors
919 Varde Partners Inc                  Citi                                            Clients in matters
                                        GE                                              unrelated to the debtors
                                        Hilton
                                        Varde Partners Inc
920 Veolia ES Industrial Services Inc   Clean Harbors                                   Clients in matters
                                        Mercedes-Benz Automotive Finance                unrelated to the debtors
                                        Murphy Oil
921 Verizon                             Alltel                                          Clients in matters
                                        Intel                                           unrelated to the debtors
                                        Intermedia
                                        Verizon
                                        Verizon Communications
                                        Yahoo Japan
922 Verizon Business Network Services   Alltel                                          Clients in matters
                                        Intel                                           unrelated to the debtors
                                        Intermedia
                                        Verizon
                                        Verizon Communications
                                        Yahoo Japan
923 Verizon Network Operations          Alltel                                          Clients in matters
                                        Intel                                           unrelated to the debtors
                                        Intermedia


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#   Interested Party Name                 Proposed Professionals Connection Name            Connection Type
1   21 st Century Casualty Company        Verizon                                           Clients in matters
                                          Verizon Communications
                                          Yahoo Japan
924 Verizon Wireless                      Verizon                                           Clients in matters
                                                                                            unrelated to the debtors
925 Vigilant Insurance Company          Chubb                                               Clients in matters
                                        Chubb Corporation                                   unrelated to the debtors
                                        CIGNA
                                        INA
                                        INA-Holding Schaeffler KG
926 Vistra Energy                       Ameren                                              Clients in matters
                                        Ameren Energy                                       unrelated to the debtors
                                        Dynegy Inc
                                        Dynegy, Inc.
                                        Luminant
                                        Public Power Corporation
                                        Vistra Energy
                                        Vistra Energy Corp.
927 Vitol Inc                           Port of Antwerp                                     Clients in matters
                                        Royal Dutch Shell                                   unrelated to the debtors
                                        Royal Dutch Shell plc
                                        Royal Dutch Shell Retail
                                        Royal Dutch/Shell Group
                                        Shell
                                        TOTAL S.A.
                                        Vitol Services Limited
928 Voith Turbo Inc                     Schneider Electric Operations and Consulting GmbH   Clients in matters
                                        ThyssenKrupp CSA                                    unrelated to the debtors
                                        Voith Familien Verwaltung Gmbh
                                        Voith Paper GmbH & Co. KG
929 Voyager Indemnity Insurance Company American Securities                                 Clients in matters
                                        GE                                                  unrelated to the debtors
                                        Insurance Australia Group Limited (IAG)
930 Vulcan Power Company                American Electric Power (AEP)                       Clients in matters
                                        Bankia                                              unrelated to the debtors
                                        BNSF Railway Company
                                        BP
                                        BP p.l.c.
                                        Burlington Northern Santa Fe
                                        Burlington Northern Santa Fe Corporation
                                        Burlington Northern Santa Fe Corporation (BNSF)
                                        Chemours
                                        Chevron
                                        Citi
                                        Corning CDT
                                        CSRA
                                        CSRA Inc.
                                        Daimler PGMex
                                        DaVita Inc.
                                        Dow Chemical Company
                                        Dow DuPont
                                        Dow DuPont Ag Co
                                        Dow DuPont AgCo


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   DowDuPont                                  Clients in matters
                                     DowDuPont Ag Division
                                     DowDupont AgCo
                                     DowDuPont Inc.
                                     DowDupont SpecCo
                                     DQ DC Multi-client code
                                     Duke Energy
                                     DuPont
                                     DuPont Nutrition & Health
                                     DuPont Pioneer
                                     DuPont/Pioneer
                                     Firmenich International Sa
                                     Fresenius RTG
                                     Fresenius SE & Co. KGaA
                                     GE
                                     GE Power, SPS
                                     GEHC
                                     General Dynamic UK
                                     General Dynamics Corporation
                                     General Motors Corp. - Confidential
                                     Hyatt
                                     Hyatt Corporation
                                     Hyatt Hotels Corporation
                                     Intermountain
                                     Kraft Foods Inc.
                                     Kraft Heinz
                                     KraftHeinz Canada
                                     Kraft-Heinz Canada
                                     L&T
                                     L&T digital
                                     L&T Infotech
                                     Lubrizol Corp
                                     Lubrizol Corporation
                                     Micron
                                     Mondelez International
                                     Mondelez International Inc.
                                     Nissan
                                     OTC
                                     PKP Energetyka
                                     Providence
                                     ROHM Co. Ltd
                                     Sun Life
                                     Tesco PLC
                                     The Kraft Heinz Company
                                     The Kraft Heinz Company - via Genpact
                                     The Kraft Heinz Foods Company
                                     Timet
                                     Trident Group
                                     Viacom 18
                                     Visa
                                     Visa Canada Corporation
                                     Visa Inc
                                     Visa Inc.



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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      Visa Worldwide Pte. Limited                Clients in matters
                                        Zhejiang Hengyi Group Co. Ltd.
                                        Zhejiang Huaye
931 Wachovia Corporate Services Inc     Citi                                       Clients in matters
                                        Eaton                                      unrelated to the debtors
                                        GE
                                        GEHC
                                        JP Morgan
                                        JPMorgan Chase & Co. - Confidential
                                        Norwest Equity Partners
                                        PNC
                                        Sirius XM
                                        Wells Fargo
                                        Wells Fargo & Company
                                        Wells Fargo Bank
                                        Wells Fargo Bank, N.A.
932 Wartsila North America Inc          ABP                                        Clients in matters
                                        Wärtsilä                                   unrelated to the debtors
                                        Wärtsilä Corporation
933 Waste Management Inc                Allegro Sp. z o.o                          Clients in matters
                                        Enerkem                                    unrelated to the debtors
                                        Enerkem Inc.
                                        Ulster
                                        Waste Management
934 Waste Management National Services Allegro Sp. z o.o                           Clients in matters
    Inc                                 Enerkem                                    unrelated to the debtors
                                        Enerkem Inc.
                                        Ulster
                                        Waste Management
935 Waste Management of Alameda         Allegro Sp. z o.o                          Clients in matters
                                        Enerkem                                    unrelated to the debtors
                                        Enerkem Inc.
                                        Ulster
                                        Waste Management
936 Waste Management of Antelope Valley Allegro Sp. z o.o                          Clients in matters
                                        Enerkem                                    unrelated to the debtors
                                        Enerkem Inc.
                                        Ulster
                                        Waste Management
937 Waste Management of Nevada          Allegro Sp. z o.o                          Clients in matters
                                        Enerkem                                    unrelated to the debtors
                                        Enerkem Inc.
                                        Ulster
                                        Waste Management
938 Weatherford International LLC - USA Baker Hugues                               Clients in matters
                                        Weatherford                                unrelated to the debtors
                                        Weatherford International
                                        Weatherford Worldwide Holdings GMBH
939 Wells Fargo & Company               Citi                                       Clients in matters
                                        Eaton                                      unrelated to the debtors
                                        GE
                                        GEHC
                                        JP Morgan


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#    Interested Party Name                  Proposed Professionals Connection Name     Connection Type
1    21 st Century Casualty Company         JPMorgan Chase & Co. - Confidential        Clients in matters
                                            Norwest Equity Partners
                                            PNC
                                            Sirius XM
                                            Wells Fargo
                                            Wells Fargo & Company
                                            Wells Fargo Bank
                                            Wells Fargo Bank, N.A.
940 Wells Fargo Bank National Association   Citi                                       Clients in matters
                                            Eaton                                      unrelated to the debtors
                                            GE
                                            GEHC
                                            JP Morgan
                                            JPMorgan Chase & Co. - Confidential
                                            Norwest Equity Partners
                                            PNC
                                            Sirius XM
                                            Wells Fargo
                                            Wells Fargo & Company
                                            Wells Fargo Bank
                                            Wells Fargo Bank, N.A.
941 Wells Fargo Bank, Ltd.                  Citi                                       Clients in matters
                                            Eaton                                      unrelated to the debtors
                                            GE
                                            GEHC
                                            JP Morgan
                                            JPMorgan Chase & Co. - Confidential
                                            Norwest Equity Partners
                                            PNC
                                            Sirius XM
                                            Wells Fargo
                                            Wells Fargo & Company
                                            Wells Fargo Bank
                                            Wells Fargo Bank, N.A.
942 Wells Fargo Securities LLC              Citi                                       Clients in matters
                                            Eaton                                      unrelated to the debtors
                                            GE
                                            GEHC
                                            JP Morgan
                                            JPMorgan Chase & Co. - Confidential
                                            Norwest Equity Partners
                                            PNC
                                            Sirius XM
                                            Wells Fargo
                                            Wells Fargo & Company
                                            Wells Fargo Bank
                                            Wells Fargo Bank, N.A.
943 Wendel Energy Operations I              Wendel                                     Clients in matters
                                                                                       unrelated to the debtors
944 Wesco Insurance Company                 American Capital Ltd.                      Clients in matters
                                            Genworth Financial                         unrelated to the debtors
                                            Genworth Financial Inc.
945 West American Insurance Company         ING                                        Clients in matters
                                                                                       unrelated to the debtors

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#   Interested Party Name               Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company      ING Bank Nederland                         Clients in matters
                                                                                   unrelated  to the debtors
                                        Liberty Insurance
                                        Liberty Mutual
                                        Liberty Mutual Group
                                        Liberty Mutual Group, Inc.
                                        Liberty Mutual Holding Company Inc.
                                        Liberty Mutual Insurance Company
946 Westchester Fire Insurance Company  Chubb                                      Clients in matters
                                        Chubb Corporation                          unrelated to the debtors
                                        CIGNA
                                        INA
                                        INA-Holding Schaeffler KG
947 Westchester Surplus Lines Insurance Chubb                                      Clients in matters
    Company                             Chubb Corporation                          unrelated to the debtors
                                        CIGNA
                                        INA
                                        INA-Holding Schaeffler KG
948 Western Alliance Bancorp            GE                                         Clients in matters
                                        Intermountain                              unrelated to the debtors
                                        The Clearing House
949 Western Asset Management Company Citi                                          Clients in matters
                                        Crow Holdings                              unrelated to the debtors
                                        ING Groep N.V.
                                        Legg Mason
                                        Seagate
                                        Seagate Technology Inc.
950 Western Heritage Insurance Company Nationwide                                  Clients in matters
                                        Nationwide Insurance                       unrelated to the debtors
951 Western World Insurance Company     AIG                                        Clients in matters
                                        AIG Capital Corporation                    unrelated to the debtors
                                        AIG Property Casualty
                                        American International Group (AIG)
                                        Avon
                                        Avon Global
                                        Blackboard
                                        BridgeBio Pharma LLC
                                        BRISA
                                        BT
                                        Citi
                                        GE
                                        General Atlantic
                                        General Atlantic (UK) LLP
                                        General Atlantic Partners
                                        Hamilton Insurance
                                        ING
                                        ING Bank Nederland
                                        PineBridge Investments
                                        QED Therapeutics
                                        Vodafone
                                        Vodafone (VOD)
                                        Vodafone Group PLC
952 Westport Insurance Corporation      Australis Partners (Advisers), LLC         Clients in matters
                                        CIGNA                                      unrelated to the debtors


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#   Interested Party Name              Proposed Professionals Connection Name                Connection Type
1   21 st Century Casualty Company     CNA Financial Corp.                                   Clients in matters
                                       CNA Insurance
                                       FWD Group Management Holdings Limited
                                       GE
                                       HSBC
                                       Old Mutual Latam
                                       Shinsei Bank
                                       Shinsei Bank Ltd
                                       Shinsei Bank, Limited
                                       Shinsei Bank, Ltd.
                                       Swiss Re
                                       Swiss Re Corporate Solutions
                                       Swiss Re Management Ltd
                                       UBF (UAE Banks Federation)
953 WGL Energy Systems Inc             Chevron                                               Clients in matters
                                       TransCanada                                           unrelated to the debtors
954 Wheelabrator Shasta Energy Company Wheelabrator                                          Clients in matters
    Inc                                                                                      unrelated to the debtors
955 Wheelabrator Technologies Inc      Wheelabrator                                          Clients in matters
                                                                                             unrelated to the debtors
956 White & Case                           White & Case LLP                                  Clients in matters
                                                                                             unrelated to the debtors
957 Whitebox Advisors LLC               Ad hoc lenders to Arch Coal on behalf of Whitebox    Clients in matters
                                        Advisors LLC                                         unrelated to the debtors
958 Whitebox Asymmetric Partners LP     Ad hoc lenders to Arch Coal on behalf of Whitebox    Clients in matters
                                        Advisors LLC                                         unrelated to the debtors
959 Whitebox Multi-Strategy Partners LP Ad hoc lenders to Arch Coal on behalf of Whitebox    Clients in matters
                                        Advisors LLC                                         unrelated to the debtors
960 Wild Well Control Inc               MGM                                                  Clients in matters
                                        Shell                                                unrelated to the debtors
961 Williams Energy Power Company       Bluestem Brands                                      Clients in matters
                                        TransCanada                                          unrelated to the debtors
                                        Transcontinental Inc
962 Williams Field Services             Bluestem Brands                                      Clients in matters
                                        TransCanada                                          unrelated to the debtors
                                        Transcontinental Inc
963 Willis Towers Watson US LLC         BPI Shiseido                                         Clients in matters
                                        International Business Machines Corporation (IBM)    unrelated to the debtors
964 Winco Inc                           Intermountain                                        Clients in matters
                                        Quanta Services                                      unrelated to the debtors
965 Wood Group USA Inc – Upstream and Ares                                                   Clients in matters
    Midstream Engineering               GE                                                   unrelated to the debtors
                                        GE Oil & Gas
                                        GE Oil & Gas (GE Baker)
                                        General Electric Oil & Gas
                                        Philips Lighting B.V.
                                        Rolls Royce Defense
                                        TransCanada
                                        TransCanada Corporation
966 WPX Energy Mktg                     WPX Energy                                           Clients in matters
                                        WPX Energy Inc.                                      unrelated to the debtors
967 XL Insurance America Inc            Ad hoc lenders to Arch Coal on behalf of Catlin Re   Clients in matters
                                        Switzerland Ltd.                                     unrelated to the debtors


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#   Interested Party Name            Proposed Professionals Connection Name     Connection Type
1   21 st Century Casualty Company   Ardian                                     Clients in matters
                                     Automatic Data Processing Inc. (ADP)
                                     AXA
                                     AXA Colpatria
                                     AXA Konzern AG
                                     AXA Lebensversicherungs AG
                                     AXA Life Insurance Co., Ltd.
                                     AXA Tianping
                                     AXA UK plc
                                     AXA-Equitable Holdings
                                     AXA-US
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     BP p.l.c.
                                     Clariant International AG
                                     Colpatria
                                     Essity
                                     Essity AB
                                     ExxonMobil Fuel & Lubricants
                                     HSBC
                                     Huntsman PU
                                     KAMET AXA
                                     Kotak Mahindra Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monte Dei Paschi Di Siena
                                     MPS - Monte dei Paschi di Siena
                                     QBE
                                     Rio Tinto
                                     Rio Tinto Alcan
                                     Rio Tinto Alcan Inc.
                                     Rio Tinto Aluminium
                                     Rio Tinto B&A
                                     Rio Tinto Bauxite & Alumina
                                     Rio Tinto Bauxite and Alumina
                                     Rio Tinto Coal Australia
                                     Rio Tinto Copper Group
                                     Rio Tinto Fer & Titane
                                     Rio Tinto Iron and Titanium
                                     Rio Tinto Iron and Titanium Limited
                                     Rio Tinto Iron Ore
                                     Rio Tinto Limited
                                     Rio Tinto PLC
                                     SCA
                                     SCA Consumer
                                     Sintetica
                                     Solvay
                                     Solvay Chemicals



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#   Interested Party Name            Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company   Sun Life                                             Clients in matters
                                     Svenska Cellulosa AB
                                     Swiss Medical Group
                                     The Procter & Gamble Company (P&G)
                                     UPM-Kymmene Oyj
                                     Wintershall Holding GmbH
                                     XL Catlin
                                     XL Group Plc
                                     XL Insurance
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
968 XL Insurance Company             Ad hoc lenders to Arch Coal on behalf of Catlin Re   Clients in matters
                                     Switzerland Ltd.                                     unrelated to the debtors
                                     Ardian
                                     Automatic Data Processing Inc. (ADP)
                                     AXA
                                     AXA Colpatria
                                     AXA Konzern AG
                                     AXA Lebensversicherungs AG
                                     AXA Life Insurance Co., Ltd.
                                     AXA Tianping
                                     AXA UK plc
                                     AXA-Equitable Holdings
                                     AXA-US
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     BP p.l.c.
                                     Clariant International AG
                                     Colpatria
                                     Essity
                                     Essity AB
                                     ExxonMobil Fuel & Lubricants
                                     HSBC
                                     Huntsman PU
                                     KAMET AXA
                                     Kotak Mahindra Group
                                     Merck
                                     Merck KGAA
                                     Merck Millipore Sigma
                                     Monte Dei Paschi Di Siena
                                     MPS - Monte dei Paschi di Siena
                                     QBE
                                     Rio Tinto
                                     Rio Tinto Alcan
                                     Rio Tinto Alcan Inc.
                                     Rio Tinto Aluminium
                                     Rio Tinto B&A
                                     Rio Tinto Bauxite & Alumina
                                     Rio Tinto Bauxite and Alumina



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#   Interested Party Name            Proposed Professionals Connection Name               Connection Type
1   21 st Century Casualty Company   Rio Tinto Coal Australia                             Clients in matters
                                     Rio Tinto Copper Group
                                     Rio Tinto Fer & Titane
                                     Rio Tinto Iron and Titanium
                                     Rio Tinto Iron and Titanium Limited
                                     Rio Tinto Iron Ore
                                     Rio Tinto Limited
                                     Rio Tinto PLC
                                     SCA
                                     SCA Consumer
                                     Sintetica
                                     Solvay
                                     Solvay Chemicals
                                     Sun Life
                                     Svenska Cellulosa AB
                                     Swiss Medical Group
                                     The Procter & Gamble Company (P&G)
                                     UPM-Kymmene Oyj
                                     Wintershall Holding GmbH
                                     XL Catlin
                                     XL Group Plc
                                     XL Insurance
                                     Zhejiang Hengyi Group Co. Ltd.
                                     Zhejiang Huaye
969 XL Specialty Insurance Company   Ad hoc lenders to Arch Coal on behalf of Catlin Re   Clients in matters
                                     Switzerland Ltd.                                     unrelated to the debtors
                                     Ardian
                                     Automatic Data Processing Inc. (ADP)
                                     AXA
                                     AXA Colpatria
                                     AXA Konzern AG
                                     AXA Lebensversicherungs AG
                                     AXA Life Insurance Co., Ltd.
                                     AXA Tianping
                                     AXA UK plc
                                     AXA-Equitable Holdings
                                     AXA-US
                                     BASF
                                     BASF Corp.
                                     BASF Corporation
                                     BASF New Business GmbH
                                     BASF SE
                                     Bayer
                                     BP p.l.c.
                                     Clariant International AG
                                     Colpatria
                                     Essity
                                     Essity AB
                                     ExxonMobil Fuel & Lubricants
                                     HSBC
                                     Huntsman PU
                                     KAMET AXA
                                     Kotak Mahindra Group



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#    Interested Party Name                  Proposed Professionals Connection Name                Connection Type
1    21 st Century Casualty Company         Merck                                                 Clients in matters
                                            Merck KGAA
                                            Merck Millipore Sigma
                                            Monte Dei Paschi Di Siena
                                            MPS - Monte dei Paschi di Siena
                                            QBE
                                            Rio Tinto
                                            Rio Tinto Alcan
                                            Rio Tinto Alcan Inc.
                                            Rio Tinto Aluminium
                                            Rio Tinto B&A
                                            Rio Tinto Bauxite & Alumina
                                            Rio Tinto Bauxite and Alumina
                                            Rio Tinto Coal Australia
                                            Rio Tinto Copper Group
                                            Rio Tinto Fer & Titane
                                            Rio Tinto Iron and Titanium
                                            Rio Tinto Iron and Titanium Limited
                                            Rio Tinto Iron Ore
                                            Rio Tinto Limited
                                            Rio Tinto PLC
                                            SCA
                                            SCA Consumer
                                            Sintetica
                                            Solvay
                                            Solvay Chemicals
                                            Sun Life
                                            Svenska Cellulosa AB
                                            Swiss Medical Group
                                            The Procter & Gamble Company (P&G)
                                            UPM-Kymmene Oyj
                                            Wintershall Holding GmbH
                                            XL Catlin
                                            XL Group Plc
                                            XL Insurance
                                            Zhejiang Hengyi Group Co. Ltd.
                                            Zhejiang Huaye
970 York Capital Management Global          Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj    Clients in matters
    Advisors LLC on behalf of certain funds Finance on behalf of York Capital Management Global   unrelated to the debtors
    andor accounts managed or advised by Advisors, LLC
    it or its affiliates                    Ad Hoc Group of Lenders to Tru Taj LLC and TRU Taj
                                            Finance on behalf of York Capital Management Global
                                            Advisors, LLC
971 Zayo Group Holdings Inc                 Avista Capital Partners Ii Gp Llc.                    Clients in matters
                                                                                                  unrelated to the debtors
972 Zayo Group LLC                          Avista Capital Partners Ii Gp Llc.                    Clients in matters
                                                                                                  unrelated to the debtors
973 Zenith Insurance Company                Abitibi-Consolidated                                  Clients in matters
                                            Advent - Estacio                                      unrelated to the debtors
                                            Advent - Grupo Fleury
                                            Advent / CCC Information Services
                                            Advent International France
                                            AXA UK plc



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#   Interested Party Name               Proposed Professionals Connection Name          Connection Type
1   21 st Century Casualty Company      GE                                              Clients in matters
                                        Markel Insurance
                                        Mosaic
                                        Mytilineos Holdings S.A.
                                        QBE
                                        Resolute Forest Products
                                        Resolute Forest Products Inc.
                                        Resolute Forest Products, Inc.
                                        Riverstone
                                        Riverstone Holdings Llc
                                        The Mosaic Co.
                                        The Mosaic Company
                                        Transamerica Reinsurance
974 Zurich American Insurance Company   AIG                                             Clients in matters
                                        Baloise-Holding AG                              unrelated to the debtors
                                        Basler Versicherung AG
                                        Gilde Buy Out Partners
                                        ING
                                        ING Bank Nederland
                                        QBE
                                        Santander Brasil
                                        Santander Mexico
                                        Unum
                                        Zurich Deutscher Herold Lebensversicherung AG
                                        Zurich Financial Services
                                        Zurich Insurance
                                        Zurich Insurance Company Ltd
                                        Zurich Insurance Group AG
                                        Zurich North America
                                        Zurich-Santander
975 Zurich Insurance Company Ltd        AIG                                             Clients in matters
                                                                                        unrelated to the debtors




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#    Interested Party Name                  Proposed Professionals Connection Name                    Connection Type
1    21 st Century Casualty Company         ZURICH AMERICAN INSURANCE COMPANY                         Vendor
2    21st Century Insurance Company         ZURICH AMERICAN INSURANCE COMPANY                         Vendor
3    3 Phase Line Construction Inc          THE BOTTOM LINE INC                                       Vendor
4    683 Capital Partners LP on behalf of                                                             Vendor
     certain funds and accounts             SUNEDISON PRODUCTS SINGAPORE PTE LTD
5    7-Eleven Inc                           AMEX CARD                                                 Vendor
                                            SEVEN ELEVEN
6    ABB Inc                                ABB ENTERPRISE SOFTWARE INC                           Vendor
7    ABM Building Solutions LLC             ABM JANITORIAL NORTH CENTRAL                          Vendor
                                            ABM JANITORIAL SERVICES
                                            ABM PARKING SERVICES
8    ABM Industries Incorporated            ABM JANITORIAL NORTH CENTRAL                          Vendor
                                            ABM JANITORIAL SERVICES
                                            ABM PARKING SERVICES
9    Accenture                            A AND C INCENTIVOS SA DE CV                             Vendor
                                          ACCENTURE LLP
                                          ALTITUDE
                                          ARIBA INC
                                          CLEARHEAD GROUPLLC
                                          CLOUD SHERPAS LLC
                                          DEMANDBASE INC
                                          KOGENTIX INC
                                          MATTERMOST
                                          NCINO INC
                                          SOLUTIONSIQ INC
                                          UPS
                                          UPS LIMITED
                                          WHIRLPOOL COLLECTIVE IMPACT FUND
10   Acciona Energy NA Pacific Renewables A AND C INCENTIVOS SA DE CV                             Vendor
11   ACCO Engineered Systems Inc          ACCO ENGINEERED SYSTEM                                  Vendor
12   ACE American Insurance Company       ACE                                                     Vendor
                                          NEW YORK LIFE INSURANCE COMPANY
13   Aclara Technologies LLC              THE HUB LLC                                             Vendor
14   Acme Security Systems                ADT SECURITY SERVICES                                   Vendor
                                          AT&T FORMER BELLSOUTH
15   ADP Inc                                ADP LLC                                                   Vendor
                                            PRO BUSINESS
                                            THE DEAL LLC
16   Advent Underwriting Ltd                ANEJO TRIBECA                                         Vendor
                                            ORIGINAL JOES
                                            TORONTO STAR
                                            TOYS R US
17   AECOM Technical Services Inc           SCOTT W CLEVELAND                                     Vendor
                                            TISHMAN CONSTRUCTION CORPORATION OF NY
18   Aegon Asset Management                 H2O AI INC                                                Vendor
19   Aera Energy LLC                        BGOV LLC                                                  Vendor
                                            S AND H PLUMBING SERVICES INC
20   Aerotek Inc                            TEKSYSTEMS INC                                        Vendor
21   AGCS Marine Insurance Company          ALLIANZ                                               Vendor
                                            ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                            ARIA
                                            BAYER FINANCIAL ADVISORS LLC
                                            BON APPETIT
                                            LINOTYPE GMBH
                                            NESPRESSO
                                            NESPRESSO CANADA
                                            OSEBERG INC
                                            PACIFIC INVESTMENT MANAGEMENT CO LLC
                                            SGS AUSTRALIA PTY LTD
                                            UNCF
22   AIG Property Casualty Company          120 SUMMIT AVENUE LLC                                 Vendor




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#    Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                         AIGA
                                         ALOFT HOTEL
                                         ALOFT MILWAUKEE DOWNTOWN HOTEL
                                         AMERICAN INTERNATIONAL GROUP INC
                                         ARGUS MEDIA LIMITED
                                         DATAMONITOR LTD
                                         DAY ONE
                                         ERGO
                                         HUEBNER FOUNDATION
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         THE LEXINGTON NYC
                                         THRIVE AT WORK
                                         VINCENT C CRAFTON
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
23   AIG Specialty Insurance Company     120 SUMMIT AVENUE LLC                                  Vendor
                                         AIGA
                                         ALOFT HOTEL
                                         ALOFT MILWAUKEE DOWNTOWN HOTEL
                                         AMERICAN INTERNATIONAL GROUP INC
                                         ARGUS MEDIA LIMITED
                                         DATAMONITOR LTD
                                         DAY ONE
                                         ERGO
                                         HUEBNER FOUNDATION
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         THE LEXINGTON NYC
                                         THRIVE AT WORK
                                         VINCENT C CRAFTON
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
24   Airgas Specialty Products           AIRGAS RETAIL SOLUTIONS                                Vendor
                                         AIRGAS USA LLC
                                         ARIA
25   Airgas USA LLC                       AIRGAS RETAIL SOLUTIONS                               Vendor
                                          AIRGAS USA LLC
                                          ARIA
26   AIX - Nova Casualty Company Program THE HANOVER INN                                            Vendor
27   Alamo Solar LLC                      E AND O KITCHEN AND BAR                                   Vendor
                                          NPOWER
28   Algonquin Power Sanger LLC           ALG INC                                               Vendor
29   Algonquin SKIC Solar 20 Solar LLC    ALG INC                                               Vendor
30   Allianz Global Corporate & Specialty ALLIANZ                                               Vendor
                                          ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                          ARIA
                                          BAYER FINANCIAL ADVISORS LLC
                                          BON APPETIT
                                          LINOTYPE GMBH
                                          NESPRESSO
                                          NESPRESSO CANADA
                                          OSEBERG INC
                                          PACIFIC INVESTMENT MANAGEMENT CO LLC
                                          SGS AUSTRALIA PTY LTD
                                          UNCF
31   Allianz Global Risks US Insurance   ALLIANZ                                                    Vendor
     Company                             ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                         ARIA
                                         BAYER FINANCIAL ADVISORS LLC
                                         BON APPETIT




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#    Interested Party Name                  Proposed Professionals Connection Name                     Connection Type
                                            LINOTYPE GMBH
                                            NESPRESSO
                                            NESPRESSO CANADA
                                            OSEBERG INC
                                            PACIFIC INVESTMENT MANAGEMENT CO LLC
                                            SGS AUSTRALIA PTY LTD
                                            UNCF
32   Allied Universal                       ALLIED SECURITY LINKS                                  Vendor
                                            ANDREWS         INTERNATIONAL
                                            GLOBAL INSIGHT CONFERENCES LTD
                                            VANCEINTERNATIONALDEMEXICOSA DECV
33   Allied World Assurance Company         ANEJO TRIBECA                                          Vendor
                                            ORIGINAL JOES
                                            TORONTO STAR
                                            TOYS R US
34   Amec Foster Wheeler Environment &      GAS TURBINE WORLD                                          Vendor
     Infrastructure Inc                     HARDING INTERNATIONAL ASSOCIATES
35   Amerex Brokers LLC                     NEWMARK GRUBB KNIGHT FRANK                             Vendor
                                            POTEN AND PARTNERS INC
36   American Alternative Insurance         ERGO                                                       Vendor
     Company                                LINOTYPE GMBH
                                            MU
                                            THE FORGE RESTAURANT
37   American Automobile Insurance          ALLIANZ                                                    Vendor
     Company                                ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                            ARIA
                                            BAYER FINANCIAL ADVISORS LLC
                                            BON APPETIT
                                            LINOTYPE GMBH
                                            NESPRESSO
                                            NESPRESSO CANADA
                                            OSEBERG INC
                                            PACIFIC INVESTMENT MANAGEMENT CO LLC
                                            SGS AUSTRALIA PTY LTD
                                            UNCF
38   American Compliance Services Limited   HELP SYSTEMS LLC                                           Vendor
39   American Family Home Insurance         ERGO                                                       Vendor
     Company                                LINOTYPE GMBH
                                            MU
                                            THE FORGE RESTAURANT
40   American Fire & Casualty Company   DATAMONITOR LTD                                            Vendor
                                        DAY          ONE
                                        INSURANCE SERVICES OFFICEINC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
41   American Gas Association           AMERICAN GAS ASSOC                                             Vendor
42   American General Insurance Company 120 SUMMIT AVENUE LLC                                          Vendor
     dbaANPACGeneralInsuranceCompany AIGA
                                        ALOFT HOTEL
                                        ALOFT MILWAUKEE DOWNTOWN HOTEL
                                        AMERICAN INTERNATIONAL GROUP INC
                                        ARGUS MEDIA LIMITED
                                        DATAMONITOR LTD
                                        DAY ONE
                                        ERGO
                                        HUEBNER FOUNDATION
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LEXINGTON NYC




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#    Interested Party Name                Proposed Professionals Connection Name                     Connection Type
                                          THRIVE AT WORK
                                          VINCENT C CRAFTON
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
43   American Guarantee & Liability                                                                  Vendor
     Insurance Company                    ZURICH AMERICAN INSURANCE COMPANY
44   American Home Assurance Company      120 SUMMIT AVENUE LLC                                  Vendor
                                          AIGA
                                          ALOFT HOTEL
                                          ALOFT MILWAUKEE DOWNTOWN HOTEL
                                          AMERICAN INTERNATIONAL GROUP INC
                                          ARGUS MEDIA LIMITED
                                          DATAMONITOR LTD
                                          DAY ONE
                                          ERGO
                                          HUEBNER FOUNDATION
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          THE LEXINGTON NYC
                                          THRIVE AT WORK
                                          VINCENT C CRAFTON
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
45   American Insurance Company           ALLIANZ                                                Vendor
                                          ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                          ARIA
                                          BAYER FINANCIAL ADVISORS LLC
                                          BON APPETIT
                                          LINOTYPE GMBH
                                          NESPRESSO
                                          NESPRESSO CANADA
                                          OSEBERG INC
                                          PACIFIC INVESTMENT MANAGEMENT CO LLC
                                          SGS AUSTRALIA PTY LTD
                                          UNCF
46   American International Reinsurance   120 SUMMIT AVENUE LLC                                      Vendor
     Company Ltd                          AIGA
                                          ALOFT HOTEL
                                          ALOFT MILWAUKEE DOWNTOWN HOTEL
                                          AMERICAN INTERNATIONAL GROUP INC
                                          ARGUS MEDIA LIMITED
                                          DATAMONITOR LTD
                                          DAY ONE
                                          ERGO
                                          HUEBNER FOUNDATION
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          THE LEXINGTON NYC
                                          THRIVE AT WORK
                                          VINCENT C CRAFTON
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
47   American Modern Home Insurance       ERGO                                                       Vendor
     Company                              LINOTYPE GMBH
                                          MU
                                          THE FORGE RESTAURANT
48   American Modern Insurance Group      ERGO                                                   Vendor
                                          LINOTYPE GMBH
                                          MU
                                          THE FORGE RESTAURANT
49   American Red Cross - Bay Area Chapter AMERICAN RED CROSS                                    Vendor
                                           AMERICAN RED CROSS GREATER NEW YORK REGION



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#    Interested Party Name                Proposed Professionals Connection Name               Connection Type
50   American Strategic Insurance Company THE PROGRESS                                         Vendor
51   American Zurich Insurance Company ZURICH AMERICAN INSURANCE COMPANY                       Vendor
52   Amerigas Propane                     ALL ABOUT EVENTS LLC                                 Vendor
53   Amlin Underwriting Limited           JAPAN AIRLINES CO LTD                                Vendor
54   Angelo Gordon & Co LP                AMR CORPORATION                                      Vendor
                                          CONRAD           MIAMI
                                          HYATT MIAMI THE CONFIDANTE
                                          STAR TRIBUNE
55   AP Services LLC                      SYSTRAN                                                  Vendor
56   Apollo Global Management LLC         QDOBA MEXICAN GRILL                                      Vendor
57   ArborMetrics Solutions LLC           BARTLETT TREE EXPERTS                                    Vendor
58   Arcadis US Inc                       ARC                                                      Vendor
                                          THE MALCOLM HOTEL
59   Archrock                             CATALYST INC                                         Vendor
60   Ashford Inc                          J&S AUDIO VISUAL INC                                 Vendor
61   ASI Select Insurance Corp            THE PROGRESS                                         Vendor
62   Asplundh Construction LLC region 208 BARTLETT TREE EXPERTS                                Vendor
63   Associated Indemnity Corporation     ALLIANZ                                              Vendor
                                          ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                          ARIA
                                          BAYER FINANCIAL ADVISORS LLC
                                          BON APPETIT
                                          LINOTYPE GMBH
                                          NESPRESSO
                                          NESPRESSO CANADA
                                          OSEBERG INC
                                          PACIFIC INVESTMENT MANAGEMENT CO LLC
                                          SGS AUSTRALIA PTY LTD
                                          UNCF
64   AT&T Corp                          AT AND T                                                   Vendor
                                        AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                        AT AND T GLOBAL SERVICES CANADA CO
                                        AT&T
                                        AT&T FORMER BELLSOUTH
                                        AT&T FORMER SBC
                                        AT&T       MOBILITY
                                        AT&T WIRELESS
                                        CENTURYLINK ARGENTINA SA
                                        CENTURYLINK COLOMBIA SA
                                        CENTURYLINK TS
                                        DIRECTV
                                        MAGIC LEAP INC
                                        TEAM8 CONSULTING LTD
                                        TIME INC
                                        WARNER BROS STUDIO FACILITIES
65   AT&T Mobility II LLC               AT AND T                                               Vendor
                                        AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                        AT AND T GLOBAL SERVICES CANADA CO
                                        AT&T
                                        AT&T FORMER BELLSOUTH
                                        AT&T FORMER SBC
                                        AT&T       MOBILITY
                                        AT&T WIRELESS
                                        CENTURYLINK ARGENTINA SA
                                        CENTURYLINK COLOMBIA SA
                                        CENTURYLINK TS
                                        DIRECTV
                                        MAGIC LEAP INC
                                        TEAM8 CONSULTING LTD
                                        TIME INC
                                        WARNER BROS STUDIO FACILITIES




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#    Interested Party Name                  Proposed Professionals Connection Name                           Connection Type
66   AT&T Network                           AT                    AND                  T                     Vendor
                                            AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                            AT AND T GLOBAL SERVICES CANADA CO
                                            AT&T
                                            AT&T FORMER BELLSOUTH
                                            AT&T FORMER SBC
                                            AT&T       MOBILITY
                                            AT&T WIRELESS
                                            CENTURYLINK ARGENTINA SA
                                            CENTURYLINK COLOMBIA SA
                                            CENTURYLINK TS
                                            DIRECTV
                                            MAGIC LEAP INC
                                            TEAM8 CONSULTING LTD
                                            TIME INC
                                            WARNER BROS STUDIO FACILITIES
67   Atlantic Specialty Insurance Company   HYATT MIAMI THE CONFIDANTE                                       Vendor
68   Atlas Copco                            ARIA                                                             Vendor
                                            ATLAS D.D.
69   AV Solar Ranch 1 LLC                   CATALYST INC                                                     Vendor
                                            COMED
                                            PHI SERVICE COMPANY
70   Avangrid Renewables LLC                LEAN IN CANADA                                                   Vendor
                                            NEW YORK STATE ATTORNEY REGISTRATION
                                            NEW YORK STATE INCOME TAX
                                            NEW YORK STATE OFFICE OF COURT ADMINISTRATION
                                            STATIONARY POWER SYSTEMS
71   AVI-SPL Inc                            ANDERSON AUDIO VISUAL                                            Vendor
                                            AVI SPL CANADA LTD
72   AZZ WSI LLC                            SMSGLOBAL                                                        Vendor
73   Baker Hughes US Land                   B AND H PHOTO VIDEO PRO AUDIO                                    Vendor
                                            B AND H PHOTO VIDEO PRO AUDIO****USE V#65657
                                            C3 LOT
74   Bank of America                        220 NORTH TRYON LLC                                              Vendor
                                            BANK          OF       AMERICA
                                            DE LA SALLE COLLEGIATE HIGH SCHOOL
                                            EAST LAKE GOLF CLUB
75   Bank of Montreal                       BMO NESBITT BURNS INC                                            Vendor
                                            POSTMEDIA NETWORK INC
76   Bank of New York Mellon                CHEESECAKE FACTORY                                               Vendor
                                            CIBC
                                            CIBC CORPORATESERVICES
                                            CIBCWOODGUNDYACCOUNT#550-09014
                                            PLANNED GIVING IONA COLLEGE
                                            THE BANK OF NEW YORK MELLON
                                            THE CAKE GALLERY
                                            THE CAKE SNOB
77   Bankers Standard Insurance Company     ACE                                                              Vendor
                                            NEW YORK LIFE INSURANCE COMPANY
78   Barclays Bank PLC                      BARCLAYS BANK PLC                                                Vendor
                                            CAPGEMINI US LLC
                                            CITI BUYER CARD
                                            CITIBANK XSC LOCKBOX
                                            ERNST AND YOUNG US LLP
                                            IHS GLOBAL CANADA LIMITED
                                            THE BROWN PALACE HOTEL AND HOLIDAY INN EXPRESS DENVER DOWNTOWN
                                            VAIL HOTEL 09 LLC
79   Barclays Capital Inc                   BARCLAYS BANK PLC                                                Vendor
                                            CAPGEMINI US LLC
                                            CITI BUYER CARD
                                            CITIBANK XSC LOCKBOX




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#    Interested Party Name                Proposed Professionals Connection Name                           Connection Type
                                          ERNST AND YOUNG US LLP
                                          IHS GLOBAL CANADA LIMITED
                                          THE BROWN PALACE HOTEL AND HOLIDAY INN EXPRESS DENVER DOWNTOWN
                                          VAIL HOTEL 09 LLC
80   Barry-Wehmiller Design Group Inc     SIMIO LLC                                                        Vendor
81   Bay Area Council                     BAY AREA COUNCIL                                                 Vendor
82   Berkley Insurance Company            ATHENIUM INC                                                     Vendor
                                          DATAMONITOR LTD
                                          DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          SIGNETS INCORPORATED
                                          UNION STANDARD
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
83   Berkley National Insurance Company   ATHENIUM INC                                                     Vendor
                                          DATAMONITOR LTD
                                          DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          SIGNETS INCORPORATED
                                          UNION STANDARD
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
84   Berkley Regional Insurance Company   ATHENIUM INC                                                     Vendor
                                          DATAMONITOR LTD
                                          DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          SIGNETS INCORPORATED
                                          UNION STANDARD
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
85   Berkshire Hathaway Energy            C AND S EXECUTIVE TRANSPORTATION                                 Vendor
     Renewables                           CIBC
                                          CIBC CORPORATESERVICES
                                          CIBC WOOD GUNDY ACCOUNT # 550-09014
                                          CORT BUSINESS SERVICES CORPORATION
                                          CORT      EVENT      FURNISHINGS
                                          CORT      FURNITURE       RENTAL
                                          EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                          GRAND       HYATT       ATLANTA
                                          GRAND       HYATT        DENVER
                                          GRAND HYATT ERAWAN BANGKOK
                                          GRAND HYATT HONG KONG
                                          GRAND HYATT NEW             YORK
                                          GRAND      HYATT      SINGAPORE
                                          GRAND HYATT WASHIONGTON
                                          HILTON AMSTERDAM
                                          HYATT                                    CORPORATION
                                          HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL LLC
                                          HYATT     HOUSE     BELMONT       REDWOOD       SHORES
                                          HYATT         HOUSE          BOSTON          WALTHAM
                                          HYATT       HOUSE       PITTSBURGH         BLOOMFIELD
                                          HYATT MIAMI THE CONFIDANTE
                                          HYATT REGENCY AMSTERDAM
                                          HYATT REGENCY BOSTON
                                          HYATT REGENCY CALGARY
                                          HYATT REGENCY CHICAGO
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES
                                          HYATT REGENCY DFW



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#    Interested Party Name          Proposed Professionals Connection Name                         Connection Type
                                    HYATT             REGENCY             GREENWICH
                                    HYATT      REGENCY        HOUSTON      GALLERIA
                                    HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                    HYATT         REGENCY          JERSEY      CITY
                                    HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                    HYATT REGENCY LOST PINES RESORT AND SPA
                                    HYATT REGENCY MIAMI
                                    HYATT       REGENCY        MORRISTOWN
                                    HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                    HYATT REGENCY          TORONTO
                                    INTERNATIONAL DAIRY FEDERATION
                                    MAGNOLIA HOTELS
                                    MDL       &        ASSOCIATES
                                    MOUSER ELECTRONICS INC
                                    ORIENTAL TRADING CO INC
                                    PARK HYATT ABU DHABI HOTEL AND VILLAS
                                    PARK     HYATT      NEW     YORK
                                    PARK HYATT PARIS VENDOME
                                    PARK HYATT WASHINGTON
                                    ROCKY MOUNTAIN CONNECTIONS
                                    THE BENJAMIN
                                    THE PRODUCTION CREW
                                    THOMPSON MIAMI BEACH
                                    UCLA UNIVERSITY CALIFORNIA
86   Berkshire Hathaway Guard Ins   C AND S EXECUTIVE TRANSPORTATION                               Vendor
                                    CIBC
                                    CIBC CORPORATESERVICES
                                    CIBC WOOD GUNDY ACCOUNT # 550-09014
                                    CORT BUSINESS SERVICES CORPORATION
                                    CORT      EVENT      FURNISHINGS
                                    CORT      FURNITURE       RENTAL
                                    EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                    GRAND       HYATT       ATLANTA
                                    GRAND       HYATT        DENVER
                                    GRAND HYATT ERAWAN BANGKOK
                                    GRAND HYATT HONG KONG
                                    GRAND HYATT NEW             YORK
                                    GRAND      HYATT      SINGAPORE
                                    GRAND HYATT WASHIONGTON
                                    HILTON AMSTERDAM
                                    HYATT                                    CORPORATION
                                    HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL LLC
                                    HYATT     HOUSE     BELMONT       REDWOOD       SHORES
                                    HYATT         HOUSE          BOSTON          WALTHAM
                                    HYATT       HOUSE       PITTSBURGH         BLOOMFIELD
                                    HYATT MIAMI THE CONFIDANTE
                                    HYATT REGENCY AMSTERDAM
                                    HYATT REGENCY BOSTON
                                    HYATT REGENCY CALGARY
                                    HYATT REGENCY CHICAGO
                                    HYATT REGENCY CLEVELAND
                                    HYATT REGENCY CORAL GABLES
                                    HYATT    REGENCY      DFW
                                    HYATT REGENCY GREENWICH
                                    HYATTREGENCY HOUSTON GALLERIA
                                    HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                    HYATT        REGENCY          JERSEY         CITY
                                    HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                    HYATT REGENCY LOST PINES RESORT AND SPA
                                    HYATT REGENCY MIAMI
                                    HYATT REGENCY MORRISTOWN
                                    HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT



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#    Interested Party Name              Proposed Professionals Connection Name                         Connection Type
                                        HYATT REGENCY TORONTO
                                        INTERNATIONAL DAIRY FEDERATION
                                        MAGNOLIA             HOTELS
                                        MDL & ASSOCIATES
                                        MOUSER ELECTRONICS INC
                                        ORIENTAL TRADING CO INC
                                        PARK HYATT ABU DHABI HOTEL AND VILLAS
                                        PARK     HYATT     NEW      YORK
                                        PARK HYATT PARIS VENDOME
                                        PARK HYATT WASHINGTON
                                        ROCKY MOUNTAIN CONNECTIONS
                                        THE BENJAMIN
                                        THE PRODUCTION CREW
                                        THOMPSON MIAMI BEACH
                                        UCLA UNIVERSITY CALIFORNIA
87   Berkshire Hathaway International   C AND S EXECUTIVE TRANSPORTATION                               Vendor
     Insurance Limited                  CIBC
                                        CIBC CORPORATESERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CORT BUSINESS SERVICES CORPORATION
                                        CORT      EVENT      FURNISHINGS
                                        CORT      FURNITURE       RENTAL
                                        EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                        GRAND       HYATT       ATLANTA
                                        GRAND       HYATT        DENVER
                                        GRAND HYATT ERAWAN BANGKOK
                                        GRAND HYATT HONG KONG
                                        GRAND HYATT NEW             YORK
                                        GRAND      HYATT      SINGAPORE
                                        GRAND HYATT WASHIONGTON
                                        HILTON AMSTERDAM
                                        HYATT                                    CORPORATION
                                        HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL LLC
                                        HYATT     HOUSE     BELMONT       REDWOOD       SHORES
                                        HYATT         HOUSE          BOSTON          WALTHAM
                                        HYATT       HOUSE       PITTSBURGH         BLOOMFIELD
                                        HYATT MIAMI THE CONFIDANTE
                                        HYATT REGENCY AMSTERDAM
                                        HYATT REGENCY BOSTON
                                        HYATT REGENCY CALGARY
                                        HYATT REGENCY CHICAGO
                                        HYATT REGENCY CLEVELAND
                                        HYATT REGENCY CORAL GABLES
                                        HYATT    REGENCY      DFW
                                        HYATT REGENCY GREENWICH
                                        HYATTREGENCY HOUSTON GALLERIA
                                        HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                        HYATT        REGENCY          JERSEY         CITY
                                        HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                        HYATT REGENCY LOST PINES RESORT AND SPA
                                        HYATT REGENCY MIAMI
                                        HYATT       REGENCY        MORRISTOWN
                                        HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                        HYATT REGENCY         TORONTO
                                        INTERNATIONAL DAIRY FEDERATION
                                        MAGNOLIA HOTELS
                                        MDL       &       ASSOCIATES
                                        MOUSER ELECTRONICS INC
                                        ORIENTAL TRADING CO INC
                                        PARK HYATT ABU DHABI HOTEL AND VILLAS
                                        PARK HYATT NEW YORK
                                        PARK HYATT PARIS VENDOME



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#    Interested Party Name               Proposed Professionals Connection Name                            Connection Type
                                         PARK HYATT WASHINGTON
                                         ROCKY MOUNTAIN CONNECTIONS
                                         THE              BENJAMIN
                                         THE PRODUCTION CREW
                                         THOMPSON MIAMI BEACH
                                         UCLA UNIVERSITY CALIFORNIA
88   Berkshire Hathaway Specialty Insurance C AND S EXECUTIVE TRANSPORTATION                               Vendor
     Company                                CIBC
                                            CIBC CORPORATESERVICES
                                            CIBC WOOD GUNDY ACCOUNT # 550-09014
                                            CORT BUSINESS SERVICES CORPORATION
                                            CORT      EVENT       FURNISHINGS
                                            CORT      FURNITURE        RENTAL
                                            EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                            GRAND        HYATT       ATLANTA
                                            GRAND        HYATT        DENVER
                                            GRAND HYATT ERAWAN BANGKOK
                                            GRAND HYATT HONG KONG
                                            GRAND HYATT NEW             YORK
                                            GRAND      HYATT       SINGAPORE
                                            GRAND HYATT WASHIONGTON
                                            HILTON AMSTERDAM
                                            HYATT                                    CORPORATION
                                            HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL LLC
                                            HYATT     HOUSE      BELMONT      REDWOOD       SHORES
                                            HYATT          HOUSE         BOSTON          WALTHAM
                                            HYATT        HOUSE       PITTSBURGH        BLOOMFIELD
                                            HYATT MIAMI THE CONFIDANTE
                                            HYATT REGENCY AMSTERDAM
                                            HYATT REGENCY BOSTON
                                            HYATT REGENCY CALGARY
                                            HYATT REGENCY CHICAGO
                                            HYATT REGENCY CLEVELAND
                                            HYATT REGENCY CORAL GABLES
                                            HYATT     REGENCY      DFW
                                            HYATT REGENCY GREENWICH
                                            HYATTREGENCY HOUSTON GALLERIA
                                            HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                            HYATT         REGENCY         JERSEY         CITY
                                            HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                            HYATT REGENCY LOST PINES RESORT AND SPA
                                            HYATT REGENCY MIAMI
                                            HYATT        REGENCY        MORRISTOWN
                                            HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                            HYATT REGENCY          TORONTO
                                            INTERNATIONAL DAIRY FEDERATION
                                            MAGNOLIA HOTELS
                                            MDL        &      ASSOCIATES
                                            MOUSER ELECTRONICS INC
                                            ORIENTAL TRADING CO INC
                                            PARK HYATT ABU DHABI HOTEL AND VILLAS
                                            PARK     HYATT     NEW      YORK
                                            PARK HYATT PARIS VENDOME
                                            PARK HYATT WASHINGTON
                                            ROCKY MOUNTAIN CONNECTIONS
                                            THE BENJAMIN
                                            THE PRODUCTION CREW
                                            THOMPSON MIAMI BEACH
                                            UCLA UNIVERSITY CALIFORNIA
89   BGC EnvironmentalBrokerage Services NEWMARK GRUBB KNIGHT FRANK                                        Vendor
     LP                                  POTEN AND PARTNERS INC
90   BlackRock Fund Advisors             AMERICAN EXPRESS                                                  Vendor



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#     Interested Party Name                 Proposed Professionals Connection Name                     Connection Type
                                            AMERICAN EXPRESS CARDS
                                            AMERICAN       EXPRESS    EADS
                                            AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
                                            AMERICAN EXPRESS TRANSACTION
                                            AMEX CARD
                                            DATABRICKS INC
                                            GBT
                                            GBT TRAVEL SERVICES MEXICO S DE RL DE CV
                                            GBT US LLC
                                            MDL &        ASSOCIATES
                                            PLAYTIME EVENTS MANAGEMENT INC
                                            RYANAIR LTD
                                            THE FREDERICK HOTEL
                                            THE     LIBERTY       NYC
                                            THE LOGAN HOTEL PHILADELPHIA
                                            UBER            BV
                                            UBER TECHNOLOGIES INC
91    BNP Paribas Securities Corp           BANK OF THE WEST                                       Vendor
                                            BNA
                                            CITIBANK XSC LOCKBOX
                                            LEVITT LLC, IN TRUST
                                            THE FORGE RESTAURANT
92    BNP Paribas US                        BANK OF THE WEST                                       Vendor
                                            BNA
                                            CITIBANK XSC LOCKBOX
                                            LEVITT LLC, IN TRUST
                                            THE FORGE RESTAURANT
93    Brannon Inc                           ACCO ENGINEERED SYSTEM                                 Vendor
94    Brian Hill                            BRIAN W HILL                                           Vendor
95    Bright House Networks LLC             BRIGHT HOUSE NETWORKS LLC                              Vendor
                                            FALCON HOLDING COMPANY LLC
                                            TIME INC
                                            TIME WARNER CABLE
                                            TIME WARNER CABLE OF NYC
                                            TIMEWARNERCABLE
                                            TWI
96    California Academy of Sciences        CALIFORNIA ACADEMY OF SCIENCES                             Vendor
97    California Department of Tax and Fee                                                             Vendor
      Administration                       CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION
98    California Franchise Tax Board       FRANCHISE TAX BOARD                                     Vendor
99    California-Oregon Telephone Company BRETTON WOODS COMMITTEE                                  Vendor
100   Cameron International Corporation    ADAM SMITH INTERNATIONAL                                Vendor
                                           SAXON AND PAROLE
101   Canadian Imperial Bank of Commerce C AND M MOVING AND STORAGE LLC                            Vendor
                                         CIBC
                                         CIBC CORPORATESERVICES
                                         CIBCWOODGUNDYACCOUNT#550-09014
                                         CITI BUYER CARD
                                         POSTMEDIA NETWORK INC
                                         TELUS CORPORATION
102   Canadian Imperial Bank Of Commerce,   C AND M MOVING AND STORAGE LLC                             Vendor
      New York Agency                       CIBC
                                            CIBC CORPORATESERVICES
                                            CIBCWOODGUNDYACCOUNT#550-09014
                                            CITI BUYER CARD
                                            POSTMEDIA NETWORK INC
                                            TELUS CORPORATION
103   Canon Solutions America Inc           CANON CANADA INC                                       Vendor
                                            CANON FINANCIAL SERVICES INC
                                            CANON SINGAPORE PTE LTD
                                            CANON SOLUTIONS AMERICA INC




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#     Interested Party Name                Proposed Professionals Connection Name                     Connection Type
                                           CANON USA INC
                                           OFFICE SOLUTION GROUP LLC
                                           OFFICETEAM
104   Cardinal Cogen                       CITI BUYER CARD                                        Vendor
                                           FLOURISH GROUP LLC
                                           GE DIGITAL LLC
                                           HILTON AMSTERDAM
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON      BUDAPEST      CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON       JAMAL       DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON       LONG      BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON     PALMER      HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON       SHORT      HILLS
                                           HILTON ST PETERSBURG CARILLON PARK
                                           OMNIMED
                                           PIVOT
                                           TELUS CORPORATION
                                           THE HILTON GARDEN INN MIRAMAR
                                           THE WESTIN
105   Cargill Inc                          FREEMANS HOLDINGS                                      Vendor
                                           OPX LTD
106   Cargill Ltd                          FREEMANS HOLDINGS                                      Vendor
                                           OPX LTD
107   Cargill Power Markets LLC            FREEMANS HOLDINGS                                          Vendor
                                           OPX LTD
108   Carpenter                            CARPENTER AND MAIN                                     Vendor
109   CarVal Investors                     FREEMANS HOLDINGS                                      Vendor
                                           OPX LTD
110   Cascade Drilling LP                  ALLIANCE MAINTENANCE                                   Vendor
111   Catlin Specialty Insurance Company   ALLIED INTERNATIONAL NA INC                            Vendor
                                           ALLIED INTERNATIONAL OF SAN FRANCISCO
                                           AXA
                                           AXA                 EQUITABLE
                                           C AND S EXECUTIVETRANSPORTATION
                                           ERGO
                                           MAESTRO LLC
                                           OSEBERG INC
                                           THE MCINTYRE GROUP
                                           THINC LLC
112   Centerbridge Partners LP             CRAFT LLC                                              Vendor
                                           CRAFT RESTAURANT
                                           THE        CENTER
                                           THE SAM HOUSTON HOTEL
                                           VIC ANDANTHONYS
                                           WAL MART CANADA
                                           ZIA PARTNERS INC
113   Central Valley Gas Stor              GEORGIA NATURAL GAS                                    Vendor
                                           GEORGIA POWER COMPANY
114   Certain affiliates of American       120 SUMMIT AVENUE LLC                                      Vendor
      International Group Inc :            AIGA
                                           ALOFT HOTEL
                                           ALOFT MILWAUKEE DOWNTOWN HOTEL




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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
                                         AMERICAN INTERNATIONAL GROUP INC
                                         ARGUS MEDIA LIMITED
                                         DATAMONITOR LTD
                                         DAY ONE
                                         ERGO
                                         HUEBNER FOUNDATION
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         THE LEXINGTON NYC
                                         THRIVE AT WORK
                                         VINCENT C CRAFTON
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
115   CH2M HILL Engineers Inc            ANALYSIS GROUP LTD                                     Vendor
                                         AQUENT LLC
                                         LEIGHFISHER LIMITED
116   Charter Communications             BRIGHT HOUSE NETWORKS LLC                              Vendor
                                         FALCON HOLDING COMPANY LLC
                                         TIME INC
                                         TIME WARNER CABLE
                                         TIME WARNER CABLE OF NYC
                                         TIMEWARNERCABLE
                                         TWI
117   ChemTreat Inc                      ENFOCUS CO INC                                         Vendor
118   Christopher Lee                    CHRISTOPHER LEE BRADLEY                                Vendor
119   Chubb Bermuda Insurance Ltd        ACE                                                    Vendor
                                         NEW YORK LIFE INSURANCE COMPANY
120   Chubb Custom Insurance Company     ACE                                                    Vendor
                                         NEW YORK LIFE INSURANCE COMPANY
121   Chubb Group:                       AIR NEW ZEALAND                                            Vendor
                                         AUTOMATEDLOGIC ONTARIO
                                         RAYTHEON FOREGROUND SECURITY
                                         UTC FIRE AND SECURITY CANADA
122   Chubb Insurance Company of New     ACE                                                        Vendor
      Jersey                             NEW YORK LIFE INSURANCE COMPANY
123   Chubb National Insurance Company   ACE                                                    Vendor
                                         NEW YORK LIFE INSURANCE COMPANY
124   CIGNA Group Insurance              CIGNA                                                  Vendor
                                         CIGNA GLOBAL HEALTH BENEFITS
                                         CIGNA HEALTH AND LIFE INSURANCE COM
                                         CIGNA HEALTHCARE
                                         EXPRESS SCRIPTS INC
                                         MDL & ASSOCIATES
                                         MEDCO HEALTH SOLUTIONS INC
125   CIMA Energy Ltd                    FRESH KITCHEN ST PETE                                  Vendor
126   Cincinnati Insurance Company       CINCIN                                                 Vendor
127   Citadel Advisors LLC               AMR CORPORATION                                        Vendor
                                         FOURWAYS
                                         INFORMATICA CORPORATION
                                         RANDSERECTIONOFSANFRANCISCOINC
                                         RIVERS                    CASINO
                                         THE CHURCH OF SAINT LUKE
128   Citibank NA                        AMEX CARD                                                  Vendor
                                         ANDIAMO                            GROUP
                                         CARTE BLANCHE CASINO AND ENTERTAINMENT COMPANY
                                         CITI BUYER CARD
                                         CITIBANK COMMERCIAL CARD
                                         CITIBANK COMMERCIAL CARDS
                                         CITIBANK N A
                                         CITIBANK N. A.
                                         CITIBANK NA




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#     Interested Party Name            Proposed Professionals Connection Name                     Connection Type
                                       CITIBANK NA PRIVATE BANKING
                                       CITIBANK XSC LOCKBOX
                                       GLOBAL CROSSING CHILE SA
                                       HSBC BUSINESS CREDIT
                                       INFORMATICA CORPORATION
                                       SAMS                    CLUB
                                       TNT EXPRESS CANADA CORPORATION
129   Citigroup                        AMEX CARD                                              Vendor
                                       ANDIAMO                            GROUP
                                       CARTE BLANCHE CASINO AND ENTERTAINMENT COMPANY
                                       CITI BUYER CARD
                                       CITIBANK COMMERCIAL CARD
                                       CITIBANK COMMERCIAL CARDS
                                       CITIBANK N A
                                       CITIBANK N. A.
                                       CITIBANK NA
                                       CITIBANK NA PRIVATE BANKING
                                       CITIBANK XSC LOCKBOX
                                       GLOBAL CROSSING CHILE SA
                                       HSBC BUSINESS CREDIT
                                       INFORMATICA CORPORATION
                                       SAMS CLUB
                                       TNT EXPRESS CANADA CORPORATION
130   Citigroup Energy Inc             AMEX CARD                                                  Vendor
                                       ANDIAMO GROUP
                                       CARTE BLANCHE CASINO AND ENTERTAINMENT COMPANY
                                       CITI BUYER CARD
                                       CITIBANK COMMERCIAL CARD
                                       CITIBANK COMMERCIAL CARDS
                                       CITIBANK N A
                                       CITIBANK N. A.
                                       CITIBANK NA
                                       CITIBANK NA PRIVATE BANKING
                                       CITIBANK XSC LOCKBOX
                                       GLOBAL CROSSING CHILE SA
                                       HSBC BUSINESS CREDIT
                                       INFORMATICA CORPORATION
                                       SAMS CLUB
                                       TNT EXPRESS CANADA CORPORATION
131   Citigroup Global Markets         AMEX CARD                                              Vendor
                                       ANDIAMO GROUP
                                       CARTE BLANCHE CASINO AND ENTERTAINMENT COMPANY
                                       CITI BUYER CARD
                                       CITIBANK COMMERCIAL CARD
                                       CITIBANK COMMERCIAL CARDS
                                       CITIBANK N A
                                       CITIBANK N. A.
                                       CITIBANK NA
                                       CITIBANK NA PRIVATE BANKING
                                       CITIBANK XSC LOCKBOX
                                       GLOBAL CROSSING CHILE SA
                                       HSBC BUSINESS CREDIT
                                       INFORMATICA CORPORATION
                                       SAMS CLUB
                                       TNT EXPRESS CANADA CORPORATION
132   Citizens Insurance Company of                                                               Vendor
      America                          THE HANOVER INN
133   Citizens Telecommunications      CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC       Vendor
                                       FRONTIER
                                       GLOBAL CROSSING CHILE SA
                                       GVN FOUNDATION
                                       VERIZON FLORIDA LLC



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#     Interested Party Name               Proposed Professionals Connection Name               Connection Type
134   City and County of San Francisco    CITY AND COUNTY OF SAN FRANCISCO                     Vendor
135   City County of San Francisco        CITY AND COUNTY OF SAN FRANCISCO                     Vendor
136   City of Redwood                     CITY OF REDWOOD CITY                                 Vendor
137   City of Seattle                     CITY OF SEATTLE                                      Vendor
138   City of South San Francisco         CITY AND COUNTY OF SAN FRANCISCO                     Vendor
139   Civic Property & Casualty Company   ZURICH AMERICAN INSURANCE COMPANY                    Vendor
140   CNA Insurance Company               HOTEL 1000                                           Vendor
                                          INTERCONTINENTAL CHICAGO
                                          LOEWS ANNAPOLIS HOTEL
                                          LOEWS ATLANTA HOTEL
                                          LOEWS CHICAGO HOTEL
                                          LOEWS MIAMI BEACH HOTEL
                                          LOEWS PHILADELPHIA HOTEL
                                          LOEWS REGENCY NY HOTEL LLC
141   Coalinga Cogeneration Company       GAS TURBINE WORLD                                    Vendor
142   Cogentrix                           FULL CIRCLE RESEARCH CO                              Vendor
143   Cognizant Worldwide Limited         CT CORPORATION                                       Vendor
                                          FATHOM
                                          FATHOM LLC
144   Columbia Electric Inc               GAS TURBINE WORLD                                    Vendor
145   Comcast                             BRAVO AWARDS                                         Vendor
                                          BRULEE CATERING
                                          C AND M MOVING AND STORAGE LLC
                                          CATALYST INC
                                          COMCAST
                                          COMCAST CABLE COMMUNICATIONS INC
                                          CRAFT LLC
                                          UNIVERSAL ORLANDO
146   Commerce Energy Inc                 HUDSON ENERGY SERVICES LLC                           Vendor
147   Complete Discovery Source Inc       COMPLETE DISCOVERY SOURCE                            Vendor
148   Concur                              ARIBA INC                                            Vendor
                                          CONCUR TECHNOLOGIES INC
                                          IMS BUDAPEST
                                          MINDTOUCH INC
                                          QUALTRICS LLC
                                          RIB LIMITED
                                          SAP AMERICA INC
                                          SAP SE
                                          SUCCESSFACTORS INC
                                          THE CALL OF DUTY ENDOWMENT
149   ConeTec Investigations Ltd          LAZ PARKING TX LLC                                   Vendor
150   Consolidated Edison Development Inc CON EDISON                                           Vendor
151   Constellation Energy Group Inc      CATALYST INC                                         Vendor
                                          COMED
                                          PHI SERVICE COMPANY
152   Constitution State Services LLC     DATAMONITOR LTD                                      Vendor
                                          DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          TRAVELERS
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
153   Continental Insurance Company       HOTEL 1000                                           Vendor
                                          INTERCONTINENTAL CHICAGO
                                          LOEWS ANNAPOLIS HOTEL
                                          LOEWS ATLANTA HOTEL
                                          LOEWS CHICAGO HOTEL
                                          LOEWS MIAMI BEACH HOTEL
                                          LOEWS PHILADELPHIA HOTEL
                                          LOEWS REGENCY NY HOTEL LLC
154   Contra Costa Electric Inc           ASTRO CONTRACTORS INC                                Vendor



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#     Interested Party Name           Proposed Professionals Connection Name                    Connection Type
                                      EMCOR SERVICES FLUIDICS
                                      EMCOR SERVICES INTEGRATED SOLUTIONS INC
                                      HILL YORK SERVICE CORPORATION
                                      PENGUIN MAINTENANCE AND SERVICE INC
155   Cooley                          COOLEY LLP                                             Vendor
156   Coral Power LLC                 BGOV LLC                                               Vendor
                                      S AND H PLUMBING SERVICES INC
157   Council of Korean Americans     COUNCIL OF KOREAN AMERICANS                               Vendor
158   County of Santa Clara Department of                                                       Vendor
      Tax and Collections                 SANTA CLARA COUNTY TAX COLLECTOR
159   Cravath Swaine & Moore LLP          CRAVATH SWAINE AND MOORE LLP                       Vendor
160   Credit Suisse Energy LLC            ADP LLC                                            Vendor
                                          AIR CANADA
                                          ARIA
                                          HSBC BUSINESS CREDIT
                                          MERCER
161   Crux Subsurface Inc                 QUANTA TECHNOLOGY LLC                              Vendor
162   Cummins Pacific                     C AND M MOVING AND STORAGE LLC                     Vendor
                                          TATA COMMUNICATIONS DATA CENTERS PRIVATE LIMITED
                                          TATA COMMUNICATIONS SERVICES (AMERICA) INC
163   Curtiss-Wright Flow Control Service                                                       Vendor
      Corporation                         SYSTRAN
164   Cushman & Wakefield Inc             C AND W FACILITY SERVICES INC                      Vendor
                                          CUSHMAN AND WAKEFIELD OF VIRGINIA INC
165   Cyrus Capital Partners LP       CATALYST INC                                           Vendor
                                      FLYBE GROUP PLC
166   Davidson Kempner Capital                                                                  Vendor
      Management                      THE WESTIN NEW YORK GRAND CENTRAL
167   Davis Polk & Wardwell LLP       DAVIS POLK AND WARDWELL LLP                            Vendor
168   DB Energy Trading               AER LINGUS GROUP PLC                                   Vendor
                                      AEROFLOT OAO
                                      AIR BERLIN PLC
                                      ARIA
                                      ATOS IT SERVICES UK LTD
                                      BRITISH AIRWAYS PLC
                                      C AND S EXECUTIVE TRANSPORTATION
                                      DEUTSCHE BANK
                                      DEUTSCHE      BANK    AG
                                      FINANCIAL CONDUCT AUTHORITY
                                      IBERIA LINEAS AEREAS DE ESPANA S A
                                      MU
                                      REFINITIV LIMITED
                                      SALESFORCE COM INC
                                      TABLEAU INTERNATIONAL UNLIMITED COMPANY
                                      TABLEAU SOFTWARE INC
                                      THE DATA INCUBATOR
                                      THE LOGAN HOTEL PHILADELPHIA
                                      THE TRADE PARTNERSHIP
                                      TRADE
169   DCP Midstream Partners LP       DCP OPERATING COMPANY LP                                  Vendor
170   DDB Worldwide Communications    CRITICAL MASS US INC                                      Vendor
      Group                           DOREMUS AND COMPANY
                                      TOUCHCAST         LLC
                                      WASHINGTON SPEAKERS BUREAU
                                      WASHINGTON SPEAKERS BUREAU INC
                                      WOLFF OLINS LIMITED
171   DE Shaw                         BELMOND VILLA SAN MICHELE                              Vendor
                                      HYATT MIAMI THE CONFIDANTE
                                      HYATT REGENCY AMSTERDAM
                                      HYATT REGENCY BOSTON
                                      HYATT REGENCY CALGARY
                                      HYATT REGENCY CHICAGO



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#     Interested Party Name           Proposed Professionals Connection Name                    Connection Type
                                      HYATT REGENCY CLEVELAND
                                      HYATT REGENCY DFW
                                      HYATT REGENCY GREENWICH
                                      HYATT REGENCY HOUSTON GALLERIA
                                      HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                      HYATT REGENCY JERSEY CITY
                                      HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                      HYATT REGENCY MIAMI
                                      HYATT REGENCY MORRISTOWN
                                      HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                      HYATT REGENCY TORONTO
                                      LOWES HOME CENTERS INC
                                      THE    LIBERTY       NYC
                                      USER TESTING INC
                                      VIRGIN HOTELS CHICAGO LLC
172   Dell Financial Services LLC     APTELIGENT INC                                         Vendor
                                      BLACKBERRY      LIMITED
                                      DELL FINANCIAL SERVICES LLC
                                      DELL MARKETING L P
                                      NTT DATA CANADA INC
                                      RSA SECURITY INC
                                      RSA SECURITY LLC
                                      SAMSUNG ELECTRONIC
                                      VMWARE INC
173   Deloitte & Touche LLP              ATD                                                 Vendor
                                         BERRY APPLEMAN AND LEIDEN
                                         DELOITTE & TOUCHE LLP
                                         DELOITTE AND TOUCHE LLP
                                         DELOITTE CONSULTING LLP
                                         DELOITTE FINANCE PTY LTD
                                         DELOITTE LLP
                                         REMEDY ANALYTICS INC
                                         THE MASH UP AMERICANS
174   Dentons US LLP                     DENTONS EUROPE AARPI                                Vendor
175   Department of Labor                DEPARTMENT OF LABOR & INDUSTRIES                    Vendor
176   Desri Portal Ridge Development LLC BANK OF THE WEST                                    Vendor
                                         CARD SIERRA LEONE
                                         CIBC CORPORATE SERVICES
                                         CIBC WOOD GUNDY ACCOUNT # 550-09014
                                         CITI      BUYER       CARD
                                         CITIBANK XSC LOCKBOX
                                         ELA GMBH
                                         INTERNET SECURITIES INC
                                         INTERNET SECURITIES LLC
                                         US BANK
177   Deutsche Bank                   AER LINGUS GROUP PLC                                   Vendor
                                      AEROFLOT OAO
                                      AIR BERLIN PLC
                                      ARIA
                                      ATOS IT SERVICES UK LTD
                                      BRITISH AIRWAYS PLC
                                      C AND S EXECUTIVE TRANSPORTATION
                                      DEUTSCHE BANK
                                      DEUTSCHE      BANK    AG
                                      FINANCIAL CONDUCT AUTHORITY
                                      IBERIA LINEAS AEREAS DE ESPANA S A
                                      MU
                                      REFINITIV LIMITED
                                      SALESFORCE COM INC
                                      TABLEAU INTERNATIONAL UNLIMITED COMPANY
                                      TABLEAU SOFTWARE INC
                                      THE DATA INCUBATOR



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#     Interested Party Name          Proposed Professionals Connection Name                   Connection Type
                                     THE LOGAN HOTEL PHILADELPHIA
                                     THE TRADE PARTNERSHIP
                                     TRADE
178   Deutsche Bank National Trust   AER LINGUS GROUP PLC                                     Vendor
      Company                        AEROFLOT OAO
                                     AIR BERLIN PLC
                                     ARIA
                                     ATOS IT SERVICES UK LTD
                                     BRITISH AIRWAYS PLC
                                     C AND S EXECUTIVE TRANSPORTATION
                                     DEUTSCHE BANK
                                     DEUTSCHE       BANK       AG
                                     FINANCIAL CONDUCT AUTHORITY
                                     IBERIA LINEAS AEREAS DE ESPANA S A
                                     MU
                                     REFINITIV LIMITED
                                     SALESFORCE COM INC
                                     TABLEAU INTERNATIONAL UNLIMITED COMPANY
                                     TABLEAU SOFTWARE INC
                                     THE DATA INCUBATOR
                                     THE LOGAN HOTEL PHILADELPHIA
                                     THE TRADE PARTNERSHIP
                                     TRADE
179   Deutsche Bank Securities Inc   AER LINGUS GROUP PLC                                 Vendor
                                     AEROFLOT OAO
                                     AIR BERLIN PLC
                                     ARIA
                                     ATOS IT SERVICES UK LTD
                                     BRITISH AIRWAYS PLC
                                     C AND S EXECUTIVE TRANSPORTATION
                                     DEUTSCHE BANK
                                     DEUTSCHE      BANK    AG
                                     FINANCIAL CONDUCT AUTHORITY
                                     IBERIA LINEAS AEREAS DE ESPANA S A
                                     MU
                                     REFINITIV LIMITED
                                     SALESFORCE COM INC
                                     TABLEAU INTERNATIONAL UNLIMITED COMPANY
                                     TABLEAU SOFTWARE INC
                                     THE DATA INCUBATOR
                                     THE LOGAN HOTEL PHILADELPHIA
                                     THE TRADE PARTNERSHIP
                                     TRADE
180   Deutsche Bank Trust Company    AER LINGUS GROUP PLC                                     Vendor
      Americas                       AEROFLOT OAO
                                     AIR BERLIN PLC
                                     ARIA
                                     ATOS IT SERVICES UK LTD
                                     BRITISH AIRWAYS PLC
                                     C AND S EXECUTIVE TRANSPORTATION
                                     DEUTSCHE BANK
                                     DEUTSCHE      BANK    AG
                                     FINANCIAL CONDUCT AUTHORITY
                                     IBERIA LINEAS AEREAS DE ESPANA S A
                                     MU
                                     REFINITIV LIMITED
                                     SALESFORCE COM INC
                                     TABLEAU INTERNATIONAL UNLIMITED COMPANY
                                     TABLEAU SOFTWARE INC
                                     THE DATA INCUBATOR
                                     THE LOGAN HOTEL PHILADELPHIA
                                     THE TRADE PARTNERSHIP



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#     Interested Party Name            Proposed Professionals Connection Name                     Connection Type
                                       TRADE
181   Diameter Capital Partners LP     VIC AND ANTHONYS                                           Vendor
182   Direct Energy                    THE BENJAMIN                                               Vendor
183   Direct Energy Business Marketing                                                            Vendor
      LLC                               THE BENJAMIN
184   DLA Piper LLP                     DLA PIPER US LLP                                      Vendor
185   Duke Energy Marketing America LLC THE PROGRESS                                          Vendor
186   Dynamics Inc                      C AND M MOVING AND STORAGE LLC                        Vendor
                                        CIBC
                                        CIBC     CORPORATE     SERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CITI BUYER CARD
                                        POSTMEDIA NETWORK INC
                                        TELUS CORPORATION
187   Dynegy Morro Bay LLC              VISTARA                                               Vendor
188   Dynegy Moss Landing LLC           VISTARA                                               Vendor
189   Dynegy Power LLC                  VISTARA                                               Vendor
190   E2 Consulting Engineers Inc       FOKUS ASSOCIATES LLC                                  Vendor
                                        TRIPLE E INC
191   Eaton Corporation                 COOPER AB LLC                                         Vendor
192   Economic Research Services Inc    COPY RIGHT INC                                        Vendor
                                        NOVITEX PRINT CENTRE
193   EDF Renewable Energy              CONGA                                                 Vendor
194   EDF Trading                       CONGA                                                 Vendor
195   Edf Trading North America LLC     CONGA                                                 Vendor
196   Edison Electric Institute         EDISON ELECTRIC INSTITUTE                             Vendor
197   EEN LP and Enbridge LP            ENBRIDGE                                              Vendor
                                        SPECE
                                        SPECTRA ENERGY CORP
198   El Dorado Hydro LLC               FULCRUM INC                                           Vendor
199   El Paso Natural Gas Company       KNIGHT HOLDINGS LIMITED                               Vendor
200   Electric Insurance Company        CITI BUYER CARD                                       Vendor
                                        FLOURISH GROUP LLC
                                        GE DIGITAL LLC
                                        HILTON AMSTERDAM
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT
                                        HILTON HOTEL CARILLON PARK
                                        HILTON INN AT PENN
                                        HILTON JAMAL DAY
                                        HILTON KNOXVILLE AIRPORT
                                        HILTON LONG BEACH
                                        HILTON MUNICH AIRPORT
                                        HILTON NEWARK AIRPORT
                                        HILTON PALMER HOUSE
                                        HILTON PHILADEPHIA AT PENNS LANDING
                                        HILTON SHORT HILLS
                                        HILTON ST PETERSBURG CARILLON PARK
                                        OMNIMED
                                        PIVOT
                                        TELUS CORPORATION
                                        THE HILTON GARDEN INN MIRAMAR
                                        THE WESTIN
201   Elliott Management Corporation   DELL SOFTWARE INC                                      Vendor
                                       DELL SOFTWARE SOLUTIONS
                                       JCP&L
202   Employers Insurance Company of   DATAMONITOR LTD                                            Vendor
      Wausau                           DAY ONE




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#     Interested Party Name           Proposed Professionals Connection Name                          Connection Type
                                      INSURANCE SERVICES OFFICE INC
                                      POWER ADVOCATE INC
                                      THE LIBERTY NYC
                                      WOOD MACKENZIE INC
                                      WOOD MACKENZIE LTD
203   Employers Mutual Casualty Company DATAMONITOR LTD                                               Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE      INC
                                        WOOD MACKENZIE      INC
                                        WOOD MACKENZIE LTD
204   Empyrean Capital Partners LP on                                                                 Vendor
      behalf of certain funds and accounts INFORMATICA CORPORATION
205   Enel Green Power North America Inc FULCRUM INC                                                  Vendor
206   Enel X                               FULCRUM INC                                                Vendor
207   Energy America LLC                   THE BENJAMIN                                               Vendor
208   Energy Systems Group LLC             THE CENTER                                                 Vendor
209   Enovity Inc                          METRO ONE AIRPORT COACH                                    Vendor
210   Environment One Corporation          C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                           CIBC
                                           CIBC     CORPORATE      SERVICES
                                           CIBC WOOD GUNDY ACCOUNT # 550-09014
                                           CORT BUSINESS SERVICES CORPORATION
                                           CORT EVENT FURNISHINGS
                                           CORT FURNITURE RENTAL
                                           EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                           GRAND HYATT ATLANTA
                                           GRAND HYATT DENVER
                                           GRAND HYATT ERAWAN BANGKOK
                                           GRAND HYATT HONG KONG
                                           GRAND HYATT NEW YORK
                                           GRAND HYATT SINGAPORE
                                           GRAND HYATT WASHIONGTON
                                           HILTON AMSTERDAM
                                           HYATT CORPORATION
                                           HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                           LLC
                                           HYATT HOUSE BELMONT REDWOOD SHORES
                                           HYATT HOUSE BOSTON WALTHAM
                                           HYATT HOUSE PITTSBURGH BLOOMFIELD
                                           HYATT MIAMI THE CONFIDANTE
                                           HYATT REGENCY AMSTERDAM
                                           HYATT REGENCY BOSTON
                                           HYATT REGENCY CALGARY
                                           HYATT REGENCY CHICAGO
                                           HYATT REGENCY CLEVELAND
                                           HYATT REGENCY CORAL GABLES
                                           HYATT REGENCY DFW
                                           HYATT REGENCY GREENWICH
                                           HYATT REGENCY HOUSTON GALLERIA
                                           HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                           HYATT REGENCY JERSEY CITY
                                           HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                           HYATT REGENCY LOST PINES RESORT AND SPA
                                           HYATT REGENCY MIAMI
                                           HYATT REGENCY MORRISTOWN
                                           HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                           HYATT REGENCY TORONTO
                                           INTERNATIONAL DAIRY FEDERATION
                                           MAGNOLIA             HOTELS
                                           MDL & ASSOCIATES
                                           MOUSER ELECTRONICS INC



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#     Interested Party Name              Proposed Professionals Connection Name                  Connection Type
                                         ORIENTAL TRADING CO INC
                                         PARK HYATT ABU DHABI HOTEL AND VILLAS
                                         PARK HYATT NEW YORK
                                         PARK HYATT PARIS VENDOME
                                         PARK HYATT WASHINGTON
                                         ROCKY MOUNTAIN CONNECTIONS
                                         THE BENJAMIN
                                         THE PRODUCTION CREW
                                         THOMPSON MIAMI BEACH
                                         UCLA UNIVERSITY CALIFORNIA
211   EOG Resources                      E AND O KITCHEN AND BAR                             Vendor
212   Everest Indemnity Insurance        EVEREST GLOBAL INC                                  Vendor
213   Everest National Insurance Company EVEREST GLOBAL INC                                  Vendor
214   Eversheds Sutherland               EVERSHEDS SUTHERLAND                                Vendor
215   Exelon Corporation                 CATALYST INC                                        Vendor
                                         COMED
                                         PHI SERVICE COMPANY
216   Exelon Generation Company LLC     CATALYST INC                                         Vendor
                                        COMED
                                        PHI SERVICE COMPANY
217   ExGen Renewables                  CATALYST INC                                         Vendor
                                        COMED
                                        PHI SERVICE COMPANY
218   Express Scripts Holding Company   CIGNA                                                    Vendor
                                        CIGNA GLOBAL HEALTH BENEFITS
                                        CIGNA HEALTH AND LIFE INSURANCE COM
                                        CIGNA HEALTHCARE
                                        EXPRESS SCRIPTS INC
                                        MDL & ASSOCIATES
                                        MEDCO HEALTH SOLUTIONS INC
219   Extenet System                    HUDSON FIBER NETWORK                                 Vendor
220   Fairbanks Scales                  FAIRBANKS MORSE LLC                                  Vendor
221   Fairfax Co                        ANEJO TRIBECA                                        Vendor
                                        ORIGINAL JOES
                                        TORONTO STAR
                                        TOYS R US
222   Farallon Capital Management LLC   PURCHASE POWER                                       Vendor
                                        VVA LLC
223   Farella Braun + Martel LLP        FARELLA BRAUN MARTEL LLP                                 Vendor
224   Farmers Entities                  ZURICH AMERICAN INSURANCE COMPANY                        Vendor
225   Farmers Insurance Company of                                                               Vendor
      Washington                        ZURICH AMERICAN INSURANCE COMPANY
226   Farmers Specialty Insurance       ZURICH AMERICAN INSURANCE COMPANY                    Vendor
227   FD Thomas Inc                     EDUCATION FOUNDATION OF PALM BEACH COUNTY INC        Vendor
228   Federal Insurance Company         ACE                                                  Vendor
                                        NEW YORK LIFE INSURANCE COMPANY
229   Fidelity & Deposit Company of                                                              Vendor
      Maryland                          ZURICH AMERICAN INSURANCE COMPANY
230   Fidelity and Guaranty Insurance   DATAMONITOR LTD                                          Vendor
      Underwriters Inc                  DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        TRAVELERS
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
231   Fidelity Management & Research    COLT TECHNOLOGY SERVICES                                 Vendor
      Company                           COLT TECHNOLOGY SERVICES PTE LTD
                                        DEVON AND BLAKELY
                                        HAMILTON LANE ADVISORS LLC
                                        WEIGHT WATCHERS NORTH AMERICA INC
232   Fidelity Management Trust Company COLT TECHNOLOGY SERVICES                             Vendor




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#     Interested Party Name                Proposed Professionals Connection Name                   Connection Type
                                           COLT TECHNOLOGY SERVICES PTE LTD
                                           DEVON AND BLAKELY
                                           HAMILTON LANE ADVISORS LLC
                                           WEIGHT WATCHERS NORTH AMERICA INC
233   Fire Insurance Exchange              ZURICH AMERICAN INSURANCE COMPANY                    Vendor
234   Fireman’s Fund Insurance Company     ALLIANZ                                              Vendor
                                           ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                           ARIA
                                           BAYER FINANCIAL ADVISORS LLC
                                           BON APPETIT
                                           LINOTYPE GMBH
                                           NESPRESSO
                                           NESPRESSO CANADA
                                           OSEBERG INC
                                           PACIFIC INVESTMENT MANAGEMENT CO LLC
                                           SGS AUSTRALIA PTY LTD
                                           UNCF
235   First American Specialty Insurance   FIRST AMERICAN TITLE INSURANCE COMPANY               Vendor
                                           HOLLYWOOD BEACH MARRIOTT
                                           HOTEL JW MARRIOTT BOGOTA
236   First National Insurance Company of DATAMONITOR LTD                                           Vendor
      America                             DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          THE LIBERTY NYC
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
237   First Specialty Insurance Corporation HSBC BUSINESS CREDIT                                Vendor
                                            SHARE AND CARE CANADA FOOD BANK
                                            SHARE THE TABLE
238   Five Points Construction Co Inc       QUANTA TECHNOLOGY LLC                               Vendor
239   Fluor Corporation                     CONGA                                               Vendor
240   Flyers Energy LLC - 3015              HYATT MIAMI THE CONFIDANTE                          Vendor
241   Ford Motor Company                    BLUE DIAMOND TRANSPORTATION INC                     Vendor
                                            CAREY
242   Forefront Power LLC                  **DNU**MOBIUS EXECUTIVE** USE V# 138209              Vendor
                                           ACTUS
                                           BBF FAMILY SERVICES
                                           FALCON HOLDING COMPANY LLC
                                           FICTIV INC
                                           GLASSDOOR INC
                                           INDEED INC
                                           TEAM8 CONSULTING LTD
243   Foremost Insurance Company Grand                                                              Vendor
      Rapids Michigan                      ZURICH AMERICAN INSURANCE COMPANY
244   Foremost Property and Casualty                                                                Vendor
      Insurance Company                    ZURICH AMERICAN INSURANCE COMPANY
245   Foremost Signature Insurance                                                                  Vendor
      Company                              ZURICH AMERICAN INSURANCE COMPANY
246   Fortis Energy Marketing              BANK OF THE WEST                                     Vendor
                                           BNA
                                           CITIBANK XSC LOCKBOX
                                           LEVITT LLC, IN TRUST
                                           THE FORGE RESTAURANT
247   Foster Wheeler Martinez Inc          GAS TURBINE WORLD                                    Vendor
                                           HARDING INTERNATIONAL ASSOCIATES
248   Framatome Inc                        CONGA                                                Vendor
249   Frito-Lay Inc                        PBG LATAM                                            Vendor
                                           TROPICANA LIMITED
250   Frontier Communications              CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC         Vendor
      Corporation                          FRONTIER
                                           GLOBAL CROSSING CHILE SA



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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
                                         GVN FOUNDATION
                                         VERIZON FLORIDA LLC
251   Frontier Communications of America, CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC          Vendor
      Inc                                 FRONTIER
                                          GLOBAL CROSSING CHILE SA
                                          GVN FOUNDATION
                                          VERIZON FLORIDA LLC
252   G4S Secure Integration LLC         G4S COMPLIANCE AND INVESTIGATIONS INC                  Vendor
                                         G4S RISK CONSULTING LIMITED
                                         G4S SECURE SOLUTIONS CANADA LTD
                                         G4S SECURE SOLUTIONS USA INC
                                         POLICE PAINTING
253   G4S Secure Solutions Inc           G4S COMPLIANCE AND INVESTIGATIONS INC                  Vendor
                                         G4S RISK CONSULTING LIMITED
                                         G4S SECURE SOLUTIONS CANADA LTD
                                         G4S SECURE SOLUTIONS USA INC
                                         POLICE PAINTING
254   G4S Secure Solutions Inc and G4S                                                              Vendor
      Secure Integration LLC             G4S SECURE SOLUTIONS CANADA LTD
255   Garrison Property and Casualty     ALG INC                                                    Vendor
      Insurance Company                  THE GARRISON INSTITUTE
                                         TRU
256   Gartner Inc                        AMR CORPORATION                                        Vendor
                                         CORPORATE EXECUTIVE BOARD
                                         GARTNER INC
                                         GARTNER U K LIMITED
                                         SHL US INC
257   Gas Recovery Systems Inc           IMS BUDAPEST                                           Vendor
258   GCube Insurance Services Inc       MARSH CANADA LIMITED                                   Vendor
                                         MARSH USA INC
                                         MERCER
                                         MERCER US INC
259   GE Oil & Gas - North America       CITI BUYER CARD                                        Vendor
                                         FLOURISH GROUP LLC
                                         GE DIGITAL LLC
                                         HILTON AMSTERDAM
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         OMNIMED
                                         PIVOT
                                         TELUS CORPORATION
                                         THE HILTON GARDEN INN MIRAMAR
                                         THE WESTIN
260   GE Renewable Energy                CITI BUYER CARD                                        Vendor
                                         FLOURISH GROUP LLC
                                         GE DIGITAL LLC
                                         HILTON AMSTERDAM
                                         HILTON BENTLEY MIAMI SOUTH BEACH



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#     Interested Party Name             Proposed Professionals Connection Name                     Connection Type
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT
                                        HILTON HOTEL CARILLON PARK
                                        HILTON INN AT PENN
                                        HILTON JAMAL DAY
                                        HILTON KNOXVILLE AIRPORT
                                        HILTON LONG BEACH
                                        HILTON MUNICH AIRPORT
                                        HILTON NEWARK AIRPORT
                                        HILTON PALMER HOUSE
                                        HILTON PHILADEPHIA AT PENNS LANDING
                                        HILTON SHORT HILLS
                                        HILTON ST PETERSBURG CARILLON PARK
                                        OMNIMED
                                        PIVOT
                                        TELUS CORPORATION
                                        THE HILTON GARDEN INN MIRAMAR
                                        THE WESTIN
261   Geico General Insurance Company   C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                        CIBC
                                        CIBC     CORPORATE      SERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CORT BUSINESS SERVICES CORPORATION
                                        CORT EVENT FURNISHINGS
                                        CORT FURNITURE RENTAL
                                        EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                        GRAND HYATT ATLANTA
                                        GRAND HYATT DENVER
                                        GRAND HYATT ERAWAN BANGKOK
                                        GRAND HYATT HONG KONG
                                        GRAND HYATT NEW YORK
                                        GRAND HYATT SINGAPORE
                                        GRAND HYATT WASHIONGTON
                                        HILTON AMSTERDAM
                                        HYATT CORPORATION
                                        HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                        LLC
                                        HYATT HOUSE BELMONT REDWOOD SHORES
                                        HYATT HOUSE BOSTON WALTHAM
                                        HYATT HOUSE PITTSBURGH BLOOMFIELD
                                        HYATT MIAMI THE CONFIDANTE
                                        HYATT REGENCY AMSTERDAM
                                        HYATT REGENCY BOSTON
                                        HYATT REGENCY CALGARY
                                        HYATT REGENCY CHICAGO
                                        HYATT REGENCY CLEVELAND
                                        HYATT REGENCY CORAL GABLES
                                        HYATT REGENCY DFW
                                        HYATT REGENCY GREENWICH
                                        HYATT REGENCY HOUSTON GALLERIA
                                        HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                        HYATT REGENCY JERSEY CITY
                                        HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                        HYATT REGENCY LOST PINES RESORT AND SPA
                                        HYATT REGENCY MIAMI
                                        HYATT REGENCY MORRISTOWN
                                        HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                        HYATT REGENCY TORONTO
                                        INTERNATIONAL DAIRY FEDERATION
                                        MAGNOLIA HOTELS



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#     Interested Party Name         Proposed Professionals Connection Name                     Connection Type
                                    MDL & ASSOCIATES
                                    MOUSER ELECTRONICS INC
                                    ORIENTAL TRADING CO INC
                                    PARK HYATT ABU DHABI HOTEL AND VILLAS
                                    PARK HYATT NEW YORK
                                    PARK HYATT PARIS VENDOME
                                    PARK HYATT WASHINGTON
                                    ROCKY MOUNTAIN CONNECTIONS
                                    THE BENJAMIN
                                    THE PRODUCTION CREW
                                    THOMPSON MIAMI BEACH
                                    UCLA UNIVERSITY CALIFORNIA
262   Geico Indemnity Company       C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                    CIBC
                                    CIBC     CORPORATE      SERVICES
                                    CIBC WOOD GUNDY ACCOUNT # 550-09014
                                    CORT BUSINESS SERVICES CORPORATION
                                    CORT EVENT FURNISHINGS
                                    CORT FURNITURE RENTAL
                                    EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                    GRAND HYATT ATLANTA
                                    GRAND HYATT DENVER
                                    GRAND HYATT ERAWAN BANGKOK
                                    GRAND HYATT HONG KONG
                                    GRAND HYATT NEW YORK
                                    GRAND HYATT SINGAPORE
                                    GRAND HYATT WASHIONGTON
                                    HILTON AMSTERDAM
                                    HYATT CORPORATION
                                    HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                    LLC
                                    HYATT HOUSE BELMONT REDWOOD SHORES
                                    HYATT HOUSE BOSTON WALTHAM
                                    HYATT HOUSE PITTSBURGH BLOOMFIELD
                                    HYATT MIAMI THE CONFIDANTE
                                    HYATT REGENCY AMSTERDAM
                                    HYATT REGENCY BOSTON
                                    HYATT REGENCY CALGARY
                                    HYATT REGENCY CHICAGO
                                    HYATT REGENCY CLEVELAND
                                    HYATT REGENCY CORAL GABLES
                                    HYATT REGENCY DFW
                                    HYATT REGENCY GREENWICH
                                    HYATT REGENCY HOUSTON GALLERIA
                                    HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                    HYATT REGENCY JERSEY CITY
                                    HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                    HYATT REGENCY LOST PINES RESORT AND SPA
                                    HYATT REGENCY MIAMI
                                    HYATT REGENCY MORRISTOWN
                                    HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                    HYATT REGENCY TORONTO
                                    INTERNATIONAL DAIRY FEDERATION
                                    MAGNOLIA             HOTELS
                                    MDL & ASSOCIATES
                                    MOUSER ELECTRONICS INC
                                    ORIENTAL TRADING CO INC
                                    PARK HYATT ABU DHABI HOTEL AND VILLAS
                                    PARK HYATT NEW YORK
                                    PARK HYATT PARIS VENDOME
                                    PARK HYATT WASHINGTON
                                    ROCKY MOUNTAIN CONNECTIONS



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#     Interested Party Name                Proposed Professionals Connection Name                     Connection Type
                                           THE BENJAMIN
                                           THE PRODUCTION CREW
                                           THOMPSON MIAMI BEACH
                                           UCLA UNIVERSITY CALIFORNIA
263   Gelco Corporation dba GE Fleet       CITI BUYER CARD                                            Vendor
      Services                             FLOURISH GROUP LLC
                                           GE DIGITAL LLC
                                           HILTON AMSTERDAM
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON BUDAPEST CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON LONG BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON PALMER HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON SHORT HILLS
                                           HILTON ST PETERSBURG CARILLON PARK
                                           OMNIMED
                                           PIVOT
                                           TELUS CORPORATION
                                           THE HILTON GARDEN INN MIRAMAR
                                           THE WESTIN
264   General Casualty Company of          DEEP SOUTH ENTERTAINMENT                                   Vendor
      Wisconsin                            QBE NORTH AMERICA
265   General Insurance Company of         DATAMONITOR LTD                                            Vendor
      America                              DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
266   Generali US Branch                   CITIBANK XSC LOCKBOX                                   Vendor
                                           ERGO
                                           THE LOGAN HOTEL PHILADELPHIA
267   GenOn Delta LLC                      GAS TURBINE WORLD                                      Vendor
268   GenOn Energy Inc                     PURCHASE POWER                                         Vendor
269   GenOn Energy Management LLC          PURCHASE POWER                                         Vendor
270   GeoSyntec Consultants Inc            B FORD CONSULTING LTD                                  Vendor
271   GFI Brokers LLC                      NEWMARK GRUBB KNIGHT FRANK                             Vendor
                                           POTEN AND PARTNERS INC
272   GFI Securities LLC                   NEWMARK GRUBB KNIGHT FRANK                             Vendor
                                           POTEN AND PARTNERS INC
273   Golden Eagle Insurance Corporation   DATAMONITOR LTD                                        Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
274   Golden Empire Council - Boy Scouts   WESTERN LOS ANGELES COUNTY COUNCIL INC BOY SCOUTS OF       Vendor
      of America                           AMERICA 51
275   Golden State Towers                  LIGHTOWER FIBER NETWORKS                               Vendor
276   GoldenTree Asset Management LP       MTS ALLSTREAM INC                                      Vendor
                                           POSTMEDIA NETWORK INC




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#     Interested Party Name         Proposed Professionals Connection Name                   Connection Type
                                    YELLOW PAGES GROUP
277   Goldman Sachs & Co. LLC       ARAMARK                                              Vendor
                                    ARAMARK AT MINUTE MAID PARK
                                    ARAMARK CANADA LTD
                                    ARAMARK CORPORATION
                                    ARAMARK REFRESHMENT SERVICES
                                    ARAMARK SERVICES INC
                                    ARAMARK SERVICIOS DE CATERING SLU
                                    ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                    ARIA
                                    BRIDGE STREET COMMUNICATIONS
                                    DEAN AND DELUCA
                                    FACEBOOK
                                    FIREEYE INC
                                    GLEN COVE MANSION HOTEL AND CONF CENTER
                                    GOLDMAN SACHS AND CO LLC
                                    HASTINGS AND HASTINGS
                                    HILTON AMSTERDAM
                                    HILTON BENTLEY MIAMI SOUTH BEACH
                                    HILTON BUDAPEST CITY
                                    HILTON CHICAGO O'HARE AIRPORT
                                    HILTON DENVER INVERNESS
                                    HILTON FORT LAUDERDALE BEACH RESORT
                                    HILTON HOTEL CARILLON PARK
                                    HILTON INN AT PENN
                                    HILTON JAMAL DAY
                                    HILTON KNOXVILLE AIRPORT
                                    HILTON LONG BEACH
                                    HILTON MUNICH AIRPORT
                                    HILTON NEWARK AIRPORT
                                    HILTON PALMER HOUSE
                                    HILTON PHILADEPHIA AT PENNS LANDING
                                    HILTON SHORT HILLS
                                    HILTON ST PETERSBURG CARILLON PARK
                                    HOLLYWOOD BEACH MARRIOTT
                                    HOTEL JW MARRIOTT BOGOTA
                                    HOTEL MARRIOTT
                                    IHS GLOBAL CANADA LIMITED
                                    J AND R TOURS LTD
                                    KTECH
                                    SANSAN
                                    STANDARD AND POOR S LLC
                                    STANDARD AND POORS
                                    VERODIN INC
278   Goldman Sachs Bank USA        ARAMARK                                                  Vendor
                                    ARAMARK AT MINUTE MAID PARK
                                    ARAMARK CANADA LTD
                                    ARAMARK CORPORATION
                                    ARAMARK REFRESHMENT SERVICES
                                    ARAMARK SERVICES INC
                                    ARAMARK SERVICIOS DE CATERING SLU
                                    ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                    ARIA
                                    BRIDGE STREET COMMUNICATIONS
                                    DEAN AND DELUCA
                                    FACEBOOK
                                    FIREEYE INC
                                    GLEN COVE MANSION HOTEL AND CONF CENTER
                                    GOLDMAN SACHS AND CO LLC
                                    HASTINGS AND HASTINGS
                                    HILTON AMSTERDAM
                                    HILTON BENTLEY MIAMI SOUTH BEACH



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#     Interested Party Name            Proposed Professionals Connection Name                     Connection Type
                                       HILTON BUDAPEST CITY
                                       HILTON CHICAGO O'HARE AIRPORT
                                       HILTON DENVER INVERNESS
                                       HILTON FORT LAUDERDALE BEACH RESORT
                                       HILTON HOTEL CARILLON PARK
                                       HILTON INN AT PENN
                                       HILTON JAMAL DAY
                                       HILTON KNOXVILLE AIRPORT
                                       HILTON LONG BEACH
                                       HILTON MUNICH AIRPORT
                                       HILTON NEWARK AIRPORT
                                       HILTON PALMER HOUSE
                                       HILTON PHILADEPHIA AT PENNS LANDING
                                       HILTON SHORT HILLS
                                       HILTON ST PETERSBURG CARILLON PARK
                                       HOLLYWOOD BEACH MARRIOTT
                                       HOTEL JW MARRIOTT BOGOTA
                                       HOTEL MARRIOTT
                                       IHS GLOBAL CANADA LIMITED
                                       J AND R TOURS LTD
                                       KTECH
                                       SANSAN
                                       STANDARD AND POOR S LLC
                                       STANDARD AND POORS
                                       VERODIN INC
279   Google Inc                       APIGEE CORPORATION                                         Vendor
                                       GOOGLE         INC
                                       LENOVO UNITED STATES INC
                                       LYFT INC
                                       MAGIC LEAP INC
                                       QUANTUM DESIGN
                                       SURVEY MONKEY EUROPE SARL
                                       UBER BV
                                       UBER TECHNOLOGIES INC
                                       WILDFIRE
280   Government Employees Insurance   C AND S EXECUTIVE TRANSPORTATION                           Vendor
      Company                          CIBC
                                       CIBC     CORPORATE      SERVICES
                                       CIBC WOOD GUNDY ACCOUNT # 550-09014
                                       CORT BUSINESS SERVICES CORPORATION
                                       CORT EVENT FURNISHINGS
                                       CORT FURNITURE RENTAL
                                       EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                       GRAND HYATT ATLANTA
                                       GRAND HYATT DENVER
                                       GRAND HYATT ERAWAN BANGKOK
                                       GRAND HYATT HONG KONG
                                       GRAND HYATT NEW YORK
                                       GRAND HYATT SINGAPORE
                                       GRAND HYATT WASHIONGTON
                                       HILTON AMSTERDAM
                                       HYATT CORPORATION
                                       HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                       LLC
                                       HYATT HOUSE BELMONT REDWOOD SHORES
                                       HYATT HOUSE BOSTON WALTHAM
                                       HYATT HOUSE PITTSBURGH BLOOMFIELD
                                       HYATT MIAMI THE CONFIDANTE
                                       HYATT REGENCY AMSTERDAM
                                       HYATT REGENCY BOSTON
                                       HYATT REGENCY CALGARY
                                       HYATT REGENCY CHICAGO



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#     Interested Party Name               Proposed Professionals Connection Name                   Connection Type
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES
                                          HYATT REGENCY DFW
                                          HYATT REGENCY GREENWICH
                                          HYATT REGENCY HOUSTON GALLERIA
                                          HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                          HYATT REGENCY JERSEY CITY
                                          HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                          HYATT REGENCY LOST PINES RESORT AND SPA
                                          HYATT REGENCY MIAMI
                                          HYATT REGENCY MORRISTOWN
                                          HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                          HYATT REGENCY TORONTO
                                          INTERNATIONAL DAIRY FEDERATION
                                          MAGNOLIA                  HOTELS
                                          MDL & ASSOCIATES
                                          MOUSER ELECTRONICS INC
                                          ORIENTAL TRADING CO INC
                                          PARK HYATT ABU DHABI HOTEL AND VILLAS
                                          PARK HYATT NEW YORK
                                          PARK HYATT PARIS VENDOME
                                          PARK HYATT WASHINGTON
                                          ROCKY MOUNTAIN CONNECTIONS
                                          THE BENJAMIN
                                          THE PRODUCTION CREW
                                          THOMPSON MIAMI BEACH
                                          UCLA UNIVERSITY CALIFORNIA
281   Granite State Insurance Company     120 SUMMIT AVENUE LLC                                  Vendor
                                          AIGA
                                          ALOFT HOTEL
                                          ALOFT MILWAUKEE DOWNTOWN HOTEL
                                          AMERICAN INTERNATIONAL GROUP INC
                                          ARGUS MEDIA LIMITED
                                          DATAMONITOR LTD
                                          DAY ONE
                                          ERGO
                                          HUEBNER FOUNDATION
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          THE LEXINGTON NYC
                                          THRIVE AT WORK
                                          VINCENT C CRAFTON
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
282   Great American Alliance Insurance   DATAMONITOR LTD                                          Vendor
      Company                             DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          MDL & ASSOCIATES
                                          POWER ADVOCATE INC
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
283   Great American Assurance Company DATAMONITOR LTD                                           Vendor
                                       DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       MDL & ASSOCIATES
                                       POWER ADVOCATE INC
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
284   Great American E&S Insurance        DATAMONITOR LTD                                          Vendor
      Company                             DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          MDL & ASSOCIATES



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#     Interested Party Name              Proposed Professionals Connection Name                      Connection Type
                                         POWER ADVOCATE INC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
285   Great American Insurance Company   DATAMONITOR LTD                                         Vendor
                                         DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         MDL & ASSOCIATES
                                         POWER ADVOCATE INC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
286   Great American Insurance Company   DATAMONITOR LTD                                             Vendor
      and certain affiliates:            DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         MDL & ASSOCIATES
                                         POWER ADVOCATE INC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
287   Great American Insurance Company   DATAMONITOR LTD                                             Vendor
      of New York                        DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         MDL & ASSOCIATES
                                         POWER ADVOCATE INC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
288   Great American Spirit Insurance    DATAMONITOR LTD                                             Vendor
      Company                            DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         MDL & ASSOCIATES
                                         POWER ADVOCATE INC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
289   Great Lakes Insurance SE           ERGO                                                    Vendor
                                         LINOTYPE GMBH
                                         MU
                                         THE FORGE RESTAURANT
290   Great Northern Insurance Company ACE                                                           Vendor
                                       NEW YORK LIFE INSURANCE COMPANY
291   Great West Life and Annuity        GWL REALTY ADVISORS INC ITF                                 Vendor
      Insurance Company                  I AND G DIRECT REAL ESTATE 30 LP
                                         IGM FINANCIAL
                                         THE RETIREMENT ADVANTAGE INC
292   Greenberg Traurig LLP              GREENBERG TRAURIG                                       Vendor
293   Greenwaste of Tehama               BFI                                                     Vendor
                                         THE PROGRESS
                                         WASTECO
294   Groom Law                          GROOM LAW GROUP CHARTERED                                   Vendor
295   Hach Company                       ENFOCUS CO INC                                              Vendor
296   Hallmark Specialty Insurance                                                                   Vendor
      Company                            THE HALL
297   Hanover American Insurance                                                                     Vendor
      Company                            THE HANOVER INN
298   Harbert Management Corp            CLARABRIDGE INC                                             Vendor
299   Harris County                      HARRIS COUNTY TAX COLLECTOR                                 Vendor
300   Harris Wiltshire & Grannis LLP     HARRIS WILTSHIRE AND GRANNIS LLP                            Vendor
301   Hartford Accident & Indemnity                                                                  Vendor
      Company                            HART
302   Hartford Casualty Insurance        HART                                                        Vendor
303   Hartford Underwriters Insurance                                                                Vendor
      Company                            HART
304   HBK Master Fund LP co HBK                                                                      Vendor
      Services LLC                       VIC AND ANTHONYS
305   HCI Inc Bakersfield Division       HCI CORPORATION                                         Vendor



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#     Interested Party Name                 Proposed Professionals Connection Name                      Connection Type
                                            HCI INC
306   HD Supply                             HOME DEPOT                                                  Vendor
                                            THE HOME DEPOT INC
307   HDI Global Insurance Company          ERGO                                                        Vendor
308   HDI Global SE                         ERGO                                                        Vendor
309   HDI Global Specialty SE               ERGO                                                        Vendor
310   HercRentals                           HERTZ CORPORATION                                           Vendor
311   Hillcrest Sheet Metal A Division of   ASTRO CONTRACTORS INC                                       Vendor
      Mesa Energy Systems Inc               EMCOR SERVICES FLUIDICS
                                            EMCOR SERVICES INTEGRATED SOLUTIONS INC
                                            HILL YORK SERVICE CORPORATION
                                            PENGUIN MAINTENANCE AND SERVICE INC
312   Houston Casualty Company              ON CALL MASSAGE                                             Vendor
                                            THE HOUSTON PHOTOBOOTH
313   HSBC Bank plc                         CITIBANK NA PRIVATE BANKING                                 Vendor
                                            HSBC BANK USA
                                            HSBC BUSINESS CREDIT
                                            IHS GLOBAL CANADA LIMITED
                                            KYRIBA CORP
314   Hunton Andrews Kurth LLP              HUNTON AND WILLIAMS                                         Vendor
315   Iberdrola Renewables Inc              LEAN IN CANADA                                              Vendor
                                            NEW YORK STATE ATTORNEY REGISTRATION
                                            NEW YORK STATE INCOME TAX
                                            NEW YORK STATE OFFICE OF COURT ADMINISTRATION
                                            STATIONARY POWER SYSTEMS
316   ICE NGX Canada Inc                    AMEX CARD                                                   Vendor
                                            NYSE TECHNOLOGIES CONNECTIVITY INC
                                            SUPER DERIVATIVES INC
                                            THE NEW YORK CITY CHILDRENS HOLIDAY PARTY INC
                                            THE NEW YORK POLICE AND FIRE WIDOWS AND CHILDRENS BENEFIT
                                            FUND INC
317   ICF Consulting Group Inc              WHITLOCK GROUP                                              Vendor
318   Illinois Union Insurance Company      ACE                                                         Vendor
                                            NEW YORK LIFE INSURANCE COMPANY
319   Indemnity Insurance Company of        ACE                                                         Vendor
      North America                         NEW YORK LIFE INSURANCE COMPANY
320   Infosys Limited                       INFOSYS LTD                                                 Vendor
                                            LODESTONE INSIGHTS LLC
321   Institute for Nuclear Power          SAS INSTITUTE INC                                            Vendor
      Operations                           THE INSTITUTE OF CULINARY EDUCATION INC
322   Instrument & Valve Services          BAUMANN RESOURCE GROUP INC                                   Vendor
      Company                              SMARTSIGN
323   International Business Machines Corp AMMIRATI INC                                                 Vendor
                                           DILIGENT CORPORATION
                                           IBM CORPORATION
                                           ILLUSTRA LTD
                                           INFORUM
                                           INTERNET SECURITIES INC
                                           INTERNET SECURITIES LLC
                                           RED HAT INC
                                           RED THE STEAKHOUSE
                                           SALARY COM
                                           SOFTLAYER TECHNOLOGIES INC
                                           TRUVEN HEALTH ANALYTICS INC
                                           VIEWPOINTE ARCHIVE SERVICES LLC
324   Interstate Fire & Casualty Company    ALLIANZ                                                     Vendor
                                            ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                            ARIA
                                            BAYER FINANCIAL ADVISORS LLC
                                            BON APPETIT
                                            LINOTYPE GMBH




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#     Interested Party Name             Proposed Professionals Connection Name                   Connection Type
                                        NESPRESSO
                                        NESPRESSO CANADA
                                        OSEBERG INC
                                        PACIFIC INVESTMENT MANAGEMENT CO LLC
                                        SGS AUSTRALIA PTY LTD
                                        UNCF
325   Iron Mountain                     IRON MOUNTAIN                                        Vendor
                                        IRON MOUNTAIN CANADA OPERATIONS ULC
                                        PREFERRED MEDIA INC
                                        RECALL SECURE DESTRUCTION SERVICES INC
326   Iron Mountain Information         IRON MOUNTAIN                                            Vendor
      Management LLC                    IRON MOUNTAIN CANADA OPERATIONS ULC
                                        PREFERRED MEDIA INC
                                        RECALL SECURE DESTRUCTION SERVICES INC
327   Ironshore                         DATAMONITOR LTD                                      Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
328   Ironshore Indemnity Inc           DATAMONITOR LTD                                      Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
329   Ironshore Insurance Limited       DATAMONITOR LTD                                      Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
330   Ironshore Specialty Insurance     DATAMONITOR LTD                                          Vendor
      Company                           DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
331   J Aron & Company LLC              ARAMARK                                              Vendor
                                        ARAMARK AT MINUTE MAID PARK
                                        ARAMARK CANADA LTD
                                        ARAMARK CORPORATION
                                        ARAMARK REFRESHMENT SERVICES
                                        ARAMARK SERVICES INC
                                        ARAMARK SERVICIOS DE CATERING SLU
                                        ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                        ARIA
                                        BRIDGE STREET COMMUNICATIONS
                                        DEAN AND DELUCA
                                        FACEBOOK
                                        FIREEYE INC
                                        GLEN COVE MANSION HOTEL AND CONF CENTER
                                        GOLDMAN SACHS AND CO LLC
                                        HASTINGS AND HASTINGS
                                        HILTON AMSTERDAM
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT



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#     Interested Party Name           Proposed Professionals Connection Name                     Connection Type
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HOLLYWOOD BEACH MARRIOTT
                                      HOTEL JW MARRIOTT BOGOTA
                                      HOTEL MARRIOTT
                                      IHS GLOBAL CANADA LIMITED
                                      J AND R TOURS LTD
                                      KTECH
                                      SANSAN
                                      STANDARD AND POOR S LLC
                                      STANDARD AND POORS
                                      VERODIN INC
332   Jackson Lewis PC                      JACKSON LEWIS LLP                                Vendor
                                            JACKSON LEWIS PC
333   Jackson Valley Energy Partners        GAS TURBINE WORLD                                Vendor
334   James Smith                           JAMES R E SMITH                                  Vendor
335   Jenner & Block LLP                    JENNER AND BLOCK LLP                             Vendor
336   John Crane Inc                        THE SMITH                                        Vendor
337   Johnson Controls Inc - Central Region ADT SECURITY SERVICES                            Vendor
                                            BUILDING AUTOMATION SYSTEMS
                                            CBRE INC AAF HEALTH CARE SERVICE CORPORATION
                                            JOHNSON CONTROLS INC
                                            JOHNSON CONTROLS SECURITY SOLUTIONS
                                            SHOPPERTRAK RCT CORPORATION
                                            TYCO INTEGRATED SECURITY LLC
338   Joseph Morgan Jr                      JOSEPH MORGAN                                        Vendor
339   JP Morgan Chase Bank NA               ARAMARK                                              Vendor
                                            ARAMARK AT MINUTE MAID PARK
                                            ARAMARK CANADA LTD
                                            ARAMARK CORPORATION
                                            ARAMARK REFRESHMENT SERVICES
                                            ARAMARK SERVICES INC
                                            ARAMARK SERVICIOS DE CATERING SLU
                                            ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                            BLOOMINGDALES
                                            CITIBANK XSC LOCKBOX
                                            GLEN COVE MANSION HOTEL AND CONF CENTER
                                            JP MORGAN CHASE
                                            JP MORGAN CHASE CARD SERVICES
                                            JPMORGAN CHASE BANK
                                            LAZARD FRERES AND CO LLC
                                            STAR TRIBUNE
340   JP Morgan Securities LLC        ARAMARK                                                Vendor
                                      ARAMARK AT MINUTE MAID PARK
                                      ARAMARK CANADA LTD
                                      ARAMARK CORPORATION
                                      ARAMARK REFRESHMENT SERVICES
                                      ARAMARK SERVICES INC
                                      ARAMARK SERVICIOS DE CATERING SLU
                                      ARAMARK SPORTS & ENTERTAINMENT SVC INC




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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          BLOOMINGDALES
                                          CITIBANK XSC LOCKBOX
                                          GLEN COVE MANSION HOTEL AND CONF CENTER
                                          JP MORGAN CHASE
                                          JP MORGAN CHASE CARD SERVICES
                                          JPMORGAN CHASE BANK
                                          LAZARD FRERES AND CO LLC
                                          STAR TRIBUNE
341   JP Morgan Ventures Energy           ARAMARK                                                    Vendor
      Corporation                         ARAMARK AT MINUTE MAID PARK
                                          ARAMARK CANADA LTD
                                          ARAMARK CORPORATION
                                          ARAMARK REFRESHMENT SERVICES
                                          ARAMARK SERVICES INC
                                          ARAMARK SERVICIOS DE CATERING SLU
                                          ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                          BLOOMINGDALES
                                          CITIBANK XSC LOCKBOX
                                          GLEN COVE MANSION HOTEL AND CONF CENTER
                                          JP MORGAN CHASE
                                          JP MORGAN CHASE CARD SERVICES
                                          JPMORGAN CHASE BANK
                                          LAZARD FRERES AND CO LLC
                                          STAR TRIBUNE
342   Kaiser Foundation Health Plan Inc   KAISER FOUNDATION HEALTH PLAN INC                          Vendor
343   KBIC Insurance Company              TRACXN TECHNOLOGIES PVT LTD                                Vendor
344   Kemper Independence Insurance       DATAMONITOR LTD                                            Vendor
      Company                             DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE       INC
                                          WOOD MACKENZIE       INC
                                          WOOD MACKENZIE LTD
345   Kern River Cogen Company            GAS TURBINE WORLD                                          Vendor
346   Kern River Gas Transmission         C AND S EXECUTIVE TRANSPORTATION                           Vendor
      Company                             CIBC
                                          CIBC     CORPORATE      SERVICES
                                          CIBC WOOD GUNDY ACCOUNT # 550-09014
                                          CORT BUSINESS SERVICES CORPORATION
                                          CORT EVENT FURNISHINGS
                                          CORT FURNITURE RENTAL
                                          EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                          GRAND HYATT ATLANTA
                                          GRAND HYATT DENVER
                                          GRAND HYATT ERAWAN BANGKOK
                                          GRAND HYATT HONG KONG
                                          GRAND HYATT NEW YORK
                                          GRAND HYATT SINGAPORE
                                          GRAND HYATT WASHIONGTON
                                          HILTON AMSTERDAM
                                          HYATT CORPORATION
                                          HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                          LLC
                                          HYATT HOUSE BELMONT REDWOOD SHORES
                                          HYATT HOUSE BOSTON WALTHAM
                                          HYATT HOUSE PITTSBURGH BLOOMFIELD
                                          HYATT MIAMI THE CONFIDANTE
                                          HYATT REGENCY AMSTERDAM
                                          HYATT REGENCY BOSTON
                                          HYATT REGENCY CALGARY
                                          HYATT REGENCY CHICAGO
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES



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                                           HYATT REGENCY DFW
                                           HYATT REGENCY GREENWICH
                                           HYATT REGENCY HOUSTON GALLERIA
                                           HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                           HYATT REGENCY JERSEY CITY
                                           HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                           HYATT REGENCY LOST PINES RESORT AND SPA
                                           HYATT REGENCY MIAMI
                                           HYATT REGENCY MORRISTOWN
                                           HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                           HYATT REGENCY TORONTO
                                           INTERNATIONAL DAIRY FEDERATION
                                           MAGNOLIA                  HOTELS
                                           MDL & ASSOCIATES
                                           MOUSER ELECTRONICS INC
                                           ORIENTAL TRADING CO INC
                                           PARK HYATT ABU DHABI HOTEL AND VILLAS
                                           PARK HYATT NEW YORK
                                           PARK HYATT PARIS VENDOME
                                           PARK HYATT WASHINGTON
                                           ROCKY MOUNTAIN CONNECTIONS
                                           THE BENJAMIN
                                           THE PRODUCTION CREW
                                           THOMPSON MIAMI BEACH
                                           UCLA UNIVERSITY CALIFORNIA
347   Key Government Finance Inc           AMELIA S BISTRO                                        Vendor
                                           CITIBANK XSC LOCKBOX
                                           FREMONT MARRIOTT HOTEL
                                           KEYBANK NATIONAL ASSOCIATION
348   King & Spalding LP                   KING AND SPALDING LLP                                  Vendor
349   Klondike Wind Power III LLC          LEAN IN CANADA                                         Vendor
                                           NEW YORK STATE ATTORNEY REGISTRATION
                                           NEW YORK STATE INCOME TAX
                                           NEW YORK STATE OFFICE OF COURT ADMINISTRATION
                                           STATIONARY POWER SYSTEMS
350   Koch Energy Svc                      GEORGIA PACIFIC CENTER                                 Vendor
                                           GUARD AND GRACE
351   Koch Supply & Trading LP             GEORGIA PACIFIC CENTER                                 Vendor
                                           GUARD AND GRACE
352   KPMG LLP                             GRANT THORNTON BEDRIJFSREVISOREN CVBA                  Vendor
                                           KPMG ABOGADOS SL
                                           KPMG CROATIA D O O
                                           KPMG LLP
                                           OPTIMUM SOLUTIONS CORPORATION
                                           PIVOT
                                           THOMSON REUTERS INDIA PRIVATE LIMITED
353   LACC #21                             DA VINCI VERTALINGEN                                     Vendor
354   Landmark American Insurance                                                                   Vendor
      Company                              ARES CORPORATE OPPOR IVEP
355   Latigo Partners LP on behalf of                                                               Vendor
      certain funds and accounts           LATIGO FINANCIAL SERVICES LLC
356   Lazard Frères & Co LLC               LAZARD FRERES AND CO LLC                               Vendor
                                           THE EDGEWATER
357   Leavitt's Freight Service - Fresno   D AND S CREATIONS                                      Vendor
358   Lehman Brothers                      I CUBED ENERGY CONSULTING INC                          Vendor
                                           MERIDIEN HOTELS
                                           THE SETAI MIAMI BEACH
359   Lehman Brothers Commodity Services I CUBED ENERGY CONSULTING INC                            Vendor
                                         MERIDIEN HOTELS
                                         THE SETAI MIAMI BEACH
360   Leidos Engineering LLC             THE FREDERICK HOTEL                                      Vendor
361   Level 3 Communications LLC         CENTURYLINK                                              Vendor



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#     Interested Party Name                Proposed Professionals Connection Name                   Connection Type
                                           CENTURYLINK ARGENTINA SA
                                           CENTURYLINK COLOMBIA SA
                                           CENTURYLINK TS
                                           CT CORPORATION
                                           GLOBAL CROSSING CHILE SA
                                           LEVEL 3 ARGENTINA SA
                                           LEVEL 3 CHILE S A
                                           LEVEL 3 COLOMBIA SA
                                           LEVEL 3 COMMUNICATIONS LLC
                                           LEVEL 3 MEXICO LANDING S DE RL
                                           LEVEL 3 PERU S A
                                           LEVEL THREE COMMUNICATIONS COSTA RICA SRL
362   Lexington Insurance Company          120 SUMMIT AVENUE LLC                                Vendor
                                           AIGA
                                           ALOFT HOTEL
                                           ALOFT MILWAUKEE DOWNTOWN HOTEL
                                           AMERICAN INTERNATIONAL GROUP INC
                                           ARGUS MEDIA LIMITED
                                           DATAMONITOR LTD
                                           DAY ONE
                                           ERGO
                                           HUEBNER FOUNDATION
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LEXINGTON NYC
                                           THRIVE AT WORK
                                           VINCENT C CRAFTON
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
363   Liberty Insurance Corporation        DATAMONITOR LTD                                      Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
364   Liberty Insurance Underwriters Inc   DATAMONITOR LTD                                      Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
365   Liberty Mutual Insurance Company     DATAMONITOR LTD                                      Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
366   Liberty Mutual Insurance Europe SE   DATAMONITOR LTD                                      Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
367   Liberty Specialty Markets            DATAMONITOR LTD                                      Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC



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#     Interested Party Name             Proposed Professionals Connection Name                     Connection Type
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
368   Liberty Surplus Insurance Corp.   DATAMONITOR LTD                                            Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
369   Life Insurance Company of North   CIGNA                                                      Vendor
      America                           CIGNA GLOBAL HEALTH BENEFITS
                                        CIGNA HEALTH AND LIFE INSURANCE COM
                                        CIGNA HEALTHCARE
                                        EXPRESS SCRIPTS INC
                                        MDL & ASSOCIATES
                                        MEDCO HEALTH SOLUTIONS INC
370   Lloyds                            ALLIANCE MAINTENANCE                                   Vendor
                                        CAPITAL ECONOMICS NA LTD
                                        CORPORATION OF LLOYDS
                                        THOUGHT MACHINE
371   Lloyd's of London Limited         CORPORATION OF LLOYDS                                  Vendor
372   Loop                              GREEN RIVER MUSIC                                      Vendor
373   Lord Abbett & Co LLC              COOPER AB LLC                                          Vendor
                                        TNT EXPRESS CANADA CORPORATION
                                        VERMILION
374   Lost Hills Solar LLC              GEORGIA NATURAL GAS                                    Vendor
                                        GEORGIA POWER COMPANY
375   Louis Berger US INC               BEAUBIEN AND CO INC                                    Vendor
                                        WSP USA BUILDING INC
376   Macquarie Can                     CIBC CORPORATE SERVICES                                Vendor
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        PER SE
                                        PLAYTIME EVENTS MANAGEMENT INC
                                        SMARTE CARTE INC
377   Macquarie Energy LLC              CIBC CORPORATE SERVICES                                Vendor
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        PER SE
                                        PLAYTIME EVENTS MANAGEMENT INC
                                        SMARTE CARTE INC
378   Macquarie Futures USA Inc.        CIBC CORPORATE SERVICES                                Vendor
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        PER SE
                                        PLAYTIME EVENTS MANAGEMENT INC
                                        SMARTE CARTE INC
379   Malcolm Drilling Company Inc      THE MALCOLM HOTEL                                      Vendor
380   Marathon Asset Management         HILTON AMSTERDAM                                       Vendor
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT
                                        HILTON HOTEL CARILLON PARK
                                        HILTON INN AT PENN
                                        HILTON JAMAL DAY
                                        HILTON KNOXVILLE AIRPORT
                                        HILTON LONG BEACH
                                        HILTON MUNICH AIRPORT
                                        HILTON NEWARK AIRPORT
                                        HILTON PALMER HOUSE
                                        HILTON PHILADEPHIA AT PENNS LANDING
                                        HILTON SHORT HILLS




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#     Interested Party Name              Proposed Professionals Connection Name                   Connection Type
                                         HILTON ST PETERSBURG CARILLON PARK
                                         MDL & ASSOCIATES
                                         SUNEDISON PRODUCTS SINGAPORE PTE LTD
                                         VANGUARD
381   Marelich Mechanical Co Inc         ASTRO CONTRACTORS INC                                  Vendor
                                         EMCOR SERVICES FLUIDICS
                                         EMCOR SERVICES INTEGRATED SOLUTIONS INC
                                         HILL YORK SERVICE CORPORATION
                                         PENGUIN MAINTENANCE AND SERVICE INC
382   Maricopa West Solar PV 2 LLC       E AND O KITCHEN AND BAR                                Vendor
                                         NPOWER
383   Massachusetts Bay Insurance                                                                 Vendor
      Company                            THE HANOVER INN
384   MassMutual Asset Finance LLC       MASSMUTUAL FINANCIAL GROUP                             Vendor
385   Mayer Brown LLP                    MAYER BROWN LLP                                        Vendor
386   McKinsey                           4TREE GMBH                                             Vendor
                                         LUNAR EUROPE GMBH
                                         MCKINSEY & COMPANY INC
                                         MCKINSEY & COMPANY INC ITALY
                                         MCKINSEY & COMPANY INC JAPAN
                                         MCKINSEY & COMPANY INC MEXICO SC
                                         MCKINSEY & COMPANY INC WITH HSBC MUMBAI
                                         MCKINSEY & COMPANY INC. HONG KONG
                                         MCKINSEY & COMPANY ONE
                                         MCKINSEY & CONSULTING COMPANY INC SHANGHAI
                                         MCKINSEY AND COMPANY FINALTA
                                         MCKINSEY AND COMPANY INC BELGIUM
                                         MCKINSEY AND COMPANY INC FRANCE
                                         MCKINSEY AND COMPANY INC GERMANY
                                         MCKINSEY AND COMPANY KOMMANDITBOLAG
                                         MCKINSEY AND COMPANY TURKEY
                                         MCKINSEY FOR CHILDREN EV
                                         MCKINSEY GLOBAL INTERCOMPANY AP
                                         MCKINSEY INCORPORATED
                                         MCKINSEY KNOWLEDGE CENTRE INDIA PRIVATE LIMITED
                                         MCKINSEY ORG
                                         MCKINSEY SOCIAL INITIATIVE
                                         MCKINSEY SOLUTIONS S P R L
                                         MIO PARTNERS INC
                                         QUANTUMBLACK
                                         QUANTUMBLACK VISUAL ANALYTICS LTD
                                         VISUAL GRAPHICS COMPUTING SERVICES INDIA PRIVATE LTD
                                         VISUAL GRAPHICS COMPUTING SERVICES INDIA PVT LTD
                                         WESTNEY CONSULTING GROUP INC
387   Meals on Wheels of San Francisco   MEALS ON WHEELS OF SAN FRANCISCO INC                     Vendor
388   Mears Group Inc                    QUANTA TECHNOLOGY LLC                                    Vendor
389   Merrill Lynch Commodities Inc      220 NORTH TRYON LLC                                      Vendor
                                         BANK OF AMERICA
                                         DE LA SALLE COLLEGIATE HIGH SCHOOL
                                         EAST LAKE GOLF CLUB
390   Merrill Lynch Pierce Fenner & Smith 220 NORTH TRYON LLC                                     Vendor
      Incorporated                        BANK OF AMERICA
                                          DE LA SALLE COLLEGIATE HIGH SCHOOL
                                          EAST LAKE GOLF CLUB
391   Meter Readings Holding LLC          THE HUB LLC                                           Vendor
392   Metro PCS California LLC            T MOBILE                                              Vendor
                                          T MOBILE USA
                                          T SYSTEMS NORTH AMERICA INC
                                          T-MOBILE US
393   Metropolitan Direct Property And   EL CONQUISTADOR RESORT                                   Vendor
      Casualty Insurance Company         HYATT MIAMI THE CONFIDANTE
                                         MANULIFE FINANCIAL



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#     Interested Party Name                  Proposed Professionals Connection Name                     Connection Type
                                             METLIFE
                                             THE 23RD STORY
394   Metropolitan Electrical Construction                                                              Vendor
      Inc                                    METROPOLITAN ELECTRICAL CONSTRUCTION INC
395   Metropolitan Property and Casualty     EL CONQUISTADOR RESORT                                     Vendor
      Insurance Company                      HYATT MIAMI THE CONFIDANTE
                                             MANULIFE FINANCIAL
                                             METLIFE
                                             THE 23RD STORY
396   Michael Williams                       MICHAEL R WILLIAMS                                         Vendor
397   MidAmerican Energy                     C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                             CIBC
                                             CIBC     CORPORATE      SERVICES
                                             CIBC WOOD GUNDY ACCOUNT # 550-09014
                                             CORT BUSINESS SERVICES CORPORATION
                                             CORT EVENT FURNISHINGS
                                             CORT FURNITURE RENTAL
                                             EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                             GRAND HYATT ATLANTA
                                             GRAND HYATT DENVER
                                             GRAND HYATT ERAWAN BANGKOK
                                             GRAND HYATT HONG KONG
                                             GRAND HYATT NEW YORK
                                             GRAND HYATT SINGAPORE
                                             GRAND HYATT WASHIONGTON
                                             HILTON AMSTERDAM
                                             HYATT CORPORATION
                                             HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                             LLC
                                             HYATT HOUSE BELMONT REDWOOD SHORES
                                             HYATT HOUSE BOSTON WALTHAM
                                             HYATT HOUSE PITTSBURGH BLOOMFIELD
                                             HYATT MIAMI THE CONFIDANTE
                                             HYATT REGENCY AMSTERDAM
                                             HYATT REGENCY BOSTON
                                             HYATT REGENCY CALGARY
                                             HYATT REGENCY CHICAGO
                                             HYATT REGENCY CLEVELAND
                                             HYATT REGENCY CORAL GABLES
                                             HYATT REGENCY DFW
                                             HYATT REGENCY GREENWICH
                                             HYATT REGENCY HOUSTON GALLERIA
                                             HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                             HYATT REGENCY JERSEY CITY
                                             HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                             HYATT REGENCY LOST PINES RESORT AND SPA
                                             HYATT REGENCY MIAMI
                                             HYATT REGENCY MORRISTOWN
                                             HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                             HYATT REGENCY TORONTO
                                             INTERNATIONAL DAIRY FEDERATION
                                             MAGNOLIA             HOTELS
                                             MDL & ASSOCIATES
                                             MOUSER ELECTRONICS INC
                                             ORIENTAL TRADING CO INC
                                             PARK HYATT ABU DHABI HOTEL AND VILLAS
                                             PARK HYATT NEW YORK
                                             PARK HYATT PARIS VENDOME
                                             PARK HYATT WASHINGTON
                                             ROCKY MOUNTAIN CONNECTIONS
                                             THE BENJAMIN
                                             THE PRODUCTION CREW



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#     Interested Party Name                Proposed Professionals Connection Name                    Connection Type
                                           THOMPSON MIAMI BEACH
                                           UCLA UNIVERSITY CALIFORNIA
398   Midway Power LLC                     PACIFIC GAS AND ELECTRIC COMPANY                          Vendor
399   Midway Sunset Cogeneration Co        GAS TURBINE WORLD                                         Vendor
400   Miller Pipeline                      THE CENTER                                                Vendor
401   Minton Door Company                  MINTON DOOR COMPANY                                       Vendor
402   Mitsubishi Electric Power Products                                                             Vendor
      Inc - Substation Division            MITSUBISHI ELECTRIC POWER PRODUCTS INC
403   Mitsubishi UFJ Securities USA INC    HSBC BUSINESS CREDIT                                   Vendor
                                           MU
404   Mizuho Bank Ltd                      EUREKAHEDGE PTE LTD                                    Vendor
405   Mizuho Corporate Bank Ltd            EUREKAHEDGE PTE LTD                                    Vendor
406   Monarch Alternative Capital LP       ACTION SUPPLY CO                                       Vendor
                                           HYATT MIAMI THE CONFIDANTE
                                           OUTRIGGER STRATEGY LLC
                                           VANGUARD
                                           VIC AND ANTHONYS
407   Morgan Stanley Bank NA               ARIA                                                   Vendor
                                           HILTON AMSTERDAM
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON BUDAPEST CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON LONG BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON PALMER HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON SHORT HILLS
                                           HILTON ST PETERSBURG CARILLON PARK
                                           HOLLYWOOD BEACH MARRIOTT
                                           HOTEL JW MARRIOTT BOGOTA
                                           HOTEL MARRIOTT
                                           HYATT MIAMI THE CONFIDANTE
                                           HYATT REGENCY DFW
                                           HYATT REGENCY HOUSTON GALLERIA
                                           HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                           HYATT REGENCY JERSEY CITY
                                           HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                           HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                           IHS GLOBAL CANADA LIMITED
                                           MARQUETTE HOTEL
                                           MARRIOTT BUDAPSET
                                           MORGAN STANLEY FOUNDATION
                                           MORGAN STANLEY SMITH BARNEY LLC
                                           THE HILTON SHORT HILLS
408   Morgan Stanley Capital Group Inc     ARIA                                                   Vendor
                                           HILTON AMSTERDAM
                                           HILTON BENTLEY MIAMI SOUTH BEACH
                                           HILTON BUDAPEST CITY
                                           HILTON CHICAGO O'HARE AIRPORT
                                           HILTON DENVER INVERNESS
                                           HILTON FORT LAUDERDALE BEACH RESORT
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT



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#     Interested Party Name           Proposed Professionals Connection Name                   Connection Type
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HOLLYWOOD BEACH MARRIOTT
                                      HOTEL JW MARRIOTT BOGOTA
                                      HOTEL MARRIOTT
                                      HYATT MIAMI THE CONFIDANTE
                                      HYATT REGENCY DFW
                                      HYATT REGENCY HOUSTON GALLERIA
                                      HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                      HYATT REGENCY JERSEY CITY
                                      HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                      HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                      IHS GLOBAL CANADA LIMITED
                                      MARQUETTE HOTEL
                                      MARRIOTT BUDAPSET
                                      MORGAN STANLEY FOUNDATION
                                      MORGAN STANLEY SMITH BARNEY LLC
                                      THE HILTON SHORT HILLS
409   Morgan Stanley ISG Operations   ARIA                                                   Vendor
                                      HILTON AMSTERDAM
                                      HILTON BENTLEY MIAMI SOUTH BEACH
                                      HILTON BUDAPEST CITY
                                      HILTON CHICAGO O'HARE AIRPORT
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HOLLYWOOD BEACH MARRIOTT
                                      HOTEL JW MARRIOTT BOGOTA
                                      HOTEL MARRIOTT
                                      HYATT MIAMI THE CONFIDANTE
                                      HYATT REGENCY DFW
                                      HYATT REGENCY HOUSTON GALLERIA
                                      HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                      HYATT REGENCY JERSEY CITY
                                      HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                      HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                      IHS GLOBAL CANADA LIMITED
                                      MARQUETTE HOTEL
                                      MARRIOTT BUDAPSET
                                      MORGAN STANLEY FOUNDATION
                                      MORGAN STANLEY SMITH BARNEY LLC
                                      THE HILTON SHORT HILLS
410   Morgan Stanley Senior Funding   ARIA                                                   Vendor
                                      HILTON AMSTERDAM
                                      HILTON BENTLEY MIAMI SOUTH BEACH
                                      HILTON BUDAPEST CITY
                                      HILTON CHICAGO O'HARE AIRPORT



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#     Interested Party Name           Proposed Professionals Connection Name                   Connection Type
                                      HILTON DENVER INVERNESS
                                      HILTON FORT LAUDERDALE BEACH RESORT
                                      HILTON HOTEL CARILLON PARK
                                      HILTON INN AT PENN
                                      HILTON JAMAL DAY
                                      HILTON KNOXVILLE AIRPORT
                                      HILTON LONG BEACH
                                      HILTON MUNICH AIRPORT
                                      HILTON NEWARK AIRPORT
                                      HILTON PALMER HOUSE
                                      HILTON PHILADEPHIA AT PENNS LANDING
                                      HILTON SHORT HILLS
                                      HILTON ST PETERSBURG CARILLON PARK
                                      HOLLYWOOD BEACH MARRIOTT
                                      HOTEL JW MARRIOTT BOGOTA
                                      HOTEL MARRIOTT
                                      HYATT MIAMI THE CONFIDANTE
                                      HYATT REGENCY DFW
                                      HYATT REGENCY HOUSTON GALLERIA
                                      HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                      HYATT REGENCY JERSEY CITY
                                      HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                      HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                      IHS GLOBAL CANADA LIMITED
                                      MARQUETTE HOTEL
                                      MARRIOTT BUDAPSET
                                      MORGAN STANLEY FOUNDATION
                                      MORGAN STANLEY SMITH BARNEY LLC
                                      THE HILTON SHORT HILLS
411   Morrison & Foerster LLP         MORRISON AND FOERSTER LLP                              Vendor
                                      MORRISON AND FOERSTER UK LLP
412   MS Amlin                        JAPAN AIRLINES CO LTD                                  Vendor
413   MSD Capital LP                  CLOUDERA INC                                           Vendor
                                      DATAMINR INC
                                      FOUR SEASONS DALLAS AT LAS COLINAS
                                      FOUR SEASONS HOTEL SAN FRANCISCO
                                      FOUR SEASONS HOTEL TORONTO
                                      FOUR SEASONS RESORT AND CLUB DALLAS
                                      FOUR SEASONS RESORT ORLANDO
                                      FOUR SEASONS SAFARI LODGE SERENGETI
                                      HORTONWORKS INC
                                      MU
                                      THE FAIRMONT HOTEL SAN FRANCISCO
                                      THE SCHOOL OF AMERICAN BALLET
414   MSD Partners LP                 CLOUDERA INC                                           Vendor
                                      DATAMINR INC
                                      FOUR SEASONS DALLAS AT LAS COLINAS
                                      FOUR SEASONS HOTEL SAN FRANCISCO
                                      FOUR SEASONS HOTEL TORONTO
                                      FOUR SEASONS RESORT AND CLUB DALLAS
                                      FOUR SEASONS RESORT ORLANDO
                                      FOUR SEASONS SAFARI LODGE SERENGETI
                                      HORTONWORKS INC
                                      MU
                                      THE FAIRMONT HOTEL SAN FRANCISCO
                                      THE SCHOOL OF AMERICAN BALLET
415   MUFG                            HSBC BUSINESS CREDIT                                   Vendor
                                      MU
416   MUFG Union Bank NA              HSBC BUSINESS CREDIT                                   Vendor
                                      MU
417   Munich Re                       ERGO                                                   Vendor
                                      LINOTYPE GMBH



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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
                                         MU
                                         THE FORGE RESTAURANT
418   Nalco Company                      ECOLAB FOOD SAFETY SPECIALTIES INC                         Vendor
                                         ECOLAB    INC
                                         ECOLAB PEST ELIM DIV
419   NASDAQ OMX Commodities             EVESTMENT ALLIANCE LLC                                     Vendor
      Clearing - Contract Merchant LLC   STRATEGIC FINANCIAL SOLUTIONS LLC
                                         THE NASDAQ OMX GROUP INC
420   National Fire & Marine Insurance   C AND S EXECUTIVE TRANSPORTATION                           Vendor
      Company                            CIBC
                                         CIBC     CORPORATE      SERVICES
                                         CIBC WOOD GUNDY ACCOUNT # 550-09014
                                         CORT BUSINESS SERVICES CORPORATION
                                         CORT EVENT FURNISHINGS
                                         CORT FURNITURE RENTAL
                                         EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                         GRAND HYATT ATLANTA
                                         GRAND HYATT DENVER
                                         GRAND HYATT ERAWAN BANGKOK
                                         GRAND HYATT HONG KONG
                                         GRAND HYATT NEW YORK
                                         GRAND HYATT SINGAPORE
                                         GRAND HYATT WASHIONGTON
                                         HILTON AMSTERDAM
                                         HYATT CORPORATION
                                         HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                         LLC
                                         HYATT HOUSE BELMONT REDWOOD SHORES
                                         HYATT HOUSE BOSTON WALTHAM
                                         HYATT HOUSE PITTSBURGH BLOOMFIELD
                                         HYATT MIAMI THE CONFIDANTE
                                         HYATT REGENCY AMSTERDAM
                                         HYATT REGENCY BOSTON
                                         HYATT REGENCY CALGARY
                                         HYATT REGENCY CHICAGO
                                         HYATT REGENCY CLEVELAND
                                         HYATT REGENCY CORAL GABLES
                                         HYATT REGENCY DFW
                                         HYATT REGENCY GREENWICH
                                         HYATT REGENCY HOUSTON GALLERIA
                                         HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                         HYATT REGENCY JERSEY CITY
                                         HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                         HYATT REGENCY LOST PINES RESORT AND SPA
                                         HYATT REGENCY MIAMI
                                         HYATT REGENCY MORRISTOWN
                                         HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                         HYATT REGENCY TORONTO
                                         INTERNATIONAL DAIRY FEDERATION
                                         MAGNOLIA             HOTELS
                                         MDL & ASSOCIATES
                                         MOUSER ELECTRONICS INC
                                         ORIENTAL TRADING CO INC
                                         PARK HYATT ABU DHABI HOTEL AND VILLAS
                                         PARK HYATT NEW YORK
                                         PARK HYATT PARIS VENDOME
                                         PARK HYATT WASHINGTON
                                         ROCKY MOUNTAIN CONNECTIONS
                                         THE BENJAMIN
                                         THE PRODUCTION CREW
                                         THOMPSON MIAMI BEACH
                                         UCLA UNIVERSITY CALIFORNIA



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#     Interested Party Name                 Proposed Professionals Connection Name               Connection Type
421   National Fire Insurance of Hartford   HOTEL 1000                                           Vendor
                                            INTERCONTINENTAL CHICAGO
                                            LOEWS ANNAPOLIS HOTEL
                                            LOEWS ATLANTA HOTEL
                                            LOEWS CHICAGO HOTEL
                                            LOEWS MIAMI BEACH HOTEL
                                            LOEWS PHILADELPHIA HOTEL
                                            LOEWS REGENCY NY HOTEL LLC
422   National Surety Corporation           ALLIANZ                                              Vendor
                                            ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                            ARIA
                                            BAYER FINANCIAL ADVISORS LLC
                                            BON APPETIT
                                            LINOTYPE GMBH
                                            NESPRESSO
                                            NESPRESSO CANADA
                                            OSEBERG INC
                                            PACIFIC INVESTMENT MANAGEMENT CO LLC
                                            SGS AUSTRALIA PTY LTD
                                            UNCF
423   National Union Fire Insurance         120 SUMMIT AVENUE LLC                                    Vendor
      Company of Pittsburgh Pa              AIGA
                                            ALOFT HOTEL
                                            ALOFT MILWAUKEE DOWNTOWN HOTEL
                                            AMERICAN INTERNATIONAL GROUP INC
                                            ARGUS MEDIA LIMITED
                                            DATAMONITOR LTD
                                            DAY ONE
                                            ERGO
                                            HUEBNER FOUNDATION
                                            INSURANCE SERVICES OFFICE INC
                                            POWER ADVOCATE INC
                                            THE LEXINGTON NYC
                                            THRIVE AT WORK
                                            VINCENT C CRAFTON
                                            WOOD MACKENZIE INC
                                            WOOD MACKENZIE LTD
424   Nautilus Insurance Company            ATHENIUM INC                                         Vendor
                                            DATAMONITOR LTD
                                            DAY ONE
                                            INSURANCE SERVICES OFFICE INC
                                            POWER ADVOCATE INC
                                            SIGNETS INCORPORATED
                                            UNION STANDARD
                                            WOOD MACKENZIE INC
                                            WOOD MACKENZIE LTD
425   Navigators Management Company Inc                                                              Vendor
      New York                          HART
426   Network Mapping Incorporated      ALK TECHNOLOGIES INC                                     Vendor
                                        SKETCH
                                        THE SKETCH EFFECT
                                        TRIMBLE INC
427   New Cingular Wireless PCS LLC         AT AND T                                             Vendor
                                            AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                            AT AND T GLOBAL SERVICES CANADA CO
                                            AT&T
                                            AT&T FORMER BELLSOUTH
                                            AT&T FORMER SBC
                                            AT&T MOBILITY
                                            AT&T WIRELESS
                                            CENTURYLINK ARGENTINA SA
                                            CENTURYLINK COLOMBIA SA



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                                            CENTURYLINK TS
                                            DIRECTV
                                            MAGIC LEAP INC
                                            TEAM8 CONSULTING LTD
                                            TIME INC
                                            WARNER BROS STUDIO FACILITIES
428   New Cingular Wireless Services        AT AND T                                               Vendor
                                            AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                            AT AND T GLOBAL SERVICES CANADA CO
                                            AT&T
                                            AT&T FORMER BELLSOUTH
                                            AT&T FORMER SBC
                                            AT&T MOBILITY
                                            AT&T WIRELESS
                                            CENTURYLINK ARGENTINA SA
                                            CENTURYLINK COLOMBIA SA
                                            CENTURYLINK TS
                                            DIRECTV
                                            MAGIC LEAP INC
                                            TEAM8 CONSULTING LTD
                                            TIME INC
                                            WARNER BROS STUDIO FACILITIES
429   New Hampshire Insurance Company 120 SUMMIT AVENUE LLC                                        Vendor
                                      AIGA
                                      ALOFT HOTEL
                                      ALOFT MILWAUKEE DOWNTOWN HOTEL
                                      AMERICAN INTERNATIONAL GROUP INC
                                      ARGUS MEDIA LIMITED
                                      DATAMONITOR LTD
                                      DAY ONE
                                      ERGO
                                      HUEBNER FOUNDATION
                                      INSURANCE SERVICES OFFICE INC
                                      POWER ADVOCATE INC
                                      THE LEXINGTON NYC
                                      THRIVE AT WORK
                                      VINCENT C CRAFTON
                                      WOOD MACKENZIE INC
                                      WOOD MACKENZIE LTD
430   Nextel Communications                 120 SUMMIT AVENUE LLC                                  Vendor
                                            BYTE
                                            CATALYST INC
                                            CITI BUYER CARD
                                            IMPERIAL PARKING INC
                                            MANAGED BY Q INC
                                            MEET
                                            SPRINT
                                            SPRINT SPECTRUM LP
                                            TEEM
                                            UBER           BV
                                            UBER TECHNOLOGIES INC
                                            UNOMY LTD
                                            WEWORK NYC
                                            ZIMPERIUM INC
431   Nextel of California Inc a Delaware   120 SUMMIT AVENUE LLC                                      Vendor
      Corp                                  BYTE
                                            CATALYST INC
                                            CITI BUYER CARD
                                            IMPERIAL PARKING INC
                                            MANAGED BY Q INC
                                            MEET
                                            SPRINT



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                                           SPRINT SPECTRUM LP
                                           TEEM
                                           UBER              BV
                                           UBER TECHNOLOGIES INC
                                           UNOMY LTD
                                           WEWORK NYC
                                           ZIMPERIUM INC
432   Noble Americas Corporation           TANK TERMINALS                                             Vendor
433   Noresco LLC                          AIR NEW ZEALAND                                            Vendor
                                           AUTOMATEDLOGIC ONTARIO
                                           RAYTHEON FOREGROUND SECURITY
                                           UTC FIRE AND SECURITY CANADA
434   North American Specialty Insurance   HSBC BUSINESS CREDIT                                       Vendor
      Company                              SHARE AND CARE CANADA FOOD BANK
                                           SHARE THE TABLE
435   North Star Solar LLC                 GEORGIA NATURAL GAS                                        Vendor
                                           GEORGIA POWER COMPANY
436   Norton RoseFulbright US LLP          NIELSEN                                                    Vendor
                                           NORTON ROSE FULBRIGHT US LLP
437   NRG Energy Inc                       GAS TURBINE WORLD                                          Vendor
438   NRG Power Marketing LLC              GAS TURBINE WORLD                                          Vendor
439   NV Energy                            C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                           CIBC
                                           CIBC     CORPORATE      SERVICES
                                           CIBC WOOD GUNDY ACCOUNT # 550-09014
                                           CORT BUSINESS SERVICES CORPORATION
                                           CORT EVENT FURNISHINGS
                                           CORT FURNITURE RENTAL
                                           EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                           GRAND HYATT ATLANTA
                                           GRAND HYATT DENVER
                                           GRAND HYATT ERAWAN BANGKOK
                                           GRAND HYATT HONG KONG
                                           GRAND HYATT NEW YORK
                                           GRAND HYATT SINGAPORE
                                           GRAND HYATT WASHIONGTON
                                           HILTON AMSTERDAM
                                           HYATT CORPORATION
                                           HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                           LLC
                                           HYATT HOUSE BELMONT REDWOOD SHORES
                                           HYATT HOUSE BOSTON WALTHAM
                                           HYATT HOUSE PITTSBURGH BLOOMFIELD
                                           HYATT MIAMI THE CONFIDANTE
                                           HYATT REGENCY AMSTERDAM
                                           HYATT REGENCY BOSTON
                                           HYATT REGENCY CALGARY
                                           HYATT REGENCY CHICAGO
                                           HYATT REGENCY CLEVELAND
                                           HYATT REGENCY CORAL GABLES
                                           HYATT REGENCY DFW
                                           HYATT REGENCY GREENWICH
                                           HYATT REGENCY HOUSTON GALLERIA
                                           HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                           HYATT REGENCY JERSEY CITY
                                           HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                           HYATT REGENCY LOST PINES RESORT AND SPA
                                           HYATT REGENCY MIAMI
                                           HYATT REGENCY MORRISTOWN
                                           HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                           HYATT REGENCY TORONTO
                                           INTERNATIONAL DAIRY FEDERATION



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#     Interested Party Name                  Proposed Professionals Connection Name                   Connection Type
                                             MAGNOLIA        HOTELS
                                             MDL & ASSOCIATES
                                             MOUSER ELECTRONICS INC
                                             ORIENTAL TRADING CO INC
                                             PARK HYATT ABU DHABI HOTEL AND VILLAS
                                             PARK HYATT NEW YORK
                                             PARK HYATT PARIS VENDOME
                                             PARK HYATT WASHINGTON
                                             ROCKY MOUNTAIN CONNECTIONS
                                             THE BENJAMIN
                                             THE PRODUCTION CREW
                                             THOMPSON MIAMI BEACH
                                             UCLA UNIVERSITY CALIFORNIA
440   Oak Hill Advisors, L.P.                COOPER AB LLC                                        Vendor
                                             GENERAL PARTS LLC
441   Oakland YMCA                        YMCA OF GREATER BOSTON                                  Vendor
                                          YMCA OF GREATER NEW YORK
442   Oaktree Capital Management LP       STAR TRIBUNE                                                Vendor
443   Och-Ziff Capital Management Group MAGASIN                                                       Vendor
      LLC                                 SUPERDATA RESEARCH INC
444   ODOR-TECH LLC                       THE LAMBS CLUB                                          Vendor
445   Ohio Security Insurance Company     DATAMONITOR LTD                                         Vendor
                                          DAY ONE
                                          INSURANCE SERVICES OFFICE INC
                                          POWER ADVOCATE INC
                                          THE LIBERTY NYC
                                          WOOD MACKENZIE INC
                                          WOOD MACKENZIE LTD
446   OneBeacon Atlantic Specialty Ins Co HYATT MIAMI THE CONFIDANTE                              Vendor
447   Oracle America Inc                  COPY RIGHT INC                                          Vendor
                                          COPYRIGHT INC
                                          DATAVANT INC
                                          HOLLYWOOD BEACH MARRIOTT
                                          HOTEL JW MARRIOTT BOGOTA
                                          ORACLE AMERICA INC
                                          ORACLE CORP
448   Oracle Corporation                     COPY RIGHT INC                                       Vendor
                                             COPYRIGHT INC
                                             DATAVANT INC
                                             HOLLYWOOD BEACH MARRIOTT
                                             HOTEL JW MARRIOTT BOGOTA
                                             ORACLE AMERICA INC
                                             ORACLE CORP
449   Otis Elevator Company                  AIR NEW ZEALAND                                      Vendor
                                             AUTOMATEDLOGIC ONTARIO
                                             RAYTHEON FOREGROUND SECURITY
                                             UTC FIRE AND SECURITY CANADA
450   Overhead Door Co of Fresno Inc         OVERHEAD DOOR CO OF ATLANTA                          Vendor
                                             OVERHEAD DOOR CO OF TOLEDO
451   Owl Creek Asset Management LP on                                                                Vendor
      behalf of certain funds and accounts   BLUE DIAMOND TRANSPORTATION INC
452   P Schoenfeld Asset Management LP       THE DAILY CATCH                                      Vendor
453   Pace Engineering Inc                   QUANTA TECHNOLOGY LLC                                Vendor
454   Pacific Bell Telephone Company         AT AND T                                             Vendor
                                             AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                             AT AND T GLOBAL SERVICES CANADA CO
                                             AT&T
                                             AT&T FORMER BELLSOUTH
                                             AT&T FORMER SBC
                                             AT&T MOBILITY
                                             AT&T WIRELESS




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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
                                         CENTURYLINK ARGENTINA SA
                                         CENTURYLINK COLOMBIA SA
                                         CENTURYLINK TS
                                         DIRECTV
                                         MAGIC LEAP INC
                                         TEAM8 CONSULTING LTD
                                         TIME INC
                                         WARNER BROS STUDIO FACILITIES
455   Pacific Gas and Electric Company   PACIFIC GAS AND ELECTRIC COMPANY                           Vendor
                                         NICKOLAS STAVROPOULOS
456   Pacific Indemnity Company          ACE                                                        Vendor
                                         NEW YORK LIFE INSURANCE COMPANY
457   Pacific Investment Management      ALLIANZ                                                    Vendor
      Company LLC                        ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                         ARIA
                                         BAYER FINANCIAL ADVISORS LLC
                                         BON APPETIT
                                         LINOTYPE GMBH
                                         NESPRESSO
                                         NESPRESSO CANADA
                                         OSEBERG INC
                                         PACIFIC INVESTMENT MANAGEMENT CO LLC
                                         SGS AUSTRALIA PTY LTD
                                         UNCF
458   Pacificorp                         C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                         CIBC
                                         CIBC     CORPORATE      SERVICES
                                         CIBC WOOD GUNDY ACCOUNT # 550-09014
                                         CORT BUSINESS SERVICES CORPORATION
                                         CORT EVENT FURNISHINGS
                                         CORT FURNITURE RENTAL
                                         EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                         GRAND HYATT ATLANTA
                                         GRAND HYATT DENVER
                                         GRAND HYATT ERAWAN BANGKOK
                                         GRAND HYATT HONG KONG
                                         GRAND HYATT NEW YORK
                                         GRAND HYATT SINGAPORE
                                         GRAND HYATT WASHIONGTON
                                         HILTON AMSTERDAM
                                         HYATT CORPORATION
                                         HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                         LLC
                                         HYATT HOUSE BELMONT REDWOOD SHORES
                                         HYATT HOUSE BOSTON WALTHAM
                                         HYATT HOUSE PITTSBURGH BLOOMFIELD
                                         HYATT MIAMI THE CONFIDANTE
                                         HYATT REGENCY AMSTERDAM
                                         HYATT REGENCY BOSTON
                                         HYATT REGENCY CALGARY
                                         HYATT REGENCY CHICAGO
                                         HYATT REGENCY CLEVELAND
                                         HYATT REGENCY CORAL GABLES
                                         HYATT REGENCY DFW
                                         HYATT REGENCY GREENWICH
                                         HYATT REGENCY HOUSTON GALLERIA
                                         HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                         HYATT REGENCY JERSEY CITY
                                         HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                         HYATT REGENCY LOST PINES RESORT AND SPA
                                         HYATT REGENCY MIAMI
                                         HYATT REGENCY MORRISTOWN
                                         HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT


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#     Interested Party Name                 Proposed Professionals Connection Name                Connection Type
                                            HYATT REGENCY TORONTO
                                            INTERNATIONAL DAIRY FEDERATION
                                            MAGNOLIA                  HOTELS
                                            MDL & ASSOCIATES
                                            MOUSER ELECTRONICS INC
                                            ORIENTAL TRADING CO INC
                                            PARK HYATT ABU DHABI HOTEL AND VILLAS
                                            PARK HYATT NEW YORK
                                            PARK HYATT PARIS VENDOME
                                            PARK HYATT WASHINGTON
                                            ROCKY MOUNTAIN CONNECTIONS
                                            THE BENJAMIN
                                            THE PRODUCTION CREW
                                            THOMPSON MIAMI BEACH
                                            UCLA UNIVERSITY CALIFORNIA
459   Panther Technologies                  ALLIANCE MAINTENANCE                               Vendor
460   PAR Electrical Contractors Inc        QUANTA TECHNOLOGY LLC                              Vendor
461   Parrey LLC                            GEORGIA NATURAL GAS                                Vendor
                                            GEORGIA POWER COMPANY
462   Paul Hastings LLP                     PAUL HASTINGS LLP                                     Vendor
463   Paulson & Co Inc on behalf of certain A AND K BECKER INC                                    Vendor
      funds and accounts                    CAESARS ENTERTAINMENT OPERATING COMPANY INC
                                            CIBC             CORPORATE              SERVICES
                                            CIBC WOOD GUNDY ACCOUNT # 550-09014
                                            CONDADO               DUO            VANDERBILT
                                            DELL FINANCIAL SERVICES LLC
                                            HEALTHCARE BUSINESS INTERNATIONAL
                                            HOLLYWOOD BEACH MARRIOTT
                                            HOTEL JW MARRIOTT              BOGOTA
                                            JW MARRIOTT CAMELBACK INN
                                            JW MARRIOTT HOUSTON DOWNTOWN
                                            LANDMARK
464   Peerless Indemnity Insurance      DATAMONITOR LTD                                           Vendor
      Company                           DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
465   Peerless Insurance Company        DATAMONITOR LTD                                        Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
466   Pension Benefit Guaranty          PENSION BENEFIT GUARANTY CORPORATION                      Vendor
467   Pentwater Capital Management LP on                                                          Vendor
      behalf of certain funds and accounts VIC AND ANTHONYS
468   Pep Boys                             CAESARS ENTERTAINMENT OPERATING COMPANY INC            Vendor
                                           LYFT INC
469   Performance Mechanical Inc        ASTRO CONTRACTORS INC                                  Vendor
                                        EMCOR SERVICES FLUIDICS
                                        EMCOR SERVICES INTEGRATED SOLUTIONS INC
                                        HILL YORK SERVICE CORPORATION
                                        PENGUIN MAINTENANCE AND SERVICE INC
470   Perkins Coie LLP                  PERKINS COIE LLP                                       Vendor
471   Petrochem Insulation Inc          EDUCATION FOUNDATION OF PALM BEACH COUNTY INC          Vendor
472   Petrochina                        SPECE                                                  Vendor
473   PFL Futures Limited               C AND M MOVING AND STORAGE LLC                         Vendor
                                        CHICAGO MERCANTILE EXCHANGE INC




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#     Interested Party Name                 Proposed Professionals Connection Name                    Connection Type
                                            MOVING PICTURES LLC
                                            WICKR INC
474   PG&E Corporation                      PACIFIC GAS AND ELECTRIC COMPANY                          Vendor
                                            NICKOLAS STAVROPOULOS
475   Philadelphia Indemnity Insurance      ON CALL MASSAGE                                           Vendor
      Company                               THE HOUSTON PHOTOBOOTH
476   Pine Grove CSD                        NYC DEPARTMENT OF BUILDINGS                               Vendor
                                            WASTE MANAGEMENT ATLANTA HAULING
477   Pitney Bowes Global Financial         PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC                Vendor
      Services LLC                          PITNEY BOWES INC
                                            PITNEY BOWES LTD
                                            PITNEY BOWES MAIL SUPPLIES
                                            PITNEY BOWES OF CANADA
478   Pivot Interiors Inc                   PIVOT                                                     Vendor
                                            WORKPLACE RESOURCE
479   PMK Contractors                       PMK BNC INC                                               Vendor
480   Potelco Inc                           QUANTA TECHNOLOGY LLC                                     Vendor
481   Power One LLC                         ABB ENTERPRISE SOFTWARE INC                               Vendor
482   Praetorian Insurance Company          DEEP SOUTH ENTERTAINMENT                                  Vendor
                                            QBE NORTH AMERICA
483   PricewaterhouseCoopers LLP            GRANT THORNTON BEDRIJFSREVISOREN CVBA                     Vendor
                                            MTS ALLSTREAM INC
                                            PRICEWATERHOUSE COOPERS LLP
                                            PRICEWATERHOUSECOOPERS LLP
                                            PRICEWATERHOUSECOOPERS PVT LTD
                                            PRICEWATERHOUSECOOPERS TAX AND LEGAL
                                            PRICEWATERHOUSECOOPERS TAXATION SERVICES SDN BHD
                                            PWC INTERNATIONAL ASSIGNMENT SERVICES SINGAPORE PTE LTD
                                            SAP SE
                                            STRATEGY AND TALENT
484   Prime Clerk                           DUFF AND PHELPS LLC                                       Vendor
                                            HIRERIGHT LLC
                                            KROLL ASSOCIATES INC
                                            KROLL ONTRACK
485   Progressive Casualty Insurance                                                                  Vendor
      Company                              THE PROGRESS
486   Progressive Direct Insurance         THE PROGRESS                                               Vendor
487   Progressive Express Insurance                                                                   Vendor
      Company                              THE PROGRESS
488   Progressive Select Insurance Company THE PROGRESS                                               Vendor
489   Progressive West Insurance Company THE PROGRESS                                                 Vendor
490   Property and Casualty Insurance                                                                 Vendor
      Company of Hartford                   HART
491   Proskauer Rose LLP                    PROSKAUER ROSE LLP                                        Vendor
492   Public Employees Retirement           NEW MEXICO STATE PURCHASING DIVISION                      Vendor
      Association of New Mexico             STATE OF NEW JERSEY TGI
493   Public Service Company New Mexico     PUBLIC SERVICES OOD                                       Vendor
494   Public Service Enterprise Group       PUBLIC SERVICES OOD                                       Vendor
495   QBE Americas Inc                      DEEP SOUTH ENTERTAINMENT                                  Vendor
                                            QBE NORTH AMERICA
496   QBE Insurance Corporation             DEEP SOUTH ENTERTAINMENT                                  Vendor
                                            QBE NORTH AMERICA
497   QBE Specialty Insurance Company       DEEP SOUTH ENTERTAINMENT                                  Vendor
                                            QBE NORTH AMERICA
498   Quanta Energy Services LLC            QUANTA TECHNOLOGY LLC                                     Vendor
499   Quanta Technology                     QUANTA TECHNOLOGY LLC                                     Vendor
500   Quanta Utility Engineering Services   QUANTA TECHNOLOGY LLC                                     Vendor
501   Quest Diagnostics Health & Wellness   SHARE AND CARE CANADA FOOD BANK                           Vendor
      LLC                                   SHARE THE TABLE
502   RBC Capital Markets                   CITY OF WALTHAM                                           Vendor
                                            INSTITUTIONAL INVESTOR INC
                                            POSTMEDIA NETWORK INC



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#     Interested Party Name                   Proposed Professionals Connection Name                 Connection Type
                                              RBC ROYAL BANK
                                              RCAP LEASING INC
                                              RIMS
                                              ROYAL TRUST CORPORATION OF CANADA
503   Realty Income Corporation               REALTY CORPORATION LTD                             Vendor
504   Recology Sunset Scavenger Co            RECOLOGY SUNSET SCAVENGER                          Vendor
505   Regent Insurance Company                DEEP SOUTH ENTERTAINMENT                           Vendor
                                              QBE NORTH AMERICA
506   Regents of the University of California UNIVERSITY OF CALIFORNIA REGENTS                   Vendor
507   Renaissance Reinsurance                 DA VINCI VERTALINGEN                               Vendor
                                              R AND N CREATIVE LTD
508   Rentokil North America Inc         ABADI AND CO                                            Vendor
                                         ALL GOOD
                                         AMBIUS INC
                                         ISSB LIMITED
                                         RENTOKIL PEST CONTROL CANADA LTD
509   Republic Services San Jose         BFI                                                     Vendor
                                         DELTA RESOURCES INC
                                         R AND S ERECTION OF SAN FRANCISCO INC
                                         WASTECO
510   Richmond Sanitary Service, Inc.    BFI                                                     Vendor
                                         DELTA RESOURCES INC
                                         R AND S ERECTION OF SAN FRANCISCO INC
                                         WASTECO
511   Rite Aid Corporation and Thrifty                                                               Vendor
      Payless Inc                        THE KEYSTONE CENTER
512   Riverstone                         A C NIELSEN COMPANY LTD                                 Vendor
                                         NIELSEN
513   Ropes & Gray LLP                   ROPES AND GRAY LLP                                      Vendor
514   Royal Bank of Canada               CITY OF WALTHAM                                         Vendor
                                         INSTITUTIONAL INVESTOR INC
                                         POSTMEDIA NETWORK INC
                                         RBC ROYAL BANK
                                         RCAP LEASING INC
                                         RIMS
                                         ROYAL TRUST CORPORATION OF CANADA
515   Royal Bank of Scotland             HOLLYWOOD BEACH MARRIOTT                                Vendor
                                         HOTEL JW MARRIOTT BOGOTA
                                         HOTEL MARRIOTT
                                         WORLDPAY LTD
516   Royal Bank of Scotland PLC         HOLLYWOOD BEACH MARRIOTT                                Vendor
                                         HOTEL JW MARRIOTT BOGOTA
                                         HOTEL MARRIOTT
                                         WORLDPAY LTD
517   RSA Insurance Co PLC               CANADIAN NORTH INC                                      Vendor
                                         ROYAL AND SUN ALLIANCE INSURANCE COMPANY
                                         TARIFF CONSULTANCY
                                         WINDWARD ISLANDS AIRWAYS
518   RSUI Group Inc                     ARES CORPORATE OPPOR IVEP                               Vendor
519   RSUI Indemnity Company             ARES CORPORATE OPPOR IVEP                               Vendor
520   RTR Global Investments             WINDSOR RESOURCES LLC                                   Vendor
521   Ruby Pipeline, LLC                 KNIGHT HOLDINGS LIMITED                                 Vendor
522   Russelectric Inc                   ATOS IT SERVICES UK LTD                                 Vendor
                                         HMR DESIGNS
                                         METASYSTEM INC
                                         PYXIS
                                         SIEMENS MEDICAL SOLUTIONS
                                         UNLIMITED LIABILITY
523   Sachem Head Capital Management     ABA AND THE DALCY FULTON MARKET                             Vendor
      LP                                 AUTODESK INC
                                         TEAMUP SOLUTIONS AG




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#     Interested Party Name                  Proposed Professionals Connection Name                     Connection Type
                                             THE CASE CENTRE
524   Safeco Insurance Company of            DATAMONITOR LTD                                            Vendor
      America                                DAY ONE
                                             INSURANCE SERVICES OFFICE INC
                                             POWER ADVOCATE INC
                                             THE LIBERTY NYC
                                             WOOD MACKENZIE INC
                                             WOOD MACKENZIE LTD
525                                      DATAMONITOR LTD
      Safeco Insurance Company Of Illinois                                                          Vendor
                                         DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         THE LIBERTY NYC
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
526   San Francisco Ballet               SAN FRANCISCO BALLET                                           Vendor
527   San Francisco Ballet Association   SAN FRANCISCO BALLET                                           Vendor
                                         THE SCHOOL OF AMERICAN BALLET
528   San Francisco Museum of Modern Art SAN FRANCISCO MUSEUM OF MODERN ART                         Vendor
529   San Luis Garbage                   BFI                                                        Vendor
                                         THE PROGRESS
                                         WASTECO
530   San Mateo County Tax Collector     SAN MATEO COUNTY TAX COLLECTOR                             Vendor
531   Santa Clara County                 COUNTY OF SANTA CLARA                                      Vendor
532   SBA Communications Corporation     LIGHTOWER FIBER NETWORKS                                   Vendor
533   Schindler Elevator Corp            ALL THINGS OPEN                                            Vendor
                                         PARS INTERNATIONAL CORP
                                         SCHINDLER ELEVATOR CORPORATION
534   Schlumberger US Land               ADAM SMITH INTERNATIONAL                                   Vendor
                                         SAXON AND PAROLE
535   Schneider Electric Systems USA Inc WONDER                                                     Vendor
536   Schneider Electric USA             WONDER                                                     Vendor
537   Sears                              SEARS                                                      Vendor
538   Seattle City Light                 CITY OF SEATTLE                                            Vendor
539   Senator Investment Group LP        IDERA INC                                                  Vendor
                                         LYFT INC
                                         VIC AND ANTHONYS
                                         VITAE
540   Sentry Insurance A Mutual Company SENTRY INSURANCE                                            Vendor
541   Sentry Select Insurance Company    SENTRY INSURANCE                                           Vendor
542   Sequent Energy                     GEORGIA NATURAL GAS                                        Vendor
                                         GEORGIA POWER COMPANY
543   Shell Energy CAN                       BGOV LLC                                               Vendor
                                             S AND H PLUMBING SERVICES INC
544   Shell Energy North America LP          BGOV LLC                                               Vendor
                                             S AND H PLUMBING SERVICES INC
545   Shell Trading Company                  BGOV LLC                                               Vendor
                                             S AND H PLUMBING SERVICES INC
546   Shell Western E & P                    BGOV LLC                                               Vendor
                                             S AND H PLUMBING SERVICES INC
547   Sheppard Mullin Richter & Hampton                                                                 Vendor
      LLP                               SHEPPARD MULLIN RICHTER AND HAMPTON LLP
548   Shiloh I Wind Project LLC         LEAN IN CANADA                                              Vendor
                                        NEW YORK STATE ATTORNEY REGISTRATION
                                        NEW YORK STATE INCOME TAX
                                        NEW YORK STATE OFFICE OF COURT ADMINISTRATION
                                        STATIONARY POWER SYSTEMS
549   Siemens Energy Inc Fossil Services     ATOS IT SERVICES UK LTD                                    Vendor
      Power Generation                       HMR DESIGNS
                                             METASYSTEM INC
                                             PYXIS




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#     Interested Party Name            Proposed Professionals Connection Name                     Connection Type
                                       SIEMENS MEDICAL SOLUTIONS
                                       UNLIMITED LIABILITY
550   Siemens Industry Inc             ATOS IT SERVICES UK LTD                                Vendor
                                       HMR DESIGNS
                                       METASYSTEM INC
                                       PYXIS
                                       SIEMENS MEDICAL SOLUTIONS
                                       UNLIMITED LIABILITY
551   Silver Point Capital LP          COOPER AB LLC                                          Vendor
                                       ERGO
                                       POSTMEDIA NETWORK INC
                                       VIC AND ANTHONYS
552   Simon Property Group             PINSTRIPES INC                                         Vendor
553   SimplexGrinnell                  ADT SECURITY SERVICES                                  Vendor
                                       BUILDING AUTOMATION SYSTEMS
                                       CBRE INC AAF HEALTH CARE SERVICE CORPORATION
                                       JOHNSON CONTROLS INC
                                       JOHNSON CONTROLS SECURITY SOLUTIONS
                                       SHOPPERTRAK RCT CORPORATION
                                       TYCO INTEGRATED SECURITY LLC
554   Simpson Thacher & Bartlett       SIMPSON THACHER AND BARTLETT LLP                       Vendor
555   SmartWatt Energy Inc             THE BENJAMIN                                           Vendor
556   Smith, James and Sandra          JAMES R E SMITH                                        Vendor
557   Smith, James C                   JAMES R E SMITH                                        Vendor
558   Sodexo Inc                       CENTERPLATE                                            Vendor
                                       SODEXO
                                       SODEXO INC AND AFFILIATES
                                       THE CENTER
559   Solar Turbines Incorporated      THE PROGRESS                                           Vendor
560   Southern Power Company           GEORGIA NATURAL GAS                                    Vendor
                                       GEORGIA POWER COMPANY
561   Southwestern Bell Telephone LP   AT AND T                                               Vendor
                                       AT AND T GLOBAL NETWORK SERVICES MEXICO S DE RL
                                       AT AND T GLOBAL SERVICES CANADA CO
                                       AT&T
                                       AT&T FORMER BELLSOUTH
                                       AT&T FORMER SBC
                                       AT&T MOBILITY
                                       AT&T WIRELESS
                                       CENTURYLINK ARGENTINA SA
                                       CENTURYLINK COLOMBIA SA
                                       CENTURYLINK TS
                                       DIRECTV
                                       MAGIC LEAP INC
                                       TEAM8 CONSULTING LTD
                                       TIME INC
                                       WARNER BROS STUDIO FACILITIES
562   Spectra Energy Partners LP       ENBRIDGE                                               Vendor
                                       SPECE
                                       SPECTRA ENERGY CORP
563   Sprint                           120 SUMMIT AVENUE LLC                                      Vendor
                                       BYTE
                                       CATALYST INC
                                       CITI BUYER CARD
                                       IMPERIAL PARKING INC
                                       MANAGED BY Q INC
                                       MEET
                                       SPRINT
                                       SPRINT SPECTRUM LP
                                       TEEM
                                       UBER BV




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#     Interested Party Name             Proposed Professionals Connection Name                     Connection Type
                                        UBER TECHNOLOGIES INC
                                        UNOMY LTD
                                        WEWORK NYC
                                        ZIMPERIUM INC
564   Sprint Spectrum                   SPRINT                                                   Vendor
                                        SPRINT SPECTRUM LP
565   SPX Transformer Solutions Inc -   FAIRBANKS MORSE LLC                                        Vendor
      Service Division                  VANCE INTERNATIONAL DE MEXICO S A DE C V
566   Standard Pacific Gas Line Inc     PACIFIC GAS AND ELECTRIC COMPANY                           Vendor
567   Star Insurance Company            IDERA INC                                                  Vendor
568   Starr Surplus Lines Insurance     HOLLYWOOD BEACH MARRIOTT                                   Vendor
      Company                           HOTEL JW MARRIOTT BOGOTA
                                        HOTEL MARRIOTT
569   Starr Technical Risks             HOLLYWOOD BEACH MARRIOTT                                 Vendor
                                        HOTEL JW MARRIOTT BOGOTA
                                        HOTEL MARRIOTT
570   Starwood Energy Group Global LLC ACCOR PANNONIA HOTELS ZRT SOFITEL BUDAPEST CHAIN BRIDGE   Vendor
                                       BTS USA INC
                                       FAIRMONT HOTEL CHICAGO
                                       HILTON AMSTERDAM
                                       HILTON BENTLEY MIAMI SOUTH BEACH
                                       HILTON BUDAPEST CITY
                                       HILTON CHICAGO O'HARE AIRPORT
                                       HILTON DENVER INVERNESS
                                       HILTON FORT LAUDERDALE BEACH RESORT
                                       HILTON HOTEL CARILLON PARK
                                       HILTON INN AT PENN
                                       HILTON JAMAL DAY
                                       HILTON KNOXVILLE AIRPORT
                                       HILTON LONG BEACH
                                       HILTON MUNICH AIRPORT
                                       HILTON NEWARK AIRPORT
                                       HILTON PALMER HOUSE
                                       HILTON PHILADEPHIA AT PENNS LANDING
                                       HILTON SHORT HILLS
                                       HILTON ST PETERSBURG CARILLON PARK
                                       HOLLYWOOD BEACH MARRIOTT
                                       HOTEL JW MARRIOTT BOGOTA
                                       HOTEL MARRIOTT
                                       HYATT MIAMI THE CONFIDANTE
                                       HYATT REGENCY DFW
                                       HYATT REGENCY HOUSTON GALLERIA
                                       HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                       HYATT REGENCY JERSEY CITY
                                       HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                       HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                       MERIDIEN HOTELS
                                       MILLENIUM HILTON
                                       MILLENNIUM HILTON BANGKOK
                                       NEW YORK PUBLIC LIBRARY
                                       PALACE HOTEL SAN FRANCISCO
                                       PIVOT
                                       SEA ISLAND ACQUSITION LLC
                                       SOFITEL BUDAPEST CHAIN BRIDGE
                                       STARWOOD HOTELS
                                       THE FAIRMONT HOTEL SAN FRANCISCO
                                       THE HILTON GARDEN INN MIRAMAR
                                       THE STAR OF SIAM THAI RESTAURANT
571   Steadfast Capital Management LP on                                                           Vendor
      behalf of certain funds whether
      advised directly by SCM or an
      affiliate thereof                  MANAGED BY Q INC



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572   Steadfast Insurance Company             ZURICH AMERICAN INSURANCE COMPANY                         Vendor
573   Steptoe & Johnson LLP                   STEPTOE & JOHNSON LLP                                     Vendor
574   Stonehill Capital Management LLC                                                                  Vendor
      on behalf of certain funds              CATALYST INC
575   Storage Technology Corp                 COPY RIGHT INC                                        Vendor
                                              COPYRIGHT INC
                                              DATAVANT INC
                                              HOLLYWOOD BEACH MARRIOTT
                                              HOTEL JW MARRIOTT BOGOTA
                                              ORACLE AMERICA INC
                                              ORACLE CORP
576   Strategic Value Parnters, LLC, acting   EAG INC                                                   Vendor
      as agent on behalf of its managed       PURCHASE POWER
577   Stroock & Stroock & Lavan LLP           STROOCK AND STROOCK AND LAVAN LLP                     Vendor
578   STS Hydropower LLC                      GAS TURBINE WORLD                                     Vendor
579   SUEZ WTS USA Inc                        ACE                                                   Vendor
                                              THE IWSR
580   Sumitomo Mitsui Banking                                                                           Vendor
      Corporation                             CITIBANK XSC LOCKBOX
581   Summit Line Construction Inc            QUANTA TECHNOLOGY LLC                                 Vendor
582   Sun City Project LLC                    DILIGENT CORPORATION                                  Vendor
583   Sunray Energy 2 LLC                     FULL CIRCLE RESEARCH CO                               Vendor
584   Sunrise Power Company LLC               GAS TURBINE WORLD                                     Vendor
585   Sunshine Gas Producers LLC              BGOV LLC                                              Vendor
                                              S AND H PLUMBING SERVICES INC
586   Surewest Directories                    THE GATEHOUSE                                         Vendor
                                              USA TODAY
587   Swiss Re International SE               HSBC BUSINESS CREDIT                                  Vendor
                                              SHARE AND CARE CANADA FOOD BANK
                                              SHARE THE TABLE
588   T Rowe Price Associates Inc             ATLASSIAN PTY LTD                                     Vendor
                                              CLOUDERA INC
                                              DATABRICKS INC
                                              DININGIN BOSTON INC
                                              DININGIN LLC
                                              GRUBHUB HOLDINGS INC
                                              HORTONWORKS INC
                                              HOTEL ST PAUL
                                              MAGIC LEAP INC
                                              RESTAURANTS ON THE RUN
                                              SANSAN
                                              SURVEY MONKEY EUROPE SARL
                                              THE JIMMY FUND
                                              TWI
                                              TWITTER INC
                                              UPSTREAM AS
589   TALX Corp                               EDX INC                                                   Vendor
590   TATA America International Corp         DILIGENT CORPORATION                                      Vendor
                                              LOCOMOTIVE LLC
                                              TAJ BOSTON
                                              TATA COMMUNICATIONS DATA CENTERS PRIVATE LIMITED
                                              TATA COMMUNICATIONS INTERNATIONAL PTE LTD
                                              TATA          COMMUNICATIONS         LIMITED
                                              TATA COMMUNICATIONS SERVICES (AMERICA) INC
                                              TATA CONSULTANCY SERVICES LTD
                                              TCS AMERICA
                                              THE TAJ DIPLOMATIC ENCLAVE NEW DELHI
                                              VISTARA
591   Tata Consultancy Services               DILIGENT CORPORATION                                  Vendor
                                              LOCOMOTIVE LLC
                                              TAJ BOSTON




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#     Interested Party Name         Proposed Professionals Connection Name                    Connection Type
                                    TATA COMMUNICATIONS DATA CENTERS PRIVATE LIMITED
                                    TATA COMMUNICATIONS INTERNATIONAL PTE LTD
                                    TATA            COMMUNICATIONS         LIMITED
                                    TATA COMMUNICATIONS SERVICES (AMERICA) INC
                                    TATA CONSULTANCY SERVICES LTD
                                    TCS AMERICA
                                    THE TAJ DIPLOMATIC ENCLAVE NEW DELHI
                                    VISTARA
592   TD Bank NA                    AMEX CARD                                             Vendor
                                    B AND B CATERING EN LUNCHROOM CATERING
                                    BLACKBERRY               LIMITED
                                    CITIBANK XSC LOCKBOX
                                    HERITAGE BUILDING GROUP LLC
                                    POSTMEDIA NETWORK INC
                                    TD BANK
                                    TD CANADA TRUST
                                    TD CARD SERVICES
593   Td Energy Trading Inc         AMEX CARD                                             Vendor
                                    B AND B CATERING EN LUNCHROOM CATERING
                                    BLACKBERRY               LIMITED
                                    CITIBANK XSC LOCKBOX
                                    HERITAGE BUILDING GROUP LLC
                                    POSTMEDIA NETWORK INC
                                    TD BANK
                                    TD CANADA TRUST
                                    TD CARD SERVICES
594   TD Securities                 AMEX CARD                                             Vendor
                                    B AND B CATERING EN LUNCHROOM CATERING
                                    BLACKBERRY               LIMITED
                                    CITIBANK XSC LOCKBOX
                                    HERITAGE BUILDING GROUP LLC
                                    POSTMEDIA NETWORK INC
                                    TD BANK
                                    TD CANADA TRUST
                                    TD CARD SERVICES
595   Teledyne Monitor Labs Inc     CATALYST INC                                              Vendor
596   Telvent USA LLC               WONDER                                                    Vendor
597   Tesoro Refining & Marketing                                                             Vendor
      Company LLC                       GREEN RIVER MUSIC
598   Tetra Tech OGI DBA Tetra Tech Inc ECO LOGIC LIMITED                                 Vendor
599   The Goldman Sachs Group, Inc.     ARAMARK                                           Vendor
                                        ARAMARK AT MINUTE MAID PARK
                                        ARAMARK CANADA LTD
                                        ARAMARK CORPORATION
                                        ARAMARK REFRESHMENT SERVICES
                                        ARAMARK SERVICES INC
                                        ARAMARK SERVICIOS DE CATERING SLU
                                        ARAMARK SPORTS & ENTERTAINMENT SVC INC
                                        ARIA
                                        BRIDGE STREET COMMUNICATIONS
                                        DEAN AND DELUCA
                                        FACEBOOK
                                        FIREEYE INC
                                        GLEN COVE MANSION HOTEL AND CONF CENTER
                                        GOLDMAN SACHS AND CO LLC
                                        HASTINGS AND HASTINGS
                                        HILTON AMSTERDAM
                                        HILTON BENTLEY MIAMI SOUTH BEACH
                                        HILTON BUDAPEST CITY
                                        HILTON CHICAGO O'HARE AIRPORT
                                        HILTON DENVER INVERNESS
                                        HILTON FORT LAUDERDALE BEACH RESORT



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#     Interested Party Name                Proposed Professionals Connection Name                    Connection Type
                                           HILTON HOTEL CARILLON PARK
                                           HILTON INN AT PENN
                                           HILTON JAMAL DAY
                                           HILTON KNOXVILLE AIRPORT
                                           HILTON LONG BEACH
                                           HILTON MUNICH AIRPORT
                                           HILTON NEWARK AIRPORT
                                           HILTON PALMER HOUSE
                                           HILTON PHILADEPHIA AT PENNS LANDING
                                           HILTON SHORT HILLS
                                           HILTON ST PETERSBURG CARILLON PARK
                                           HOLLYWOOD BEACH MARRIOTT
                                           HOTEL JW MARRIOTT BOGOTA
                                           HOTEL MARRIOTT
                                           IHS GLOBAL CANADA LIMITED
                                           J AND R TOURS LTD
                                           KTECH
                                           SANSAN
                                           STANDARD AND POOR S LLC
                                           STANDARD AND POORS
                                           VERODIN INC
600   The Hanover Insurance Group          THE HANOVER INN                                           Vendor
601   The Insurance Company of the State   120 SUMMIT AVENUE LLC                                     Vendor
      of Pennsylvania                      AIGA
                                           ALOFT HOTEL
                                           ALOFT MILWAUKEE DOWNTOWN HOTEL
                                           AMERICAN INTERNATIONAL GROUP INC
                                           ARGUS MEDIA LIMITED
                                           DATAMONITOR LTD
                                           DAY ONE
                                           ERGO
                                           HUEBNER FOUNDATION
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LEXINGTON NYC
                                           THRIVE AT WORK
                                           VINCENT C CRAFTON
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
602   The Marine Insurance Company Ltd     CANADIAN NORTH INC                                    Vendor
                                           ROYAL AND SUN ALLIANCE INSURANCE COMPANY
                                           TARIFF CONSULTANCY
                                           WINDWARD ISLANDS AIRWAYS
603   The Mosaic Company                   PURE WATER TECHNOLOGY GEORGIA LLC                     Vendor
604   The North River Insurance            ANEJO TRIBECA                                         Vendor
                                           ORIGINAL JOES
                                           TORONTO STAR
                                           TOYS R US
605   The Northfield Insurance Company     DATAMONITOR LTD                                       Vendor
                                           DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           TRAVELERS
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
606   The Ohio Casualty Insurance          DATAMONITOR LTD                                           Vendor
      Company                              DAY ONE
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LIBERTY NYC
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD



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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
607   The Princeton Excess and Surplus   ERGO                                                       Vendor
      Lines Insurance Company            LINOTYPE GMBH
                                         MU
                                         THE FORGE RESTAURANT
608   The Progressive Corporation        THE PROGRESS                                               Vendor
609   The Smith Company Inc              THE SMITH                                                  Vendor
610   The Standard Fire Insurance        DATAMONITOR LTD                                            Vendor
      Company                            DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         TRAVELERS
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
611   The Travelers Home and Marine      DATAMONITOR LTD                                            Vendor
      Insurance Company                  DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         TRAVELERS
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
612   The Travelers Indemnity Company    DATAMONITOR LTD                                        Vendor
                                         DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         TRAVELERS
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
613   The Travelers Indemnity Company of DATAMONITOR LTD                                            Vendor
      America                            DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC
                                         TRAVELERS
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
614   The Vanguard Group Inc             H4 TECHNOLOGY INC                                      Vendor
                                         HAMILTON LANE ADVISORS LLC
                                         HILTON AMSTERDAM
                                         HILTON BENTLEY MIAMI SOUTH BEACH
                                         HILTON BUDAPEST CITY
                                         HILTON CHICAGO O'HARE AIRPORT
                                         HILTON DENVER INVERNESS
                                         HILTON FORT LAUDERDALE BEACH RESORT
                                         HILTON HOTEL CARILLON PARK
                                         HILTON INN AT PENN
                                         HILTON JAMAL DAY
                                         HILTON KNOXVILLE AIRPORT
                                         HILTON LONG BEACH
                                         HILTON MUNICH AIRPORT
                                         HILTON NEWARK AIRPORT
                                         HILTON PALMER HOUSE
                                         HILTON PHILADEPHIA AT PENNS LANDING
                                         HILTON SHORT HILLS
                                         HILTON ST PETERSBURG CARILLON PARK
                                         KRISPY KREME DOUGHNUT CORPORATION
                                         MTG INC
                                         STAR TRIBUNE
                                         UPSTREAM AS
                                         VANGUARD
615   Third Point LLC                    AMGEN INC                                              Vendor
                                         BON      APPETIT
                                         COASTAL PEOPLES GALLERY
                                         HERE NORTH AMERICA LLC


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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          LYFT INC
                                          NESPRESSO
                                          NESPRESSO CANADA
                                          PAYPAL INTERNATIONAL LTD
                                          PAYPAL INTERNATIONAL LTD.
                                          PIZZA HUT
                                          THE GRAND TARABYA
616   Those Certain Underwriters                                                                     Vendor
      Subscribing To Policy No
      Pha034S17Aa As Subrogee Of Mark
      Smith                               MARK SIMON MARTIN SMITH
617   ThyssenKrupp Elevator Corporation   SCOTT W CLEVELAND                                          Vendor
618   TKO Power                           FULCRUM INC                                                Vendor
619   T-Mobile US, Inc.                   T MOBILE                                                   Vendor
                                          T MOBILE USA
                                          T SYSTEMS NORTH AMERICA INC
                                          T-MOBILE US
620   Topaz Solar Farms LLC               C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                          CIBC
                                          CIBC     CORPORATE      SERVICES
                                          CIBC WOOD GUNDY ACCOUNT # 550-09014
                                          CORT BUSINESS SERVICES CORPORATION
                                          CORT EVENT FURNISHINGS
                                          CORT FURNITURE RENTAL
                                          EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                          GRAND HYATT ATLANTA
                                          GRAND HYATT DENVER
                                          GRAND HYATT ERAWAN BANGKOK
                                          GRAND HYATT HONG KONG
                                          GRAND HYATT NEW YORK
                                          GRAND HYATT SINGAPORE
                                          GRAND HYATT WASHIONGTON
                                          HILTON AMSTERDAM
                                          HYATT CORPORATION
                                          HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                          LLC
                                          HYATT HOUSE BELMONT REDWOOD SHORES
                                          HYATT HOUSE BOSTON WALTHAM
                                          HYATT HOUSE PITTSBURGH BLOOMFIELD
                                          HYATT MIAMI THE CONFIDANTE
                                          HYATT REGENCY AMSTERDAM
                                          HYATT REGENCY BOSTON
                                          HYATT REGENCY CALGARY
                                          HYATT REGENCY CHICAGO
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES
                                          HYATT REGENCY DFW
                                          HYATT REGENCY GREENWICH
                                          HYATT REGENCY HOUSTON GALLERIA
                                          HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                          HYATT REGENCY JERSEY CITY
                                          HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                          HYATT REGENCY LOST PINES RESORT AND SPA
                                          HYATT REGENCY MIAMI
                                          HYATT REGENCY MORRISTOWN
                                          HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                          HYATT REGENCY TORONTO
                                          INTERNATIONAL DAIRY FEDERATION
                                          MAGNOLIA             HOTELS
                                          MDL & ASSOCIATES
                                          MOUSER ELECTRONICS INC
                                          ORIENTAL TRADING CO INC



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#     Interested Party Name              Proposed Professionals Connection Name                   Connection Type
                                         PARK HYATT ABU DHABI HOTEL AND VILLAS
                                         PARK HYATT NEW YORK
                                         PARK HYATT PARIS VENDOME
                                         PARK HYATT WASHINGTON
                                         ROCKY MOUNTAIN CONNECTIONS
                                         THE BENJAMIN
                                         THE PRODUCTION CREW
                                         THOMPSON MIAMI BEACH
                                         UCLA UNIVERSITY CALIFORNIA
621   Toronto Dominion Bank              AMEX CARD                                                Vendor
                                         B AND B CATERING EN LUNCHROOM CATERING
                                         BLACKBERRY               LIMITED
                                         CITIBANK XSC LOCKBOX
                                         HERITAGE BUILDING GROUP LLC
                                         POSTMEDIA NETWORK INC
                                         TD BANK
                                         TD CANADA TRUST
                                         TD CARD SERVICES
622   Total Waste Systems of Mariposa    BFI                                                  Vendor
                                         THE PROGRESS
                                         WASTECO
623   TPG Sixth Street Partners LLC      AMERICAN TIRE DISTRIBUTORS INC                       Vendor
                                         ATD
                                         AVAYA INC
                                         BEAUTY AND ESSEX
                                         BFI
                                         CIRQUE DU SOLEIL
                                         CREATIVE ARTISTS AGENCY
                                         FIDELITY NATIONAL TITLE INSURANCE COMPANY
                                         GETTHERE LP
                                         GLOBAL ENTERPRISE DATA ANALYTICS
                                         GSKY PLANT SYSTEMS INC
                                         HAMILTON LANE ADVISORS LLC
                                         HEAF
                                         HOTEL RESERVATION SERVICE GMBH
                                         IHS GLOBAL CANADA LIMITED
                                         KINDRED AT HOME
                                         LLAMASOFT INC
                                         MCAFEE INC
                                         OLD BLUE BBQ
                                         QUENCH USA INC
                                         SONATYPE INC
                                         STRETCH THE EDGE
                                         THE SPOKE CLUB
                                         TPG LLC
                                         V2 LLC
                                         VIC AND ANTHONYS
                                         XOJET INC
624   TransAlta Corporation              TRANSLATA CORPORATION                                Vendor
625   TransAlta Energy Marketing Inc     TRANSLATA CORPORATION                                Vendor
626   Transportation Insurance Company   HOTEL 1000                                           Vendor
                                         INTERCONTINENTAL CHICAGO
                                         LOEWS ANNAPOLIS HOTEL
                                         LOEWS ATLANTA HOTEL
                                         LOEWS CHICAGO HOTEL
                                         LOEWS MIAMI BEACH HOTEL
                                         LOEWS PHILADELPHIA HOTEL
                                         LOEWS REGENCY NY HOTEL LLC
627   Travelers Casualty Insurance       DATAMONITOR LTD                                          Vendor
      Company of America                 DAY ONE
                                         INSURANCE SERVICES OFFICE INC
                                         POWER ADVOCATE INC



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#     Interested Party Name            Proposed Professionals Connection Name                     Connection Type
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
628   Travelers Commercial Insurance   DATAMONITOR LTD                                            Vendor
      Company                          DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
629   Travelers Indemnity Company of   DATAMONITOR LTD                                            Vendor
      Connecticut                      DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
630   Travelers Insurance Co           TRAVELERS                                                  Vendor
631   Travelers Insurance Company of   DATAMONITOR LTD                                            Vendor
      America                          DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
632   Travelers Property Casualty      DATAMONITOR LTD                                            Vendor
      Company of America               DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
633   Travelers Property Casualty      DATAMONITOR LTD                                            Vendor
      Insurance Company                DAY ONE
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       TRAVELERS
                                       WOOD MACKENZIE INC
                                       WOOD MACKENZIE LTD
634   Travelodge                       DOLCE CHANTILLY                                        Vendor
                                       WYNDHAM GRAND ISTANBUL LEVENT
                                       WYNDHAM HAMILTON PARK HOTEL AND CONFERENCE CENTER
                                       WYNDHAM PEACHTREE CONFERENCE CENTER
635   Trees LLC                        BARTLETT TREE EXPERTS                                      Vendor
636   Triton Construction Services     ANALYSIS GROUP LTD                                         Vendor
                                       AQUENT LLC
                                       LEIGHFISHER LIMITED
637   Trumbull Insurance Company       HART                                                   Vendor
638   Tudor Insurance Company          120 SUMMIT AVENUE LLC                                  Vendor
                                       AIGA
                                       ALOFT HOTEL
                                       ALOFT MILWAUKEE DOWNTOWN HOTEL
                                       AMERICAN INTERNATIONAL GROUP INC
                                       ARGUS MEDIA LIMITED
                                       DATAMONITOR LTD
                                       DAY ONE
                                       ERGO
                                       HUEBNER FOUNDATION
                                       INSURANCE SERVICES OFFICE INC
                                       POWER ADVOCATE INC
                                       THE LEXINGTON NYC




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#     Interested Party Name              Proposed Professionals Connection Name                     Connection Type
                                         THRIVE AT WORK
                                         VINCENT C CRAFTON
                                         WOOD MACKENZIE INC
                                         WOOD MACKENZIE LTD
639   Turner Construction Company        A AND C INCENTIVOS SA DE CV                            Vendor
                                         TURNER CONSTRUCTION COMPANY
640   Twin City Fire Insurance Company   HART                                                   Vendor
641   Tyco Integrated Security LLC       ADT SECURITY SERVICES                                  Vendor
                                         BUILDING AUTOMATION SYSTEMS
                                         CBRE INC AAF HEALTH CARE SERVICE CORPORATION
                                         JOHNSON CONTROLS INC
                                         JOHNSON CONTROLS SECURITY SOLUTIONS
                                         SHOPPERTRAK RCT CORPORATION
                                         TYCO INTEGRATED SECURITY LLC
642   Ubiquitel LLC                      120 SUMMIT AVENUE LLC                                  Vendor
                                         BYTE
                                         CATALYST INC
                                         CITI BUYER CARD
                                         IMPERIAL PARKING INC
                                         MANAGED BY Q INC
                                         MEET
                                         SPRINT
                                         SPRINT SPECTRUM LP
                                         TEEM
                                         UBER           BV
                                         UBER TECHNOLOGIES INC
                                         UNOMY LTD
                                         WEWORK NYC
                                         ZIMPERIUM INC
643   UBS AG                             AMEX CARD                                              Vendor
                                         B AND B CATERING EN LUNCHROOM CATERING
                                         DISTRITO
                                         FRANKLIN STREET GALLERY INC
                                         THE LOGAN HOTEL PHILADELPHIA
644   UBS Investment Bank                AMEX CARD                                              Vendor
                                         B AND B CATERING EN LUNCHROOM CATERING
                                         DISTRITO
                                         FRANKLIN STREET GALLERY INC
                                         THE LOGAN HOTEL PHILADELPHIA
645   UBS Securities                     AMEX CARD                                              Vendor
                                         B AND B CATERING EN LUNCHROOM CATERING
                                         DISTRITO
                                         FRANKLIN STREET GALLERY INC
                                         THE LOGAN HOTEL PHILADELPHIA
646   UCSF                               BERKELEY UNIVERSITY OF CALIFORNIA                          Vendor
                                         UC   SANTA BARBARA
                                         UCLA FOUNDATION ANDERSON
                                         UCLA UNIVERSITY CALIFORNIA
                                         UNIVERSITY OF CALIFORNIA BERKELEY FOUNDATION
                                         UNIVERSITY OF CALIFORNIA REGENTS
                                         UNIVERSITY OF CALIFORNIA SAN DIEGO
647   Underground Construction Co Inc    QUANTA TECHNOLOGY LLC                                  Vendor
648   Underwriters at Lloyd's London     CORPORATION OF LLOYDS                                  Vendor
649   Unigard Insurance Company          DEEP SOUTH ENTERTAINMENT                               Vendor
                                         QBE NORTH AMERICA
650   Union Bank of California           HSBC BUSINESS CREDIT                                   Vendor
                                         MU
651   United Airlines                    AEROVIAS DEL CONTINENTE AMERICANO SA                   Vendor
                                         CONTINENTAL AIRLINES
                                         LACSA LINEAS AEREAS COSTARRICENCES SA
                                         TRANS AMERICAN AIRLINES SA TACA PERU




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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          UNITED AIRLINES
652   United Financial Casualty Company   THE PROGRESS                                               Vendor
653   United Services Automobile          ALG INC                                                    Vendor
      Association                         THE GARRISON INSTITUTE
                                          TRU
654   United States Aircraft Insurance    C AND S EXECUTIVE TRANSPORTATION                           Vendor
      Group                               CIBC
                                          CIBC     CORPORATE      SERVICES
                                          CIBC WOOD GUNDY ACCOUNT # 550-09014
                                          CORT BUSINESS SERVICES CORPORATION
                                          CORT EVENT FURNISHINGS
                                          CORT FURNITURE RENTAL
                                          EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                          GRAND HYATT ATLANTA
                                          GRAND HYATT DENVER
                                          GRAND HYATT ERAWAN BANGKOK
                                          GRAND HYATT HONG KONG
                                          GRAND HYATT NEW YORK
                                          GRAND HYATT SINGAPORE
                                          GRAND HYATT WASHIONGTON
                                          HILTON AMSTERDAM
                                          HYATT CORPORATION
                                          HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                          LLC
                                          HYATT HOUSE BELMONT REDWOOD SHORES
                                          HYATT HOUSE BOSTON WALTHAM
                                          HYATT HOUSE PITTSBURGH BLOOMFIELD
                                          HYATT MIAMI THE CONFIDANTE
                                          HYATT REGENCY AMSTERDAM
                                          HYATT REGENCY BOSTON
                                          HYATT REGENCY CALGARY
                                          HYATT REGENCY CHICAGO
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES
                                          HYATT REGENCY DFW
                                          HYATT REGENCY GREENWICH
                                          HYATT REGENCY HOUSTON GALLERIA
                                          HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                          HYATT REGENCY JERSEY CITY
                                          HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                          HYATT REGENCY LOST PINES RESORT AND SPA
                                          HYATT REGENCY MIAMI
                                          HYATT REGENCY MORRISTOWN
                                          HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                          HYATT REGENCY TORONTO
                                          INTERNATIONAL DAIRY FEDERATION
                                          MAGNOLIA             HOTELS
                                          MDL & ASSOCIATES
                                          MOUSER ELECTRONICS INC
                                          ORIENTAL TRADING CO INC
                                          PARK HYATT ABU DHABI HOTEL AND VILLAS
                                          PARK HYATT NEW YORK
                                          PARK HYATT PARIS VENDOME
                                          PARK HYATT WASHINGTON
                                          ROCKY MOUNTAIN CONNECTIONS
                                          THE BENJAMIN
                                          THE PRODUCTION CREW
                                          THOMPSON MIAMI BEACH
                                          UCLA UNIVERSITY CALIFORNIA
655   United States Fire Insurance        ANEJO TRIBECA                                              Vendor
      Company dba Crum & Forster          ORIGINAL JOES
                                          TORONTO STAR



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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          TOYS R US
656   United States Liability Insurance   C AND S EXECUTIVE TRANSPORTATION                           Vendor
      Company                             CIBC
                                          CIBC      CORPORATE         SERVICES
                                          CIBC WOOD GUNDY ACCOUNT # 550-09014
                                          CORT BUSINESS SERVICES CORPORATION
                                          CORT EVENT FURNISHINGS
                                          CORT FURNITURE RENTAL
                                          EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                          GRAND HYATT ATLANTA
                                          GRAND HYATT DENVER
                                          GRAND HYATT ERAWAN BANGKOK
                                          GRAND HYATT HONG KONG
                                          GRAND HYATT NEW YORK
                                          GRAND HYATT SINGAPORE
                                          GRAND HYATT WASHIONGTON
                                          HILTON AMSTERDAM
                                          HYATT CORPORATION
                                          HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                          LLC
                                          HYATT HOUSE BELMONT REDWOOD SHORES
                                          HYATT HOUSE BOSTON WALTHAM
                                          HYATT HOUSE PITTSBURGH BLOOMFIELD
                                          HYATT MIAMI THE CONFIDANTE
                                          HYATT REGENCY AMSTERDAM
                                          HYATT REGENCY BOSTON
                                          HYATT REGENCY CALGARY
                                          HYATT REGENCY CHICAGO
                                          HYATT REGENCY CLEVELAND
                                          HYATT REGENCY CORAL GABLES
                                          HYATT REGENCY DFW
                                          HYATT REGENCY GREENWICH
                                          HYATT REGENCY HOUSTON GALLERIA
                                          HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                          HYATT REGENCY JERSEY CITY
                                          HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                          HYATT REGENCY LOST PINES RESORT AND SPA
                                          HYATT REGENCY MIAMI
                                          HYATT REGENCY MORRISTOWN
                                          HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                          HYATT REGENCY TORONTO
                                          INTERNATIONAL DAIRY FEDERATION
                                          MAGNOLIA                  HOTELS
                                          MDL & ASSOCIATES
                                          MOUSER ELECTRONICS INC
                                          ORIENTAL TRADING CO INC
                                          PARK HYATT ABU DHABI HOTEL AND VILLAS
                                          PARK HYATT NEW YORK
                                          PARK HYATT PARIS VENDOME
                                          PARK HYATT WASHINGTON
                                          ROCKY MOUNTAIN CONNECTIONS
                                          THE BENJAMIN
                                          THE PRODUCTION CREW
                                          THOMPSON MIAMI BEACH
                                          UCLA UNIVERSITY CALIFORNIA
657   United Way of the Bay Area          UNITED WAY OF CENTRAL CAROLINAS INC                        Vendor
                                          UNITED WAY OF MASSACHUSETTS BAY AND MERRIMACK VALLEY
                                          UNITED WAY OF THE BAY AREA
                                          UNITED WAY OF THE FOX CITIES GOLF OUTING
658   Universal Plant Services            UPS                                                        Vendor
                                          UPS CANADA
                                          UPS LIMITED



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#     Interested Party Name         Proposed Professionals Connection Name                     Connection Type
659   University of Miami           UNIVERSITY OF MIAMI SCHOOL OF LAW                          Vendor
660   US Aviation Insurance Group   C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                    CIBC
                                    CIBC      CORPORATE         SERVICES
                                    CIBC WOOD GUNDY ACCOUNT # 550-09014
                                    CORT BUSINESS SERVICES CORPORATION
                                    CORT EVENT FURNISHINGS
                                    CORT FURNITURE RENTAL
                                    EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                    GRAND HYATT ATLANTA
                                    GRAND HYATT DENVER
                                    GRAND HYATT ERAWAN BANGKOK
                                    GRAND HYATT HONG KONG
                                    GRAND HYATT NEW YORK
                                    GRAND HYATT SINGAPORE
                                    GRAND HYATT WASHIONGTON
                                    HILTON AMSTERDAM
                                    HYATT CORPORATION
                                    HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                    LLC
                                    HYATT HOUSE BELMONT REDWOOD SHORES
                                    HYATT HOUSE BOSTON WALTHAM
                                    HYATT HOUSE PITTSBURGH BLOOMFIELD
                                    HYATT MIAMI THE CONFIDANTE
                                    HYATT REGENCY AMSTERDAM
                                    HYATT REGENCY BOSTON
                                    HYATT REGENCY CALGARY
                                    HYATT REGENCY CHICAGO
                                    HYATT REGENCY CLEVELAND
                                    HYATT REGENCY CORAL GABLES
                                    HYATT REGENCY DFW
                                    HYATT REGENCY GREENWICH
                                    HYATT REGENCY HOUSTON GALLERIA
                                    HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                    HYATT REGENCY JERSEY CITY
                                    HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                    HYATT REGENCY LOST PINES RESORT AND SPA
                                    HYATT REGENCY MIAMI
                                    HYATT REGENCY MORRISTOWN
                                    HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                    HYATT REGENCY TORONTO
                                    INTERNATIONAL DAIRY FEDERATION
                                    MAGNOLIA                  HOTELS
                                    MDL & ASSOCIATES
                                    MOUSER ELECTRONICS INC
                                    ORIENTAL TRADING CO INC
                                    PARK HYATT ABU DHABI HOTEL AND VILLAS
                                    PARK HYATT NEW YORK
                                    PARK HYATT PARIS VENDOME
                                    PARK HYATT WASHINGTON
                                    ROCKY MOUNTAIN CONNECTIONS
                                    THE BENJAMIN
                                    THE PRODUCTION CREW
                                    THOMPSON MIAMI BEACH
                                    UCLA UNIVERSITY CALIFORNIA
661   US Bank                       US BANK                                                    Vendor
662   US Bank NA                    BANK OF THE WEST                                           Vendor
                                    CARD SIERRA LEONE
                                    CIBC CORPORATE SERVICES
                                    CIBC WOOD GUNDY ACCOUNT # 550-09014
                                    CITI BUYER CARD
                                    CITIBANK XSC LOCKBOX



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#     Interested Party Name             Proposed Professionals Connection Name                     Connection Type
                                        ELA GMBH
                                        INTERNET SECURITIES INC
                                        INTERNET SECURITIES LLC
                                        US BANK
663   US Bank NA Global Corporate Trust BANK OF THE WEST                                           Vendor
      Services                          CARD SIERRA LEONE
                                        CIBC CORPORATE SERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CITI      BUYER       CARD
                                        CITIBANK XSC LOCKBOX
                                        ELA GMBH
                                        INTERNET SECURITIES INC
                                        INTERNET SECURITIES LLC
                                        US BANK
664   US Bank National Association      BANK OF THE WEST                                       Vendor
                                        CARD SIERRA LEONE
                                        CIBC CORPORATE SERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CITI      BUYER       CARD
                                        CITIBANK XSC LOCKBOX
                                        ELA GMBH
                                        INTERNET SECURITIES INC
                                        INTERNET SECURITIES LLC
                                        US BANK
665   US Specialty Insurance Company    ON CALL MASSAGE                                        Vendor
                                        THE HOUSTON PHOTOBOOTH
666   USA Waste of California           NYC DEPARTMENT OF BUILDINGS                            Vendor
                                        WASTE MANAGEMENT ATLANTA HAULING
667   USAA Casualty Insurance Company   ALG INC                                                Vendor
                                        THE GARRISON INSTITUTE
                                        TRU
668   USAA General Indemnity Company       ALG INC                                             Vendor
                                           THE GARRISON INSTITUTE
                                           TRU
669   UTEC Constructors Corporation        LAZ PARKING TX LLC                                  Vendor
670   Utility Tree Service LLC             BARTLETT TREE EXPERTS                               Vendor
671   Valero Refining Company              AMR CORPORATION                                     Vendor
672   Valero Refining Company - California AMR CORPORATION                                     Vendor
673   Validus Reinsurance Limited          120 SUMMIT AVENUE LLC                               Vendor
                                           AIGA
                                           ALOFT HOTEL
                                           ALOFT MILWAUKEE DOWNTOWN HOTEL
                                           AMERICAN INTERNATIONAL GROUP INC
                                           ARGUS MEDIA LIMITED
                                           DATAMONITOR LTD
                                           DAY ONE
                                           ERGO
                                           HUEBNER FOUNDATION
                                           INSURANCE SERVICES OFFICE INC
                                           POWER ADVOCATE INC
                                           THE LEXINGTON NYC
                                           THRIVE AT WORK
                                           VINCENT C CRAFTON
                                           WOOD MACKENZIE INC
                                           WOOD MACKENZIE LTD
674   Valley Forge Insurance Company    HOTEL 1000                                             Vendor
                                        INTERCONTINENTAL CHICAGO
                                        LOEWS ANNAPOLIS HOTEL
                                        LOEWS ATLANTA HOTEL
                                        LOEWS CHICAGO HOTEL
                                        LOEWS MIAMI BEACH HOTEL




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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          LOEWS PHILADELPHIA HOTEL
                                          LOEWS REGENCY NY HOTEL LLC
675   Valley Power Systems North          MERCEDES BENZ STADIUM                                  Vendor
                                          SOUND INCORPORATED
                                          THINC LLC
676   Varde Partners Inc                  BOSCOLO HOTELS HUNGARY KFT                             Vendor
                                          COOPER AB LLC
                                          HILTON AMSTERDAM
                                          HILTON BENTLEY MIAMI SOUTH BEACH
                                          HILTON BUDAPEST CITY
                                          HILTON CHICAGO O'HARE AIRPORT
                                          HILTON DENVER INVERNESS
                                          HILTON FORT LAUDERDALE BEACH RESORT
                                          HILTON HOTEL CARILLON PARK
                                          HILTON INN AT PENN
                                          HILTON JAMAL DAY
                                          HILTON KNOXVILLE AIRPORT
                                          HILTON LONG BEACH
                                          HILTON MUNICH AIRPORT
                                          HILTON NEWARK AIRPORT
                                          HILTON PALMER HOUSE
                                          HILTON PHILADEPHIA AT PENNS LANDING
                                          HILTON SHORT HILLS
                                          HILTON ST PETERSBURG CARILLON PARK
                                          PARK AND POLISH
677   Verizon                             AOL ADVERTISING INC                                    Vendor
                                          CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC
                                          COLLABRA LLC
                                          OATH AMERICAS INC
                                          TECHCRUNCH INC
                                          THREE PILLARS MEDIA INC
                                          VERIZON
                                          VERIZON BUSINESS
                                          VERIZON WIRELESS
                                          XO COMMUNICATIONS SERVICES LLC
678   Verizon Business Network Services   AOL ADVERTISING INC                                    Vendor
                                          CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC
                                          COLLABRA LLC
                                          OATH AMERICAS INC
                                          TECHCRUNCH INC
                                          THREE PILLARS MEDIA INC
                                          VERIZON
                                          VERIZON BUSINESS
                                          VERIZON WIRELESS
                                          XO COMMUNICATIONS SERVICES LLC
679   Verizon Network Operations          AOL ADVERTISING INC                                    Vendor
                                          CHESAPEAKE AND POTOMAC AUDIO VISUAL SERVICES INC
                                          COLLABRA LLC
                                          OATH AMERICAS INC
                                          TECHCRUNCH INC
                                          THREE PILLARS MEDIA INC
                                          VERIZON
                                          VERIZON BUSINESS
                                          VERIZON WIRELESS
                                          XO COMMUNICATIONS SERVICES LLC
680   Verizon Wireless                    VERIZON                                                    Vendor
                                          VERIZON WIRELESS
681   Vigilant Insurance Company          ACE                                                    Vendor
                                          NEW YORK LIFE INSURANCE COMPANY
682   Vistra Energy                       VISTARA                                                    Vendor
683   Vitol Inc                           TANK TERMINALS                                             Vendor




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#     Interested Party Name             Proposed Professionals Connection Name                     Connection Type
684   Vulcan Power Company              C AND S EXECUTIVE TRANSPORTATION                           Vendor
                                        CIBC
                                        CIBC      CORPORATE         SERVICES
                                        CIBC WOOD GUNDY ACCOUNT # 550-09014
                                        CORT BUSINESS SERVICES CORPORATION
                                        CORT EVENT FURNISHINGS
                                        CORT FURNITURE RENTAL
                                        EVENT RENTAL GROUP LIMITED PARTNERSHIP
                                        GRAND HYATT ATLANTA
                                        GRAND HYATT DENVER
                                        GRAND HYATT ERAWAN BANGKOK
                                        GRAND HYATT HONG KONG
                                        GRAND HYATT NEW YORK
                                        GRAND HYATT SINGAPORE
                                        GRAND HYATT WASHIONGTON
                                        HILTON AMSTERDAM
                                        HYATT CORPORATION
                                        HYATT HOTELS OF FLORIDA INC AS AGENT OF HE ORLANDO HOTEL
                                        LLC
                                        HYATT HOUSE BELMONT REDWOOD SHORES
                                        HYATT HOUSE BOSTON WALTHAM
                                        HYATT HOUSE PITTSBURGH BLOOMFIELD
                                        HYATT MIAMI THE CONFIDANTE
                                        HYATT REGENCY AMSTERDAM
                                        HYATT REGENCY BOSTON
                                        HYATT REGENCY CALGARY
                                        HYATT REGENCY CHICAGO
                                        HYATT REGENCY CLEVELAND
                                        HYATT REGENCY CORAL GABLES
                                        HYATT REGENCY DFW
                                        HYATT REGENCY GREENWICH
                                        HYATT REGENCY HOUSTON GALLERIA
                                        HYATT REGENCY HUNTINGTON BEACH RESORT AND SPA
                                        HYATT REGENCY JERSEY CITY
                                        HYATT REGENCY LAKE WASHINGTON AT SEATTLE S SOUTHPORT
                                        HYATT REGENCY LOST PINES RESORT AND SPA
                                        HYATT REGENCY MIAMI
                                        HYATT REGENCY MORRISTOWN
                                        HYATT REGENCY ORLANDO INTERNATIONAL AIRPORT
                                        HYATT REGENCY TORONTO
                                        INTERNATIONAL DAIRY FEDERATION
                                        MAGNOLIA                  HOTELS
                                        MDL & ASSOCIATES
                                        MOUSER ELECTRONICS INC
                                        ORIENTAL TRADING CO INC
                                        PARK HYATT ABU DHABI HOTEL AND VILLAS
                                        PARK HYATT NEW YORK
                                        PARK HYATT PARIS VENDOME
                                        PARK HYATT WASHINGTON
                                        ROCKY MOUNTAIN CONNECTIONS
                                        THE BENJAMIN
                                        THE PRODUCTION CREW
                                        THOMPSON MIAMI BEACH
                                        UCLA UNIVERSITY CALIFORNIA
685   Wachovia Corporate Services Inc   BANK OF THE WEST                                           Vendor
                                        CITIBANK XSC LOCKBOX
                                        HERITAGE BUILDING GROUP LLC
                                        ITASCA   PROJECT   FUND
                                        MDL & ASSOCIATES
                                        WELLS FARGO BANK
                                        WELLS FARGO CLEARING SERVICES LLC
686   Wadham Energy LP                  ARIA                                                       Vendor



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#     Interested Party Name             Proposed Professionals Connection Name                Connection Type
687   Waste Management Inc              NYC DEPARTMENT OF BUILDINGS                           Vendor
                                        WASTE MANAGEMENT ATLANTA HAULING
688   Waste Management National Services NYC DEPARTMENT OF BUILDINGS                              Vendor
      Inc                                WASTE MANAGEMENT ATLANTA HAULING
689   Waste Management of Alameda        NYC DEPARTMENT OF BUILDINGS                          Vendor
                                         WASTE MANAGEMENT ATLANTA HAULING
690   Waste Management of Antelope      NYC DEPARTMENT OF BUILDINGS                               Vendor
      Valley                            WASTE MANAGEMENT ATLANTA HAULING
691   Waste Management of Nevada        NYC DEPARTMENT OF BUILDINGS                           Vendor
                                        WASTE MANAGEMENT ATLANTA HAULING
692   Weatherford International LLC -   WEATHERFORD MANAGEMENT COMPANY SWITZERLAND SARL       Vendor
693   Wells Fargo & Company             BANK OF THE WEST                                      Vendor
                                        CITIBANK XSC LOCKBOX
                                        HERITAGE BUILDING GROUP LLC
                                        ITASCA   PROJECT   FUND
                                        MDL & ASSOCIATES
                                        WELLS FARGO BANK
                                        WELLS FARGO CLEARING SERVICES LLC
694   Wells Fargo Bank National         BANK OF THE WEST                                          Vendor
      Association                       CITIBANK XSC LOCKBOX
                                        HERITAGE BUILDING GROUP LLC
                                        ITASCA   PROJECT   FUND
                                        MDL & ASSOCIATES
                                        WELLS FARGO BANK
                                        WELLS FARGO CLEARING SERVICES LLC
695   Wells Fargo Bank, Ltd.            BANK OF THE WEST                                      Vendor
                                        CITIBANK XSC LOCKBOX
                                        HERITAGE BUILDING GROUP LLC
                                        ITASCA   PROJECT   FUND
                                        MDL & ASSOCIATES
                                        WELLS FARGO BANK
                                        WELLS FARGO CLEARING SERVICES LLC
696   Wells Fargo Securities LLC        BANK OF THE WEST                                      Vendor
                                        CITIBANK XSC LOCKBOX
                                        HERITAGE BUILDING GROUP LLC
                                        ITASCA   PROJECT   FUND
                                        MDL & ASSOCIATES
                                        WELLS FARGO BANK
                                        WELLS FARGO CLEARING SERVICES LLC
697   West American Insurance Company   DATAMONITOR LTD                                       Vendor
                                        DAY ONE
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LIBERTY NYC
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
698   Westchester Fire Insurance Company ACE                                                  Vendor
                                         NEW YORK LIFE INSURANCE COMPANY
699   Westchester Surplus Lines Insurance ACE                                                     Vendor
      Company                             NEW YORK LIFE INSURANCE COMPANY
700   Western Asset Management Company L AND M SOUND AND LIGHT INC                            Vendor
701   Western States Microwave Trans      CBTS TECHNOLOGY SOLUTIONS LLC                       Vendor
                                          CINCIN
                                          ONX USA LLC
702   Western World Insurance Company   120 SUMMIT AVENUE LLC                                 Vendor
                                        AIGA
                                        ALOFT HOTEL
                                        ALOFT MILWAUKEE DOWNTOWN HOTEL
                                        AMERICAN INTERNATIONAL GROUP INC
                                        ARGUS MEDIA LIMITED
                                        DATAMONITOR LTD




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#     Interested Party Name             Proposed Professionals Connection Name                    Connection Type
                                        DAY ONE
                                        ERGO
                                        HUEBNER FOUNDATION
                                        INSURANCE SERVICES OFFICE INC
                                        POWER ADVOCATE INC
                                        THE LEXINGTON NYC
                                        THRIVE AT WORK
                                        VINCENT C CRAFTON
                                        WOOD MACKENZIE INC
                                        WOOD MACKENZIE LTD
703   Westinghouse                      THE WESTIN                                            Vendor
704   Westinghouse Electric Company LLC THE WESTIN                                            Vendor
705   Westport Insurance Corporation    HSBC BUSINESS CREDIT                                  Vendor
                                        SHARE AND CARE CANADA FOOD BANK
                                        SHARE THE TABLE
706   WGL Energy Systems Inc             COAST MOUNTAIN BREWING                               Vendor
                                         THE PAINTED PIN
707   White & Case                       WHITE AND CASE LLP                                   Vendor
708   Willis Towers Watson               WILLIS TOWERS WATSON CONSULTORES SA                  Vendor
                                         WILLIS TOWERS WATSON LLC
709   Willis Towers Watson US LLC         PROFESSIONAL CONSULTANTS AND RESOURCES LLC          Vendor
                                          TOWERS WATSON DELAWARE INC
                                          WILLIS TOWERS WATSON CONSULTORES SA
                                          WILLIS TOWERS WATSON LLC
710   Wilson Sonsini Goodrich & Rosati PC WILSON SONSINI GOODRICH AND ROSATI                      Vendor
711   Winco Inc                           QUANTA TECHNOLOGY LLC                                   Vendor
712   Wood Group USA Inc – Upstream and GAS TURBINE WORLD                                         Vendor
      Midstream Engineering               HARDING INTERNATIONAL ASSOCIATES
713   WorleyParsons Group Inc             MTG INC                                                 Vendor
714   XL Insurance America Inc            ALLIED INTERNATIONAL NA INC                             Vendor
                                          ALLIED INTERNATIONAL OF SAN FRANCISCO
                                          AXA
                                          AXA EQUITABLE
                                          C AND S EXECUTIVE TRANSPORTATION
                                          ERGO
                                          MAESTRO LLC
                                          OSEBERG INC
                                          THE MCINTYRE GROUP
                                          THINC LLC
715   XL Insurance Company               ALLIED INTERNATIONAL NA INC                          Vendor
                                         ALLIED INTERNATIONAL OF SAN FRANCISCO
                                         AXA
                                         AXA EQUITABLE
                                         C AND S EXECUTIVE TRANSPORTATION
                                         ERGO
                                         MAESTRO LLC
                                         OSEBERG INC
                                         THE MCINTYRE GROUP
                                         THINC LLC
716   XL Specialty Insurance Company     ALLIED INTERNATIONAL NA INC                          Vendor
                                         ALLIED INTERNATIONAL OF SAN FRANCISCO
                                         AXA
                                         AXA                 EQUITABLE
                                         C AND S EXECUTIVETRANSPORTATION
                                         ERGO
                                         MAESTRO LLC
                                         OSEBERG INC
                                         THE MCINTYRE GROUP
                                         THINC LLC
717   Young Electric Company Inc         YOUNG ELECTRIC COMPANY AND YOUNG COMMUNICATIONS      Vendor
718   Zayo Group Holdings Inc            ALLSTREAM BUSINESS INC                               Vendor




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#     Interested Party Name               Proposed Professionals Connection Name                     Connection Type
                                          AT AND T GLOBAL SERVICES CANADA CO
                                          MTS ALLSTREAM INC
                                          ZAYO CANADA INC
                                          ZAYO GROUP LLC
719   Zayo Group LLC                      ALLSTREAM BUSINESS INC                                 Vendor
                                          AT AND T GLOBAL SERVICES CANADA CO
                                          MTS ALLSTREAM INC
                                          ZAYO CANADA INC
                                          ZAYO GROUP LLC
720   Zenith Insurance Company            ANEJO TRIBECA                                          Vendor
                                          ORIGINAL JOES
                                          TORONTO STAR
                                          TOYS R US
721   Zones Corporate Solutions           ZONES INC                                                  Vendor
722   Zurich American Insurance Company   ZURICH AMERICAN INSURANCE COMPANY                          Vendor
723   Zurich Insurance Company Ltd        ZURICH AMERICAN INSURANCE COMPANY                          Vendor




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                                           Proposed Vendor Connection
#    Interested Party Name                 Name                             Connection Type
1    Bank of America                                                        Ordinary Course Banking
                                           BANK OF AMERICA, N.A.            Relationship
2    Citibank NA                                                            Ordinary Course Banking
                                           Citibank, N.A.                   Relationship
3    Citigroup                                                              Ordinary Course Banking
                                           Citibank, N.A.                   Relationship
4    Citigroup Energy Inc                                                   Ordinary Course Banking
                                           Citibank, N.A.                   Relationship
5    Citigroup Global Markets                                               Ordinary Course Banking
                                           Citibank, N.A.                   Relationship
6    DB Energy Trading                                                      Ordinary Course Banking
                                           Deutsche Bank - USA              Relationship
7    Deutsche Bank                                                          Ordinary Course Banking
                                           Deutsche Bank - USA              Relationship
8    Deutsche Bank National Trust                                           Ordinary Course Banking
     Company                               Deutsche Bank - USA              Relationship
9    Deutsche Bank Securities Inc                                           Ordinary Course Banking
                                           Deutsche Bank - USA              Relationship
10   Deutsche Bank Trust Company                                            Ordinary Course Banking
     Americas                              Deutsche Bank - USA              Relationship
11   JP Morgan Chase Bank NA                                                Ordinary Course Banking
                                           JP MORGAN CHASE                  Relationship
12   JP Morgan Securities LLC                                               Ordinary Course Banking
                                           JP MORGAN CHASE                  Relationship
13   JP Morgan Ventures Energy                                              Ordinary Course Banking
     Corporation                           JP MORGAN CHASE                  Relationship
14   Merrill Lynch Commodities Inc                                          Ordinary Course Banking
                                           BANK OF AMERICA, N.A.            Relationship
15   Merrill Lynch Pierce Fenner &                                          Ordinary Course Banking
     Smith Incorporated                    BANK OF AMERICA, N.A.            Relationship
16   TD Bank NA                            TORONTO-DOMINION BANK,           Ordinary Course Banking
                                           THE                              Relationship
17   Td Energy Trading Inc                 TORONTO-DOMINION BANK,           Ordinary Course Banking
                                           THE                              Relationship
18   TD Securities                         TORONTO-DOMINION BANK,           Ordinary Course Banking
                                           THE                              Relationship
19   Toronto Dominion Bank                 TORONTO-DOMINION BANK,           Ordinary Course Banking
                                           THE                              Relationship




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